    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 1 of 363 PageID #:1




                      UNITED STATES DISTRICT COURT
                                                                    FTLED
                   FOR THE NORTHERN DISTzuCT OF ILLINOIS
                                                                         APR , 2   \ABfu
                                                                 qERrf
                                                                         SKBErHBI3Uro,

 LEONARD A. SZPLETT, an individual,
             PLAINTIFF,

      VS.


KENCO LOGTSTIC SERVICES, LLC, A
TENNESSEE LIMITED LIABILITY                 ilfii'iffiff%lrnBKm
COMPANY, MARS, INC., ThC
HARTFORD, DAVID JABALEY,
MARIO LOPEZ, TAMMI
FOWLER, PAULA HISE, TRACE
SPIER, ROBERT    COFFEY,
TODD MOORE, JAY ELLIOTT,
DAVID CAINES, MICHAEL
MANZELLO, DAVID CRAWLEY,
and KELVIN WALSH



            DEFENDANTS.
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 2 of 363 PageID #:2




          NOW COMES PLAINTIFF, LEONARD A. SZPLETT (hereafter "SZPLETT") and

hereby brings his complaint against defendants KENCO LOGISTIC SERVICES,LLC, a

TENNESSEE LIMITED LIABILITY COMPANY, MARS,INC.,                    The HARTFORD,

DAVID JABALEY, MARIO LOPEZ, TAMMI FOWLER, PAULA HISE, TRACE

SPIER, ROBERT COFFEY, TODD MOORE, JAY ELLIOTT, DAVID

CAINES, MICHAEL MANZELLO, DAVID CRAWLEY, and KELVIN WALSH

and alleges as follows:




                                              I.
                                    NATURE OF TIIE ACTION

2-                  The action is brought to remedy the violations of Szplett civil rights and to

redress   the unlawfirl and discriminatory employment practices of KENCO LOGISTIC

SERVICES, LLC, a TENNESSEE LIMITED LIABILITY COMPANY, MARS, INC., ThC

HARTFORD, DAVID JABALEY, MARIO LOPEZ, TAMMI FOWLER, PAULA

HISE, TRACE SPIER, ROBERT COFFEY, TODD MOORE, JAY ELLIOTT,

DAVID CAINES, MICHAEL MANZELLO, DAVID CRAWLEY, and KELVIN

WALSH. This action        arises out of the conduct   of MARS and KENCO's employees and its

employment practices      of   race discrimination as defined   by 42 U.S.C.    S 1981 and
Federal Civil RICO, 18 U.S.C. S1962(c) & (d).
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 3 of 363 PageID #:3




                                              II.

                                      JTIRISDICTION


3.      This in part, an action authorized and instituted pursuant to the Civil

     Rights Act of 1866, as amended by tJ:e Civil Rights Act of 1991,42

     U.S.C. 51981; 42 U.S.C. 198L A,42 U.S.C. 51988 Illinois common law

     and Federal Civil RICO, 18 U.S.C. S1962(c)                      &   (d).



4.      The   jurisdicdon of this court is predicated upon 28 U.S.C. SS1331 and 1343, to

     rdress the r.rnlawful deprivation of Plaintiffs rights seclrd, guaranteed and

     protected by federal law. The Cor-rrt also has jurisdiction purstrant ta 28 U.S.C. 2

     SS220l and2202 relating to declaratory judgments. This Court may also exercise pendent

     jurisdiction over PlaintifPs state law claims arising from   a common nucleus   of operative

     facts pursuant to 28 U.S.C. 1367.
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 4 of 363 PageID #:4




                                         III.
                                 VENUE
Venue is proper in the United States District Court for the Northern

District of Illinois, Eastern Division pursuant to28 U.S.C.        S   1331 . and 28

U.S.C. Sl39lSection 1981 claims, arising under 42 U.S.C.               S


1981,wherein Defendants KENCO and Mars regularly conduct business.




                                         rv.
                                   THE PARTIES
                                    PLAINTIFF


5.      SZPLETT is a citizen of the United States and is a CaucaSian male

and at all relevant times herein; he has resided in Illinois, in the County
of Kankakee and was an employee of MARS and KENCO within the
meaning of the Civil Rights Act of 1866, as amended by the Civil Rights
Act of 1991, 42 U.S.C. S1981and applicable case law.



5.      SZPLETT was employed       with MARS and KENCO and its predecessor,
whom at all times acted as agents of Mars, Inc., since 1999 through
various 3.d party management companies; beginning with 4T's
Marragement Company and then with KENCO since April 2013.
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 5 of 363 PageID #:5




                                    DEFENDANT

7. At all relevant times herein, Defendant KENCO was a 3d party
logistics management servicing agent for Defendant Mars, Incorporated
employing over 3000* employees nationwide and                is a Tenne.ssee      and

Virginia Limited Liability Company \Mith offices in Bolingbrook, Romeoville
and Joliet Illinois. Defendant Kenco does business as Kenco Logistics.


8.      KENCO maintained        an office in Manteno, Illinois and currently
maintains offices      in   Bolingbrook, Romeoville, and Joliet Illinois, and
conducts business within the State of Illinois. Defendant KENCO'S primary
place of business is    in Chattanooga,    Tennessee and is an employer within

the meaning of Civil Rights Act of 1866, as amended by the Civil Rights
Act of 1991,42 U.S.C. S1981.

9.      MARS, Incorporated currently maintains several offices          in Chicago,
Burr Ridge, Joliet and Manteno, Illinois. Defendant MARS, Inc. employs
over 3000.primary place of business           is in Mclean, Virginia and is       an
employer within the meaning of Civil Rights Act of 1866, as amended by

the Civil Rights Act of 199 I , 42 U .S .C. S 1 98 1 .

10.     Robert Coffey was the Regional Distribution Manager for the Mars
Manteno facility    in Manteno, IL. At atl relevant times Coffey resided in
Chicago IL and was an employee of Mars, Inc. during the relevant times.
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 6 of 363 PageID #:6




LL.   Todd Moore was the Senior Manager of Logistics for the Mars, Inc.
Moore managed Robert Coffey, who managed the Mars Manteno facility,

among other duties as a Mars, Inc. employee. During the relevant times
Moore resided in Tennessee.


L2.   Paula Hise was the Vice President of Operations for Kenco Logistics
and Vice President of Kenco Group Health and Personal Care during the
relevant times and resided in Tennessee.

13.   Trace Spier was the Vice President of Operations for Kenco Logistics
and Vice President of Kenco Group Fast Moving Consumer Goods during
the relevant times and resided in Tennessee.

L4.   Dwight Crawley was the Chief Financial Officer of the Kenco Group
during the relevant times and resided in Tennessee.

15.   David Caines was the President of Kenco Logistics who reported to
Shelia Crane President of the Kenco Group and the Chief Operating Officer

of the Kenco Group during the relevant times and resided in Tennessee.


16.   Tammi Fowler was the Senior Manager of Employee Relations for the
Kenco Group during the relevant times and resided in Tennessee.


L7. Jay Elliott was the Vice President of Legal for the Kenco Group
during the relevant times and resided in Tennessee.
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 7 of 363 PageID #:7




18.   David Jabaley was the Director of Operations for Kenco Logistics and

the interim General Manager of the Mars Manteno facility. During the
relevant times Jabaley resided in Illinois and Tennessee.


19.   Kelvin Walsh was the General Manager of the Mars Manteno facility
during the relevant times and resided in Evanston, IL.

20.   Mike Manzello was the Operations Manager of the Mars Manteno
facility during the relevant times and resided in Illinois.

21.   Mario Lopez was the Operations Manager of the Mars Manteno
facility during the relevant times and resided in Illinois.

22.   Hartford was the 3'd party administrator for the Kenco Group
servicing agent   for Defendant Kenco's, health and disability. benelits,
employing over 3000* employees nationwide and is a Hartford, Connecticut

company with offices in Chicago, IL.
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 8 of 363 PageID #:8




                                      v.
            EXHAUSTION OF ADMINISTRATIVE REMEDIES

23.   No administrative prerequisites are required before a plaintiff files

complaint pursuant to the Civil Rights Act of 1866, as amended'by the
Civil Rights Act of 199L,42U.S.C.S1981.

                                      vI.
                           FACTUAL ALLEGATIONS

24. At all relevant times, Defendants KENCO and MARS,                          Inc.,

employed   in   excess   of fifteen (15) employees for at least twenty (2O)
calendar weeks in 2OL3,2014 and 2015.

25. At all relevant times, all matters          regarding compensation, terms,

conditions, rights and privileges          of   SZPLETT'S emplo5rment were
governed   and controlled by          Defendant(s) MARS, KENCO, The
HARTFORD, DAVID JABALEY, MARIO LOPEZ, TAMMI FOWLER, PAULA

HISE, TRACE SPIER, ROBERT COFFEY, TODD MOORE, JAY ELLIOTT,

DAVID CAINES, MICHAEL MANZELLO, DAVID CRAWLEY, and KELVIN

WALSH

26. At all relevant times SZPLETT possessed the skills, experience
and qualifications necessary to work in his employment position and

adequately, competently and completely performed all of the functions,

duties and responsibilities of his employment with Defendant KENCO.
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 9 of 363 PageID #:9




27,     KENCO was acting as the agent of Mars and          in its conduct and
actions as alleged    herein. Kenco and its agents were acting in               a

capacity within the scope of       its authority , ot, if said conduct      was

outside the scope of its authority, said conduct was known; authorized

and ratified by Mars, Inc.

28.   MARS, Inc., and 4T's management through ingenuity and family

alliance collaborated, championed, and implemented the vertical startup

of the MARS Manteno facility.

29.   The MARS Manteno facility is a dedicated co-pack, warehouse

and distribution center for Mars, Inc.

30.   The MARS Manteno facility has been in operation since L999.

31.   The MARS Manteno facility was managed by 4T's from 1999 until

20L3.

32. The Mars-Manteno facility, since its inception in 1999, has been a
fully functional facility comprised of a General Manager, operatibns

Manager, Accounting and Human Resource Department, supervisors,

and workers.

33.   MARS, Inc. specifically provided on a daily basis:

             a.    On site Regional District Manager.

             b.    Morning meetings regarding the daily "Plan."
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 10 of 363 PageID #:10




            c.    Fulfillment orders are generated by Mars, Inc. through

                   the warehouse Management System "WMS" using

                   Systems Apptications and Products in Data Processing

                   "SAP' software for the intake and distribution of the

                  billion pounds or more of candy annually at the Mars

                   Manteno facility.

            d.    Mars, Inc. warehouse quality manual.

            e.    Labor Management of the Mars Manteno facility.

            f.    Cross-functionalcollaborationbetweendepartments.

34.   MARS, Inc. routinely and regularly provided incentives to the Mars

Manteno employees.

35.   MARS, Inc. issued a Request for Proposal (RFP) in late 2Ol2 or

early 2OL3 to bid on the upcoming management vacancy at the MARS

Manteno warehouse and distribution facility in Manteno, IL.

36.   MARS, Inc. had a Co-Pack Operation in house at the Mars

Manteno Facility run by Jacobson Logistics Company.

37.   Kenco Logistics responded to the RFP issued by MARS, Inc.

38.   MARS, Inc. identified and retained the management serrrices of

Kenco Logistics in early 2013.

39.   On or about February 15, 2013, 4T's notified the Mars Manteno

employees in writing that the owner was retiring and; that another
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 11 of 363 PageID #:11




distributor would be taking over the MARS account and; that it was

expected that most employees would be hired to essentially perform the

same work, and that technically the plant was being closing under 4T's

management. Exhibit    1


40.   Kenco Logistics replaced the services of 4T's Management.

4t.   Kenco Logistics      is a 3'd party logistics company that manages
warehouse and distribution centers for other companies.

42.   Kenco Logistics stated to the on or about November 2Ol4 in case

number 2014CF0475, and subsequently again in case number

20I4CF2858, 20t4CF2992, 20t4CF3057, 20 14CF3 L6t,              201 5CF03 10,

2015CF081 1, 2015CF1 L45, 2015CF0342, 201scFoggO, 201SCF13 15,

201sCA1 464, 2014CF3L62, 2015CF0003, 20 15CF0006, 2015CF0515,

2015CF0516, 2051CF0699, 2015CA1054, 2015CA1590 and others that

"Kenco is a third-party logistics company ("3PL") that operates and

m€rnages warehouses and order      fulfillment operations for other
companies."

43.   On April 21,2O13, Kenco began managing such a warehouse

in Manteno, Illinois for Mars, Inc.

44.   Kenco Logistics is a privately held company in the state of

Tennessee.
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 12 of 363 PageID #:12




45.   Kenco Logistics corporate structure, operating structure and

legal structuring is not synonymous \Mith any other company.

46.   Kenco Logistics is part of the Kenco Group.

47.   Kenco Group's CEO at the relevant times were Jane Kennedy Greene

and Gerald Perritt.

48.   Kenco Group's President at the relevant time was Shelia Crane.

49.   Kenco Logistics was hired to manage the Mars, Inc. Manteno facility

in Manteno, IL.

50.   Mars, Inc. is a privately held company in the state of Virginia.

51.   Mars, Inc. paid Kenco Logistics a management fee to manage the Mars

Manteno facility according to their signed agreement. Exhibit 2

52.   Mars, Inc. passed thru their costs through Kenco Logistics with

the exception of the direct pays of the lease, the taxes, Iire protection,

insurance, management fee, rack expense/ artortization, and material

handling fee.

53.   Specifically, Mars, Inc. passed through Kenco Logistics the

salaries of all the employees (temporary and part & full time

employees), as well as, any invoices of the Mars Manteno facility.

54.   This function performed was sJrnonJfinous to that of the services

provided by ADP,   Lrc.
55.   Mars, Inc. managed Kenco Logistics.
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 13 of 363 PageID #:13




55.   Mars Manteno was a part of the network of Mars distribution

centers.

57.    Mars Manteno was the Midwest distribution center:

              a.    Mars Manteno serviced twelve (12) Midwestern states

                   and Canada

              b.    Mars Manteno had been the number one (1) distribution

                    center in the network

58.   Mars Manteno was infrastructurally similarly situated to tJle other

four (4) distribution centers in the network in organization. For example

each distribution center had, but was not limited to having a:

              a.     General Manager

              b.    Operations Manager

              c.    Accounting/HumanResources

              d.    Truck Builders

              e.    Warehouse workers

59.   Organizationally the Mars Manteno General Manager answered to

and conferred with the onsite Regional Distribution Manager herein

"RDM" of Mars, Inc., as a matter of the course of ordinary business

operations.

60.   Black's Law Dctionary defines "employee" as "a person in the service

of another under any contract of hire, express or implied, oral or written,


                                        10
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 14 of 363 PageID #:14



where the employer has the power or right to control and direct the

employee in the material details of how the work is to be performed.

61.   Mars, Inc. provided and stipulated such terms and conditions of

employment, to Kenco Logistics, just as it did to the other employees of

Mars Manteno facility.

      Mars also ensured compliance to the "mandates" of Mars outlined

in the Mars US Warehouse Quality Manual and public policy, including

but not limited to FSMA (Food safety and Modernizatton Act,       2OO2

Bioterrorism Act, CFR Tifle 21, arrd any other applicable public policy.

Compliance was verified through internal and external 3.d party audits.

      For example, Mars conducted various internal audits prior to

Kenco taking over the management of the facility. There were 3.d party

external audits conducted by customers such as: Walmart, Costco and

others, such as the Herrington Group for compliance. Exhibit 3

62.   Mars, Inc. required Kenco Logistics to which Kenco Logistics agreed

to be compliant \Mith Public Policy, such as, Tifle V\1,21 U.S.C. Chapter

27-FSMAamong other codilied statutes and laws of the land., just as      it
would with any employee. Exhibit 2

53.   Specifically, Mars, Inc. provided Kenco Logistics with company

policies, procedures, m€u:tuals and the like, as it would with any

employee. In addition, Mars, Inc. provided the necessary tools to perform


                                       11
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 15 of 363 PageID #:15




the assigned job functions, such as but not limited to: Leasing the

facility, the equipment (warehouse and office), the computers, and the

 software. Mars maintained the facility and repaired the equipment used

by Kenco.

64.     Specifically, Mars, Inc. provided to Kenco Logistics, just as it had its

former mEmagement company on a regular and ongoing basis, a

comprehensive standard to safeguard the Quality and Food Safety of its

products in the outbound pipeline. The documents were developed in

conjunction with the Global Quality and Food Safety standards of the

Codex Alimentarius-Food and Agriculture Organization of the United

Nations herein after'FAO' and the World Health Organizatton herein after

"WHO"-2ICFR Chapter I Subchapter B part 130 Subchapter A.

        Additionally, Defendant Mars, Inc. is very familiar with these

standards, as Mars, Inc. is a Board Member of the International Life

Sciences Institute herein after "ILSI" who enjoys a close relationship with

regulatory bodies including the WHO/FAO.

        The ILSI's mission is to resolve pending issues relative to food

regulations and the international trade of food, using relevant scientific

data.




                                        t2
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 16 of 363 PageID #:16




65.    Specifically, Mars, Inc. set the performance management

standards and goals for Kenco Logistics, just as it would with any

employee.

55.    Kenco Logistics because of its multifunctional and multilayers of

management types can be characterized as a "Super Martager."

67.    Specifically, Mars, Inc. provided it's "Super Manager" Kenco

Logistics with ongoing guidance, support, resources and

management continually.

68.    Specifically, Mars, Inc. provided this support, guidance and

management to its "Super Manager" Kenco logistics and the Mars

Manteno Facility, by way of an in-house Regional Distribution

Manager (RDM).

69.    Kenco Logistics, it's "Super Manager" conferred with Mars, Inc.

on a regular ongoing basis regarding its goals and directives. Kenco

also reported the results of the goals and directives to Mars to

maintain conformity to such goals and directives.

      Additionally, Kenco reported incidents that occurred at the Mars

Manteno facility to Mars. Exhibit 4

      Mars Specifically, instructed Kenco to report incidents to Mars and

receive directives before taking any actions, particularly those incidents that

could damage the "goodwill/reputation" of Mars. Extribit 5


                                        13
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 17 of 363 PageID #:17




70,     Just as any manager would, Kenco Logistics a type of "Super

Manager" dovetailed their management styles to synergize the mandates

of   it employer, Mars, Inc. and public policy to meet the perforrnance
management goals set by Mars, Inc.

7L.     Public policy drives industry standards that drive company policy.

Specifically, in this case the Food, Drug and Cosmetic Act (FD&C Act),

Food Safety and Modernization Act (FSMA), tl:re 2OO2 Bioterrorism Act

and other Acts, as well as, The Center for Disease Control (CDC), Food

Safety and Inspection Service (FSIS), (WHO), Codex Alimentarius

Commission (CAC), FAO and other organizations, shape and form the

various recognized Globat Food Safety Initiative (GFSI) benchmarks;

which include but are not limited to: FSSC 22OO,ISO2200, BRC, IFS,

SQF and other food safety standards.

72.     Defendant Mars and its agents are governed by the ISo22000

standard. This standard is derived from the codex Alimentarius-

21CFR130.6

73.     Specifically, Kenco Logistics was assigned the task of implementing

a written Quality Management System based upon the current non-

documented procedures and protocols being performed at the Mars

Manteno facility. This standard was based upon ISO, the International

Standard of Organ ization.


                                       14
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 18 of 363 PageID #:18




74.   Kenco Logistics Quality Management System is based on ISO, The

International Standard of Organization; the specific ISO standard is

9001:2008.

75.   Specifically, Kenco Logistics implemented a written Quality

Management System at the Mars Manteno Facility-Exhibit 6-

cP.8P.4.2.1001.

76.   Mars, Inc. and Kenco logistics are both certified to the Globa1

Food Safety Initiative standard and or benchmark-21CFR Chapter I

Subchapter M. Exhibit 7

77.   Yearly external audits are required to remain compliant to the

Quality Management System along with internal audits. 21 CFR 117
Subchapter G.

78.   Furthermore, the federal government under the 2OOl Bioterrorism

Act and the 2011 Food Safety Modernization Act, requires all august

body participants along the food supply chain to be complaint with these

statutes 2lCFR Chapter I Subpart B pt 117 Sub Part F & G; Essentially

from farm to fork.

79.   Kenco Logistics publicly purports to "ensure all requirements are

documented according to the ISO-9001:2008 structure and are.

incorporated into the sites'standard operating procedures. Through

regular internal audits and program development, Kenco's quality team


                                       l5
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 19 of 363 PageID #:19



provides support and industry expertise in FDA, OSHA, EPA, DEA, DOT,

and numerous other compliance agencies."

80.    Specifically, the system implemented at the Mars Manteno facility

was to be a standard ization of alt policies, procedures, mandates and the

like. This included, but was not limited to job analysis, job descriptions

and the corresponding operating procedures for each        job. These and all-
encompassing documents were authored, vetted and catalogued in a

library according to ISO.4.2.3.OOl. Exhibit 8

81.   Quality Management systems under the FSMA, including but
not limited to this Mars Manteno Quality Management System,

mandate that all documents are to be catalogued, controlled,

maintained, and stored amongst other requirements. These

requirements are codified at 21CFR Chapter I Subchapter B pt. 117

Subchapter F pt.l21 Subchapter; Subchapter A pt. 1 Subchapter J

Authority

82.   Kenco Logistics developed an Appendix A for the Mars Manteno

facility that catalogued the corresponding standardized documents for the

Mars Manteno Facility. This included but was not limited to Job

descriptions, Standard Operating Procedures, policies, and forms. Extribit

10




                                       t6
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 20 of 363 PageID #:20




83.   Kenco Logistics also maintained an Appendix F, a higher matrix of

Appendix A, top tier documents, that catalogued the corresponding

standardized documents for the Kenco Logistics as a whole, inclusive of

the Manteno Facility, as well as, other managed facilities. This included

but was not limited to Job functions by titles, Standard Operating

Procedures, policies, forms and the like. Exhibit 11

84. The documents itemized      in Appendix A for the site superseded those

docrrments in Appendix F because they were customized to the specific

employer's and site requirements.

85.   Defendant Mars required Defendant Kenco to turn over the library

these Appendices.

86.   To ensure proper dissemination and training, each policy and or

procedure are to be signed off by each employee and a record         (1og)


retained of such. Exhibit 13

87.   No deviation from any policy and procedure is to occur without

following the procedure of the exception procedure and an approval of

such on any level according to CP.8P.4.2.1O01. Exhibit 14

88.   In an email President, David Caines, of the Kenco Group during

the relevant time referred to the employees of the Mars Manteno site

specifically as Mars, Inc. employees. Exhibit 15




                                       t7
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 21 of 363 PageID #:21




89.     The "Super Manager's" role was to manage and enforce the

directives and mandates of Mars, Inc. at the Mars Manteno facility that

was owned, leased and operated by Mars, Inc. since the Mars, Inc.

Manteno inception     in 1999.
90.     Civil Rights Act of 1866, as amended by the Civil Rights Act herein
UCRA'    of 1991, 42 U.S.C. S1981 provides that it is unlawful to be

harassed, fired or otherwise discriminated against because of a person's

race.

91.     Section 101 of CRA LggL was codified as the recently amen d,ed, 42

U.S.C. S 1981, which, together with the former g 1981, states in

pertinent part:

         (a) Statement of equal   rights
         All persons within the jurisdiction of the United States shall
         have the same right in every State and Territory to make
         and enforce contracts ....
         (b) Definition
         For purposes of this section, the term "make and enforce
         contracts" includes the making, performance, modification,
         and termination of contracts, and the enjoyment of atl
         benefits, privileges, terms, and conditions of the contractual
         relationship.
         (c) Protection against impairment
         The rights protected by this section are protected against
         impairment by nongovernmental discrimination and
         impairment under color of State law.

92.     The Civil Rights Act of 1866, as amended by the Civil Rights Act

of 1991, 42 U.S.C. S1981 is at bottom line an enterprise fiability



                                       l8
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 22 of 363 PageID #:22




scheme. It is structured to hold employing entities-and      individuals-
accountable for race based discrimination within tJ:e organization.

93.   The Mars-Manteno facility, since its inception      in L999, has been a
fully functional facility comprised of a General Manager, Operations

Manager, Accounting and Human Resource DeparLment, supervisors,

and workers.

94.   Kenco, Mars, Inc., "Super Manager' provided back office support to

the accounting and huma.n resource department where Szplett worked.

Exhibit 9

95.   The implementation of Kenco management styles included but were

not limited to: Kenco Quality Management System (KQMS), an ISO

9001:2008 based system, operational excellence and continuous

improvement based upon Lean and Six Sigma principles.

96.   The specific back office support provided by Kenco entailed the

passing on of invoices/bills of the Mars Manteno facility to Mars, Inc. after

they were receipted, reconciled and by the Mars Manteno facility

Accounting Department, to which Plaintiff oversaw with this counterpart

Edith McCurry.

97.   In addition to tJ'e invoice pass through to Mars, Inc., Kenco also

passed through the Mars Manteno payroll by issuing the payroll checks,

after the payroll had been processed, verilied and submitted by the Mars


                                       l9
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 23 of 363 PageID #:23




 Manteno Accounting Department for the live (5) different payrolls that

 comprised the Mars Manteno Facility to Kenco's pa5rroll department.

 98.   The additional specific back office support provided by Kenco was

 the recruitment and hiring of salaried personnel for the Mars Manteno

facility and other Human Resource support. Exhibit        16

99.    While the Mars Manteno facility's HR recruited, hired, and

onboarded hourly employees. Mars Manteno on site HR also performed

performance management for all employees, including perforrnance

appraisals, promotions, discipline and terminations; handled employee

relation issues; received employee complaints of all kinds; administered

employee benefits; complied with federal and state employment laws;

among other functions and tasks.

100. The KQMS was designed to standardize the facility to bring
compliance to 2lCFRl10, Food Safety and Modernization Act, 2002

Bioterrorism Act, and any other applicable Global Food Safety Initiative

(GF'SI) benchmarked schemes;      in addition to, streamlining business
process, increasing efficiency, profitability, transparency and

accountability.

101. The claims of disparate treatment and impact by SZPLETT and others

were reported to Kenco corporate and its officers: Senior Manager Employee

Relations -Tammi Fowler, Paula Hise- V.P. of Operations, David Jabaley-


                                        20
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 24 of 363 PageID #:24




Director of Operations, Dan Dey-Director of Risk Management and Trace

Spier- V.P. of Operations, and onsite management Kelvin Wa1sh-General

Manager, Mike Manzello Operations Manager, Mario Lopez-General'

Manager, and other corporate persons by email, phone, fa<, and in-person

on nu.merous occasions.

L02. Additionally, Robert Coffey, on site Regional Distribution Manager
and Todd Moore his superior were aware of the discrimination claims being

made by employees.

103. Coffey reported directly to Moore.
L04. Both Coffey and Moore were aware and weighed in on personnel

management hiring's, disciplines and terminations. Group Exhibit 17

105. For example, Coffey was aware of the circumstances of Tom White's
immediate resignation, after the then GM, Kelvin Walsh, admonished and

punished White for not treating employees like "assholes." Exhibit 18

106. The m4jority of the employee's White supervised at the time Walsh
admonished him for not treating the employees like "assholes" were African

American.

107. Coffey made personnel change Eurnouncements regarding the Mars

Manteno employees. Exhibit 19




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 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 25 of 363 PageID #:25




108. Coffey even directed that William Schwerin be brought back after

he had been terminated. Schwerin was the Quality/Facility Engineer for

the Mars Manteno facility.

109. Mars   at atl times had the opportunity to            participate    in   all

employment matters at the Mars Manteno facility; including the formal

charges of discrimination filed by the employees of the Mars Manteno

facility. Exhibit   17

110. At all times, Kelvin Walsh, ("Walsh"), a Caucasian, American male,

held the position of General Manager. Walsh was              in a position of
authority to undertake tangible employment decisions and/or control the

terms and conditions of SZPLETT'S employment with Defendant KENCO.

LLL.   At all relevant times, Walsh, acting on behalf of Kenco,                 the

managing agent for Mars, Inc. directed and approved              all   operational

activities, including but not limited to: hiring, firing, pay, scheduling,
performance management, workflow and the             like.   Walsh reported to
Paula Hise, V. P. of Operations for Kenco Logistics and Robert Coffey

Regional Distribution manager for the Mars Manteno facility.

LL2. At all times relevant, Mike Manzello, ("Marrze11o"), a Caucasian male

held the position of Operations Manager reporting to Walsh. 'Manzello

was    in a position of authority to undertake or recommend               tangible




                                       22
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 26 of 363 PageID #:26




employment decisions andlor control           the terms and conditions          of

SZPLETT'S employment with KENCO and MARS.

113. At atl relevant times, Manzello managed operational activities relative

to the receipt and distribution of inventory for Mars, Inc., including but not

limited to: hiring, firing, pay, scheduling, performance management,

worldlow and other tasks.

LL4. At all times, David Jabaley, ("Jabaley"), a Caucasian, American male,

held the position of Director of Operations at Kenco logistics, a part of the

Kenco Group. Jabaley was     in a position of authority to undertake     tangible

employment decisions and/or control the terms and conditions of SZPLETT'S

employment with Defendant KENCO.

1L5. At all relevant times, Jabaley, acting on behalf of Kenco Corporate,

the managlng agent for Mars, Inc. directed and approved all operational

activities, including but not limited to: hiring, firing, pay, scheduling,

performance m€rnagement, workflow and the like.

LL6.   At all times, Mario Lopez, ("l,opez"l, a Caucasian, American male,
held the position of General Manager at the Mars, Inc. Manteno facility.

Lopez was    in a position of authority to undertake tangible employment
decisions andlor control the terms and conditions                of   SZPLETT'S

employment with Defendant KENCO.




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 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 27 of 363 PageID #:27




LL7. At all relevant times, Lopez, acting on behalf of Kenco, the managing

agent for Mars, Inc. directed and approved           all operational    activities,

including but not limited to: hiring, firing, pay, scheduling, performance

management, workflow and the like.

118. At all times, Tammi Fowler, ("Fowler"), a Caucasian, American
female, held the position of Senior Employee Manager at the Kenco

Corporate. Fowler was in a position of authority to undertake tar-rgible

employment decisions andlor control the terms and conditions of

SZPLETT'S employment with Defendants.

119.   At all relevant times, Fowler, acting on behalf of              Kenco the
managing agent for Mars, Inc. directed and approved              all   operational

activities, including but not limited to: hiring, firing, pay, scheduling,
performance management, workflow and the like.

L20. At all times, Paula Hise, ("Hise"), a Caucasian, American female, held

the position of V.P. of Operations for Kenco Logistics. Hise was in a
position of authority to undertake tangible employment decisions and/or

control the terms and conditions           of   SZPLETT'S employment with

Defendants.

L2L. At all relevant times, Hise, acting on behalf of Kenco the managing

agent for Mars, Inc. managed and approved all operational activities,




                                      24
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 28 of 363 PageID #:28




including but not limited to: hiring, firing, pay, scheduling, performance

management, workflow and other tasks.

L22. At all times, Trace Spier, ("Spier"), a Caucasian, American    -?1., held
the position of V.P. of Operations for Kenco logistics. Hise was in a
position of authority to undertake tangible emplo5rment decisions and/or

control the terms and conditions            of   SZPLETT'S employment with

Defendants.

L23. At all relevant times, Spier, acting on behalf of Kenco the r,nanaging

agent for Mars, Inc. directed and approved            all operational activities,
including but not limited to: hiring, pay, scheduling, performance
management, workflow and other tasks.

L24. At all times, Robert Coffey, ("Coffey"), a Caucasian, American male,

held the position of Regional Distribution Manager for MARS, Inc. Coffey

was in a position of authority to undertake tangible employment decisions

and/or control the terms and conditions of SZPLETT'S emplo5nrrent with

Defendants.

L25. At all relevant times, Coffey, acting on behalf of Mars, Inc. directed

and approved all operational activities, including but not limited to:
hiring, firing, pay, scheduling, performance m€utagement, workflow and
other tasks.




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 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 29 of 363 PageID #:29




 L26. At all times, Todd Moore, ("Moore"), a Caucasian, American male, held

the position of Senior Manager of lngistics for MARS,     Inc. Moore was in a
position of authority to undertake tangible employment decisions and/or

control the terms and conditions             of   SZPLETT'S employment with

Defendants.

L27. At all relevant times, Moore, acting on behalf of Mars, Inc. directed

and approved all operational activities, including but not limited to:
hiring, firing, pay, scheduling, performance management, workflow and
other tasks.

728.   At all times relevant, Jay Elliott, ("Elliott"), a Caucasian male, held the

position of V. P. of Legat reporting to Shelia Crane, President of Kenco. Elliott

was in a position of authority to undertake or recommend                 tangible

employment decisions and/or control the terms and conditions of SZPLETT'S

employment relationship    wifi   KENCO.

L29. At relevant times, Elliott coordinated/managed and participate in

lega1 proceedings   and litigation on behalf of Defendants.

130. SZPLETT was employed with predecessors of KENCO on'or about
July 9, 2001 as the HR/Accounting Manager, for a 3'd                        party

m€rnagement company whom at all times acted as agents of Mars, Inc.,

beginning with 4T's Management Company and then with KENCO on

April 21, 2013.


                                        26
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 30 of 363 PageID #:30




131. On April 3, 2013, SZPLETT was offered continued employment at the
Mars Manteno facility by Paula Hise V.P. of Operations for Kenco.

 L32. Hise extended this explicit offer of employment to Plaintiff in writing,
just as all offers were made to tlle employees of the Mars Manteno facility.
Exhibit 20

133. The offer required Plaintiff to sign and return a copy of the letter       as

acceptance of the offer. Exhibit 21

L34. SZPLETT asserts that this offer letter constituted             a   legitimate

contractual relationship between Defendants Kenco and Mars.

135. SZPLETT further contends that "[Plaintiffs] promise to work for
Defendants Kenco and Mars was consideration exchanged                   for their
promise to pay him.

135. Thus, the party's actions created         a contractual relationship;      a

"contract."

L37. SZPLETT also asserts that this contractual agreement created a
fiduciary obligation between Defendants Kenco and Mars and SZPLETT.

138. SZPLETT was responsible for the HR and Accounting department
that   oversaw employee relations, hiring, terminations, performance

management, onboarding, benefits, payroll and other duties and tasks,

along with his counterpart, Edith McCurry.

139. McCurry was equally qualified as SZPLETT.


                                       27
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 31 of 363 PageID #:31




140. Szplett and McCurry performed similar duties along with common

core tasks. Both Szplett and McCurry had performed tfrese same duties

since 2OOl.

L4L. McCurry was not afforded the same fringe benefits, terms and

conditions of employment as SZPLETT.

L42. McCurry complained to management.

L43. Thereafter, McCurry became the target of discrimination.

L44. The discriminatory treatment of McCurry eventually affected

SZPLETT as     it denied him of the proper administrative support to
properly and effectively operate the HR and Accounting Department

efficiently.

L45. Szplett was very familiar with the policies and procedures of

Defendants Kenco and Mars.

L46. Szplett was very familiar with Human Resource policies,

procedures and practices.

L47. Szplett performed Human Resources duties and tasks as a part of

his daily job function.

148. Szplett was designated as the manager over HR and accounting.

L49. SZPLETT was never disciplined for work performance or any other

impropriet5r, or comp€rny infraction.




                                        28
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 32 of 363 PageID #:32




150. African-Americans employees, who complained to SZPLETT or
McCurry and Management about actions of disparate and disparaging

treatment and impact, were terminated; usually within a relatively short

time to give rise to a retaliatory motive.

151. SZPLETT conveyed the sentiments of disparaged employee to
management.

L52. Thereafter, SZPLETT became the target of disparate and

disparaging treatment and impact.

153. From    2OOl   through 2015 African-Americans and those who

opposed the disparate and disparaging treatment of African-Americans,

including SZPLETT, were subject to harsher scrutiny, discipline,

harassment, humiliation, intimidation, retaliation, unequal terms and

conditions of emplo5rment, disparate pay, defamation, retribution,. and

termination amongst other things creating racial animus and a hostile

work environment.

L54. African-Americans had also been mischaracterwed, misclassified,

and underpaid.

155. For example, Defendants have mischaracterized Edith McCurry as
a clerk that only performed rudimentary or basic clerical functions such

as typing and filing.




                                       29
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 33 of 363 PageID #:33




156. Plaintiff contends that Defendants assertions of McCurry were not
true.

L57. Beginning in 200 L SZPLEIT was paid more for performing the

same    job functions and activities along the same exact lines of business,

as Edith McCurry, African-American.

158. SZPLETT and McCurry possessed the same identical credentials.
159. SZPLETT and McCurry equally divided the duties of the HR and
Accounting Departments.

150. SZPLETT asserts that racial discrimination and biases flourished
and were deeply embedded in the KENCO and Mars Manteno culture. It

was open, active and unabashed.

LOL. SZPLETT also asserts that the harassment, abuse and

discrimination were encouraged by KENCO and MARS management's

open endorsement and refusal to stop or deter this oppressive

behaviour.

L62. SZPLETT also alleges that necessary to the existence of the
KENCO and Mars Manteno racially discriminatory culture was the

expectation that white employees would in complicity work together to

marginalize, harass, denigrate, subordinate, punish and exclude black

employees.




                                       30
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 34 of 363 PageID #:34




163. SZPLETT also alleges that white employees, including plaintiff,
who do not disparage or minimize black employees have been adversely

affected by the racially hostile environment at the Mars Manteno

facility.

L64. SZPLETT also asserts that the right of persons in the protected
class, including himself, right to work in an environment free of racial

discrimination that he and other protected class persons including

blacks have been aggrieved in some of the following ways:

            a. By a working environment heavily charged with racial
               discrimination, resulting largely from the rampant racial

               harassment, unequal terms and conditions of

               employment, uneven discipline, pay disparities, publicly

               stage   d p sychological demoral izing and humiliating

              chastisements and punishes, reminiscent of slavery and

              Reconstruction era;

            b. By a working environment which expects complicity with
              white racial dominance and subordination of blacks, and

              punishes resistance or refusal to contribute to such

              discrimination;

            c. By being subjected to and observing racially hostile
              treatment and stereotypes and;


                                       31
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 35 of 363 PageID #:35




             d. By KENCO and MARS management's awareness of;
                   participation in andlor lack of response to the hostile

                   working conditions.

165. SZPLETT'S also alleges that as a result of his failure to act in
complicity with management's race-       b    ase   d stereotype s regarding .African

Americans and his unwillingness to cooperate with other Caucasian

employees to marginalize, subordinate, minimize, exclude or disparage

African American employees, he suffered adversely in the following ways:

      a.     That he suffered reverse discrimination.

      b.     The terms and conditions of his employment changed in

           that:1) his workload increased, due to the lack of administrative

           support and; 2) his job title and function were being used in an

           unlawful way to help Defendants obstruct justice and violate

           the protected rights of African Americans or those who opposed

           such;

      c.     The loss of job title and duties; demotion from HR Manager;

           Exhibit 22

      d.     Being falsely accused of being responsible for the charges of

           discrimination that were being filed against Defendants;

           Ex}:ibit 22

      e.     Being noted as having failing leadership; Exhibit 22


                                         32
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 36 of 363 PageID #:36




   f.   Being subject to false statements made under oath by Defendants;

        E;xhlbit 22

           a. For example, Defendant Elliott stated in defendant Kenco's
              position statement that Szplett's was never the HR Manager.

           b. Additionally, that Szplett's job duties did not change after
              Varvel was hired.

   g. Being defamed by telling third parties false and materially
        misleading information that direcfly allected SZPLETT'S

        professional and personal standing perna.nenfly; Exhibit 22

           a. That Szplett was responsible for the charges of
              discrimination being liled because of his failing leadership.

   h. Being unjustly denied benefits such as disability and
        unemployment through fraudulent and deceptive measures;

   i.   Being denied compensation through unlawful measures of

        extortion. Specifically, Szplett was coerced into a quid pro quo
        of forcing him to waive his claims including but not limited to:

        Title VII, Civil Rights Act of 1866, as amended by the Civil

        Rights Act of 1991, 42 U.S.C. S1981 and other statutorily

        protected claims and to assist Defendants in HR matters and

        litigation in return to receive his compensation and severance

        pay; Exhibit 23


                                     33
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 37 of 363 PageID #:37




    j.      Being denied the opportunity to apply and to continue

          working at the Mars Manteno facility; Exhibit 25

     k.     Being subjected to intentional infliction of emotional distress in

          that plainffi:

             a. Has witnessed a number of persons in the protected class
                  suffer public ridicule; humiliation; unjust adverse

                  employment decisions of uneven discipline, economic

                  sanctions, d.emotions, and terminations arnongst other

                  treatment; loss of professional standing, and dignity;

             b.   Has witnessed at least two (2) people lose their lives.because

                  of ttre racially motivated e>rpectation of complicity to racial

                  dominance and subordination of blacks (Don Stonchus and

                  Scott Marksteiner);

             c.   Has watched defendant psychologlcally tercorwe a number of

                  persons in the protected class by making public examples of

                  them;

             d. Has watched a number of persons in the protected class be
                  treated with a recklessly with blatant disregard of their

                  livelihood and well-being;

                     i.   For example, refusing to return Morris Tlson,.a (ten)

                          lO-year tenured, African American employee back to


                                          34
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 38 of 363 PageID #:38




                      work and leaving him on indefinite leave without pay

                      while making accommodations of Mark Baker, non-

                      African American, and employee for less than six (6)

                      months. Who was returned to a position that Morris

                      Tlrson could perform and was qualified to perform; or

                      suspending African American employees such as

                      Nathan Doss, Morris Tlson and Mardy Ringo for

                      extended periods of time without pay and without

                      following company policy as it relates to investigations

                      and discipline; or terminating African American

                      employees unjusfly such as Jacque Morrison, Vernon

                      Henry and Mary Madison after raising issues of

                      discrimination and other safety issues.

           e. Has watched Defendants withhold due benelits and.
                compensation in favor of whites over blacks who were either

                not qualified or not entitled to various fringe benefits;

           f.   Has been subjected to a loss of professional and personal

                standing;

           g. Has been held accountable or deemed responsible by
                Defendant for the charges of discrimination being filed;




                                       35
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 39 of 363 PageID #:39




           h. Has been fraught with guilt, shame and anguish relative to

                witnessing the racially motivated disparaging and disparate

                treatment and impact imposed upon African Americans and

                those who opposed such discrimination;

           i.   Has been deprived of benefits and compensation needed to

                support Plaintjff and his family while out on disability due to

                the work related stress of having been subjected to a hostile

                work environment charged with racial animus; Exhibit 23

           j.   Has   witll anguish contemplated what the loss of job and
                income was to otfrer co-workers who had been victimized by

                the racially motivated adverse actions of Defendants;

           k. Has suffered mental and physical anguish, stress and duress

                as a direct result of Defendants actions;

           l.   Has suffered a seared conscious from the blatant and

                reckless racial discrimination that stemmed from the hostile

                work environment created by Defendants;

           m. Has watched his wife suffer undue physical anguish, stress

                and duress as a result of Defendants actions;

           n. Was subject to a constructive discharge relative to the hostile
                work environment, when Plaintiff had to take a medical leave




                                       36
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 40 of 363 PageID #:40




                   of absence due to the unbearable and unreasonable working

                   conditions at the Mars Manteno facility;

              o. Was subject to not being able to proper$ retire and receive
                   the accolades and benefits associated with retirement and;

              p. Was subject to being extorted in order to receive his

                   severance pay after having his compensation and other

                   benefits withheld amongst other things.

      1.     Being subject to and a subject of a number of civil conspiracies

           that include, but are not limited to:

              a.   Being mischaracteized as other than the HR Manager to aid

                   and abet Defendants in avoiding liability and culpability in

                   various lawful charges and suits of discrimination and;

              b. Being the victim of an elaborate scheme designed by
                   executive level management to employ Jay Elliott, ag VP of

                   kgal to provide false and misleading information that would
                   obstruct justice and its administration.

166. ln 2O12, under the direction of Kelvin Walsh's management

leadership, the Mars Manteno facility became a pervasively heightened

animus and hostile work environment, precipitating a shooting inside

the Mars Manteno warehouse. Exhibit 26




                                         37
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 41 of 363 PageID #:41




 L67. From 2OL2 on this animus and hostile work environment caused

SZPLETT and others at the Mars Manteno facility to be      in constant fear of

their safety, lives and well-being.

158. Under the same management direction later in2012, Defendant's

newly promoted General Manger, Kelvin Walsh's, open disdain and dislike

of African-Americans and those who opposed the disparate and

disparaging treatment of African-Americans became more

pronounced when one of Walsh's first acts as General Manger was

terminating Don Stonchus, a Supervisor, without a valid or lawful

reason.

159. Stonchus a former supervisor of the Mars Manteno facility,
upon reaTizing Walsh's apathy and abhorrence for African-

Americans, began opposing the disparate and disparaging treatment

of African-Americans.

L70. Stonchus was discharged by Walsh because of his opposition
to Walsh's discrimination against African Americans.

17L. Upon information and belief, Stonchus fell into a deep depression

after his termination; Stonchus committed suicide.

L72. In about March or April of 2013, Kelvin Walsh collaborated

with the incoming management company, Kenco, to memoriaJize




                                       38
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 42 of 363 PageID #:42




pay rates and equivalent job functions from the 4T's conversion to

Kenco.

L73. SZPLETT and his counterpart McCurry were trained in May of
2OL3 according to Defendant Kenco's Human Resources policies,

procedures, and protocols at Defendant, Kenco's, corporate office in

Chattanooga, TN, by Tammi Fowler and others (Exhibit27l. Fowler

was to support the site Human Resources persons in employee issues

at the sites. Fowler was never to handle the employee issues with

exclusivity. Exhibit   27 -A

174. Both SZPLETT and McCurry had accountability to
Defendant, Kenco's, corporate HR, specifically Tammi Fowler.

L75. Defendant's policies and procedures and the like were governed by

a Quality Martagement ISO based System, specilically the Kenco Quality

Management System (KQMS). Exhibit 6

 L76. Defendant Kenco had corporate policies, proced.ures, protocols,

forms and the like that were spelled out in Appendix F. Exhibit        11

L77. Facilities managed by Defendant, Kenco, had site specific policies,
procedures, protocols, forms and the like.

L78. Mars Manteno site was to have site specific policies, procedures,
protocols, forms and the like.




                                       39
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 43 of 363 PageID #:43




 L79. These site policies procedures, protocols, forms and the like

would be contained in Appendix A. Exhibit 10

180. Appendix A is equivalent to Appendix F on a site level.
181. According to company policy, employees were to be trained on all
applicable policies, procedures, protocols, forms and the like.

 782. According to company policy a record. and,/orlog of this training was

to be kept. Exhibit 13

183. According to company policy employees who were trained on

policies, procedures, protocols, forms were to sign off on that

training.

L84. According to company policy a record of employee's signature and

acknowledgment of the policies, procedures, protocols, forms and the like

were to be maintained.

185. The policies, procedures, protocols, forms and the like
were to be developed, implemented and maintained by the

Quality Engineer/ Coordinator.
186.   On July 8,2013, after 5:OO p.h., Walsh called Szplett into his

office and stated that he wanted to have a meeting.

L87. Walsh did not give any particulars of the meeting or what it

entailed. Present at the meeting was Walsh,       MarSr Madison and

Plaintiff.


                                       40
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 44 of 363 PageID #:44




188. Walsh began speaking to Madison in a very derogatory,
condescending and accusatory manner about situations that did not

exist.

189. Madison was ultimately given a Performance Improvement Plan.
190. Such a plan had never existed at the Mars Manteno facility, nor
had any person been given such a plan.

191. This alleged Performance Improvement Plan was on a plain piece
of paper. It was not on company stationery or conforming to other

official company correspondence.

Lg2. Walsh had not spoken to SZPLETT prior to giving this plan to

Madison.

193. The allegations made by Walsh were unfounded and were.

rebuffed by Madison by written documentation that refuted the

contrived allegations.

Lg4. Walsh told Madison that she was grving him a headache.

195. Additionally, no one had made any adverse reports to Szplett's or
his counterpart regarding Madison.

196. Madison was given ten (10) days after receipt of the "PIP"
Performance Improvement Plan dated July 8, 2013 and that was

acknowledge by Madison on July g,2013 to respond to the'PIP'.




                                       41
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 45 of 363 PageID #:45




 L97. Upon signing the plan on July 9,2O13, Madison indicated that
 she did not agree.

 198. Madison emailed Walsh, Hise, and Szplett on or about July 22,
 2OL3   in response to the "PIP" stating again that she had been treated

 differently and not afforded the same opportunities as Tim McGrath of

 Service Master.

 199. Madison was not afforded the thirty (30) days stated on the plan to
 improve after the submitted response.

 2oo. Madison was terminated on August 9, 2013.
 207. Defendant did not follow its own requirements.
 2o2. Walsh referred to Madison as an "educated nigger bitch" in addition
to using other racially motivated derogatory statements and epithets

towards her.

 2o3. Madison's .PIP" did not correlate with any corresponding site or

corporate policy. Exhibit 10 &     11

 204. Madison's "PIP" did not correlate with the Defendant's
documentation policy or procedure. Exhibit 6

205. Defendants violated their own policies, procedures, protocols and the
like.




                                        42
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 46 of 363 PageID #:46




 206. SZPLETT'S counterpart Edith McCurry was interviewed by Karen
 Smith the then outside counsel for defendant Kenco regarding the charges

 of discrimination and whistleblowing filed by Madison. Exhi bit 29

207. McCurry reported to Smith that Madison had made complaints to
not only her, but to Paula Hise, Len Szplett's and others about the

disparaging and disparate treatment and impact directed toward her by

Defendant's General Manager, Kelvin Walsh.

208. McCurry also reported to Szplett and at Madison's fact-finding
conference that she had witnessed this treatment of Madison and

outlined the discriminatory treatment to which McCurry had been

subjected.

2Og. Despite Madison reporting the incidents of discrimination, no

action was taken by Defendant to further investigate Madison's claims or

to confer with Szplett's or McCurry.

2L0. Defendant had a policy which required it to conduct an investigation
into Madison's allegations. Exhibit 30

zLL. Defendant failed to follow its own company policy.
2L2. Defendant allowed Walsh to initiate, d.isseminate and execute the

adverse actions against Madison, without any investigation or

intervention.




                                       43
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 47 of 363 PageID #:47




 2L3. Defendant's Counsel, Karen Smith, reported to the Illinois
 Department of Human Rights case no. 2OL4CFO475 cross-files with the

 EEOC that McCurry was only a clerk and was therefore unable to

intake such information on behalf of the company and that SZPLETT

was the HR Manager. Exhibit 31

2L4. Defendants and Defendants' counsel were fully aware of McCurry's
role and position as HR Administrator, as it was posted on Defendant

Kenco's website that McCurry was the HR Administrator for the Mars

Manteno site. Exhibit 32

2L5.   Defendants and Defendant's Counsel, Karen Smith, intentionally,

willfully, and maliciously defamed, margin a)tzed, and mischaracterized

McCurry and McCurr5r's job functions to the Illinois Department of Humarr

Rights and EEOC to continue to intentionally perpetuate the racially

motivated conspiracy against Madison's protected rights, obstruct justice,

and impede the administration ofjustice, to avoid culpability and liability.

2L6.   Despite McCurry's statements to Smith, Smith willfully and

intentionally represented to the Illinois Department of Human Rights

and EEOC that Madison instructed McCurry not to take any action

about the complaints waged against Defendant Kenco. Exhibit 31

2L7. Immediately after speaking with Smith, McCurry began being
ostracized, marginalized, harassed and retaliated against by Defendant.


                                       44
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 48 of 363 PageID #:48




2L8. For example, McCurry was excluded from the witness list
concerning the charges Madison filed.

 zLg,   Madison requested that McCurry be present during the Fact

 Finding Conference for the charges filed at the Illinois Department
 of Human Rights and EEOC. Exhibit 33

 220.   McCurry affirmed during the Fact Finding Conference that

 Madison had reported the matter and that McCurry knew how she

 felt because of how McCurry had been treated as an African
American while working at the Mars Manteno facility.

 22L. Defendants went on to say    in the Madison Fact Finding

 Conference that there was a hotline number that could have been

used to report employment issues.

 222. This was a misrepresentation, as there was no hotline number

during the relevant time.

 223. McCurry began being overburden        with "other" tasks that were
assigned to her outside the scope of her job function and was

routinely given impossible deadlines by senior management.

 224. Defendant began capriciously changing the shifts of the

employees, without notification to SZPLETT or McCurry.

 225.   Defendant ran a seven (7) day a week, multiple daily

 overlapping shift operation.


                                       45
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 49 of 363 PageID #:49




 226. Defendant's actions caused and created chaos, payroll errors,

 impossible deadlines, intentional stress and hostile employees.

 227. Tt:re Defendants intentionally and willfully minimized and marysndiznd

 McCurry's job status, tifle, tasks and duties from and HR Administrator to a

 HR Clerk to relieve themselves of culpability and obstruct justice for the

 actions of Mars-Kenco and its agents in the creation and sustainment of a

 hostile working environment charged with racial animus that fostered hate

 crimes, threats, disparate and disparaging impact and treatrnent to those

 who oppose such treatnent.

228. Immediately, after the Fact-Finding Conference SZPLETT was
aggressively retaliated against, harassed, and further marginalized by

defendant.

229. Within days, under Defendant's General Manger, Kelvin
Walsh's, direction Valerie Lillie pressured SZPLETT to agree to

change McCurry's job description/title from HR Administrator to

clerk.

230. The effect of this change meant that McCurry would report
directly to Walsh instead if Szplett.

23L. Plaintiff alleges that this change would have been an adverse
employment decision towards Plaintiff; as it would have further altered

Szplett's administrative support in operating his department and that;


                                        46
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 50 of 363 PageID #:50



 232. Walsh would have terminated her employment resulting from this

 change,   just as he had done Madison and others.

 233. No one else had been subject to having their job

 description/title changed; despite continuing to perform the

 sErme   duties.

234, SZPLETT opposed such change in McCurry job description/title.
235. Walsh did not have the professional, educational, or experiential
acumen to manage or oversee McCurry and the work she perforrned,

as Walsh only had a high school diploma and no experience in HR'or

accounting.

236. Walsh did not meet defendant's criteria for being the General
Manager.

237. As a result of McCurry again being subjected to additional daily
tasks, greater workloads and impossible deadlines by Kelvin Walsh and

others, affected the terms and conditions of Plaintiffs employment.

These actions denied Plaintiff and McCurry the proper administrative

support necessary to operate the HR and Accounting department

efficiently.

238. In August of 2013, Morris Tlson began requesting to return back to
work from an injury




                                        47
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 51 of 363 PageID #:51




239. \rson's repeated requests to return to work were ignored by

Defendant's General Manager, Kelvin Walsh

240. Defendant's General Manager ignored [son's calls to him and
messages given to him by Plaintiff and McCurry regarding Tlzson's

request to return to work.

24L. Defendant's         General Manager, Kelvin Walsh finally informed

Tlson that he could not return to work unless he was a         lOOo/o   without

restrictions.

242.   The Americans with Disability Act requires that employees be given

reasonable accommodations.

243.   Reasonable accommodations were available.

244. Tlson had over ten (10) years of employment at the MARS Manteno
          I


facility as a spotter.

245.   Conversely, during the sarne time Defendant's General Manager,

Kelvin Walsh returned to work a recent hire, Mark Baker, of less than six         (6)

months to an accommodated position of a window clerk.

246.   Baker was Caucasian.

247. Baker's requests to return to work were not ignored by
Defendant as was such request by Tlson to return to work.

248.   Baker was returned as a Window Clerk (Shipping and Receiving).

249. Baker had to be trained as a Window Clerk (Shipping and Receiving).


                                         48
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 52 of 363 PageID #:52




250. The Window Clerk position was a position that Tlson had extensive

experience performing; Tlson had performed the position in years prior and

he could have performed it without any training.

25L. There was a legitimate business need for Spotter's.

252. A position that Tlson could have been performed wittrout

accommodation.

253. Other modified work was available and had been made available

to other non-black employees instead of Tlson.

254. Other non-blacks had not been ignored by defendant, such as

Harold Bell.

255. Harold Bell was reasonably accommodated after having permanent

doctor's restrictions.

256. Bell was returned to work in a sanitation position.

257. Plaintiff had worked to get Tlson placed on an unpaid leave of

absence to protect his employment status while trying to return to work.

Exhibit 35

258. In December of 2OL3, an issue arose in which Walsh was
questioned about Nathan Doss's pay disparity.

259. Walsh informed SZPLETT and McCurry by email that Tammi Fowler,
Senior Manager of Employee Relations had approved Doss's incremental

pay raise.


                                       49
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 53 of 363 PageID #:53




260. Fowler is a certified member of The Society of Human Resources
herein "SHRM."

26L. Fowler asserts on her Linkedln page that:
       Her responsibilities include management of the Employee
       Relations function for the five Kenco Companies; providing
       interpretation and advice to HR Managers and Site Managers
       on employment law, organizatson policy and overall employee
       relations issues; conducting investigations related to claims
       of harassment or discrimination and recommending steps for
       resolution; reviewing termination requests and providing
       management with appropriate action plans; and educating
       Managers regarding the spirit and intent of laws, regulations
       and company policies. Exhibit 37

262.   Fowler could have prevented the racially motivated discrirninatory

treatment upon Doss and others, as she was the Senior Employee

Relations Manager who touts her ability to provide interpretation and

advice to HR Managers and Site Managers on emplo5rment law,

organization policy and overall employee relations issues. Fowler was to

offer support to the sites. Exhibit 27-A

263.    Fowler could have also used SHRM as a resource. Its

membership has privileges that afford resources necessary to address

virtually any Human Resource issue and/or matter or legal counsel.

264.   No other non-black external or internal Lead Associate

immediately preceding or proceeding Doss was subjected to subh

adverse terms and conditions of employment.

265. This was against Defendant's compensation policy.
                                       50
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 54 of 363 PageID #:54




266.     Defendant hired an external candidate, Stephanie Dumas; who

did not meet defendant's requirements for the Lead Associate

Position. Exhibit 38

267. This was against defendant's policy.

268. Furthermore, Dumas was given a premium shift, i.e. first
(1st)   shift, Monday - Friday
269. Shortly after McCurry's attempted change title, SZPLETT'S
counterpart, McCurry was informed to no longer take action in

employee related matters but forward them to Fowler.

270. Defendant in an attempt to further its scheme to cover up
claims of discrimination in April of 2014 issued the second "PIFP'at

the Mars Manteno facility to Tom White.

27L. White opposed the contrived scheme and resigned immediately.
272. White had been employed at the Mars Manteno Facility, since its
inception in 1999, for almost 15 years.

273. White was the first (lst1 shift supervisor and immediate past

Operations Manager.

274. Plaintiff asserts that White was demoted from Operations Manager

by Walsh because of his failure to act in in complicity with ma.nagement's

race-based stereotypes regarding African Americans and his




                                       51
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 55 of 363 PageID #:55




unwillingness to work with other Caucasian employees to discriminate

against African American employees.

275, White indicated upon his written exit interview that you don't
have to treat people like "assholes" to get them to do what is

needed. Exhibit 18

276. White also indicated the work environment was
discriminatory. Exhibit 18

277. On or about June 4,2014, Walsh was terminated. Exhibit 39
278. Defendant KENCO through its VP of Operations, Paula Hise, openly
praised and lauded Walsh as a valued employee and friend and

charactenzad his separation from defendant as a great loss. Exhibit 40

279. Hise made these statements about Walsh despite defendant being
in possession of firsthand knowledge and evidence of Walsh's violation of

company and public policy regarding discriminatory treatment in the

workplace. This constituted another form of harassment, and racial

animus by Defendant KENCO.

280. Walsh was offered a severance.
28L. Walsh severance was the equivalent of his salary almost nine (9)
thousand dollars a month for better than three (3) months.




                                       52
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 56 of 363 PageID #:56




282. Other employees who were, African American, allegedly
terminated for performance, such as Madison were not given a

severance.

283. On or about Mid-August 2014, SZPLETT and McCurry began
receiving emails sent from corporate saying that McCurry isn't getting

payroll in on time.

284. The constraints were caused by faulty time clock and the whimsical

changes in shifts without prior noffication. Payroll was also due within 2.5

hours of the last shift ending. Persons worked mandatory overtime past

the close of payroll. There were frve (5) separate payrolls with different

processes. There were also employee issues, complaints and inquisitions

about incorrect pay amongst a host of other things that contributed to

payroll not being timely.


285. Bobby Isles from corporate payroll instructed Szplett and McCurry
that the time be estimated or guessed as to what time the employees

would finish and record the time as such.

        a.    Effectively shorting the employee of their wages

        b.    Fa1siffing official records

286. SZPLETT and McCurry complained, protested and refused to do
such.



                                        53
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 57 of 363 PageID #:57




287. Defendant continued to impose ever changing and more stringent
and impossible deadlines.

288. Defendant intentionally used the impossible deadlines for payroll to
harass and inflict emotional and physical stress on Plaintiff and

McCurry

289.    Defendant also intentionally used this impossible deadline in

retaliation for SZPLETT and McCurry for having engaged in protected

activity.

290. Defendant intentionally contrived this scheme to effectively make

this an impossible deadline to use as lawful and non-discriminatory

reason to eventually terminate SZPLETT and McCurry.

29L. Specifically, Martzello reported on September 2, 2OL4, the day he

was terminated., that Defendants were also looking for ways to terminate

SZPLETT and McCurry's employment with the comp€u1y as well.

292. Manzello also reported that someone from the company had come

in his office and taken papenvork out of his office that could be of aid to
Doss, as well as, other employees.

293. Sometime     in   September    of 2OL4, SZPLETT and McCurry            were

called into a meeting. McCurry was accused by David Jabaley, Mario

Lopez, and Tammi Fowler         of making     unautho rized,   p.y*"rri" to an
employee, Dana Woods, African American.


                                        54
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 58 of 363 PageID #:58




294. Mario Lopez stated that making unauthorized payments was
stealing from the company.

295. Fowler indicated that the best punishment for employees was
"hitting them in the pocket."

296.   There was no written policy on when an employee's vacation pay

could and could not be disseminated.

297.   Defendant often used this economic and psychological sanction to

harass, intimidate, and retaliate against employees by not paylng them for

weeks at a time and holding their monies (vacation time) in abeyance.

298.   Hourly employees were paid weekly.

299.   As a compa.ny benefit, employees were afforded the benefit of

being able to have their Paid Time Off herein "PTO" paid out to them

upon request.

       a.   Woods was suspended for making a comment about an incident

            tl..at he saw on the national news in a conversation with

            another employee. Bushey, a white female supervisor, .said she

            felt threatened by the conversation.

            i.    Non-black, African Americans, who made similar

                  comments, or comments that violated persons

                  protected rights were not punished, reprimanded, or

                  suspended such as Pete Monstwillo or Karl Meyers.


                                       55
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 59 of 363 PageID #:59




             ii.    Woods was not afforded an opportunity for

                    progressive discipline; he was not counseled,

                    warned or given a verbal write up.

             iii.   Woods punishment was more severe and

                    harsher than other non-African Americans.

             iv.    Peter Monstwillo, non-black, made racial slurs,

                    epithets and threats to Vernon Henry in February of

                    2Ol4 in front of a number of employees."Calling him

                    a "nigger" amongst other epithets."

             v.     Monstwillo was not punished; but was hired as

                    permanent employee.

             vi.    Subsequently, Pete Monstwillo attempted to kill

                    Vernon Henry with a Forklift on October 8, 2Ol4;

                    He was not punished nor terminated.

300. Suspending Woods was a psychological tool routinely used to
subjugate and oppress African-Americans.

301.   SZPLETT intervened and took responsibility for paying Woods to

avoid any adverse employment action against McCurry.

302. In April of 20 15, Plaintiff   became aware that he too had begun to

be mischaracterized. Defendant Kenco stated in its position statement




                                        56
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 60 of 363 PageID #:60




dated March 27 , 20 15 that SZPLETT'S was only the office manager,

inferring that he was not the HR Manager. Exhibit 41

303. In May of 2OL5, SZPLETT filed claims for wages and other unlawful
actions against him by Defendants with the DOL, IDHR and EEOC.

304. In late August of 2O15, SZPLETT learned that Defendants had
hired Lori Varvel as the HR Manager because of all the charges of

discrimination filed against them due to SZPLETT'S alleged failing

leadership.

30s.   SZPLETT'S had not been apprised that he would or had been

replaced.

305. SZPLETT asserts that he was demoted in retaliation for his
association with African Americans and for his opposition to

discriminatory treatment of African Americans and others who
opposed such unlawful actions by the Defendant.

307. SZPLETT'S also asserts that this demotion was an adverse
employment decision and that his professional and personal standing

suffered as a result of this adverse employment action.

308. SZPLETT also asserts that he was harassed and defamed by
Defendants in that Defendants denied him administrative

support, created impossible deadlines, increased workloads and



                                       57
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 61 of 363 PageID #:61




reported false and misleading information regarding Szplett's
leadership and job performance.
309. The harassment and discrimination followed the complaint to
corporate and HR within such a period of time as to raise an

inference of retaliatory motivation.

310. The position was not posted as required by company policy; Job
Posting Procedure CP. HR . 6 .2.2.O    11   . Exhibit 42

311. After Mars approved the position, Defendants advertised the
position in September of 2OL4.

312. Varvel had less experience than SZPLETT and McCurry.

313. Varvel was paid more than SZPLETT.
3L4. As a part of Defendant's evidence, it presented to the IDHR/EEOC
in charge no.# 2015CA18O4/218A50670 that Varvel was a HR

Generalist. Exhibit 43

315. A HR Generalist and a HR Manager are not the same.
316. Varvel did not meet the qualifications set forth by Defendant to be
the HR Manager.

377. Defendant also represented to the IDHR and EEOC that Szplett had

no charrge in responsibilities. Ex}:ribit 22




                                        58
    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 62 of 363 PageID #:62




318. SZPLETT asserts that Defendants have taken inconsistent positions
regarding SZPLETT and what his role and title were at the Mars Manteno

facility.

319. Defendants have stated in other matters that SZPLETT was not the
HR Manager.

320. Defendants'changed their position in its motion for summar5r
judgment in McCurry v Kenco et al. 16 -CV-2273Docket #113 stating

that Szplett was the HR Manager.

32L. Defendants have represented that SZPLETT'S was the HR Manager
In the following matters:

             a. Madison v. Kenco et aJ.-2OL4CFO475 cross-filed wit]:
                the EEOC, OSHA-DOL 2016-FDA-04

             b. McCurry v. Kenco et aI.- l6-cv-2273, 18-3206
322. Defendants have consistently stated in Madison since 2013 to date
that plaintiff was the HR Manager. Exhibit 31

323. In the matter of McCurry v. Kenco et al., case no. 18-32O6
Defendants have as recently as February 2Ol9 reaffirmed in its Appellee

brief to the 7th Circuit appeals court that Szplett was the HR Manager.

324. Plaintiff is in privity to the matters immediately listed above.
325. Plaintiff asserts tJ:at Defendants should be estopped from changing
its position again regardingSZPLETT and his position as HR Manager.


                                        59
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 63 of 363 PageID #:63




326. Ptaintiff contends that Defendants should be estopped pursuant to
the doctrines of Res Judicata, Collateral Estoppel, and Judicial Estoppel,

as these matters have been previously litigated and decided on its merits.

327. Plaintiff asserts that Defendants committed fraud on the
administration    of   justice by providing misleading and fraudulent

information to the IDHR and EEOC about plaintiff and used the mail to

further its schemes.

328. SZPLETT has been subjected to the misuse, abuse and               .




misapplication of company policy for intimidation, harassment,

bullying, retaliation, threats to personal standing and other adverse
employment decisions because SZPLETT opposed discriminatory

treatment of African Americans by defendant.
330. Similarly situated non- African American employees were not treated
in this manner.

331. For example, Marci DeRosier and Anthony Marquez and others, who
had not engaged in protected activity, are currently still employed by Mars

and its current mzmagement scheme.

332. Similarly situated male non-black, African American employees were
not treated in this manner.




                                        60
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 64 of 363 PageID #:64




333. The harassment and discrimination followed the complaint to corporate
and HR within such a period of time as to raise an inference of retaliatory

motivation.

334. On or about August 2OL3 to 2OI4SZPLETT involuntarily conspired,
aided and abetted the company against the rights of certain African

American employees, such as Morris \rson, by denying them of

reasonable accommodations for no apparent reason other than they were

African American.

335. SZPLETT also involuntarily conspired, aided and abetted the
company in violation of other employees' rights, such as Mary

Madison, Jacque Morrison, Nathan Doss, Vernon Henry, and Scott

Marksteiner, Edith McCurry among others, in relation to wrongful

termination, uneven and harsher discipline, disparate pay and other

adverse and post adverse employment decisions.

336. Defendant contrived a racially motivated scheme to eradicate and
control the claims of discrimination made by African Americans and

those who opposed disparate and disparaging treatment and impact.

337. Defendant instituted an anonymous hotline whereby employees
could allegedly report employment matters without fear of retribution.

338. Defendants also mislead employees into believing that matters
would be addressed according to company policy.


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 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 65 of 363 PageID #:65




339. Defendant's hotline was not anonymous and the information
was directly given to Tammi Fowler.

340. Tammi Fowler would then call the employees manager and

reveal the employees identity.

341. Fowler's actions caused irreparable harm to the employees, as
they were subjected to harsher scrutiny, discipline and various other

measures.

342. Defendant also conspired and contrived additional schemes to
eradicate the complaints of African-Americans by letting them believe

that if they reported the incident to Plaintiff, the onsite HR, that:

      a.       An unbiased investigation would be undertaken;

      b.       There issues would be addressed according to company

      and public policy;

      c.       That the employees'rights would be protected;

      d.       That investigation would be documented;

343. Plaintiff asserts that Defendants breached their fiduciary

obligation to its employees.

344. From March 27, 20 15 to date, SZPLETT has been mischaracterized
and defamed by the defendant and defendant's counsel as other than an

HR Manager for the sole purpose to relieve the company of any culpability

and liability for unconscionable acts of employment discrimination that


                                       62
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 66 of 363 PageID #:66




violate employee's rights, including SZPLETT'S own, and other

persons/employee's rights who opposed the discriminatory treatment of

them by defendant.

345. SZPLETT was defamed on more than several occasions in various
matters by Defendant in the proceedings at the Illinois Department of

Human Rights and the EEOC.

346. From on or about July of 2O13-to date, defendant engaged SZPLETT
in an involuntatily conspiracy to aid and abet the company in violation of

African American employees, as well as, those who opposed such

disparate treatment to not be treated differently, disparagrngly, or biasly

regarding their fundamental protected rights of: 1) not being paid

disparately or differently than those non-blacks performing the sarne

duties and tasks; 2) subjection to unfavorable shift changes; 3) abuse of

authority; 4) adverse changes terms and conditions of employment;        5)

other fringe benefits offered to non-blacks, such as but not limited to

access to overtime; 6) being free from a hostile work environment;7)

harassment; 8) nepotism; 9) favoritism; 10) racism;11) being subjugated

to harsher and more strenuous work assignments created a hostile and

racially animus charged work environment.

347. Defendant KENCO intentionally and willfully interfered with

the job duties and obligations of SZPLETT as the HR Manager as a


                                      63
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 67 of 363 PageID #:67




result of his opposition to Defendants discriminatory conduct
directed toward African Americans and other employees that

supported them.

348. Defendant's actions were rooted in racial animus.
349. Defendant KENCO intentionally and willfully interfered with
SZPLETT'S obligation as the HR Manger to oppose their impeding and

obstruction ofjustice to governmental regulatory agencies, such as but

not limited to OSHA, EEOC and the Department of Human Rights by

mischar acterizing the circumstances and events surrounding the

complaints before the various agencies.

350. Defendant intentionally and willfully spoiled direct evidence
submitted from investigations, complaints and the like gathered by

SZPLETT, McCurry and others that could be used to support the

position of employees/claimants. Exhibit 45

351. Defendant KENCO and its agents, Fowler, Walsh, Jabaley,
Lopez, Manzello, and others, publicly humiliated, degraded, belittled,

intimidated and reprimanded employees, especially African American's

and those who oppose disparate and disparaging treatment. Such as

Nathan Doss, Scott Marksteiner, Mardy Ringo and others.

352. Defendants'actions were racially motivated and inspired.




                                       64
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 68 of 363 PageID #:68




353.   Defendants'continued to negligently employ workers who

denigrated African-American employees, by displaying openly bigoted

and racist conduct toward African American employees.

354. Defendant Kenco and its agents, routinely,            made

intentional and willful adverse decision to continue to subject
African Americans, and those who opposed discriminatory
conduct, including SZPLETT regarding their terms and conditions
of employment and their employment. Additionally, Defendants

contrived plans of harassment and intimidation in retaliation of

waging internal and external complaints of, nepotism, favoritism,

racism, discrimination, intimidation, hostile work environment,
harassment, coercion, harder work assignments, less pay,

humiliation, harsher scrutiny and discipline than non-blacks and
those who did not oppose such treatment.

355. Defendant Kenco and its agents intentionally and willfully'
mischaracterized incidents and events \Mith the intent to incite divisive,

chaotic and racially tense relationships amongst employees and

management.

356.   Defendant Kenco and its agents intentionally and willfully
propagated misleading, unethical, and. fraudulent company

policies, protocols, procedures, and practices that were negative,


                                       65
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 69 of 363 PageID #:69




adverse to, and retaliatory towards the employees, especially,

African Americans, and those who opposed discriminatory

treatment of African Americans.
3s7. Defendants again breached their fiduciary obligation to its
employees by the following actions:

     a.        Defendant Kenco fraudulently propagated a confidential

     employee hotline to report various employment issues.

          i.       Defendant KENCO intentionally and willfully

          induced and mislead employees into using a non-

          confidential employee hotline.

          ai.     The ill-gotten information was given to Fowler,

          who in turn gave it to Defendant                KENCO's

          managers and/or supervisors.

          iii.    Allegedly confidential information reported

          was used by Defendant KENCO and its agents to

          harass, intimidate, and retaliate against

          complaining employees.

          iv.     Such actions fostered and maintained a

          hostile work environment charge with racial animus

     b.        Defendant KENCO falsely propagated that it would follow

     company and public policy as it relates to employment matters.


                                       66
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 70 of 363 PageID #:70




      i.      Defendant KENCO intentionally and willfully railed

              to investigate reported employment matters.

      ii.     Defendant KENCO intentionally and willfully failed

              to tairly and unbiasedly investigate reported

              employment matters and concerns

      iii.    Defendant KENCO intentionally and willfully failed

              to fairly and unbiasedly consider all relevant

              information and facts before implementing adverse

              employment decisions.

      iv.     Defendant KENCO intentionally and willfully failed

              to implement and deploy corrective and preventive

              actions under company and public policy

    c.        Defendant KENCO intentionally and willfully failed to

    fairly and unbiasedly administer the same criterion for the
    compensation management of non-blacks and blacks.

    d.       Defendant KENCO intentionally and willfully railed to fairly

    and unbiasedly administer company and public policy as it relates

    to the employment life cycle of an employee.

    e. Defendant KENCO intentionally and willfully failed                      to

    fairly and unbiasedly administer the same criterion for the
    hiring of non-blacks and blacks.

                                       67
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 71 of 363 PageID #:71




        1.        Unqualified non-blacks were hired over qualified
        blacks.

             a.   External non-black candidates were hired over

             qualified internal black employees.

        2.        Non-blacks with criminal backgrounds were hired

        while blacks with similar or less criminal offenses were

        not hired.

        3.        Non-black employees were not vetted as required by

        company and public policy

             a.   Defendant KENCO intentionally and willfully failed to

        fairly and unbiasedly administer the same criterion used for the

        terms and conditions of employment as it relates to non-blacks

        and blacks in the following areas:

             1. Giving premium shift assignments
             2. 40 hour work weeks
             3. Granting   of overtime

             4. Making Shift changes f or cancellations
             5. Training
             5. Providing the opportunity for job growth and
             advancement

             7. Job assignments

                                      68
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 72 of 363 PageID #:72




             8. Discipline
             9. Scrutiny and oversight
             10.   Recruitment

             11.   Onboarding of employees

             12.   Compensation Management

             13.   Statutory Compliance to the Food Drug and Cosmetic

             Act as amended by the Food Safety and Modernization Act.

3s8. Mars also breached their fiduciary obligation to the employees of
the Mars Manteno facility by failing to ensure that its manager did not

breach the fiduciary obligations of both Kenco and Mars and failing to

stop its manager from engaging in unlawful employment practices.

3s9. Mars also intentionally railed to follow the policies that it had
implemented at the Mars Manteno facility through Defendant Kenco.

360. Defendant intentionally and willfully submitted false,
misleading and fraudulent information that subjected employees to

continual retaliation and harassment through denial of entitled
benefits; such as, but not limited to: unemployment, disability, and

Paid Time Off.

361. Defendant intentionally and willfully submitted false,
misleading and fraudulent information to regulatory and public
policy agencies; such as, but not limited to Illinois Department of


                                       69
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 73 of 363 PageID #:73




Human Rights, Illinois Department of Labor, Illinois Department
of Employment Security, Department of Labor-OSHA, EEOC, FDA

and others.
362. Defendant intentionally, willfully, maliciously and recklessly
depicted each and every African-American or those who opposed

discriminatory treatment of African-Americans as either an offender
of public and company policies, proced.ures, protocols or as being

obtrusive, inept, low capacity, low functioning, violent, aggressive,

incompetent, unteachable, and confrontational.

363. Defendants allowed its non-black employees and management to
make racial slurs, epithets, threats, and stereotypes directed towards to

African Americans such statements as "Niggers", "Black Bitch", uBlack

Ass" and other derogatory and demeaning slurs and epithets at the Mars

Manteno facility without reprisal.

364. For example, Defendants allowed Pete Monstwillo to make racial
threats, slurs and epithets to Vernon Henry and allowed Monstwillo to

attempt to kill Henry with a forklift. This was not the first occasion that

Monstwillo had assaulted Henry.

365. Coffey often corresponded directly with the employees of the Mars
Manteno facility. Exhibit 46




                                       70
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 74 of 363 PageID #:74




366. Defendant did not follow its own policies, procedures, and
protocols as it relates to its zero tolerance policy of work place violence

and other policies.

367. Defendant terminated Henry for allegedly violating a cell phone
policy and for allegedly posting a picture on face book.

368. Defendant did not have a social media policy.
369. Defendant did not have a cell phone policy. Specifically,
Defendant admitted to not having a cell phone policy to OSHA in

the matter of Kenco Logistics OSHA no. 985037 re: Jacque

Morrison.

370. Defendant exercised its policies in a manner that disparately
impacted black employees.

371. Defendant did not administer policies, procedures, "Opportunities
For Improvement" and punishments equitably between non-African

Americans and African-Americans.

372. Defendant subjected African-Americans to harsher scrutiny,
punishment and adverse actions than non-African-Americans.

373. Defendant failed to even punish non-African Americans for
more egregious and or life threatening documented occurrences, as

in the case of Morris $son.




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 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 75 of 363 PageID #:75




374. Defendant never spoke with Henry before terminating him to
ascertain his side of the story before making that adverse employment

decision. Exhibit 47

375. Defendant had no evidence to connect Henry to picture being
taken or posted on social media.

376. Defendant fired Henry while he was        out on a Family Medical Leave

of absence (FMLA).

377. Talrrmi Fowler ratified the decision to fire Henry even though she

knew he was on medical leave. Exhibit 48

378. Defendant destroyed or failed to produce to the IDHR and the EEOC

the doctor's note   fa><ed   to Plaintiff by Henry on or about October 13,

2Ol4 that Plaintiff gave to management and placed in Henry's personnel

file. Exhibit 45

379. Defendant tailed to     punish Pete Monstwillo immediately after he

attacked and tried to kill Vernon Henry with a forklift.

380. Tammi Fowler stated       that Monstwillo was horse playing when he
tried to hit Henry with a moving 9,000 pound vehicle (forklift) while
jeering the blades at Henry. Exhibit 49

381. Defendant materially altered the personnel file of Plaintiff and other

employees who have filed claims of discrimination against defendant.

Exhibit 50


                                         72
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 76 of 363 PageID #:76




      a.        Defendant has not maintained personnel files according to

                company policy.

      b.        Personnel files given to Plaintiff and other employees who

                requested their personnel file, as well as, those files

                presented to the IDHR and EEOC by defendant do not

                mirror the files that SZPLETT and McCurry oversaw at the

                Mars Manteno facility.

      c.        Defendant removed documents from these personngl files.

382. Plaintiff also believes that defendant also intentionally and willfully
interfered with his right to enjoy his protected rights of a fair due process

of law.

383. Plaintiff also alleges and believes that Defendant committed
obstruction by deception in that:

           a.       Defendant knowingly and willingly engaged in

           misleading conduct by altering Plaintiff's personnel file and

           supptying misleading witnesses; information and

           documentation to hinder the administration of justice at the

           Illinois Department of Human Rights, Illinois Department of

           Labor, and EEOC for the anticipated impending judicial

           proceedings that would make SZPLETT whole.




                                         73
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 77 of 363 PageID #:77




384. Plaintiff also alleges and believes that defendant committed
obstruction by destruction of evidence.

         a.        Defendant knowingly and willingly engaged in

         unlawful conduct by altering Plaintiff's personnel file to

         impede the administration of justice at the Illinois

         Department of Human Rights, Illinois Department of Labor

         and EEOC, as well as, the anticipated impending judicial

         proceedings that would make SZPLETT whole.

385. Plaintiff also alleges that Defendant committed perjury.
       a.     Defendant knowingly and willingly and contrary to oath

       engaged in unlawful conduct by deliberately supplying misleading

      witnesses, witnesses without firsthand information, false

       statements, verifications, position statements and documentation

       as material facts to impede the administration of justice at the

      Illinois Department of Human Rights and Employment Security

       and EEOC, as well as, the pending administrative proceedings

      under oath, as well as, verification, and certification that would

      make SZPLETT whole.

386. Plaintiff also alleges and believes that defendant intentionally
committed obstruction of an administrative proceeding.




                                       74
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 78 of 363 PageID #:78




            Defendant knowingly and willingly engaged in unlawful

            conduct by altering Plaintiffs personnel file, supplying

            misleading witnesses such as: Elliott and Varvel,

            information and documentation, including, but not limited:

            the verilied response and position statements, as well as,

            company policies, procedures to impede the administration

            of   justice at the Illinois Department of Human Rights and

            EEOC, as well as, the anticipated impending judicial

            proceedings that would make SZPLETT whole.

     For example:

In Defendant's verified response and position statements to the IDHR

and EEOC it stated that:

    a. In November of 2014, Jay Elliott was hired. The hiring of

    Elliott required several executive level management of Kenco

    according to defendant Kenco's policy. Exhibit 21(Exempt hiring

    policy- CP-HR-1002) Plaintiff asserts that Elliott's hiring also

    included other persons herein referred to as the "Kenco Co-

    Conspirators" engaged in the contrived scheme to hire Jay Elliott

    as Vice President of Legal.

    b.Plaintiff contends this scheme was contrived to avoid culpability

    and liability of the company and its employer Mars, Inc.


                                      75
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 79 of 363 PageID #:79




          c.The true names and capacities of the Defendants named herein

          as "Kenco Co-Conspirators' are unknown to Plaintiff, who

          therefore sues them under these fictitious nEunes.

387   .   Plaintiff will amend this complaint to add their true names and

capacities when they become known.

388. The Plaintiff then alleges that all of the Defendants (presumably
including the "Kenco Co-Conspirators" Defendants) were the agents and

principals of all of the other Defendants and were acting in the course

and scope of their authority when they hired Jay Elliott.



389. According to Kenco Company Exempt Hiring Policy CP-HR-1002:
                   Executive Management         perform approval
                   authority duties for job  -
                                            openings and responsible
                   for nominating candidates for Vice President levels
                   and above.

                   CFO     performs approval authority duties as
                        -
                   described in this procedure

                   Kenco Management Senrices (KMS)
                   of Recruiting and Development         - Director
                                                        performs
                                                     - the exempt '
                   approval authority duties throughout
                   hiring process and responsible for the overall
                   implementation and enforcement of this policy for
                   the company.

                   KMS    Human Resources (HR) Recruiting
                       -
                  Assistant     performs duties outlined in this
                  procedure -to assure sites are notified of exempt


                                         76
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 80 of 363 PageID #:80




             job openings and that the exempt hiring process is
              followed through
              successful placement of a candidate.

              I(MS      Human Resources Employee Relations
                     -
              (ERl Administrative Assistant      enters all exempt
                                              -
              level background investigations into the company
              approved vendor's system.
              VP level and above positions will not be posted
              through the internal process. Those positions will
              be filled through nominations by VPs or above to
              be submitted to the Group President and CFO for
              final approval.

              Posting Process

             a. The Hiring Manager will complete form CP-HR-
             6.2.2.013-1 Exempt Job Posting Requisition Form,
             obtain the required signatures, and submit the
             completed form along with a current job
             description to the HR Recruiting Assistant.
             Postings for both replacement and newly created
             positions must be approved by the Hiring
             Manager's immediate Supervisor/Manager, the
             Director or VP of Operations, and the CFO.


                      i. All exempt job postings will be posted
             by the 2'dbusiness day after the HR Recruiting
             Assistant receives the required documents.
             For example: Job posting requests received by
             5:00 p.m. on Monday will be posted by 5:00 p.m.
             on Wednesday of the sarne week; Job posting
             requests received by 5:00 p.m. on Wednesday will
             be posted by 5:00 p.m. on Friday of the same
             week.

             Pending successful completion of the background
             check (external candidates only, except in
             Canada), the Hiring Manager will complete CP-HR-
             1002-4 Offer Letter Summary Form and send it to
             the HR Recruiting Assistant.

                                      77
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 81 of 363 PageID #:81




                Pending successful completion of the background
                check (except in Canada), the HR Recruiting
                Assistant Prepares the Offer Letter and emails to
                the Hiring Manager including the Relocation
                Bxpense Repagment Agreement (if applicable). The
                Hiring Manager will sign and extend the finalized
                Offer Letter to the selected candidate.
                Upon receipt of the signed Offer Letter and
                Relocation Expense Repayment Agreement, the HR
                Recruiting Assistant will obtain the final approval
                of the Director of Recruiting and Development.
                The HR Recruiting Assistant will forward the
                signed Offer Letter to the appropriate KMS-HR
                Payroll Supervisor via a flagged email.
                All new employees must complete their part of the
                new hire paperwork through the HRIS Onboarding
                Program before end of business on their first day
                of work with Kenco.

                a. In Canada, all new hire paperwork must be
                completed by end of business on the first day of
                work.

                Al1 employer-related new hire papenrork must be
                completed by the Site HR Administrator through
                the HRIS Onboarding Program within the first
                three (3) days of employment.

390. Plaintiff also alleges that Defendant committed a conspiracy to
obstruct and commit fraud against tJ'e court.


           a.            Elliott was the attorney of record at the Illinois

           Department of Human Rights and EEOC representing

           Defendant Kenco.




                                       78
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 82 of 363 PageID #:82




              b.           Defendant was informed \Mith every filed charge

              that the charges were cross filed with the IDHR and EEOC.

              Exhibit 52

              c. Defendant was informed of the EEOC's recordkeeping
              and reporting requirements. Exhibit 53

              d.    Defendant was also informed of the participation

              requirements for participating in a Fact Finding Conference.

              Exhibit 54

              e.    Defendant knew that there were no onsite personnel

              with first-hand knowledge.
              f.    Defendant knew and stated it had no one to gather its

              information from onsite.

                    Specifically, Elliott stated to the IDHR/EEOC

              investigator that instances that occurred prior to the hiring of

              Varve1   that he had as much knowledge as Varvel would have.

For example:

a.     Defendant knowingly and willingly charactenzed its Vice President

of Legal as an individual who had firsthand knowledge of the material

facts andlor matters relating to SZPLETT and others by allowing him to

be a participant in the Fact Finding Conferences at the Illinois

Department of Human Rights and EEOC investigation. Exhibit 55


                                         79
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 83 of 363 PageID #:83




b.       Defendant lo:ew that it had an admitted history to the court of a

pattern and practice of discriminatory treatment and impact towards African

Americans; specilically Jay Elliott informed the court of such in Brown vs.

Kenco. See {Case # 3:10-CV-668 in the Eastern Division of Virginia Richmond

Division)

c.       Defendant knew that      it had in excess of 30 discrimination      charges

filed against defendant at the Mars Manteno Facility.



 d.      Defendant knew that if it was found liable for these and other

 infractions, it would be a breach of its contract with MARS, Inc. and

 damage Mars, Inc. reputation.

 e.      Defendant knew that the charges were true.

 f   .   Defendant knew that it had violated a number or public policies.

 g.      Defendant crafted and implemented a plan to employ Jay

 Elliott as an employee of Defendant.

 h.      As a matter or ordinary course of business defendant Kenco and

 Elliott discussed Elliott's employment expectations, goals among other

 topics.

 i.      Defendant and Elliott agreed upon terms and conditions of

 Elliott's employment, including wages, benefits, goals, bonuses and

other fringe benefits.


                                           80
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 84 of 363 PageID #:84



 j.   Defendant and Elliott knew that Elliott's employment would

 circumvent Illinois Department of Human Rights and EEOC guidelines

 because Elliott was now an employee who would be able to speak on

 Defendants behalf

 k.   Defendant knew it would impede the exhaustive remedy process to

 the administration of justice.

 l.   Defendant knew Elliott was a licensed and practicing attorney in

 the state of Tennessee.

m.    Defendant knew that it had retained Elliott as outside counsel in

other employment related matters. See {Case # 3:10-CV-668 in the

Eastern Division of Virginia Richmond Division)

n.    Defendant had a well-established relationship with Elliott, Karen

Smith and Miller & Martin PLLC. {Case # 3:10-CV-668 in the Eastern

Division of Virginia Richmond Division)

o.    Defendant knew Elliott was not hired until after the incidents

occurred relative to SZPLETT and others.

p.    Defendant knew that Elliott was not physically situated at the

Mars Manteno facility.

r.    Defendant knew that Jay Elliott and others such as Tammi Fowler,

Senior Manager of Employee Relations, were in Chattanooga, Tennessee

and could not have been a party to the incidents in question.


                                       81
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 85 of 363 PageID #:85




s.    Plaintiff asserts that Defendants contemplated that it could

conspire with its employees and not be subject to conspiracy.

t.    Defendant knew that as an attorney, Elliott would not be allowed to

be an active participant in the Illinois Department of Human Rights and

EEOC investigations.

u.    Defendant knew that it had terminated some of the people that had

committed some of the discriminatory acts, such as Walsh and Manzello.

v.    Defendant lmew that it did not have supporting witnesses to

incidents.

w.    Defendant reported to Illinois Department of Human Rights and

EEOC that    it no longer had its witnesses.
y.    Defendant knew that incidents with SZPLETT and others had been

contrived.

z.    Defendant knew that it had excluded its onsite Human Resource

Personnel from formal investigations and disciplinary matters.

aa. Defendant knew it had usurped its onsite Human Resource
Personnel from performing their charged duties at the Mars Manteno

facility.

bb.   Defendant knew that the onsite Human Resource Personnel had

reported the discriminatory treatment of African-Americans and those




                                       82
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 86 of 363 PageID #:86




who opposed such treatment to management and Kenco's Corporate

office and that it was discussed with Mars, Inc.

cc.   Defendant knew that the onsite Human Resource Personnel had

opposed the discriminatory treatment of African-Americans and those

who opposed such treatment.

dd.   Defendant knew that it had misrepresented the onsite Human

Resource Personnel role in the reporting of the discriminatory

treatment of African-Americans and those who opposed such

treatment to the Illinois Department of Human Rights and EEOC.

ee.   Defendant knew that it had deviated from its organizationaJ

structure at the Mars Manteno Facility.

ff.   Defendant knew that Elliott had no firsthand knowledge of the

events which he testified to and about during the proceedings as the IDHR

and EEOC.

gg.   Defendants knew that "they" had not taken any steps to correct

the hostile work environment charged with racial animus that affected

SZPLETT's and others.

hh.   Defendants knew that it did not follow its own policies and

procedures.




                                       83
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 87 of 363 PageID #:87




ii.   Defendant knew that the Illinois Department of Human Rights and

EEOC would assume that Elliott and others were employees of Defendant

during the relevant period of times to which he testified.

ii.   Defendant knew that employrng Elliott would give Elliott a legitimate

reason to be a defense witness to Defendants'administrative proceedings.

kk    Defendant knew that the Illinois Department of Human Rights and

EEOC would rely on the information provided by Elliott to make an

administrative determination.

11.   Defendant knew that Elliott would have an unfair advantage over

Plaintiff and others, as an expert in law and subject matter    e>cpert   in
employment Law.

mm. Defendants knew that Elliott would be able to mitigate any

statements of fact made by claimants because of his expertise and.

knowledge.

nn.   Defendants knew that Elliott would be able to use his expert

knowledge to aid and abet Defendant in the violation of Henry and

others protected rights by deception; conspiracy; manipulation of

material facts to Defendant's advantage by presenting materially false

and misleading documentation and statements to the Illinois

Department of Human Rights and EEoc, impede and obstruct the

administration ofjustice, commit fraud on the court, and perjury.


                                       84
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 88 of 363 PageID #:88




oo. Defendants knew    it was evading the law and circumventing justice.

pp.   Defendants knew that evading the law and circumventing justice

at the IDHR and EEOC was a precursor to the obstruction of pending

federal court proceedings.

qq.   Defendants knew its behaviour's toward the employees of the

Mars Manteno, as well as, the administration of justice were/are

unlawful, disingenuous, and contrived.

rr.   Defendants knew that assault was a criminal offense and

punishable as such.

ss.   Defendants Kenco, Coffey and Moore knew that it aided and abetted

the violators of company and public policy that included but was not

limited to Walsh, Manzello,l,opez and other Kenco Corporate employees,

such Fowler, Jabaley, Hise, Spier and others.

tt.   Defendants knew that they had discriminated against SZPLETT.

uu.   Defendants knew it minimalized its actions.

w.    Defendants'counted on prevailing at the IDHR and EEOC.

Defendants also used this defeat to deter further action or to ward off

further investigations into Defendants systemic decimation.

ww. Defendants knew that this victory for them would cause
irreparable harm to SZPLETT and others.




                                       85
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 89 of 363 PageID #:89




)o(.   Defendant knew that providing misleading, deceptive, disingenuous

 statements and documents would inhibit SZPLETT and others ability to

prevail in their claims of discrimination.

 i.    Defendant knew it hired Varvel against and in violation of its own

policies.

ii.    Defendant knew that it intentionally created a hostile work

environment charged with racial animus for SZPLETT and others.

iii.   Defendant knew it had retaliated against SZPLETT by demoting him

and altering his terms and conditions of employment.

yy.    Defendant Kenco and its agents --Paula Hise, David Jabaley, Trace

Spier and other executive level C-Suite employees, such as David

Crawley-the CFO and the President -David Caines during the relative

times conspired with Mars Manteno employees, such as, but not limited

to: Kelvin Walsh, Mike Manzello, Mario lnpez, Stacey Bushey, Todd

Moore and Robert Coffey to violate Plaintiffs civil rights (a violation of 18

U.S.C. 1985), obstruct justice (a violation of 18 U.S.C. 1803) avoid

culpability.

391. Plaintiff also alleges that defendant committed obstruction by
       interstate travel and mail.

                  a. Defendants traveled between Illinois and Tennessee
                      in furtherance of their schemes.


                                        86
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 90 of 363 PageID #:90




     For example, specifically,     in September of 2O14 Trace Spier
  and Todd Moore agreed to meet in Illinois offsite of the Mars

  Manteno facility regarding the facility and its leadership.

     From the meeting between Spier and Moore a plan was

devised on how to address the issues at the Mars Manteno

facility. Exhibit 57
     Plaintiff asserts that the devised plan included hiring a
replacement for Plaintiff, that would perform his HR duties and

functions. Exhibit 58
     Plaintiff also asserts that Fowler traveled to Illinois in
furtherance of Defendants scheme to avoid liability and
culpability for when Defendants hired Varvel as the HR
Manager.

     Plaintiff also asserts that Hise also traveled to Illinois in
furtherance of Defendants schemes, when Hise met with
Coffey, Moore and Steve Sheldon regarding the Mars Manteno

warehouse and its leadership. Exhibit 59



           b.     Defendant knowingly and willingly used the United

                States Mail to further its scheme of fraud by 1) mailing

                                       87
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 91 of 363 PageID #:91




               Plaintiffs altered personnel file;2) supplying misleading

               information and documentation to impede the

               administration      of   justice at the Illinois Department of

               Human Rights and EEOC, as well as, the pending

               administrative proceedings that would make SZPLETT

               whole.

           For example:

                  1. Mailing to the IDHR and EEOC non-effectuated               and

                        irrelevant policies.

                  2,    Mailing to the IDHR and EEOC verilied responses and

                        positions statements under oath andlor pe{ury that

                        contained deceptive, fraudulent, misleading and

                        disingenuous information that reference policies and

                        procedures that were not relevant to SZPLETT to

                        commit fraud against the administration ofjustice and

                        SZPLETT.

392.   Elliott, as an officer of the court and subject matter expert,

and Defendants agents knew better.

393.   Plaintiff also believes that his rights were deprived under 42
u.s.c.s1983.



                                            88
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 92 of 363 PageID #:92




394.      Upon information and belief Plaintiff believes that the Illinois

Department of Human Rights, "herein after" the "Department" and its

investigators acted in concert with Defendants to engage in a course of

action that would deprive the plaintiff of his constitutional rights.

395.      The Illinois Department of Human Rights allowed Jay Elliott to

be the attorney for the Defendant and to act as a witness in SZPLETT'S,

McCurry's, $son's, Doss'and other complainant's cases before it.

396. The "Department" states in correspondence relative to participation
in the Fact Finding Conference that attorneys will not be allowed to

engage on behalf of any party.

397. The "Department" further states in such correspondence that a

failure to participate in the proceedings can constitute a default.

398. Defendant admitted to the "Department" on numerous occasions
that it had no witnesses, as it lost its contract and no longer had access

to its former employees. Exhibit 56

399. Plaintiff and others contend that there had to be a concerted
meeting of the minds between Defendant and the "Department" to allow

defendant to operate outside the authority granted to the "Department"

by law.




                                       89
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 93 of 363 PageID #:93




400. Jay Elliott was hired by the defendant after the relevant time of the
unlawful events of     SZPLDTT   that led up to his demotion and other
complainant's charges before the "Department."

401. Jay Elliott filed an appearance on behalf of Kenco dated October 1,
2Ol5 at The Illinois Department of Human Rights.

402. Jay Elliott and Lori Varvel attended and participated as witnesses

in the SZPLETT Fact Finding Conference.

403. SZPLETT'S legal counsel raised the issue of Elliott's and Varvel's
participation as witnesses as it related to the allegations outside their

scope of employment.

404. Plaintiffs attorney or attorney representative was not allowed to
participate in the Fact Finding Conference.

405. Plaintiff asserts that this was not the first time that this issue had
been raised with the Illinois Department of Human Rights relative to Jay

Elliott's employment relationship with the defendant.

406. At the   s€une   time, the Illinois Department of Human Rights,

Investigator was also presented with other documentation from other

witnesses Linkedln pages confirming either their employment dates and

or their physical location.

407. The Illinois Department of Human Rights allowed others such as

Lori Varvel to be witnesses on behalf of the Defendant without having


                                        90
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 94 of 363 PageID #:94




firsthand knowledge of the facts of SZPLETT and other complainant's

charges before the department.

408. The Illinois Department of Human Rights had been made apprised
of similar andlor the same instances of either persons being used as

witnesses by defendant that had no information and/or firsthand

knowledge or who were not employed by Defendant during the relevant

times of the occurrences complained of by Plaintiff.

40g. A reasonable person could conclude that there was an issue with

Defendants, considering that more than      2Oo/o   of the workforce filed

complaints; resulting in more than thirty (30) charges.

410. Racial slurs, epithets, degrading and demeaning remarks were
made about SZPLETT and others by Mars Manteno upper management

and Kenco Logistics Tammi Fowler, Dan D"y, David Jabaley and others.

Such as that they should just pay those "niggers" off.

4ll.   Kenco logistics lost its contractual agreement with Mars, Inc.

around January 2L,2015 and was subject to the WARN ACT. Kenco

violated the WARN Act by not timely and properly notifyirrg Plaintiff of the

mass lay off to meet the required 60 timeframe because of Plaintiff's

protected activity.

412. Plaintiff asserts that Defendant Kenco logistics failed to notify him
of the process to secure employment through the new management


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 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 95 of 363 PageID #:95




company, as it had with the other employees who had not engaged in

protected activity.

413. Kenco intentionally and willfully interfered with SZPLETT'S ability
to procure benefits and the terms and conditions of the WARN ACT by

not timely and properly notifying him of the mass lay off to meet the

required 60 day timeframe.

414. Plaintiff asserts this failure to notify plaintiff was due to plaintiff's

association with African Americans and his opposition to the

discriminatory of African Americans.

415. Plaintiff further asserts that this tailure to notify him was
intentional, as to prevent him from being in a position to have access to

information that could or would be damaging to Defendants. Since

plaintiff was not willing to act in complicity with management's race-

based stereotypes regarding African Americans and his unwillingness to

work with other Caucasian employees to discriminate against African

American employees.

416. Defendants intentionaliy and willfully interfered with Plaintiff's

business relationships and opportunities. Defendants failed to notify

Plaintiff of the process to secure employment through the new company

continue employment at the Mars Manteno facility, as it had with the

other employees who had not associated with African Americans or


                                       92
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 96 of 363 PageID #:96




opposed the discriminatory treatment of such persons, such as: Marci

DeRosier, Anthony Marquez and others.

418.   Defendants intentionally and willfully conspired to harass,

 retaliate and interfere with plaintiff's benelits and compensation by not

 paying him for the month of March as it had other employees who had

 not engaged in protected activity, such as Russell Shippits or Anthony

419. Defendants intentionally and willfully conspired to harass,
 retaliate and interfere with plaintiff's benefits and compensation by

 providing his physician with a false and inaccurate job description that

 was used to terminate Plaintiff's benefits because of his association and

 opposition to the disparate and disparaging treatment of African

 Americans.




                                       93
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 97 of 363 PageID #:97




                         DISPARATE TREATMENT

                    (INTENTIONAL DI SCRIMINATIO N)

Based on association and in reverse discrimination for opposition to
         disparate treatment on protected class persons


1.   Szplett was treated differently than other employees at the

Mars Manteno facility, such as Marci DeRosier or William Scherwin,

or Anthony Marquez, or Mike Manzello, or Kelvin Walsh who were

not in a protected class.

2.   Szplett was treated differently for opposing the disparate

treatment and impact by the actions of such malfeasors as: Kelvin

Walsh, Mike Manzello, Tammi Fowler, Mario Lopez, David Jabaley,

Robert Coffey, Todd Moore and others towards African Americans,

whistleblowers, and others who opposed such disparate treatment

of protected class persons

3.   Szplett also asserts that he was treated differently for his

association with African Americans, whisfleblowers, and others who

opposed such disparate treatment of protected class persons.

4.    Beginning in April of 2014, Szplett was ostracized from

meetings and a number of various routine job duties and tasks that
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 98 of 363 PageID #:98




he had regularly performed as the HR and Accounting Manager,

after his opposition to the disparate treatment and impact of

African Americans, whistleblowers, and others who opposed such

disparate treatment of protected class persons.

5.         Szplett was also marginalized, harassed, demoted, defamed,

retaliated against, subjected to hostile and racially charged work

environment, received a reduction of job duties, denied benefits,

defrauded out of compensation, defrauded out of disability benefits,

compensated inequitably and deprived of a proper retirement

amongst actions.

6.        Examples of adverse actions were:

               Szplett's being forced to work third (3rd) shift for a week;

          demoted from the position of HR Manager. Defendant Kenco

          admitted that its decision to hire Varvel as the HR Manager

          was because of Szplett's failing leadership that led to all the

          complaints of discrimination.

     b.        szplett was instructed to forward all informal and formal

          complaints to Tammi Fowler at Corporate or her assistant,

          Michelle Hisey who was a HR Generalist.
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 99 of 363 PageID #:99




     c.        Szplett was defrauded out of disability benefits when

          Defendants provided Szplett's physician with an intentionally

          false and misleading job description.

     d.        Defendants refused to compensate Szplett for the

          compensation for the month of March 20 15 as it had all other

          employees.

     e.        Intentionally withholding Szplett's unemployment by

          making false and misleading statements to the Illinois

          Department of Employment Securities that Szplett was a paid

          employee through March of 2015.

     f.        Conspiring and attempting to extort Szplett into helping

          Defendants'defend HR matters in exchange for his severance

          pay and his March 20 15 salary

     g.        Denying March's compensation to Szplett that other

          employees received who were not involved or knowledgeable

          about the impending and ongoing HR matters involving

          Defendants and others.

7.        Szplett asserts that at all times Defendants had a fiduciary

obligation to him and that the named Defendants controlled the
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 100 of 363 PageID #:100




terms and conditions of his employment, including hiring, firing,

promotion and discipline.

8.    Szplett asserts that there was no other lawful reason for

Defendants to make and execute adverse employment decisipns

towards him except that it was their deliberate, willful and

intentional discrimination against him in retaliation for his

opposition to the disparate treatment and impact of protected class

persons and his failure to act in complicity with the white racial

dominance and subordination of African Americans and those who

opposed this treatment.

                                Harassment
Based on association and in reverse discrimination for opposition to
    disparate treatment and impact on protected class persons


9.    Plaintiffs incorporate by reference all the preceding paragraphs

      of this Complaint as if    fully set forth herein.
 Plaintiffs incorporate by reference all the preceding paragraphs of

this Complaint as if fully set forth herein.
10.     Szplett's was subjected to more than a "campaign of petty

harassment."
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 101 of 363 PageID #:101




 1   1.   Szplett was harassed when he was isolated and ostracized

from performing his duties as the HR Manager.

 12.      Additionully, Szplett's was often asked to meetings regarding

African American employees, whereby he had no knowledge or

input of what was to occur and where management had already
contrived illegitimate pretexhral reasons for adverse employment

decisions to be imposed upon these persons, without investigation

and against company policy.

13.        Plaintiff asserts that his presence was to give an

appearance and feel of legitimacy for the actions being taken

against protected class persons.

L4.        Szplett asserts that he was expected to act in complicity

',\rith the white racial dominance and subordination of African
Americans.

15.       Failure to act in white racial dominance and subordination

of African American employees resulted in retaliatory actions of

harassment and adverse employment decisions.

16.       Szplett was also harassed when he was continually

subjected to critical, unwanted and unwarranted remarks, insults
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 102 of 363 PageID #:102




and stereotypes about African Americans and other protected class

persons.

L7,         For example, Kelvin Walsh the then GM referred to the

African American Quality Engineer, Maqr Madison, as              €ur.   educated

"Nigger Bitch" immediately after he insisted that Szplett accompany

him to walk her out after terminating her without cause.

18.         The accusations were patently false and were based on a

fictitious non-existent policy.

L9.         As a result of Madison raising various safety and health

issues relative to improper fire and ammonia evacuations; 2) pest

infestations of rodents, birds and bats; 3) adulteration and

contamination of raw materials for processing of packaged foods

and packaged food.s from pest infestat ion; 4l along with issues of

falsification documents and records that are auditable under the

Food Drug and Cosmetic Act as amended by The Food Safety and

Modernization Act, The Bioterrorism Act of 2OO2 and other

Presidential Directives.

20.        Madison also raised issues of racial discrimination.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 103 of 363 PageID #:103




21.        Additionally, there were a number of other racially

derogatory statements, slurs, and epithets made that were made by

Walsh and others to repulsive for Plaintiff to pen or repeat.

Other examples are:

22.        Amongst numerous comments made by Mike Manzello

who often made racial epithets, jokes, slurs and stereotypical

comments about African Americans such as an employee, Nathan

Doss.

23.        Nathan Doss was from the Southside of Chicago and

because of this he was being associated with and alleged to have

gang afliliations and ties with known reputed gang members, such

as Larry Hoover.

24.        MarrzelLo also went on to comment on how Mexicans

handle their women in gesturing that they raise the back of their

hand as to strike them.

25.        Manz,ello also talked about how black men handle their

women by calling them derogatory names such as bitches, whores

and so on as well as, referencing movies that highlight degrading

and derogatory behavior towards black women from men.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 104 of 363 PageID #:104




26.         For example, Manzello referenced the movie Anchorman

2-enacting scenes from the movie that illustrate his point of how

black men treated their women.

27.         Also Tammi Fowler, Senior Manager of Employee

relations suggested that she knew that an African American

employee, Nathan Doss ("Black ass") smoked "weed' everyday.

28.         These comments came soon after Doss had raised a

number of issues of disparate pay and other instances and forms of

discriminatory treatment, Fowler made these and other derogatory

comments.

29.         Moreover, Fowler and Dan Dey questionedManzello for

over three (3) hours as to why Doss had been promoted to lead.

30.         Fowler along'ilrith the then GM was responsible for Doss

being paid disparately.

31.         No other employee was subjected to not being paid the

prevailing rate upon hiring.

32.         In June of 2014, Paula Hise the Vice President of

Operations spoke to each shift at the facility regarding Walsh's

separation.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 105 of 363 PageID #:105




33.        Hise intimated how good of person Walsh was, that he

was a friend, that he would be missed and that she was sure he

would land on his feet.

34.        Hise in fact had been aware since at least June of 2013

that Walsh had been the ongoing subject and center of a number of

internal and external formal complaints of discrimination.

35.        Hise in her official capacity of an executive officer of the

company openly and unabashedly praised and condoned the

malfeasant and unlawful behaviours of Walsh ultimately continuing

to foster the already animus and racially charged work

environment.

36.        Hise publicly acclaimed her support for Walsh and his

beahviours; even to the detriment of those she addressed who had

filed various informal and formal complaints.

37,        Robert Coffey, the onsite Regional Distribution Manager

for Mars, Inc. was aware that Hise carne to the facility and

addressed the employees regarding Walsh's.

38.        Additionally, Robert Coffey had been noted saying this

how our southern brothers and sisters handle things.
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 106 of 363 PageID #:106




39.         Plaintiff also asserts that this was Robert Coffey's and

Mars'position regarding Walsh and his behaviou.rs, as Coffey nor

any other Mars'management rebutted or refuted the sentiments

proclaimed by Hise.

40.         Nor had Coffey or any other Mars management

addressed, mediated or remediated any of the numerous complaints

made by employees at the Mars or the racially charged hostile work

environment that existed at the Mars Manteno facility.

41.         Szplett asserts that Defendants are liable because of their

gross negligence in failing to follow company and public policy in

addressing, mediating or remediating any of the numerous

complaints made by employees at the Mars Manteno facility or the

racially charged hostile work environment that existed at the Mars

Manteno facility.

42.         Szplett was harassed in retaliation for his opposition to

discrimination and his association with African Americans when he

was forced to work third (3.a) shift allegedly to have a management

presence.

43.         Defendants suggest in their verified response that Szplett

was invited to work the third (3.a ) shift.

                                        10
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 107 of 363 PageID #:107




44.         However, Plaintiff contends that         it was not an invitation,
but a directive used to retaliate against Plaintiff.
45.         Szplett's alleges that this reason was pretextual, as

employees working off shifts did not have access to           plaintiffs office
to even know that plaintiff was working.

46.        More specifically, after 5:00 p.m. employees did not have

access to the office area where Szplett was located; therefore,

employees could not access Szplett nor even know that he was

onsite.

47.        Additionrlly, there was no communication sent to
employees informing them Szplett would be available.

48.        More specifically, it was common practice for third              (3ra1

shift employees to address any issues immediately after the end of

their shift, when the office was open.
49.        Other managers such as Marci DeRosier, Mike Manzello,

Bill Schwerin and Anthony Marquez,          w}rro   also only worked first     (1"t)

shift were not required to and did not work third          (3rd)   shift.
50.        Szplett also asserts that this directive to work third           (3.a1

shift c€une after Szplett had raised issues about the pay disparity of

the African American Spotters.

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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 108 of 363 PageID #:108




51.            Plaintiff also contends that the expectation to act in

complicity with management's race-based stereotypes regarding

African Americans and to work with other Caucasian employees to

marginalize, subordinate, minimize, exclude or disparage African

American employees he was a form of Quid Pro Quo in order to not

be subject to adverse employment decisions, harassment and

retaliation.

52.            Szplett's was also subject to another Quid Pro Quo when

defendant attempted to extort Plaintiff into obstructing justice and

aiding and abetting Defendant into obstructing justice.

53.            More specifically, Defendant required Plaintiff to agree to

help Defendant defend itself against lawful cases of discrimination,

retaliation, harassment and whistleblowing against Defendants in

exchange for his severance pay and compensation for the month of

March 2015.

54.   Other employees who were not involved in protected activity or

who did not have firsthand knowledge relative to the allegations or

matters before agencies, tribunals or courts were paid their

compensation and severance pay.



                                       72
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 109 of 363 PageID #:109




55.        SpeciIicully, during the week of February 26,2015,

Szplett's received an undated letter in the mail from defendant

Kenco, regarding Szplett's March compensation, vacation pay,

benefits and severance pay along with the terms and conditions to

Szplett receiving these monies.

56.        Additionrlly, Szplett was informed in this same

communication that he was entitled to this severance as a result of

not applying to continue working at the Mars Manteno facility.

57.        Plaintiff asserts that he was never informed of the

particulars on how to continue his employment at the Mars

Manteno facility.

58.        Plaintiff also contends that this failure to inform him of

how to apply for continued employment was contrived and done to

harass and retaliate against plaintiff for his protected activities.

59.        Plaintiff also contends that Defendants' failure to inform

him of how to apply for continued employment, coupled with the

refusal to pay plaintiff his March 2O15 wages, the denial of

Plaintiff's disability benefits based upon falsified and misleading

information submitted to Szplett's doctor, and denying Plaintiffs

unemplo5rment along with attempting to extort plaintiff into
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 110 of 363 PageID #:110




agreeing to aid and abet Defendants in obstructing justice in order

to receive his severance pay was part of a contrived scheme to

economically and psychologically harass and punitively punish

Plaintiff for his association with African Americans and in

opposition to disparate treatment and impact of protected class

persons

60.        This economic and psychological tacit and tool of

withholding an employee's compensation was often wielded.as a

two-edged sword used to terrorize arrd extort protected classes

persons into conforming to the "servant -master relationship" and

abandoning any ideas of revolting by not pursuing their rightful

claims of discrimination in order to retain their employment.

6L.        More specifically, in early September of 2OL4, in a

meeting with plaintiff, Edith McCurry-HR Administrator, Mario

Lopez-then GM and Tammi Fowler-Senior Manager of Employee

Relations and Plaintiff regarding McCurry paying an employee Dana

Woods (African American) his paid time off while being suspended.

62.        Woods' suspension was for discussing and commenting

on a news story in which Stacey Bushy (Caucasian female) over



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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 111 of 363 PageID #:111




head Woods speaking with another co-worker regarding the

incident.

63.         Fowler stated that paying Woods his paid time off

defeated the purpose of suspending him.

64.         Fowler stated that "hitting them in the pocket" would get

their attention.

65.         Lopez also indicated that McCurry had stolen from the

company by paying Woods.

66.         Fowler and Lopez were making a number of accusations,

innuendos and statements regarding McCurry's professional

standing, her ethics, her fiduciary obligations and the lawfulness of

her actions in paying Woods.

67   .      By this time Plaintiff realized that this had become a

contrived high tech scheme to adversely affect McCurry's

emplo5rment.

68.         Plaintiff intervened and took responsibility for McCurry

payrng Woods his earned paid time off.

69.         Plaintiff sensed that Fowler and Lop ez were expecting

that Plaintiff would act in complicity to cooperate and work together


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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 112 of 363 PageID #:112




with them to marginaltze, subordinate, exclude and penalize African
American employees.

70.        Plaintiff asserts that this was the expectation as this was

not the first time plaintiff had been placed in such a position.

7   L.     The first time Plaintiff was placed in that position was

after an African American employee, Mary Madison, filed charges of

discrimination and whistleblowing against various Defendants.

2OI4CFO475 cross-filed with the EEOC.

72.        McCurry was interviewed regarding the matter by

defendant Kenco's outside counsel.

73.        It was indicated that the internal report of discrimination
was reported to McCurry.

74.        McCurry affirmed that she had received this report of

discrimination along with the fact that she too had been

discriminated against.

75.        Defendant Kenco's counsel never spoke with Szplett

about this matter.

76.        Addition"lly, no one else spoke to Szplett about this
matter.



                                       16
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 113 of 363 PageID #:113




77.         Plaintiff was listed as a witness in Defendant's position

statement to the IDHR and EEOC.

78.         Plaintiff was also cited as the HR Manager in the 'same

position statement.

79.        Plaintiff was instructed to go the fact finding conference

on Defendants'behalf.

80.        It was never discussed with plaintiff what he was

expected to do and say.

81.        However, Plaintiff asserts that      it was the expectation to
act in complicity with management's race-based stereot5pes

regarding African Americans and his unwillingness to work with

other Caucasian employees to margina)ize, subordinate, nllinirnlze,

exclude or disparage African American employees he was subject to

adverse employment decisions.

82,        After the fact finding conference, Walsh, Fowler and

defendant's counsel Karen Smith made a number of disparaglng,

intimidating and derogatory remarks about the complainant who

was African American in the presence of McCurry.

83.        Defendants assumed that because plaintiff was an older

Caucasian male that would plaintiff would work together with other
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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 114 of 363 PageID #:114




Caucasian employees to marginalize, subordinate, exclude and

penaJize African American employees.

84.        The working environment that was somewhat once

manageable had now morphed into an open, active and unashamed

animus and racially charged working environment.

85.        The harassment, abuse and discrimination were               .




encouraged and expected by various levels of management from the

General Manager to the senior and executive level management of

Kenco and Mars to act in complicity with the white racial

dominance and subordination of African Americans and those who

opposed this treatment.

        a. For example, Tom White was written up through

           contrivance for failing to treat African Americans like

           "assholes." Tom White opposed such discriminatory

           treatment and constructively        re   signed effective

           immediately.

86.        Caucasian employees who do not disparage or minimize

African American employees have been and continue to be

adversely affected by hostile work environment at the Mars

Manteno facility. For example, in addition to plaintiff, this included
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 115 of 363 PageID #:115




Scott Marksteiner 20 1 sCA 1054 and 20 1sCA 1650 (cross-filed with

EEOC), Anastasia Sandness 2015CF0006 and 2015CF1655 (cross-

filed with EEOC) and Don Stanchues.

87.        Resistance and failure to comply with such

discrimination resulted in punishment. i.e. harassment, retaliation,

demotion, public humiliation, defamation, failure to promote,

termination, blackballing, economic and psychological sanctions,

differing terms and conditions of emplo5rment, uneven discipline

and other adverse actions.



                                 Retaliation
Based on association and in reverse discrimination for opposition to
    disparate treatment and impact on protected class perSons



88.        Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if          fully set forth herein.
89.        In retaliation for Szplett's failure to act in complicity with

management's race-based stereot5pes regarding African Americans

and his unwillingness to work \uith other Caucasian employees to

marginalize, subordinate, minimize, exclude or disparage African


                                       19
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 116 of 363 PageID #:116




American employees he was subject to adverse employment

decisions.

90.          Specific"lly, when Plaintiff and other Caucasian

employees voiced their opposition to the Mars Manteno racist

policies and practices or demonstrate their support of African

American employees they were routinely retaliated against and have

suffered extreme mental, physical and economic harms.

91.          For example, Szplett's was retaliated against when he

was forced to work third (3'a) shift allegedly to have a management

presence.

92.          Szplett's alleges that this reason was pretextud, Fs

employees working off shifts did not have access to          plaintiffs office
to even know that plaintiff was working

93.          Additionally, there was no communication sent to

employees informing them Szplett's would be available.

94.          Other managers such as Marci DeRosier, Mike Manzello,

Bill Schwerin and Anthony Marquez, whlo also only worked first (1"t
shift were not required to and did not work third (3.a) shift.        .




95.          The terms and conditions of Plaintiff's emplo5rment were

altered when Plaintiff had to work third (3ra) shift.

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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 117 of 363 PageID #:117




96.           In Plaintiffs fourteen years of emplo5rment, Plaintiff had

never been mandated to work third (3.a) shift.

97   .        Other examples of retaliation include, Mario Lopez

stating in his interrogatory response in case 16 cv 2273 that it was

Lopez and Tammi Fowler who decided to hire Varvel as the HR

Manager.

98.      Fowler stated in her interrogatories   in 16 cv 2273 that she
recommended that a HR Manager be hired.

99,      Admittedly, Fowler was at the center of the contrivance to hire

a HR Manager.

100.          Additiondly, Defendant Kenco provided as evidence to
the IDHR/EEOC in charge no. 2015CAL8O4 / 218A50670,

specificalty ExhibitL, the job posting for the HR Manager's position

with a posting date of September 25,2OL4.

101.          The September 25,2014 posting was a couple of weeks

after Plaintiff refused to act with complicity against McCurry for

paylng Dana Woods his earned paid time off while on suspension

for having a discussion and making a comment on a newsworthy

incident that upset a Caucasian woman.



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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 118 of 363 PageID #:118




LO2.        Plaintiff asserts that the Woods alleged matter was not

investigated by HR as there was no one on site to do an

investigation except Szplett and McCurry to which neither of them

performed such an investigation

103.       Addition"lly, there were no investigative notes presented
or placed in Woods file.

IO4.       Defendants had a habitual habit of failing to follow its

own policies relative investigations, discipline and other matters.

105.       Plaintiff also contends that Defendants hired Varvel to

further its active, open and unashamed discriminatory culture and
further its various schemes of obstruction of justice and to continue
to violate the protected rights of African Americans and those who

do not conform to the race-based stereotypes or disparaging's of

African American employees.

106.       Plaintiff also asserts that Varuel was hired because of all

of the charges of discrimination filed against them.

lO7.       Defendants have contended that Szplett's was never the

HR Manager.

108.       Plaintiff contends that he was demoted from the HR

Manager's position.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 119 of 363 PageID #:119




109.        Contrarily, Defendants contended that Szplett's was the

HR Manger in its motion for summarJrjudgment              in L6 cv 2273-
Docket #113 pg.7 and even had it listed as an undisputed fact.

1   10.     Plaintiff contends that Defendants have misrepresented

who plaintiff was and his role at different stages to keep up with its

current litigation.

11   1.    The inconsistent representations of Plaintiff by

Defendants have been used to obstruction justice and its

administration.

ll2.       Defendants should be estopped according to the

doctrines of Res Judiciata, Collateral and Judicial Estoppel from

changing its position on Szplett's position as HR Manager.

1   13.    Plaintiff also contends that he was not given the

opportunity or apprised of the process to apply to continue to work

at the Mars Manteno facility in retaliation of Szplett's failure to act

in complicity with management's race-based stereot5pes regarding
African Americans and his unwillingness to work with other

Caucasian employees to margi naTize, subordinate, mit:rrrnrze,

exclude or disparage African American employees.



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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 120 of 363 PageID #:120




LI4.        Plaintiff also asserts that he was not paid in March of

2015 in retaliation and in keeping with their moto of "hitting them

in the pocket' for his failure to act with complicity in regards to
fostering a work environment white racial dominance, racial

animus, hostility and subordination of African Americans.

115.        Plaintiff also asserts that he was discharged through the

elaborate contrived retaliatory scheme not give Plaintiff the

opportunity to apply to continue to work at the Mars Manteno

facility.

1   16.     Plaintiff contends that Defendants also denied his

unemployment in retaliation and in keeping with their moto of

"hitting them in the pocket' for his failure to act with complicity in
regards to fostering a work environment white racial dominance,

racial animus, hostility and subordination of African Americans.

lI7 .       Plaintiff also contends that Defendants also cut off and

denied plaintiffs disability.

118.        Plaintiffs disability was denied based upon fraudulent
and deceptive information to his physicians.

1   19.     Plaintiff also asserts that this is a part of an elaborate

contrived scheme to force Plaintiff to accept the terms and
                                       24
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 121 of 363 PageID #:121




conditions of helping Defendants obstruct justice by aiding and

abetting Defendants in defending against HR matters.

L2O.        Plaintiff also asserts that Plaintiff was also required to

waive any claims that Plaintiff may have had as a requisite to

receiving Plaintiffs severance.

L2L.        Plaintiff contends that these retaliatory actions

individually and collectively were done to extort Plaintiff's

cooperation to aid and abet Defendants in the continued violation of

protected persons rights, in the obstruction of justice and to avoid

being liable and culpable for violating these rights.



PRgTTKT
Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons
L22.        Szplett's was harassed and retaliated against when he

was forced to work third (3.a) shift allegedly to have a management

presence.

L23.        Szplett's alleges that this reason was pretextual, as

employees working off shifts did not have access to          plaintiffs office
to even know that plaintiff was working.


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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 122 of 363 PageID #:122




I24.          Additionally, there was no communication sent to

employees informing them Szplett's would be available.

L25.          It was common practice for third      (3ra)   shift employees to

address any issues immediately after the end of their shift, when

the office was open.

126.          Other managers such as Marci DeRosier, Mike Manzello,

Bill Schwerin and Anthony Marquez, who also only worked first                (1"t)

shift were not required to and did not work third           13ra)   shift.

I27   .       Szplett also asserts that the reason Plaintiff was not

compensated for March of 2OLS and not given his severance was

pretextual.

128.       Defendant Kenco asserted that Szplett did not work and

was not entitled to his March 2015 compensation.

129.       This was in contradiction to the communication received

in the mail by Szplett.
130.       No other person 'nrith firsthand knowledge of the HR

matters was not given their severance pay or March 2015

compensation or subjected to such terms and conditions.

131.       Szplett also asserts that Defendants rationale and

reasons regarding Plaintiffs job duties, title, compensation and

                                       26
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 123 of 363 PageID #:123




performance were pretextual, as Defendants have stated to various

agencies, tribunals and courts that Szplett's was the HR Manager.

r32.        Defendants in other instances have stated that Szplett's

job duties were not reduced and that the position had not existed

previously or that Szplett had never been the HR Manager.

133.        Szplett also asserts that Varvel performed less duties and

tasks than Szplett.

t34.        Szplett also contends that the reason that Defendants

proffered for paying Vawel more that Szplett was pretextual.

1   35.     Szplett also contends that it is actual job performance

and content          job titles, classifications or descriptions of the
              -not
work performed that defines what a job entails.

1   36.     Szplett also asserts that he had more than twice as much

experience than Vanel in human resource management and more

than four (4) times as much working experience in HR.

t37.        Szplett further asserts that there were no new duties,

tasks and responsibilities derived, added or adduced that had not

previously existed and have not previously been performed by

Szplett and his counterpart McCurry.



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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 124 of 363 PageID #:124




138.         Plaintiff also contends that employee issues had existed

since his employment at the Mars Manteno facility.

139.         Additionrlly, Defendants asserted that it was Szplett's
fault and failing leadership that caused all of the discrimination
charges to be filed

140.         Defendants have also stated that for performance

reasons Szplett was given a negative performance review.

l4l.         Szplett's vehemently contends that it was not his fault or

failing leadership that led to the discrimination charges being filed,

but it was his failure to act in complicity with management's race-
based stereot5rpes regarding African Americans and his

unwillingness to work with other Caucasian employees to

marginalize, subordinate, minimize, exclude or disparage African

American employees that he was subject to adverse employrnent

decisions.

L42.         Szplett's also asserts that he has never been given a

negative performance review.

143.         Specilically Defendants did not produce such a

performance review to the IDHR/EEOC nor did Defendant Kenco



                                       28
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 125 of 363 PageID #:125




produce one when Plaintiff requested his personnel lile relative to

the Illinois Personnel Review Act.

L44.        Szplett's asserts that Defendants have intentionally taken

inconsistent positions with regards to Szplett's job title and'duties.

145.        Plaintiff asserts that an employer's reason for an adverse

employment action is without factual basis that is evidence

suggestive that an employer might be lying about its true

motivation.


       OBSTRUCTION OF JUSTICE IN VIOLATION of 18 USC 1503,
                 1505& 1512(b), (c) & (f), L62I
Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons


146.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if          fully set forth herein.
L47.       Defendants have intentionally taken inconsistent

positions at various tribunals to avoid liability and culpability

relative to claims of discrimination.

148.       Defendants actions were deliberate and an obstruction to

justice and its administration.

                                       29
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 126 of 363 PageID #:126




149.         Defendants have provided half-truths, misleading and

patently false evidence regarding Plaintiff to various governmental

agencies

150.         Plaintiff also asserts that conflicting accounts about

employment actions "constitutes further evidence as to the honesty

of Defendants' belief in imposing an adverse employment decision"-

Pretext.

15   1   .   Defend.ants utilized the mail to further its schemes

violating protected class employees civil and constitutional rights,

deceit, fraud, extortion and obstruction ofjustice.

152.         Plaintiff asserts that Defendant Kenco's hiring Jay Elliott

as the VP of legal was a conspiracy to corruptly impede and.

obstruct the administration of justice.

153.         The hiring of Elliott in this case required approval of the

VP or higher, the CFO and the COO according to Defendants hiring

policy referenced in the matter of Henry V. Kenco et al.          1:   15-cv-

10961.

154.         Additionally, by sheer definition the hiring of an

individual requires a consensus and a common goal in exchange for

consideration; essentially a conspiracy.
                                       30
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 127 of 363 PageID #:127




155.        Specific"lly, an outlined agreement of mutual understood

expectations to be fulfilled on the parts of perspective employee and

employer for a sum of money as consideration for the fulfillment of

these mutually agreed objectives, goals and tasks.

156.       Jay Elliott being the counsel of record participated in

Plaintiffs fact finding conference as a witness-providing misleading

and patently false information and written documentation.

L57   .    Varvel also participated in plaintiffs fact finding

conference and she too did not have any firsthand information and

she too could not affirmatively attest to anything that occurred

relative to Plaintiffs allegations, as a vast number of these

instances occurred prior to Varwel's hiring.

158.       Pointedly, a nllmber of these things occurred prior to

both Elliott and Varvel's hiring.

159.       Plaintiff asserts and concurs with Elliott when Elliott

stated to the IDHR/EEOC investigator that instances that occurred.

prior to the hiring of Varvel that he had as much knowledge as

Varvel would have.

160.       Plaintiff asserts that neither Varvel nor Elliott had any

legitimate firsthand admissible knowledge to provide.

                                       31
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 128 of 363 PageID #:128




161.         Plaintiff has not only witnessed Elliott on behalf of

Defendants corrupfly influence, obstruct, and impede the

administration justice in Plaintiffls matters, but Plaintiff has also

witnessed Elliott and Varvel on behalf of Defendants further their

schemes to influence, obstruct, or impede, the due administration

of   justice of other litigants such as Vernon Henry, Edith McCurry,

and others.

t62.         Szplett's also contends that Elliott had sufficient enough

business relationships with his client that generated a "financial

motive" for him to conspire with the defendant to intentionally

obstruct, impede, delay and thwart the administration ofjustice

relative to Plaintiffand other litigants. In re: Henry v Kenco.et al.,

McCurry s Kenco et al., Doss v. Kenco et al., and others.

163.         This is evidenced by Defendants contrived schemes of

intentionally taking inconsistent positions with agencies, tribunals

and courts relative in avoiding liability and culpability relative to

claims of discrimination, retaliation, harassment and other

unlawful violations of public policy.




                                       32
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 129 of 363 PageID #:129




164.       Defendant Kenco has contended that Mars did not have

anything to do with the employment decisions or operations at the

Mars Manteno facility.

165.       Szplett's asserts that this simply not       trre. All operational
decisions, including labor management Mars participated in or

dictated. All costs were passed on to Mars, including legal fees.
166.       For example, Todd Moore agreed that there was a

desperate need for a HR Manager. Moore, Coffey and others also

approved and funded on behalf of Mars the hiring of Lori Varvel.

L67.       Mars also routinely discussed employees of the Mars

Manteno facility.

168.       Mars drove the workplace in every aspect, as it was Mars

facility, their product, their network, their vendors, and their

customers.

DEFAMATION OF CHARACTER

L69.       Defendants reported false and misleading information to

the IDHR/EEOC regarding Plainti{fs performance that was

damaging to plaintiffs professional standing and ca-reer.




                                      33
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 130 of 363 PageID #:130




L7O.        Specifically, Defendants stated that it was Szplett's failing

leadership that led to all the charges of discrimination filed against

them.

L7   L.     Szplett's had been employed at the Mars Manteno facility

since 2OOl and had not ever received a negative performance rating

or disciplinary action.

t72.        At all times Szplett's met respondents legitimate

employment expectations.

L73.        Defendants have never produced the alleged negative

performance review.



                               NEGLIGENCE
Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons
L74.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if fully set forth herein.

175.       Defendants are negligent for failing to comply with public

policies such as the Food Drug and Cosmetic Act as amended by

the Food Safety and Modernrz,ation Act, Presidential Directives and

the Bioterrorism Act of 2OO2, Title VII, The Civil Rights Act of 1964


                                       34
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 131 of 363 PageID #:131




as arnended    in I99I, OSH Act and other statutes and codified
standards.

L76.         Defendants are also negligent for failing to comply with

company policies relative to harassment, violence, discrimination,

investigations, and its quality management systems (which is

equivalent to the FDA's Qsit-21CFR 8.20)

I77.         Defendants established a duty of care and fiduciary

obligation when it extended a written offer of emplo5rment to

Plaintiff that Plaintiff was required to sign and return to accept

Defendants offer.

I78.         Defendants were negligent in their intentional and willful

discrimination of Plaintiff and other Caucasians that refused to act

complicitly individually and collectively to dispar&ge , rnarginaTize,

subordinate, mrnirnize and exclude African Americans.

179.         Defendants were negligent in their intentional and willful

discrimination of African Americans.

180.         Defendants were negligent in their hiring and retention of

employees who also fostered the hostile work environment and

aided and abetted Defendants in their malfeasance.



                                       35
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 132 of 363 PageID #:132




181.        This would include Kelvin Walsh, Mike Manzello, Tammi

Fowler, David Jabaley, Jay Elliott, Mario Lopez, Karl Meyers, Trace

Spier, Paula Hise and Pete Monstwillo amongst others.



Breach of Fiduciary duty

L82.        Defendants had a duty of care to Plaintiff and other

protected class persons to which they breached and failed to

adhere.

183.        Plaintiff asserts that Defendants Kenco and Mars created

a fiduciary duty to Plaintiff and other employees when           it reqrrired its
employees to sign its offer letter according to Defendants policy

CP.HR. IOO2 as a term and condition of employment.

184.        In addition, public policies such as the Food Drug and
Cosmetic Act as a.mended by the Food Safety and Modernization

Act, Presidential Directives and the Bioterrorism Act of 2OO2, Title

VII, The Civil Rights Act of 1964 as amended in 1991 and other

statutes and codilied standards also created this duty of care.

185.       For example, Plaintiff and others are to be free from a

racially hostile work environment.



                                       35
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 133 of 363 PageID #:133




186.       While Pete Monstwillo was still a temporar5r employee he

began engaging in racially motivated threats, white racial

dominance and subordination of African Americans.

L87   .     Despite Walsh and Manzello, the senior management, at

the facility being aware of Monstwillo's very open, active and

unashamed discriminatory proclivity he was hired as a full time

employee, given premium shifts, greater access to overtime and

better fringe benefits than African Americans such as Vernon

Henry.

188.       Specificdly, Pete Monstwillo made a number of racially

motivated threats, his repeated threats culminated in an attempt to

kill an African -American employee (Vernon Henry) with a forklift.
Even after he attempted to     kill him with the forklift, he continued to
call the facility and threaten Henry. The authorities were not

called.

189.       Within a day or so of tJ:is incident, Henry was discharged

on a contrived cell phone policy violation that did not exist.

190.       Specificdly, it was alleged that Henry posted a picture to

Facebook, to which Defendants were not able to produce on or from

Henry's Facebook.

                                       37
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 134 of 363 PageID #:134




19   1   .   Henry had previously filed formal charges of

discrimination in July 2Ol4 regarding Monstwillo racially motivated

threats that had been received in the mail by Plaintiff and

forwarded to corporate and senior management.

I92.         In furtherance of its scheme, Lopez and others

terminated the persons in the photo that Henry allegedly took to

legitimize Henry being terminated who was not in the picture nor

did they have any evidence linking Henry to having took this

picture, even if it was on Henrys Facebook page.

193.         The persons terminated were also minorities-African

American and Hispanic. Plaintiff asserts they were collateral

damage.

194.         Henry was unevenly and more harshly disciplined than

Monstwillo even though Monstwillo's known actions were far more

egregious than Henry's contrived allegations.

195.         Plaintiff affirmed for corporate, specifically Dan Dey, that

there was not a cell phone policy for the facility.

196.         Defendant admitted to osHA that it did not have a cell

phone policy or proof of such policy in the matter of Kenco Logistics

OSHA No. 985037.
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 135 of 363 PageID #:135




 L97.           Each policy at the facility accompanied a signature as

proof that an employee had been presented with the corresponding

policy.

 198.           There was no policy log for Henry or any other employee

regarding cell phone use.

 I99.           More specifically, Tammi Fowler stated that Monstwillo

was just horse playing.

2OO.            Fowler offered more harsh rhetoric about Henry's alleged

indiscretion.

2Ol.            Plaintiff and others also had a right to safe working

environment as well.

2O2.            There were numerous health and safety violationSl

ranging from: the spread of human feces, vermin infestation of

various kinds including bats, birds and mice and exhaust fan

failure to mediate ammonia spills amongst other potential public

health safety issues and crises.




1
  These health and safety violations affected every employee, their families and the surrounding
community potentially transmitting germs, viruses, and diseases to others from being exposed to human
fecal matter or being exposed to 9,500 pounds of ammonia. Additionally, Mars, Inc. consumers across
the globe could have been affected by food products contaminated by vermin or their feces.

                                                  39
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 136 of 363 PageID #:136




CONSPIRACY TO COMMIT BREACH OF FIDUCIARY DUTY

2O3.            Defendants in an effort to conceal the truth conspired to

obstruct justice and avoid culpability and liability about: 1) the

racially charged hostile work environment; 2l the peruasive and

rErmpant discrimination; 3) the adverse employment decisions

toward Plaintiff and others and; 4) the blatant breach in their duty

of care by: intentionally railing to uphold their fiduciary obligation of

tailing to investigate claims of discrimination, collusion, disparity of

pay, uneven discipline, and retaliation arnongst other issues raised.

2O4. Fowler recommended hiring a HR Manager.

2O5.      All of the discrimination claims were deemed frivolous by

David Jabaley Director of Operations, in our budget meeting in

October of 2014.

206.            Spier added a $100,000.00 to the budget to defend these

frivolous claims of discrimination.

2O7.            After the $100,000.00 increase in the budget to defend

these claims, Defendant Kenco hired Jay Elliott2 as its in house

counsel.


2The hiring of Jay Elliott according to Defendant Kenco's policy required the recommendation of the VP or
higher and the approval of the CFO and President of the company. Docket # 117 page 60 n. 25 &Docket
#82-13.
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 137 of 363 PageID #:137




208.             Elliott's hiring was a contrived scheme to further

Defendants schemes to breach Defendants'fiduciary obligations to

comply with public and company policy with regard to Plaintiff and

others.

2O9.            Addition"lly, Defendants intentionally interfered and
obstructed the administration of justice through strategically hiring

Elliott as an employee to participate in the administrative
processes.

2LO.            The administrative process at the IDHR and EEOC is a

requisite of Title VII claims.

2LL.            Defendants, specifically Elliott, provided inaccurate,

prejudicial and misleading accounts of information, testimony and

documentation3 to undermine the integrity of the process of

incidents that occurred, even prior to his employment.

2L2.            Plaintiff was on disability for work related stress prior to

Elliot being hired.

2L3.            Plaintiff went on short disability on or about Octobe r 27 ,

20L4.



3By way of U.S. mail.

                                        47
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 138 of 363 PageID #:138




2L4.        Elliott was hired in November of 2Ol4 and was not at the

Mars Manteno facility, but in Chattanooga, TN.

2L5.        Elliott also indicated that he lacked access to employees.

2L6.        Consequently, it can be easily inferred and asserted that

Elliott was not able to conduct an investigation regarding these

matters, as he lacked access to employees.

2L7.        It can also easily be inferred that any information that
Elliott provided or submitted to various agencies, tribunals and
courts relative to Plaintiff and other litigants was contrived,

capricious and inaccurate.

2L8. David Caines, David Crawley, Trace Spier, Paula Hise, Tammi

Fowler, David Jabaley and others participated in these conspiracies

that retaliated against and harassed Plaintiff for his non-complicity

to white racial dominance and black subordination.

2L9.        Plaintiff also asserts that these persons conspiratory

actions also obstructed justice and its administration.

22O.        Plaintiff also asserts that these conspiratory actions were

in violation of U.S.S. 1985.

22L.        Elliott became Defendants'proxy during the requisite

investigation stage to influence, prejudice and obstruct justice.
                                       42
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 139 of 363 PageID #:139




222.       Additionully, it can be asserted that Defendants,

including Elliott, had financial motives because of their respective

financial interests in the company to protect the interest of the

company (Kenco) and its client Mars.

223.       Defendants awarded employees performance bonuses.



      TORTIOUS !NTERFERENCE WITH PROSPECTIVE ECONOM!C


Based on association .,', ,:::Il1l"="n*ination ror opposition to
disparate treatment and impact on protected class persons
224.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if          fully set forth herein.
225.       Plaintiff contends that he was not given the opportunity

or apprised of the process to apply to continue to work at the Mars

Manteno facility with the new management comp€rny.

226.       Defendants indicated that information would be provided

to Plaintiff for Plaintiff to apply for continued emplo5rment.

227   .    Szplett contends this interference was in retaliation of

Szplett's failure to act in complicity with management's race-based

stereot5rpes rega-rding African Americans and his unwillingness to




                                       43
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 140 of 363 PageID #:140




work with other Caucasian employees to margrnaTrze, subordinate,

minimize, exclude or disparage African American employees.

228.        Plaintiff also asserts that his discharge was also a result

of this interference executed through the elaborate contrived

retaliatory scheme not give Plaintiff the opportunity to apply to

continue to work at the Mars Manteno facility.


       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons
229.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if       fully set forth herein.
23O. Defendants were aware that Plaintiff was out on disability
due to work related stress.

23L.       Defendants intentionally inflicted emotional distress

upon Plaintiff and Plaintiff's family, when it intentionally failed to

compensate Szplett as it had other employees for the month of

March in 2015.

232.       Defendants intentionally inflicted emotional distress

upon plaintiff and Plaintiffs family, when it intentionally denied

Plaintiff disability and unemployment benefits beginning in'
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 141 of 363 PageID #:141




February of 2015, while Plaintiff was out on disability due tb the

work related stress of the hostile work environment.

233.         Defendants intentionally inflicted emotional distress

upon Plaintiff and Plaintiffs family, when it intentionally did not

apprise plaintiff on how to continue his employment at the Mars

Manteno facility as it had other employees.

234.         Defendants intentionally inflicted emotional distress

upon Plaintiff and Plaintiffs family, when Defendants orchestrated

a Quid Pro Quo to extort Plaintiff into obstructing justice by aiding

and abetting Defendants in defending against the HR claims in

litigation in exchange for Plaintiffs sever€ul.ce pay.

235.         Szplett had not been compensated since January of

2015.

236.         Defendants intentionally inflicted emotional distress

upon Plaintiff and Plaintiffs family, when it intentionally demoted

Plaintiff.

237.         This demotion occurred less than three weeks after

plaintiff was on disability for work related stress.




                                       45
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 142 of 363 PageID #:142




238.        Defendants had been conspiring and furthering its

schemes prior to the hiring of Lori Varvel and Szplett's actual

demotion in November 2014.

239.        Plaintiff did not become aware that he had been demoted

until on or about April 8,2015, after being apprised of being
mischaracterized by Defendant as other than the HR Manager.



                       Hostile Work Environment

Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons


240.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if          fully set forth herein.
24t.        Addition"lly, this was a hostile work environment
charged with racial animus fostered and led by top level and

executive management.

242.        Necessar5r to the Kenco and Mars Manteno            racially

discriminatory culture was the expectation that Caucasians will

work together to marginaLtze, subordinate, disparage, and exclude

African Americans.


                                       46
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 143 of 363 PageID #:143




243,        For example, this was evidenced when Defendants offered

Plaintiff as a witness relative to wrongful termination of an African

American Quality Engineer, Mar5r Madison, who brought charges of

discrimination and retaliation.

244.        Defendants' outside counsel nor any of the management

at any time questioned or spoke with Plaintiff regarding the matter

prior to offering Plaintiff as witness to the IDHR and EEOC or prior

to the fact-finding conference that Plaintiff was instructed to attend

on the Respondent's part.

245.       However, Defendants counsel spoke with Edith McCurry

who aJfirmed that Madison had reported claims of racial

discrimination amongst other claims. McCurry also told how she

too had been discriminated against. McCurry was left off

Defendants witness list.

246.       Plaintiff asserts that management assumed that Plaintiff

would uphold this deep rooted racially discriminate culture through

the expectation of complicity of whites working together to

marginalize, subordinate, harass, berate and publicly humiliate

African Americans with white racial dominance, subordination.



                                       47
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 144 of 363 PageID #:144




247.        Defendants such as Walsh and Manzello would make

public spectacles out of African American employees by publicly

chastising, disciplining, berating, humiliating, or making some

derogatory comment.

248.        For example, Nathan Doss was accused of smelling like

weed. It was his day off, Manzello and others forced Doss to swipe

in or be terminated.

249.        Doss was written up for having a work time accident and

sent for a drug test.--Doss did not have a work time accident.

250.        Due to the fact that he was African American Doss was

stereot5rped to have been a person who smoked "weed."

25L.       They were certain that he would fail his         test. They halted
vacations of other employees in anticipation that he would tail and

they would have to cover his shift as a lead.

252.       Doss did not fail the     test. Upon him being called back to
return to work, Walsh publicly humiliated and berated him.and
continued to cancel his shift that he was to lead.

253.       Doss had raised issues of being disparately paid as a

lead. Doss was promoted without receiving the prevailing wage for
the position.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 145 of 363 PageID #:145




254,        Walsh and Fowler decided to incrementally pay Doss for

performing the job as a lead.

255.        No other employee in the history had been subject to

incremental pay.

256.        Additiondly, other leads were hired externally

immediately preceding and proceeding his promotion.

257   .    These persons were non-African Americans (Stephanie

Dumas and John Steele) and they were paid at the prevailing wage.

258.       This management scheme intentionally superimposed

different terms and conditions upon African Americans and

Caucasian employees who did not conform to race based

stereot5rpes regarding interactions with African American employees

or those Caucasian employees who did not disparage or minimize or

marginaluze or subordinate or exclude African American employees.

259.        Other examples: Mario Lopez, the then General Manager

told Mardy Ringo in September of 2Ol4 an employee of the Mars

Manteno facility , who was a Spotter, that he would fire hirn he said

that he was being racially discriminated against.

260.       Ringo and others were tenured Spotter's who were being

paid less than newly hired non-white Spotters and even non-white
                                       49
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 146 of 363 PageID #:146




persons who did not meet the employers or the Department of

Transportation requirements of holding a commercial driver's

license.

261.        David Jabaley, Director of Operations, stated "why don't

they just write his black ass a check" referring to Nathan Doss.

262.        Paula Hise, V.P. of Operations addressed the three            (3)

shifts of the facility telling the employees that Kelvin Walsh was a

good friend and he would be missed.--         A11   the while knowing, that

complaints had been made to corporate and that Walsh had been

named in numerous and formal informal charges of racial

discrimination.

263.        Hise a VP of the company condoned and promoted the

hostile work environment charged with racial animus as an

acceptable culture of the company.

264.       Hise, Jabaley, Fowler, Walsh and others have established

through their actions a direct causal link of its corporate culture

and the intentional deprivation of statutorily protected rights.

265.       Plaintiff asserts that defendant Kenco has an admitted

history of disciplining African-Americans more harshly than non-

African Americans.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 147 of 363 PageID #:147




266.        Plaintiff also contends that in the matter of Broutn          V.


Kenco, Karen Smith and Jay Elliott were the counsel for defendant

Kenco. Smith is the attorney who interviewed McCurry relative to

the Madison charges in November of 2OI3. Smith excluded

McCurry from the respondent's witness list. Smith included Plaintiff

as the HR representative and referenced Szplett's as the HR

Manager.

267.        Plaintiff also contends that Pete Monstwillo was an

employee of the Mars Manteno warehouse and that Monstwillo was

subject to the same policies as Plaintiff and others at tJ'e Mars

Manteno facility.

268.        Plaintiff also contends that Monstwillo was not punished

or held accountable with regard to public policy or the policies of

defendant Kenco or Mars relative to basic employment policies,

harassment, violence and safety; nor was Monstwillo punitively or

economically sanctioned for making numerous racially motivated

threats, his repeated threats and an attempt to kill an African           -
American employee (Vernon Henry) with a forklift amongst other

unlawful actions.


                                       51
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 148 of 363 PageID #:148




269.              Monstwillo was not punished for these racially motivated

acts. However, several days later while Henry was off on medical
leave from being attacked by Monstwillo, Henry was fired, while on

FMLA.

27O.              Plaintiff personally received Henry's doctors' note'that

was placed in his personnel file.

27 L.             Management was aware that Henry was out on medical

leave when he was terminated for contrived and pretextual reasons.

272,             Tammi Fowler alleged along with others that Henry

violated its cell phone policy and that Monstwillo was just horse-

playrnga. There was no ceIl phone policy.

273.             Monstwillo's consequences for violating company and

public policy, while a temporary employee, was being hired as a

fulltime permanent employee of the Mars Manteno facility.

274.             Plaintiff asserts that the prohibition on violence is

unequivocal and that it was Defendants'duty to refrain from hiring

Monstwillo.

275.             Defendants were negligent in the hiring and retentions of

Monstwillo as an employee, as his actions were foreseeable based
a Monstwillo called repeatedly threatening to kill Henry, after
                                                                attempting to kill him with the forklift. This
was especially unnerving considering there had been a shooting recently at the facility.

                                                        52
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 149 of 363 PageID #:149




upon immediate past behaviour that he was and continued to be

contributor of hostile and a racially animus work environment.

276.              Throughout Monstwillo's employment at the Mars

Manteno facility he cleaved to the ideolory of white racial

dominance and subordination of African Americans by often

boasting to African American employees that he could get them

fired; that he had supremacy over African-Americans (stating that

Henry should look in the mirror, as he was "nigger") and that

management was his friend amongst other rants.

277    .          Monstwillo's friends in management were a part of the

s€une management scheme                       that subjected Szplett to being
ostracized from meetings, denial of proper administrative support

by increasing workloads and adding additional duties outside of HR

and accounting to Szplett's counterpart McCurry along with

whimsical and ever changing and shorter deadlines that created

chaos and stress within the daily workflow of both Szplett's and his

counterpart McCurry.

278.             Additiondly, certain white employees repeatedly told
racially derogatory jokes and slurs, as well as, making racially
s Plaintiff asserts this also holds true for Kelvin Walsh,   Tammi Fowler, Mike Manzello, David Jabaley and
others who were not disciplined for unlawful acts reported.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 150 of 363 PageID #:150




motivated epithets and stereotypical terms such as;

"niggers,"*nigger bitche   s, ""   educated nigg er," "black asses. "

279.        This would include Kelvin Walsh, Mike Manzello,'David

Jabaley, Tammi Fowler and others.

28O.        Not only would Walsh make such remarks he even

encouraged other Caucasian management to do the same and treat

the employees like "assholes."

28L.        When Walsh was met with resistance to his ideolory he

punished the resistors.

282.        Specific"lly, Walsh contrived perform€urce issues relative

to Tom White and presented them to him in the form of a write-up.

White further resisted and immediately resigned

283.       White referenced in his written exit interview that the

workplace was discriminatory and management pressured lower

management and other whites to act in complicity \Mith white racial

dominance.

                              Civil Conspiracy
Based on association and in reverse discrimination for opposition to

    disparate treatment and impact on protected class persons



                                          54
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 151 of 363 PageID #:151




284.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if       fully set forth herein.
285. Defendants engaged in a number of civil conspiracies to violate

Plaintiff's protected rights.

286. The Defendants in an effort to conceal the truth about the

racially charged hostile work environment, the pervasive and

rampant discrimination, the adverse employment decisions toward

Plaintiff and others engaged in numerous civil conspiracies.

        a. For example Defendants: 1) hired Jay Elliott as in house

            legal counsel;21 rnarripulated, contrived and applied

           policies that either did not exist or that were created to

            accommodate tl:e current issue(s) at hand; 3) provided

           patently false and misleading information and or.

            documentation to agencies, tribunals and courts that

           blatantly went against their own policies; 4) breached

           their duty of care by failing to uphold their fiduciary
           obligation to follow company and public policy; 5) aided

           and abetted malfeasors that fostered and condoned such

           disparaglng acts against African Americans and other

           protected class persons; 6) intentionally failed to
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 152 of 363 PageID #:152




             investigate claims of discrimination, collusion, disparity

             of pay, uneven discipline, retaliation, amongst other
             issues raised and;71 provided misleading and p4tently

             false information and documentation that supported

             whatever non-discriminatory reason that was asserted to

             avoid culpability, liability and obstruct justice.

           b. Hired Lori Varvel as the HR Manager.

286.         Plaintiff also asserts that he was subjected to a

conspiracy to extort him out of his protected rights, his wages,

benefits and compensation.

287   .      Plaintiff also asserts the conspiracy to extort Plaintiff

would also defraud other litigants out of their civil and

constitutional rights by either having Plaintiff perjure himself by

either telling half-truths or making materially false statements or

committing fraud by omission to help Defendants defend or

overcome lawful litigation unlawfully.

288.         Essentially Plaintiff would be obstructing and impeding
justice.




                                        55
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 153 of 363 PageID #:153




289.          Plaintiff also contends that Defendants attempted to

extort him into aiding and abetting Defendants in obstructing

justice.

29O.          Plaintiff contends that this obstruction would continue to

violate the other protected class person's civil and constitutional

rights.

2gL.        Defendants in furtherance of its scheme contrived a plan

to place Plaintiff in a precarious economic situation to coerce him to

obstruct justice in order to receive his severa.nce pay.

292.        Defendants gave Plaintiffs physician a contrived and

inaccurate job description for Plaintiffs physician to make an

evaluation.

293.       Predicated on those duties and the responses, the

Hartford, the administrator for defendant Kenco's self-insured

disability plan deduced that Plaintiff was able to return to work.

294.       On Febru aty 26, 2OL5, Plaintiff received certified mail

from defendant Kenco indicating that the contract had been

terminated sooner than the expected date of March 29,2015.

295,       Addition"lly, it stated that since Szplett had not applied
to continue to work at the Mars Manteno facility that he was
                                       57
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 154 of 363 PageID #:154




entitled to receive severance by signing the release within forty five

(a5) days of the date of receipt.

296.        The most notable of the terms and conditions were that

Plaintiff had to waive any claims that he may have had against

defendant and that he had to help Defendants defend itself against

HR matters in order to receive his severance pay.

297.        Szplett's applied for unemployment a benefit due him.

298.        Szplett was denied because Defendant asserted that

Szplett was still an employee until March 29,2015 and was not

entitled to his unemployment benefits

299.        Plaintiff asserts that Defendants: 1) defrauded him out of

his disability benefits; 2) intentionally failed to inform him of how to

apply to continue his employment and ; 3) refused to pay Szplett as

it had the other employees who were not continuing their
employment at the Mars Manteno facility.

300.       Plaintiff asserts that defendants contrived a perfect

scenario to deprive Plaintiff out of his benefits, wages and

compensation to coerce Plaintiff into being extorted into waiving his

rights and defrauding others out of their rights by aiding arld


                                       58
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 155 of 363 PageID #:155




abetting defendants in obstructing justice and violating other

protected class person's civil and constitutional rights

301.        The scheme was to get Szplett into helping defendants'

defend HR matters in exchange for his severance pay.

302.        Szplett was never paid his March compensation or his

disability benefits.

303.        Plaintiff contends this was a deprivation and adverse

employment action that gives rise to liability.

3O4.        Additionully, Szplett asserts that Defendants have kept

Szplett's wages unjustly and for their undue enrichment and in

punishment for Szplett failure to act in complicity with

management's race -based stereot5pes regarding African Americans

and his unwillingness to work with other Caucasian employees to

marginalize, subordinate, minim ize, exclude or disparage African

American employees.



305.        Plaintiff also asserts that defendants have violated 18

USC L962 in regards to 18 USC 1503 and 18 U.S.C. 1985.

Defendants have used the mail to further its conspired schemes to

impede and obstruct the administration of justice and to extort

                                       59
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 156 of 363 PageID #:156




plaintiff out of his protected rights, his wages, compensation and

benefits, as well as, to defraud other protected class persons out of

their civil and constitutional rights.

Fraudulent concealme nt

306.        Addition"lly, Szplett asserts that Defendants conspired to
fraudulently conceal from Plaintiff that Defendants had harmed him

when Plaintiff was demoted from the HR Manager's position.

3O7   .     At no time did Defendants tell Plaintiff that Plaintiff

would be replaced.

308.        At no time did Defendants tell Plaintiff that he had been

replaced while he was on sick leave.

309.        Specific"lly, within three (3) weeks of Szplett's being on

disability he was replaced.

310.        Szplett contends that Defendants had been furthering its

scheme by conspiring to replace Szplett's.

31   1.     Szplett contends that Defendants had been actively

looking and recruiting for his replacement since September of 2OL4.

3L2,        Plaintiff also asserts t]:at Defendants had not made him

aware of any performance issues that would dictate or necessitate

such a change.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 157 of 363 PageID #:157




313.        Plaintiff also asserts that the first time he became aware

of an issue with his performance was in August of 2015, when

Defendants indicated that it was his railing leadership that led to

Defendants deciding to hire Varvel as the HR Manager.

3L4.        Szplett's also contends that numerous Defendants and

other malfeasors wanted Szplett to actively assist with the expected

complicity to the white racial dominance and subornation of African

Americans.

315.        Szplett's asserts that his failure to conform to this overt

racism prompted the change in the Manteno HR department.

316.       Addition"lly, it was not until the middle of April of 2015
that Plaintiff learned that Defendants began to mischaracteri ze hirn
as other than the HR/Accounting Manager in the matter of Edith

McCurry.



                           ADVERSE ACTIONS
Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons
3L7   .    Plaintiffs incorporate by reference all the precedin'g

paragraphs of this Complaint as if          fully set forth herein.

                                       61
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 158 of 363 PageID #:158




318.        Plaintiff contends that he had been working for

Defendants at the Mars Manteno facility for so mzrny years without

incident, Defendants' abrupt and cryptic adverse employment

decision supports the drawing of an inference that Defendants were

motivated by some impermissible reason.

319.        Plaintiff asserts that he was subjected to a reduction of

duties.

32O.        Plaintiff asserts that he was subjected to a demotion.

32L.        Plaintiff asserts that he was subjected to a title change.

322.        Plaintiff asserts that he was subjected to extortion.

323.        Plaintiff asserts that he was subjected to being defrauded

out of his benefits. i.e. unemployment and disability.

324.        Plaintiff asserts that he was subjected to the equivalent

of wage theft, as he was not compensated as other employees were

at the Mars Manteno facility who had not engaged in protective

activity.

325.        Plaintiff asserts that he was subjected to being depraved

of an opportunity to apply for and continue work at the Mars

Manteno facility.



                                       62
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 159 of 363 PageID #:159




326.        Plaintiff asserts that he was subjected to being evicted

from his office and reassigned to a cubicle in the back of the office

away from co-workers and management.

327.        Plaintiff asserts that he was subjected to harassment,

retaliation, disparate treatment, different terms and conditions of

emploSrment, and a hostile work environment amongst other things.

328.        Plaintiff asserts that he was subjected to damage to his

professional standing and defamation of his character.

329.        Plaintiff asserts that he was subjected to a temporaty

constructive discharge, when he was forced to take medical leave of

absence due to the intolerable and hostile working conditions at

the Mars Manteno facility.

330.        Plaintiff asserts that he was not equally paid as Varvel for

performing the job duties and tasks of the HR Manager.

331.        Plaintiff also asserts that he had more job duties and

tasks than Varvel consisting of accounting and other ancillary

tasks.




                                       63
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 160 of 363 PageID #:160




                          AIDING AND ABETTING

Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons



332.       Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if          fully set forth herein.
333.       Mars, Inc., Robert Coffey, Todd Moore, Paula Hise, Trace

Spier, COO, CFO, CEO/President and others aided and abetted

malfeasors such as Kelvin Walsh, Mike Manzello, David Jabaley,

Mario Lopez, Tammi Fowler, Jay Elliott, Lori Vanrel and others in

obstructing justice and its administration.

334.       Mars, Inc., Robert Coffey, Todd Moore and others aided

and abetted malfeasors such as Kelvin Walsh, Mike Manzello, David

Jabaley, Mario Lopez, Tammi Fowler, Pete Monstwillo and others to

intentionally discriminate against protected class person, including

Plaintiff, to include African Americans and those that either

associated with African Americans or who opposed disparaging or

refused to disparage African Americans.

335.       Furthermore, Mars, Inc., Robert Coffey, Todd Moore and

others aided and abetted malfeasors such as Kelvin Walsh, Mike


                                       64
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 161 of 363 PageID #:161




Manzello, David Jabaley, Mario Lopez, Tammi Fowler, Pete

Monstwillo and others in their gross negligence of allowing persons

to in intentionally discriminate against protected class person,

including Plaintiff, to include African Americans and those that

either associated with African Americans or who opposed

disparagrng or refused to disparage African Americans.

336.        Specific"lly, Mars, Inc., Robert Coffey, Todd Moore and

others refused to stop the gross negligence and intentional

discrimination of protected class persons, including Plaintiff and

others such as African Americans and those that either associated

with African Americans or who opposed disparaging or refused to

disparage African Americans.

337.       More speciIically, Robert coffey was on site and should

have known or been aware of the intentional discrimination, the

uneven discipline of protected class persons and the hostile work

environment.

338.       Coffey reported to Moore, who also had input and control

over the Mars Manteno facility and in turn Moore reported to others

such as Steve Sheldon



                                       65
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 162 of 363 PageID #:162




339.        Addition.lly, Plaintiff asserts that it is an employee's

right to have a safe working environment free from racial ariimus

and hostility and that Mars, Inc. Robert Coffey, Todd Moore and

others did nothing to stop this intentional, pervasive and systematic

discrimination.

340.        Mars, Inc., Robert Coffey, Todd Moore and others aided

and abetted malfeasors such as Kelvin Walsh, Mike Manzello, David

Jabaley, Mario Lopez, Tammi Fowler, Pete Monstwillo and others in

violating the constitutionally protected rights of protected class

persons, including Plaintiff, as well as, African Americans and those

that either associated with African Americans or who opposed
disparaging or refused to disparage African Americans.

341.       More specifically, Mars, Inc., Robert Coffey, Todd Moore

and others furthered the malfeasors conspired and intentional

schemes of discrimination by giving approval and funding to

execute the hiring of Lori Varvel to cover-up the intentional

discrimination along with weighing in on various schemes that

would defraud employees out their various protected rights.

342.       Specifically, Mars, Inc., Robert Coffey, Todd Moore and

others did not conduct any investigation to unearth the issues or to
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 163 of 363 PageID #:163




address them. Nor did they follow their policies or public policy

relative to employment.

343.        Mars, Inc., Robert Coffey, Todd Moore and others aided

and abetted malfeasors such as Kelvin Walsh, Mike Manzello, David

Jabaley, Mario Lopez, Tammi Fowler, Pete Monstwillo and others to

intentionally obstructed and impeded justice and its administration

relative to protected class person, including Plaintiff, to include

African Americans and those that either associated with African

Americans or who opposed disparaging or refused to disparage

African Americans.

344.        More specifically, Mars, Inc., Robert Coffey, Todd Moore

and others furthered the malfeasors conspired and intentional

schemes of obstruction by giving approval and funding necessar5r to

execute the hiring of Lori Varwel to cover-up the intentional

discrimination along with weighing in on various schemes that

would obstruction the administration of justice of the various

protected rights of protected class employees.

345.        Mars, Inc., Robert Coffey, Todd Moore and others aided

and abetted malfeasors such as Kelvin Walsh, Mike Manzello, David

Jabaley, Mario Lopez, Tammi Fowler, Pete Monstwillo and others to
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 164 of 363 PageID #:164




intentionally make materially false misrepresentations in violation

of 18 U.S.C. S 1001 to governmental agencies and tribunals in an

effort to further obstruct and imped justice and its administration

relative to Plaintiff and other protected class persons

346.        Defendants either acquiesce, made patently false or

misleading statements, half-truths or omissions.

347.        Mars, Inc., Robert Coffey, Todd Moore and others aided

and abetted and conspired with malfeasors such as Kelvin Walsh,

Mike Manzello, David Jabaley, Mario Lopez, Tammi Fowler, Pete

Monstwillo and others in breaching its duty of care owed to the

employees of the Mars Manteno facility.

348.        The duty of care to the employees was established

through Defendants Kenco and Mars requiring as a term and

condition of employment according to policy CP.HR. 1002, for

employees to sign and return the Defendants offer letter. The offer

letter was extended by Defendant Kenco's Vice President on behalf

of Defendants Kenco and Mars. The offer letter was countersigned

by Defendants Director of Employee Relations, Eddy Register.

349.       Additionally, such public policies as the Food Drug and

Cosmetic Act as arnended by the Food Safety and Modernization

                                       58
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 165 of 363 PageID #:165




Act, Presid.ential Directives and the Bioterrorism Act of 2OO2, Title

VII, The Civil Rights Act of 1964 as amended in L99l and other

statutes and codified standards also created and added to

Defendants duty of care.



THE ESTOPPELS

350.        In the case of Szplett Kenco/Mars in 2O15CA3O83 and

21BA51536 and IDOL Wage Claim No.- 15-00 1523, herein "szplett

Matters" in Defendants verified and position statements to the

IDHR/EEOC, and IDOL Defendants contended that Szplett was not

the HR Manager.

351   .     Defendants also contended throughout his matters at the

administrative level that Leonard Szplett was either the Office or

Accounting Manager for the Mars Manteno facility.

352.        More speciIically, Defendants have previously asserted

that they have never had an HR Manager's position before and the
position that Vanrel assumed was newly created with different

duties.




                                       59
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 166 of 363 PageID #:166




353.        Defendants made omissions, misrepresentations and

half-truths to the IDHR/EEOC, and IDOL to support their current
position within its current litigation.

354.        Plaintiff asserts that this was a violation of 18 U.S.C.         S


1001 and 18 U.S.C. S 1503.

355.        Szplett contends that the Defendants should be estopped

pursuant to the doctrines of Res Judicata, Collateral and Judicial

Estoppel.

356.        Plaintiff asserts that the doctrine of res judicata applies

when there is: (1) a final judgment on the merits, (2) identity of the

cause of action in both an earlier and later suit, and (3) identity of

parties or in privity in the matters.

357   .     Plaintiff asserts that Defendants have received the benefit

on several occasions from several government agencies and

tribunals for asserting the contention that Plaintiff was the HR

Manager.

358.        For example, Edith McCurry filed several charges of

discrimination with the IDHR and EEOC that were culminated and

concluded in the district court in case L6-cv-2273 Docket 125.



                                       70
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 167 of 363 PageID #:167




359.        In the case of McCurry V. Kenco/Mars in

2015CAL8O4 / 218A50670 and 2015CA2495 / 21E}A5 1 135 and                  in 16-
CV-2273, herein "McCurry," Defendants contended inconsistent

positions throughout the matter relative to Szplett's and his job title

and functions.

360.        Plaintiff asserts that initially in this matter Defendants

stated that he was the Office Manager in their position statement to

the IDHR and EEOC dated March 27,2015.

361.        Plaintiff asserts that this contention of Defendants in

response to McCurry's charges is what alerted him that thefe was a

potential issue relative to plaintiff being mischaracterization of not

being the HR Manager.

362.        Plaintiff contends that in Defendants' motion for

summary judgment in the McCurry matter l6-cv-2273 Defendants

contrarily asserted that Szplett's was the HR Manager and

enumerated that as an undisputed fact.

363.       The District court in its ruling acknowledged that Szplett

was the HR Manager.




                                       7l
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 168 of 363 PageID #:168




364.        Plaintiff asserts that Defendants have recently asserted

this same contention to the seventh circuit in its Appellee Brief in
McCurry vs. Kenco et al. 18-3206 filed on Februaty 22,2OI9.

36s.        More specifically, Defendants have asserted that they

have not been inconsistent in their positions relative to Szplett.

366.        Plaintiff asserts that Defendants have intentionally taken

inconsistent positions relative to avoiding liability and culpability

relative to claims of discrimination and other actionable causes of

action.

367   .     Plaintiff asserts that Defendants actions were deliberate

and an obstruction to justice and its administration.

368.        Plaintiff asserts that because this matter had a final

judgment on the merits and; the identity of the cause of action in

both the earlier and later suit shares the common nucleus of

operative facts asserted and; that SZPLETT and McCurry are the

sarne and in privity in the matters makes the doctrine of Res

Judicata applicable.

369.        Plaintiff also asserts that in the matter of Mary Madison

v. Kenco et al. 2016-FDA-04. Defendants contended to the

Department of Labor's administrative law judge in its two            (2)
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 169 of 363 PageID #:169




motions for summary decision in August of 2Ol7 that Szplett was

the HR Manager. The matter was decided on November 22, 2017.

37O.        Plaintiff also asserts that Defendants had also made this

sarne contention in its position statement        in Madison's IDHR charge
no.2O14CF0475 cross-filed'mrith the EEOC and to OSHA in 2013.

37L.        Plaintiff also asserts that collateral estoppel is applicable,

as collateral estoppel "refers to the effect of a judgment in

foreclosing litigation in a subsequent action of an issue of law or

fact that has been actually litigated and decided."

372.        Plaintiff contends that this doctrine holds true in this

matter from both the Madison and McCurry matters.

373.        Plaintiff asserts that there are a common nucleus of

operative facts asserted in Defendants summary decision/judgment

motions in the matters of Madison and McCurry of claims of

discrimination, retaliation and that Szplett was the HR Manager.

374.        Plaintiff assert that Defendants should be judicially

estopped as   it has now changed its theory in other matters pf
Madison and McCurry before the Department of Labor and the

district and appellate courts relative to that of Szplett's being the
HR Manager.

                                       73
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 170 of 363 PageID #:170




375.        Plaintiff also asserts that Defendants intentionally

attempted to support its contention that HR Manager's position

filled by Varvel was newly created and that he was just a m€ulager,

who was not the HR Manager.

376.        Varvel was an HR Generalist according to Defendants

evidence to the IDHR and EEOC.

377.        HR Generalist and HR Managers are not the same.

378.        Fowler's assistant was an HR Generalist.

379.        Plaintiff asserts that this contention of Defendants

regarding Varvel was a pretext.

380.        Plaintiff asserts that the doctrine of judicial estoppel

protects the integrity of the judicial process

381.        Plaintiff also asserts that this doctrine prohibits parties

from deliberately changlng positions according to the exigenbies of

the moment.

382.        Plaintiff vehemently asserts Varvel's hiring was a.pretext,

as it is apparent that Defendants were intentionally and willfully

inconsistent in the reasons it offered for hiring Varvel in this matter

versus the reasons given in other matters.



                                       74
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 171 of 363 PageID #:171




383.        Plaintiff asserts that Defendants conveniently used

Szplett's titte as HR Manager when it would benefit them in the

matters of Madison, McCurry and others.

384.        Plaintiff assert that Defendants intentionally evaded at

the administrative level of this matter the fact that Szplett's was the

HR Manager to cover up the true temporal proximity between

Szplett's and others protected activity and the adverse employment

decisions that SZPLETT'S and others were subjected to.



                               QUID PRO QUO

Based on association and in reverse discrimination for opposition to
disparate treatment and impact on protected class persons


385.        Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if          fully set forth herein.
386. Necessar5r to the Kenco and Mars Manteno racially

discriminatory culture was the expectation that Caucasians will

work together to margrnalize, subordinate, disparage, and exclude

African Americans.

387.       Failure of Caucasians to adhere to working together to

marginalize, subordinate, dispar&ge , and exclude African Americans
                                       IJ
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 172 of 363 PageID #:172




would result in adverse emplo5rment actions such as: write-ups,

constructive discharge(s), disciplinary actions of suspension and or

demotion.

388.         For example, Tom White was written up through

contrivance for failing to treat African Americans like "assholes."

Tom White opposed such discriminatory treatment and

con   structively   re   signed   effe   ctive immediately.

389.         White indicated that the working environment was

discriminatory.

390.         Scot Marksteiner was demoted, suspended and

eventually terminated for his failure to act in complicity with other

Caucasians to work together to margrnalize, subordinate, disparage,

and exclude African Americans.

391.         Plaintiff was also was ostracized from meetings and a

number of various routine job duties and tasks that he had

regularly performed as the HR and Accounting Manager along with

reducing his administrative support.

392.         Plaintiff was also mandated to work 3'd shift and

eventually demoted from the HR Manager's position for failing to

meet the unlawful illegitimate expectations that Caucasians will
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 173 of 363 PageID #:173




work in complicity to margina)ize, subordinate, disparage, and

exclude African Americans.

393.        Plaintiff asserts that failure to act in complicity with

Caucasians to marginalize, subordinate, disparoge , and exclude

African Americans altered the terms and conditions of his and other

employees at the Mars Manteno facility.

394.        Additionally, Szplett's was subject to another form of

Quid Pro Quo from Defendant when it required plaintiff to agree to
help Defendant defend lawful charges of discrimination, retaliation,

harassment and whistleblowing and its lawsuits against

Defendants in exchange for his sever€ur.ce pay and compensation for

the month of March 2015.

395.        Specificdly, during the week of February 26,2OL5,

Szplett's received an undated letter in the mail from Defendant

Kenco, regarding Szplett's severance pay and the terms and

conditions to Szplett's receiving his severa.nce pay.

396.        Additionally, Szplett's was informed in this sarne

communication that he was entitled to this severance as a result of

not applying to continue working at the Mars Manteno facility.


                                       77
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 174 of 363 PageID #:174




397.        Plaintiff asserts that he was never informed of the

particulars on how to continue his employment at the Mars

Manteno facility.

398.        Plaintiff also contends that this failure to inform him of

how to apply for continued employment was contrived to coerce

Plaintiff into being placed in a situation where it would be easy to

extort Plaintiff into aiding and abetting Defendants into obstructing

justice for Plaintiff and others by economically depriving him of

monies and benefits due him.

399.        More specifically, Defendants scheme entailed not paying

Szplett since January of 2015. Szplett had been not been paid in

over a month, when Defendants attempted to extort Plaintiff into

obstructing justice and; under this contrived scheme it would be

more than a month before Szplett could receive his unemployment.

400.        Plaintiff asserts that this was done to extort Plaintiff into

obstructing justice by aiding and abetting Defendants in violating

the constitutional rights of protected class persons.

4OL.        Plaintiff asserts that this was done to extort Plaintiff into

obstructirrg justice by aiding and abetting Defendants in the



                                       78
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 175 of 363 PageID #:175




obstruction of justice and its administration to avoid liability and

culpability.

4O2.         Plaintiff asserts that this was done to harass and

retaliate against plaintiff for his association with African Americans

and his protected activities that opposed discrimination in the work

place.

                                     RICO

               (Federal Civil RICO, 18 U.S.C. $1962(c) & (d))

 Defendants Kenco Losistics. The Kenco Groun. Trace Spier. Paula
Hise. Mars Inc.. David]abaltiv. Eddv Resister.^iammi Fowler. David
 Crawley, and foeside4t,_Todd Mgor-e, R6bert Coffey, Steve Stieldon
                   and Other Unknown Persons
403.         Plaintiffs incorporate by reference all the preceding

paragraphs of this Complaint as if       fully set forth herein.
4O4.         Defendants violated RICO and Plaintiff was injured as a

result.

405.         Each Defendant is a "person" capable of holding legal or

beneficial interest in property within the meaning of 18 U.S.C.                  S

1e6 1 (3).

406.         Each Defendant violated 18 U.S.C. S 1962(c) & (d) bV

the acts described in the prior paragraphs, and as further
described below
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 176 of 363 PageID #:176




407.        The Enterprise, Defendants Kenco Logistics, Mars,

Inc, Jabaley, Tammi Fowler, Mario            Lopez,       , together with (1)
the Kenco Group,       (21 one   or more former officers and former
directors of Kenco, (3) employees, officers and directors of the
Kenco Group-controlled companies (including David Caines,

Sandra Kennedy, Trace Spier, Paula Hise, Eddy Register, David

Jabaley, David Crawley), and (4) Mars, Inc, together with                (1)

one or more former officers and former directors of Mars, Inc.

(3) employees, officers and directors of the Mars, Inc. including

Robert Coffey, Todd Moore, Steve Sheldon and others form an

association-in-fact for the common and continuing purpose
described herein and constitute an enterprise within the

meaning of 18 U.S.C. S 1961(4) engaged in the conduct of their

affairs through a continuing pattern of racketeering activity.
408.        The members of the enterprise functioned as a

continuing unit with an ascertainable structure separate and
distinct from that of the conduct of the pattern of racketeering
activity. There may also be other members of the enterprise
who are unknown at this time.


                                       80
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 177 of 363 PageID #:177




4O9.         Alternatively, the Kenco Group companies each

constitute a separate enterprise within the meaning of 18 U,S.C.S

1e6 1 (4).

4LO.         Alternatively, the Kenco Group-controlled companies

together constitute an enterprise within the meaning of 18

u.s.c. s 1e61(4).
4LL.         Alternatively, the Mars, Inc companies each constitute

a separate enterprise within the meaning of 18 U.S.C. S 1961(4).

4I2.         Alternatively, the Mars, Inc.-controlled companies

together constitute an enterprise within the meaning of 18 U.S.C.S

Le6r(41

413.         Each enterprise has engaged in, and their activities

have affected, interstate commerce

4L4.         Pattern of Racketeering Activity. Defendants, each of

whom are persons associated with, or employed by, the

enterprise, did knowingly, willfully and unlawfully conduct or
participate, directly or indirectly, in the affairs of the enterprise

through a pattern of racketeering activity within the meaning of
18 U.S.C. S 1961(1), 1961(5), and 1962(cl.



                                       81
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 178 of 363 PageID #:178




415          The racketeering activity was made possible by

Defendants' regular and repeated use of the facilities and

services of the enterprise. Defendants had the specific intent

engage   in the substantive RICO violation alleged herein.
416.         Predicate acts of racketeering activity are acts which

violate the provisions of the U.S. Code enumerated           in   18 U.S.C.   S


l96L(1XA) & (B), as more specifically alleged below. Defendants

each committed at least two such acts or else aided and abetted

such acts.

4t7.         The acts of racketeering were not isolated, but rather

the acts of Defendants were related in that they had the same or

similar purpose and result, participants, victim(s) and method of
commission. Further, the acts of racketeering by Defendants

have been continuous.

418          There was repeated conduct during a period of time

beginning in approximately 2OL3 and continuing to the present,

and there is a continued threat of repetition of such cond'uct.

4t9.         The association-in-fact enterprise and the alternative

enterprises, as alleged herein, were not limited to the predicate

acts and extended beyond the racketeering activity. Rather, they
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 179 of 363 PageID #:179




existed separate and apart from the pattern of racketeering

activity for the legitimate business purpose Defendants.

            Plaintiff asserts that Defendants have had and do have

legitimate business plans outside of the pattern of racketeering

activity.

42L.        Plaintiff specifi cally alleges that Defendants participated

in the operation and management of the association-in-fact'
enterprise and the alternative enterprises by overseeing and

coordinating the commission of multiple acts of racketeering as

described below.

42.         Predicate Act: Use of Mails and Wires to Defraud

Plaintiff through extortion in Violation of 18 U.S.C.          SS 1341 and

1343. Defendants committed acts constituting violations under
18 U.S.C. SS 1341 and 1343 in that they conspired to devise and

devised a scheme or artifice to defraud money through extortion

from Plaintiff in a quid pro quo scheme by means of false br

fraudulent pretenses, representations, and promises.
4%,         For the purpose of executing their scheme or arfifice,

Defendants caused delivery of various documents and things by



                                       83
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 180 of 363 PageID #:180




the U.S. mails or by private or commercral interstate carriers, or

received such there from.

4%.         Defendants also transmitted or caused to be

transmitted by means of wire communications in various
writings, signs and signals that furthered Defendants schemes.
4%.         The acts of Defendants set forth above were done with

knowledge that the use of the mails or wires would follow in

the ordinary course of business, or that such use could'have
been foreseen, even if not actually intended.

4%.         These acts were done with an intentional reckless

disregard for Plaintiff and others.

427.        Defendants knew that its specific intent was to

advance Defendants' scheme or artifice to obstruct justice to

avoid culpability and liability for the violation of Plaintiff and

others federally protected rights under Title VII, USC 1981 and

other federally protected rights.
428.        Defendants carried out their scheme in different

states and could not have done so unless they used the U.S.

mails or private or commercial interstate carriers or interstate
wires.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 181 of 363 PageID #:181




429. In furtherance of their scheme alleged herein, Defendants

Kenco, The Kenco Group, Spier, Hise, Jabaley, Lopez, Register,

CFO, COO, CEO, President of Kenco Group, Mars, Inc., Coffey,

Moore, Sheldon and others communicated among themselves

and with Plaintiff in furtherance of the scheme to defraud and

extort Plaintiff, as well as, obstruct justice and its
administration to avoid culpability and liability in the violation
of Plaintiff and others federally protected rights..

430.         These communications were typically transmitted by

wire (i.e., electronically) andlor through the United States
mails or private or commercial carriers. Defendants also
transmitted or caused an undated letter regarding Plaintiff's
severance, compensation and unemployment benefits received

by Plaintiff during the week of Febru ary 26, 20 15 through the

U.S. mail.

43L.         Furthermore, Plaintiff asserts that communications
took place with Defendants and unknown officers and directors
of Kenco and Mars during the course of the termination of

Kenco Logistics as the 3.d party manager for MARS, Inc. in

2015 to carry out this transition.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 182 of 363 PageID #:182




432.        Specifically, Defendants used wire andlor U.S. mail

or private or commercial carriers to coerce and extort Plaintiff

out of his compensation, severance and unemployment benefit
for the purpose of continuing their fraudulent scheme to
obstruct justice to avoid liability and culpability for engaging in
the violation of employees federally protected rights under Title

VII, USC 1981 and other federally protected rights.
433.        More specifically, Defendant Mars, Inc., its officers,

directors and employees caused the January 2O15 termination
letter to be disseminated by U.S. mail or private or commercial
carrrers

434.        Correspondence took place between Mars and Kenco

regarding the transition.

435.        Specifically, Judy Craig discussed notifying the

employees of transition by email with Mars.

436.        Specifically, in early February Ptaintiff was notified

by mail by Mario Lopez that Kenco had lost its contract.

437   .     Specifically, in February of 20 15, Plaintiff was

notified by Eddy Register that he had failed to apply for
continued employment. Plaintiff was told that he was entitled
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 183 of 363 PageID #:183




to his salary for March, his severance and unemployment after
March's compensation was exhausted; {in exchange} if he

agreed to waive his rights to pursue claims against

Defendant(s). Plaintiff was also to help Defendants defend

against HR related matters and litigation.

438.        Essentially, Defendants conspired to coerce Plaintiff
into being extorted out of his protected rights and to obstruct
justice and its administration for Plaintiff and other former and
then current employees of the Mars Manteno facility in a quid
pro quo for his salary, his severance and his unemployment

through the U.S. Mail.
439.        Plaintiff was given forty-five (a5) days after receiving
this offer through the U.S. Mail to accept this offer.
44O.        Within those forty-five (a5) days, on or about April
L5, 20 15 Plaintiff became aware that Defendants were

attempting to obstruct justice and its administration, when
Plaintiff began being mischa racterized as other than the HR
manager to avoid culpability and tiability in the matter of Edith

McCurry IDHR and EEOC charge no. 2O15CAI8O4/21El450670.


                                       87
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 184 of 363 PageID #:184




441.        More specifically, on April 1,2O15, the IDHR and

EEOC received a communication from Defendant Kenco in

charge no. 2O15CAL8O4 I 218A50670 indicating that Szplett was

not the HR Manager.
442.        It was at this point that Plaintiff had a suspicion that
Defendants were engaging in some impermissible or unlawful

acts.

443.        Plaintiff realized that once again Defendants expected
Plaintiff to act in complicity to expectation that Caucasians
would work together to purport white racial dominance and the
subornation of African Americans through disparagement,

marginal ization, minimizati o n and exclu sio n.

444.        Plaintiff's then and current legal counsel contacted
Defendant Kenco regarding Plaintiff's March compensation.

445.        Defendant Kenco stated by email that Szplett was not

entitled to the March compensation because he did not work.
446.        No other employee who received March's

compensation worked




                                       88
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 185 of 363 PageID #:185




447.        Shortly thereafter in May of 20 15, Plaintiff filed

charges at the IDHR, EEOC and the Illinois Department of

Labor herein after "IDOL."

448.        In late August of 20 15, Plaintiff learned from
Defendants position statement that according to Defendant

Kenco, Szplett was the reason for all of the discrimination

charges being filed.

44g.        S   zplett also learned in the same position statement

that Defendants hired Lori Varvel because of all of the charges
of discrimination that were being filed.

450.        This statement was sent to the IDHR and EEOC by
Defendants through the U.S. Mail.

451.        This was the first time that Defendants had
communicated to Szplett's that he had been relieved of his job

duties and tasks as the HR Manager, as Szplett had been out
on a constructive medical discharge due to the hostile work

environment.

452.        Defendants were aware that Plaintiff was out on

medical leave due to work related stress


                                       89
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 186 of 363 PageID #:186




453.        Plaintiff asserts that at a minimum Defendants
communicated this information amongst themselves by email.

454.        Plaintiff asserts that Defendants used wire andf or
U.S. Mail or private or commercial carrier to submit its position

and verified statements and supporting documentation and

evidence   in charge no. 2O15CA18O41218A50670 in furtherance
of their scheme to obstruct justice and its administration.

455.        Plaintiff also asserts that Defendants obstruction of
justice and its administration was to avoid liability and              '




culpability through providing misleading and fraudulent half-
truths that would continue to violate Plaintiff's and others
federally protected rights.

456.        Defendants' quid pro quo scheme to extort Plaintiff

also caused Plaintiff to be defrauded out of his benefits and

thousands of dollars.
457.        Defendants shared objective was to avoid culpability

and liability of Title VII, S 1981 and other federally protected

claims by obstructing justice and its administration through
contrivance.


                                       90
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 187 of 363 PageID #:187




458.         Defendants committed acts constituting violations

under 18 U.S.C. S1952 in having devised or intended to devise
a scheme or artifice to obstruct justice and its administration.

459.         Defendants committed acts constituting violations

under 18 U.S.C. S1952 in that having devised or intended to
devise a scheme or artifice to defraud and extort plaintiff out of

his benefits, compensation, severance and protected rights in a
quid pro quo exchange to force Plaintiff to aid and abet               '




Defendants in obstructing justice and its administration.

460.         Specifically, in September of 20 14 Trace Spier.and

Todd Moore agreed to meet.

46L.         Both individuals traveled to Illinois to meet offsite
regarding the Mars Manteno site and its leadership.

462.         From the meeting between Spier and Moore a plan

was devised on how to address the issues at the Mars Manteno

facility.
463.         Plaintiff asserts that the plan included hiring a
replacement for Plaintiff to perform his HR duties and

functions.


                                       91
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 188 of 363 PageID #:188




464.        Plaintiff asserts that in furtherance of this scheme
Defendants used electronic mail, telephone and internet to

comprise and finalize its plans to hire a HR Manager.

465.        Plaintiff contends that defendants used the internet
to advance its scheme when it advertised the position of HR
Manager in September of 2OL4.

466.        Plaintiff contends that when Defendants advertised
the position of HR Manager, Szplett was holding the position of
HR Manager.

467   .     Plaintiff also contends that by email Todd Moore and
Robert Coffey of Mars, Inc. approved the cost of hiring the HR

Manager.

468.        Plaintiff asserts that Todd Moore was located in
Chattanooga, TN and Robert Coffey was located in Manteno, IL.

469.        Plaintiff also asserts that Defendants scheme could
not have been furthered without U.S. mails or private or
commercial interstate carriers or interstate wires.

47O.       These acts were done intentionally and knowingly with

the specific intent to advance Defendants' scheme or artifice to

obstruct justice and its administration to avoid culpability and

                                       92
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 189 of 363 PageID #:189




liability for the violation(s) of the federally protected rights of the
former and then current employees of the Mars Manteno facility.

47   L.     Specifically, Defendants obstructed justice to deprive

former and then current employees, including Plaintiff, out of

their constitutional right of due process.
472.        Tammi Fowler recommended hiring a HR Manager.

473.        Fowler traveled from Chattanooga, TN to Illinois to

interview candidates in furtherance of Defendants scheme or
artifice to obstruct justice.
474.        This was not the only instance that Fowler had
traveled to Illinois from Tennessee in order to promote, manage

and facilitate the continuation of Defendants schemes.

475.        Plaintiff also contends that others such as David
Jabaley, Paula Hise, Trace Spier and others have traveled to

Illinois in furtherance of Defendants scheme or artifice to
obstruct justice.
476.        Mario Lopez, the then General Manager and Tammi
Fowler decided to hire Lori Varvel.




                                       93
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 190 of 363 PageID #:190




477   .     Lori Varvel was hired, according to Defendants, as

the HR Manager because of Szplett's failing leadership and
because of all the charges of discrimination filed against them.

47 8.       Plaintiff also asserts that Jay Elliott was also hired
as the VP of Legal     in furtherance of Defendants scheme and
artifice to obstruct justice.
479.        Elliott had been Defendant Kenco's outside legal
counsel from the firm of Miller & Martin in Chattanooga, TN.

480.        Plaintiff asserts that Trace Spier stated in late
September of 2Ol4 that an additional $t00,000.00 would be

added to the budget to defend the claims of discrimination.

48L.        Jabaley stated that the claims of discrimination were

frivolous, but still needed to be defended.
482.        Budgets were approved by Mars, Inc.

In previous years, Mars previously paid the legal bills incurred
at the Mars Manteno facility.
483.        Todd Moore, Robert Coffey and others approved the

budget for the Mars Manteno facility.

484.        Mars ultimately paid the line items on the approved

budget, after it was passed through the management company.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 191 of 363 PageID #:191




485.        Plaintiff asserts that this included legal fees.
486.        Plaintiff asserts that Elliott's hiring was a result of
the budgeted monies to defend the alleged "frivolous" claims of
discrimination.
487.        According to Defendant Kenco's policy CP.HR.0                LOO2

the hiring of a VP required the authorization of the CFO.and
President of the Group.

488.        Elliott was hired in November of 2014.
48g.        These acts were done intentionally and knowingly with

the specific intent to advance Defendants' scheme or artifice.

4gO.        Varvel and Elliott participated in Fact Finding

Conferences held on behalf of the IDHR and EEOC for Plaintiff

and other former and then current employees at the Mars

Manteno facility.

491.        Kenco and Elliott were made aware that an attorney

could not participate in the Fact Finding Conference by the
IDHR and EEOC.

492.        Nonetheless, Elliott participated in Plaintiff's Fact

Finding conference by phone, as he had with other employees,
without having any firsthand knowledge.
                                       95
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 192 of 363 PageID #:192




493.        Specifically, Elliott admitted in an email to the IDHR

and EEOC investigator that he did not have access to

employees at the Mars Manteno facility, as they had lost the

contract.

494.        Specifically, Elliott admitted in email(s) in March and

October of 2014 that Varvel did not know any more than he

did, as she was hired after the incidents that occurred in this
matter of Vernon Henry in October of 2014, to which Plaintiff
witnessed and participated in.

495.        Plaintiff asserts that Elliott's participation violated
the IDHR and EEOC rules regarding attorney participation.
496.        Plaintiff also asserts that the statements made by
Elliott were not made with firsthand knowledge nor made upon
a reasonable investigation

497.        Plaintiff also asserts that because Elliott did not have
access to the employees as he stated he could not have

conducted an investigation.

498.        Furthermore, Defendants failed to adhere to their
policies to conduct investigations as required by company and

public policy.
                                       96
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 193 of 363 PageID #:193




499.        Plaintiff contends that Elliott was the attorney of
record for Defendants in the IDHR and EEOC proceedings.

500.        Szplett also contends that Elliott was an officer of the

court at the relevant time
501.        Plaintiff also contends that since Elliott had no
firsthand knowledge, no access to employees, and no
investigations had taken place the statements made by Elliott
were patently false and misleading.

5O2.        Szplett also contends that Elliott's participation was

contrived to impede, thwart and obstruct justice and its
administration in Plaintiff's and others matters.
503.        Szplett also contends that Elliott's participation was

also in furtherance of Defendants' scheme or artifice.

504.        Szplett also contends that Va:ruel had no firsthand

knowledge and that any statements made were patently false and

misleading.

505.        Szplett also contends that Varvel's hiring was contrived

and that Defendants used Varvel to further its schemes and

artifices of obstruction of justice and its administration, when



                                       97
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 194 of 363 PageID #:194




Varvel participated in Plaintiffs and others proceedings at the

IDHR and EEOC.

506.        These acts were done intentionally and knowingly with

the specific intent to advance Defendants' scheme or artifice.

507.        Defendants' shared objective was to obstruct justice and

its administration to avoid culpability and liability.
508.        Szplett also contends that the directors, executive

officers and other employees of the Mars Manteno facility,

Mars, Inc., Kenco Logistics and The Kenco Group conspired to

and obstructed justice and its administration when hired

Elliott and Varvel.
509.        Szplett contends that these persons included: 'Lori

Varvel, Mario Lopez, Robert Coffey, Todd Moore, Steve Sheldon,

Paula Hise, Trace Spier, CFO, COO, CEO, President, David

Jabaley, Eddy Register, Tammi Fowler and other unknown
persons at this time

510.        Szplett also contends that Kelvin Walsh and Mike

Manzello also conspired to obstruct justice and its

administration with one or more of the aforementioned
persons.
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 195 of 363 PageID #:195




511.             For example, Mike Manzello and Tammi Fowler in the

matter of Vernon Henry. Fowler and Manzello provided skewed

mistruths and patently false statements in Defendants verified
and position statements in the proceedings of Vernon Hgnry to

the IDHR and EEOC.
5L2.             Every citizen has a constitutional right to the due

process of law.

513.             Plaintiff asserts that Defendants intentionally
conspired to obstructed justice in violation of 18.U.S.C.

s 1e62 (d)   .




514.             Plaintiff also asserts that Defendants intentionally
conspired to obstructed justice in violation of 18.U.S.C.

S1962(d) in violation of Plaintiff's and others right to the due
process of law.

515.             Plaintiff asserts that Defendants intentionally
conspired to obstructed justice in violation of           1   8. U. S. C.

S1962(d) to avoid culpability and           liability for violating protected
rights of Plaintiff's and others rights through extortion, false
representations, fraud, deceit, and other improper and

unlawful means.
                                       99
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 196 of 363 PageID #:196




516.        Defendants' violations of state and federal law as set

forth herein, each of which directly and proximately injured
Plaintiff and other employees, constituted a continuous course
of conduct spanning a period from approximately 2013 to

present, which was intended to obstruct justice and its

administration through extortion, false representations, fraud,
deceit, and other improper and unlawful means. Therefore,

said violations were a part of a pattern of racketeering activity

under 18 U.S.C.      SS 1961(1)    and (5).
5r7.        Defendants, each of whom are persons associated

with, or employed by Mars, Inc., Kenco Logistics, The Kenco
Group or the Kenco Mars facility and did knowingly, willfully
and unlawfully conduct or participate, directly or indirectly, in

its affairs through a pattern of racketeering activity with the
meaning of 18 U.S.C. S 1961(1), L96L(5), and 1962(c). The

racketeering activity was made possible by Defendants' regular
and repeated use of Mars, Inc., Kenco Logistics, The Kenco
Group or the Kenco Mars facility personnel, facilities and
services. Defendants had the specific intent to engage in the

substantive RICO violation alleged herein.
                                      100
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 197 of 363 PageID #:197




518.        Plaintiff asserts that Defendants have conducted
and/or participated, directly andlor indirectly, in the conduct
of the affairs of the alleged enterprises through a pattern of

racketeering activity as defined herein in violation of 18 U.S.C.
g Le62(c) &    (d).

519.        Predicate acts of racketeering activity are acts which

are in violation of the U.S. Code enumerated             in 18 U.S.C. S
1961(1)(A)   & (B), as more specifically alleged below.
Defendants each committed at least two such acts or else

aided and abetted such acts.

52O.       The acts of racketeering were not isolated, but rather

the acts of Defendants were related in that they had the same
or similar purpose and result, participants, victims and
method of commission. Further, the acts of racketeering by
Defendants have been continuous. There was repeated

conduct during a period of time beginning in approximately
2OL3 and continuing to present, and there is a continued

threat of repetition of such conduct.
52L.       Plaintiff specifically alleges that Defendants
participated in the operation and management of Mars, Inc.,
                                      101
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 198 of 363 PageID #:198




Kenco Logistics, The Kenco Group or the Kenco Mars facility

by overseeing and coordinating the commission of multiple

acts of racketeering as described below.

522.            The Predicate acts in violation of 18 U.S.C.S1962 are:

      a. Extortion in violation of 18 U.S.C S1951
     b.         Obstruction of Justice in Violation of U.S.C. 18 U.S.C.
      1   503

     c.         Travel in Furtherance of Scheme to Obstruct Justice

     in violation of 1 8 U. S. C. S 1952
     d.         Use of Mails and Wires to Extort and Obstruct in

     Violation of U.S.C. 1341 and 1343
523.        The unlawful actions of Defendants, and each of

them, have directly, illegally, and proximately caused and
continue to cause injuries to Plaintiff and Plaintiff's protected
rights.
524.            Even if some of the Defendants did not agree to harm

Plaintiff specifically, the purpose of the acts they engaged in
was to advance the overall object of the conspirdcy, and the

harm to Plaintiff was a reasonably foreseeable consequence of
Defendants' actions.
                                       702
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 199 of 363 PageID #:199




                            PRAYER FOR RELIEF



      WHEREFORE, Plaintiff respectfully requests that the Court:



A.    A declaratory judgment that Defendant KENCO LOGISTIC
SERVICES, LLC and MARS, Inc. violated Szplett's right to be free from
discrimination in tJ'e workplace pursuant to Title VII of the Civil Rights
Act of L964, as amended, 42 U.S.C. SS200Oe et seq.; the Civil Rights Act
of 1866, as arnended by the Civil Rights Act of 1991, 42 U.S.C. S1981;42
u.s.c. s1981A.

B.    The entry of an injunction ordering Defendant KENCO LOGISTIC
SERVICES, LLC and MARS, Inc.          to make Szplett whole \Mith full back
pay, benelits and front pay.


c.    An award to Szplett for compensatory damages in an amount to be
shown at trial for past and future economic and non-economic losses,
including extreme emotional distress and mental anguish, impairment of
the quality of life; and consequential loses;


D.  An award to Szplett for exemplary andlor punitive damages in an
amount shown at trial;

E. An award to Szplett of reasonable attorneys' fees and costs,
including but not limited to expert witness fees, as provide;



                                       103
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 200 of 363 PageID #:200




F.   An award of interests on any awards at the highest rate allowed by
law; and


c. Such other and further relief as this Court deems just                                and
appropriate to be determined by a jury;



       PLIUNTIFF DEMANDS A TRIAL BY                fiRY ON ALL COUITTE

 Respectfully Submitted this 12 Day of April 2Ol9 by:

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                                             Stkbnd2oo0@aol.com




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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 201 of 363 PageID #:201




                                            4T's lWanagement, LLC
                                             1125 Syeamore Road
                                             Manteno,Il 60950



                               AllEmployees

               FROM:           Terri Tyson, hesideut

               DATE:           February 15,2013

               RE:             Notice of ldass Layoffand Plant Closing


               As   qgy   of you already know, I have deciiled to retirc and   m   cooperating with auother
               distibutor to take over the MARS accomt. Althougb it is expectea that many of the
               e,mployees witl be hired by tbat entity and essentially perform the same worlg since 4T,s
               is technically closing down its plaot and laying
                                                              offall omployees, we wanted to err on the
               cautioru side and provitle this notice. Accordingly, this letter constitrtes formal wdfieJr
               ,9!g that 4T's lvlaaagemenL LLC will be permanently closing its bruiness locded at
               1125 sycamore Road, Manteno, Illinois and layiug off all employees. This notice is
               provided pursuant to the Illinois Worker Adjusment and Retaining Notification Act.

              This permane,nt plant closing and tayoffwill affect    all          wsrking at ldanrcno.
              This plant closing, including yorr separation, is oryectcd on April 20, zol3 and will be
              Permanent You do not have any "bumping'recall or recmployrncnt rights at thir or any
              4?'s Ndanagement location. You will be eligible for job-,saiking ass-istance aom the
              Illinois B,remr of worlf,orce Developmeut ard, if you -continue io*iug and remsin in
              good standiug through the closing datc, for unemployment compensatioi benefits also,
              unless you have received ajob offer ftom the uew eutity.

               Ithas been a pleasure working with you allo I thenlr you for your service and wish alt    of
               you and your frmiligs ths best of luck with yorn firtrne ecdeavors.

               For firrlher infomatioa, please oontact Teui Tyson at 203-262-91g6




                                                                                          Exhibit    1
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 202 of 363 PageID #:202
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 203 of 363 PageID #:203
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           Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 205 of 363 PageID #:205

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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 206 of 363 PageID #:206


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        Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 207 of 363 PageID #:207




                                 INDEX TO THE 2OI3 .2015
                          WAREHOUSE MANAGEMENT AGREEMENT

                              Kenco Logistic Services, LLC (Contractor)
                                                     and
                                  Mas Chocolate North America, LLC

Section                                      Title                                                        Page
  l. Scope of Agreement; Entire Agreement                                                        ..........3
 2. Term; Exlensions..                                                       ...,.....................3
       A. Term                                                                    .....................3
       B. Extensions..                                                                          ..........3
 3. Management Services; Standards of Performance; Hours of Operation .........,..,.......4
 4. Operating Budget; Operating Expenses                                                       ...........4
       A. Payment by MARS...                                                               ..............4
       B. Method of Paynrent                                                           ............,....5
 5. Management Fee...........                                                          ...,............,6
 6. Contractor Responsibility for Warehoused Damage and Repairs                    .. .............6
                                                                                            .
   . Covenants, Representations and Waranties.
    7                                                                           ............,.........6
       A. Performance Warranty....                                                                  ........6
       B. Compliance with Applicable Laws...                                                    ..........7
       C. Status of Contractor...............,.                                     ...................7
       D. InternationalExchange Visitors.....                                         ..............7
 8. Right, Title and Interest in Goods....                                             ..............,..7
 9. Inbound Shipments; Transfer of Goods; Removal of Goods....                             ..............8
 I0. Right of Refusal ............,                                                     ................8
 I I . Books, Records, Information and Data....                                                   .........8
 12. On-Site Inspection...                                                     .......................9
 13. Termination                                                                        ...,............9
       A. Immediate Termination.........,..                                          ..................9
       B. Termination After Right to CurB                                               ................9
       C. Tennination at Will                                                         .................9
       D. Final Accounting..........                                                            ........10
       E. Acts of Insolvency                                                        ................. l0
       F. Rights and Obligations of the Parties on Termination..............                       ......10
       G. Operating Agreements..........,.....                                          ..............1 I
       H. Operating Assets......                                                         .....,.......1 I
       I. Employees of Contractor............                                           ..............12
 14. Indemnification ..............                                                     ..,...........12
       A. By Contractor.................                                                         ....,..12
       B. By MARS                                                                            .......... t3
 15. Taxes.........                                                                  ................13
 16. Confidential and Proprietary lnfonnation; Publicity ..............                 .....,........14
       A. Proprietary Information                                                             .........14
       B. Publicity; Trademarks. etc............                                          ,...........14
 17. Assignment                                                                      ................14
 18. Status as lndependent Contractor..............                                                ......14
 19. lnsurance                                                                   ...................1s
       A. Required Coverage                                                          ......,......... ls
       B. Insurance on Building Contents                                              .............,. 17


Mgmt Agmt 2013                                                                              Exhibit 2

                                                                                                DEF000001
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 208 of 363 PageID #:208




          C. Product Liability Insurarrce                                   ,.......,.............17
          D. Warehousernan's Legal Liability Insurance .................        ......,........... l7
          E. Notice of Loss or Damage to Goods.....                        .......................17
       F. Reimbursement of lnsurance Premiums...                               ...................17
   20. MASTERFOODS USA's Instructions                                                 ............18
   2t. Demurrage and Other Charges for Delay....                           ....................... l8
   22. Force     Majeure...............                                            ...............18
       A. Force Majeure Defined......                                      ........,..............18
                                            Majeure...
       B. Exclusions from Definition of Force                                            ..........19
    23.   Miscellaneous...,............                                            ............... 19
          A. Headings....                                                                 .........19
          B. Severability                                                                 .........19
          C. Cumulation of Remedies.................                                      .........19
          D. Notices                                                              ...............l9
          E. Waiver                                                              ................20
          F. Nondiscrimination                                                  -.............,.,20
          G. Substance Abuse.........                                                 ...........21
          H. Choice of taw; Forum.........                                  .....................21
          I. Financial Statements                                                  .........,.,,.21
          J. Entire Agreement; Ammendmerrts......                                .,,.,,.,.,..20
          K. Non-Solicitation-.........                                          ............21
          L. Preparation.                                                               .......21
          M. Attomey's Fees.....                                                       ........21
          N. Counterparts; Facsimile Signaturcs..                                  ...........21
          O. Survival....                                                           ..........21


          Signatures
          Appendix A - Final Operating Budget
          Appendix B - Scope of Work
              Exhibit I - MARS'North American Quality Manual
          Appendix C - Openating Assets List
          Appendix D - Transition Costs
          Appendix E - Vendor Incentive Program




Mgmt Agmt 2013

                                                                                    DEF000002
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 209 of 363 PageID #:209




                        2013 WAREHOUSE MANAGEMENT AGREEMENT



        THIS WAREHOUSE MANACEMENT AGREEMENT, dated as of                                          by and
between Mars Chocolate North America, LLC , a Delaware limited liability company having a place
of busiless at 800 High Street, Hackettstown, NJ 07840 (hereinafter referred to as "MARS") and Kenco
Logistic Services, LLC, having a main place of business located at 2001 Riverside Drive, Chattanooga,
TN 3?406 (hereirrafter referred to as "Contractor"), sets forth the tenns and -,2013,
                                                                              conditions for Contractor's
management of the warchouse facility   located at ll25 Sycamore    Road, Manteno, IL 60950 (hereinafter,
the "Warehouse").


I.      SCOPE OF AGREEMENT; ENTIRE AGREEMENT

        Subject   to the terms and conditions   contained herein, MARS hereby engages Contractor to
provide the services herein described (and defined in Section 3 as the "Management Services") for the
term set forth herein. This Warehouse Management Agreement, and all appendices and attachments
incorporated herein by reference (hereinafter, collectively referred to as "the Agreement"), constitute the
parties' entire understanding and agreement regarding the subject matter hereof.


2.      TERM: EXTENSIONS

        A. Term. The term of this Agreement shall commence on April 21,2013 ("CommencemEnt
Date') and expiring on March 31, 2015 ("Expiratiort Date"), subject to termination pursuant to the tenns
and provisions of this Agreement (the "Term").

        B.        Extensions. MARS shall havo the option to extend this Agreement for subsequent ierms
(hereinafter, "Extension Term(s)") commencing immediately following the Agreement's Expiration Date
of the relevant year, wift a new Expiration Date to be determined (such dates also being referrcd to in this
Agreement as the "Commencement Date" and "Expiration Date", respectively) exercisable by MARS'
                                        *Extension Notice") which shall be delivered to Contractor at least
written notice of intent to extend (the
ninety (90) calendar days prior to the Expiration Date of the initial Term or then-curent Extension Term.
MARS may, as part of its notice to Contractor, elect to negotiate new terms and conditions relevant to the
Extension Term. Within thirty (30) calendar days after receiving MARS' written notice, Contractor shall
                                *Proposed
deliver to MARS in writing a              Operating Budgef' as described, and for the purpose set forth, in
Section 5 hereof. Thereafter, the parties hereto shall promptly enter inio good faith negotiations to agree
upon the "Final Operating Budget''described in Section 5, and any other amendments to this Agreement
with respect to the upcoming Extension Term. lf the parties fail to reach agreement on such matters prior
to the Expiration Date of the initial Term or then-existing Extension Torm, which deadline shall be
subject to extension by mutual written agr€ement of the parties, this Agreement shall expire on the
Expiration Date, except as extended for the Transition Period defined below. With respect to each
Extension Term, the parties shall execute a new Final Operating Budget covering the Extension Tenn
which shall be attached to this Agreement as Appendix A in substitution of the Final Operating Budget
for the expiring Tenn or Extension Tenn, and the Contractor shall provide to MARS copies of all
insurance certificates evidencing the satisfaction by Contractor of the insurance requirements set forth in
Section l9 for the upcoming Extension Term.
         Notwithstanding anything in the foregoing to the contrary, the Contractor may, at its option, elect
not to extend this Agreement for the ensuing Extension Term by giving MARS written notice thereof (the
'"Terrnination Notice") within seven (7) calendar days after receipt of the Extension Notice. ln the cvent
that the Contractor gives a Termination Notice, or in the event that the parties fail to reach agreement as


Mgmt Agmt 2013

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     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 210 of 363 PageID #:210



 provided in this Section 28, then, at MARS' election, the Agreement shall be extended and the Contractor
 shall continue to perform all of its obligations subject to the performance standards and other
 rcquirements set forth in this Agrcement, as may be amerrded by the parties, in a responsiblg and good-
 faith manner, with a high level of care, skill and diligence and consistent with recognized warehouse
 logistic operational best practices supporting the food irrdustry for such period of time not to exceed three
 (3) montls after the date that otherwise would have been the Expiration Date of the initiat Term or.
 Extension Term, as the case lnay be, (the "Tmnsition Period"), in order to enable MARS to locate and
 finalize arrangements for the orderly, uninterupted and efficient tmnsition of the Managemsnt Services to
 the satisfactiorr of MARS. During the Transition Period, the Contractor shall provide its full cooperation
and assistance as MARS rnay require in the operation of the Warehouse and the transition of the
Management Services to MARS or its designee. During the Transition Period, the Management Fee and
other applicable costs mutually agreed upon by both parties payable to the Contractor shall remain the
same as that payable during the most recent Term unless otherwise negotiated between the parties, and
MARS shall continue to pay or reimburse all Allowable Operating Expenses incurred during and in
respect of the Tmnsition Period, subject to the provisions of Section 5 hereof. On the date of expiration
of the Transition Period, the Contractor and MARS slrall be governed by the provisions of Sections l3D,
l3F, l3G, l3H and l3l as if such date were the Expiration Date.


3.       AANAGEM4NT SERVICES: STANDAR?S OF PES,FORMANCE:
         HOARS OF OPERATION

         The Contractor shall, subject to this Agreement, provide warehousing management services with
a high level of care, skill and diligence and consistent with recognized warehouse logistic operational best
practices supporting the food industry including management of the day-to-day operations of the
Warehouse, and oversight of the planned operations in the Warehouse, including but not limited to
storage, handling, recouping, transportation management (including, but not lirnited to load building and
carrier scheduling) and all other services as mutually agreed between the parties, subject to MARS'
performance standards and other requirements set forth in        (l)
                                                                  MARS'North Arnerican Warehouse
Oualit), Assurance Manual (il9uality Manual"). (ii) the Vendor Assurance Progmm compiled by
Contractor for the Warehouse in accordance with MARS' "Guidelines" and subject to MARS' approvai,
and (iii) Vendor Cornpetency Standards based upon MARS Warehouse Vendor Competence Review
Workbook, which are summarized in Appendix B hereto and in their totality are incorporated by
reference into this Agreement. The Ouality Manual is furnished to Contractor with ttris Agreernent. Tfie
foregoing services, as may be more fully described in Appendix B, and supplemented by Exhibit I to
Appendix B describing the Scope of Services and benchmarks related to the first 90 days of Contractor,s
Term shall be refered to lterein as the *Management Services". The days and hours of operation of tlre
Warehouse shall be as mutually agreed in writing by the parties hereto.


1.       OPERATING BUDGET: OPERATING EXPFNSES

        A. Payment by MARS. Contractor shall perform the Management Services at all times
within the Final Opcrating Budget adopted in the manner herein provided. Contractor agrees !o subrnit a
"Proposed Operating Budget," as specified in Section 28, which shall identifr, describe and quantifo,
pursuant to the format and other requirements of MARS, all costs, expenses, and charges anticipated to be
incurred in connection with operating the Warehouse. Tlre "Proposed Operating Budget" shall be subject
to negotiation between the parties, and the agreed budget resulting from said negotiations shall be the
"Final Operating Budget" for the applicable period (which is subject to changes in the manner more fully
described below). In the event the parties cannot reach agreement on a Final Operating Budget for thl
applicable Extensiolt Term prior to its Commencement Date, then the Final Operating Budgit shail be


Mgmt Agmt 2013

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     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 211 of 363 PageID #:211




deemed    to be the priorcalendar year's Final Operating Budget until agreement on a new Operating
Budget is reached at which time any differences between the prior calendar year's Final Operating Budget
and the new Operating Budget for the Extension Term shall be reconciled. Contractor and MARS shall
 periodically review the Final Opemting Budget for a given year as part of the Review of Business
  Budgets (ROB) process. In such periodic rcviews, Contractor and MARS may agree upon changes in the
  Final Operating Budget, which changes shall be memorialized in writing and approved by the Regional
  Distribution Marrager and all references in this Agreement to the Final Operating Budget shall be deemed
 to include any such changes. Except as otherwise agreed upon herein, the parties agree that MARS shall
 be liable only for those specified fees, costs, and charges (hereinafter collectively refened to as
 "Allowable Operating Expenses") incured in the operation of the Warehouse which ale included in the
 "Final Operating Budget", and which have been approved for payment by MARS, subject to Section 48,
 after submission of invoices by the Contractor. With respect to the Tenn of this Agreement, the Final
 Operating Budget is appended hereto as Aopendix A and incorporated herein by reference. Such
 "Allowable Operating Expenses" shall be payable in the first instance, or reimbursable, by MARS.
 MARS shall not be liable, and shall not be obligated to reimburse Contractor, for any expense of any
 single item, product or service in excess of two thousand five hundred dollars ($2,500.00) wlrich is
 incurred by Contractor and is not included in the "Final Operating Budget", unless Contractor shall have
 obtained the written approval of MARS' Regional Distribution Manager or other authorized MARS
 personnel in advance of Contractor's incurring such expense, notwithstanding that such item, product or
 service is utilized by Contractor in operation of the Warehouse, Should Contractor incur such expense,
 which is not an Allowable Operating Expense and for which MARS should elect not to make
 reimbursement, Contractor may, at its option, discontinue the activity which has resulted in such expense
 witltout penalty or recourse. The Contractor acknowledges that the Final Operating Budget will contain
 an allotted budget for the payment of needed repairs in the Warehouse, which amount willbe determined
 in the sole discretion of MARS Payments made by Contractor for repairs paid from the allotted repair
 budget need not be approved in advance by MARS so long as the supporting documentation willjusti$
the need for and amount of the repair. In the event said allotted repair budget has been depleted,
Contractor must obtain MARS' approval, , prior to incurring any repair expenses, except that if a repair of
an emergency nature arises which must be attended to immediately, MARS shall reimburse Contractor for
said repair only if Contractor makes a good-faith effort under the circumstances to notify MARS of the
emergency and obtain MARS' approval prior to incurring the cost of the repair. If unable to get any
response from MARS despite Contractor's good'faitlr effo$s, Contractor may proceed without prior
approval to cause the repairs to be rnade, but only to the extent rcasonably necessary to address the
 imrnediate emergency. In addition, certain of Contractor's costs and expenses to be reirnbursed during
this Agreement shall be described in Appendix D ("Start Up Costs") and Appendix E ("Transition
Costs").
          B. Method of Payment. Contractor shall promptly subrnit to MARS, or its designee, all
invoices for Allowable Operating Expenses with all available supporting documentation rneeting MARS'
reasonable requirements therefore, and MARS shall review them for approval, which approval shall not
be unreasonably withheld or delayed, and if approved, pay such valid invoices, or reimburse Contractor
for paymerrt made. MARS shall have the right 0o disapprove any billed expense (in which event it shalt
be paid by Contractor and not reimbursed by MARS) if in MARS' reasonable opinion (i) there is no
suitable documentation relating to the expense, and the expense or charge is of a sort which usually can
be documented, (ii) the documentation does not support the charge or expense, or (iii) the charge or
expense is not an Allowable Operating Expense as defined in Section 5A, or has not been approved in
writing by MARS' Regional Distribution Manager prior to the expense being incurred.
          Notwithstanding anything herein to the contrsry, the Contractor shall be prirnarily responsible
and liable for the enforcement of all rights against all third parties who supply goods or services for the
purposes of this Agreement, and the perfonnance of all obligations with respect to such third parties,
includittg the punctua! payrnent of all rnonies owing to any such third party so as to take full advantage of
any and all prompt payment discounts or incentives, and in any event so as to avoid any late payment

Mgnt Agmt 2013

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     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 212 of 363 PageID #:212




penalties or charges or claims for default of payment. In the event that MARS elects to pay any such
third party directly due to Contmctor's failure to perform its obligations with respect to such third party,
including but not limited to, making payment in a timely rnanner, such payment shall not rclieve the
Contractor of its obligations hereurrder witlt respect to such third party.

         If MARS pays the Contractor for an Allowable Operating Expense or any other approved expense
relating to the Warehouse, arrd the Contractor fails to pay the third party entitled thereto when due,
MARS, at its option and without prejudice to any other right or remedy, may elect to pay the expense
directly to the third parly and to deduct it from any Management Fee or any other monies payable to the
Contractor under this Agreement, or to receive from Contractor a refund, forthwith on dernand of the
amount paid by MARS provided there is not a valid basis for Contmctor to withhold peyment. MARS
will pay all budgeted and properly documented invoices submitted by Contractor within ninety (90) days
of the actual receipt date of invoice by MARS with billing done on a weekly basis, provided that MARS
may make earlier payments in its sole discretion upotr reasonable request by Contractor from time to time
for earlier payrnent in order to take full advantage of any prompt payment discounts or incentives. As
long as Contractor has cornplied with flre MARS billing documentation criteria as identified in Section 4
B, MARS will not withhold payment for any alleged billing dispute, MARS shall make payment in full
and the parties will work diligently in good faith to resolve any billing discrepancy/dispute in a timely
manner. Notwithstanding anything to the contrary contained herein, any claims between the parties shall
be handled separate from general invoicing.



5'       MANAGEMENT FEE

         In consideration of the provision of Management Services described herein, and in addition to
Allowable Operating Expenses, MARS shall pay to Contractor an annual Management Fee based upon
MARS' standards for establishing such Management Fee, as such standards may be arnended from tirne
to time in MARS' sole, reasonable discretion provided there is a valid basis to arnend the standards and
Contractor mutually agrees to such amendment. The Management Fee for the Tenn shall be 6.5% of the
agreed Final Operating Budget for the calendar year, with the exception of pallets, which will incur a fee
of 3o/o. The total will be divided by the number of MARS periods remaining in the calendar year and be
equal installments, provided a reasonably detailed invoice is submitted to MARS. Payment of agreed
Management Fee shall be in accordance with Section 48.



6.        CONTMCTOR RESPON$IBILITY FOR WAREHOUSE DAMAGE AND REPAIRS

Contractor shall be responsible for any damage, repairs or replacements (capital or otherwise, structural
or otherwise, but in any suclt case reasonable wear and tear excepted) to the Warehouse to tlre extent
such damage(s), repai(s) or replacement(s) is/are necessitated solely as a result of any negligent act or
failure of Contractor, its employees, and/or agents. contractors, subcontractors, licensees and invitees .
Contractor shall rrot be responsible for damage, repairs or replacement caused by any other party prior to
Contractor's Commencement Date. Contractor shall document the condition of the Warehouse upon
Commenccment and shall provide a report detailing existing damages to MARS.


7.        qQVENANTS. REPRESENTATTONS ANp WARRANTTES

         A.       Performance Warranty. Contractor covenants, warants and represerrts that (i) each of the
Contractor, its managers, supervisors, employees, agents and any subcontractors it retains has and will at
all times have the requisite experience, capacity, expertise and training necessary to perform the

Mgnrl Agnt 2013

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      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 213 of 363 PageID #:213




Management Services in an efficient and effective manner, and slrall properly, safely, and efficiently
operate and manage the Warehouse for the purposes herein described with a high level of care, skill and
diligence and in accordance with recognized warehouse logistic operational best practices supporting the
food industry; (ii) it will rnaintain and keep all equipment used in the Warehouse in good oper:ating order
and will ensurc that the equiplnent is operated in a safe manner by employees experienced in its use; (iii)
it will strictly comply with the descriptions, representations, limitations and standards of perfornunce as
to the Management Seruices which appear, or ar€ referenced, in this Agreement including any Appendix
hereto; (iv) the Contractor, its managers, supervisors, employees, agents and any subcontractors it retains
shall perform the Management Services in an efficient manuer, with a high level of            care, skill and
diligence and consistent with recognized warehouse logistic operational best practices supporting the food
industry; and (v) Contractor shall ntaintairr and keep in neat and orderly condition, free fi'om damage,
deterioration, smell or taste taint, iufestation and contamination all such goods as from tirne to time may
be tendered by MARS for storage at the Warehouse in accordance with a high level of care, skill and
diligence and consistent with recognized warehouse logistic operational practices supporting the food
industry, and that it will strictly abide by (a) the temperature and humidity standards set forth in the
Quality Manual, and (b) all housekeeping, sanitation, and pest control standards as set forth in the Quality
Manual. The Contractor acknowledges that MARS is rnaterially relying on the above mentioned
covenants, representations and warranties, which have induced MARS to enter into this Agreelnent.

         MARS    will notifu the Contractor in writing of any material        amendments     to the manuals,
standards and programs referred to in this Section and in Section 4 hercofi which amendments are in the
sole discretion of MARS provided Contractor is provided advanced notice of such amerrdments and
reimburced by MARS for any potential financial impact associated with the amendments.

         B. Compliance with Applicable Laws. It is understood by Contractor that some or all of
MARS' goods tendered for storage in the Warehouse are intended for hurnan or animal consumption and
are subject to Federal Food and Drug Adrninistration or Department of Agriculture standards and
regulatiorrs and other applicable federal, state and local laws affecting the storage and marketing of such
products. Therefore, Contractor wamants that, in operating the Warehouse, it shall not violate or permit
the violation of any such laws, nor shall MARS ask Contractor to knowingly violate any such laws.
Contractor further warrants that it will not place MARS' goods in proximity to any other goods or
materials which might lead to any damage, deterioration, contamination, infestation, smell or taste taint   of
MARS' goods, including packaging,

         C.       Status of Contractor. Contractor warants and represents that it is a legal entity, duly
organizsd, validly existing and in good standing under the laws of the jurisdiction of its organization and
in the jurisdiction where Contractor will perform the Management Services under this Agreernent.

         D.     Iltternational Exchange Visitors. Contractor shall not utilize the Jl Visa International
 Exchange Visitors program establislred by the United States Government to provide labor relating to the
 Services under the Agreement without the prior writton consent of Mars.


8.      RIGHT, TITLE AND INTEREST IN GOODS

          Contractor acknowledges that it does not have, nor will it have at any time, any right, title or
interest, and Contractor expressly waives any right to seek or assert a warehouseman's lien, in the goods
stored in the Warehouse. Contractor shall, at any time as MARS may request, execute and deliver, or
assist in executing and delivering, any statement which shows or indicates that Contractor has no right,
title or interest in said goods. Contractor shall, at MARS' request ard expense, assist MARS in
protecting and defendirrg the right, title or interest of MARS' and its affiliates in and to the goods against


Mgmt Agmt 2013

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        Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 214 of 363 PageID #:214



any arld all persons asserting a claim of any kind against or through Conffaetor. Contractor shall, uporr
demand of MARS, prcparCI to ship to any location and irr the manner MARS so requests, all or any
portion of the goods stored in the Warehouse.


          INBOUND SHIPMENTS: TRANSFER OF GOODS: REMOVAL OF GOODS

        Contractor shall strictly follow the instructions of MARS with regard to effectuatirrg
documenting and handling inbourrd shipments, and the transfer and removal of goods (including
contaminated goods) as are set forth in the Quality Manual.



IO.       RIGHT OF REFASAL

         Contractor may refuse to accept any MARS goods which the Contractor, acting responsibly and
rcasonably determines that, due to infestation visible during the inspection process mutually agreed upon
by the parties, contamination or damage, might cause infestation, contamination or damage to other
MARS goods stored in the Warehouse, and shall imrnediately notify MARS of such refusal. Contractor
shall have no liability for any demurage, detention, transportation or other charges by virtue of such
refusal. Contractor shall observe the instructions of MARS with respect to the refusal or disposition of
such goods as set forth in the Quality Manual or otherwise instructed by MARS.



I   L      BOOKS, RECORDS. INFORMATION AND DATA

          Contractor shall rnaintain complete and accurate books and records relating to the Management
Services  and all costs and expenses in connection therewith, in a form prescribed by MARS and, if no
form is so prescribed, in accordance with generally accepted accounting practices. AII such books and
records, including wiflrout lirnitation, computer records, will be available at all times for MARS'
inspection, auditing and copying.

          Contractor acknowledges that all computer hardware and software used by it in the performance
of the Management Services, is accessible by MARS in accordance with defined parameters as mutually
agreed between the parties. Contractor further acknowledges that all data and information relating to the
Management Services, the goods of MARS or the Warchouse, wherever and however preparcd and/or
maintained by or on behalf of the Contractor, or rcceived from MARS, whether handwritten, typewritten
or electronically entered or in any other form whatsoever, shall be and remain the exclusive property of
MARS and MARS shall have the right to receive any and all such data and information fiom the
Contractor irnmediately upon written notice. Notwithstanding the above, in the event of termination of
the business relationship for any reason, Contractor may retain copies of all applicable business records.

   MARS shall be responsible for installation and maintenance of the Warehouse Management System
and training of one (l) Functional User of Contractor on use of the system(s) and related equiprnent. In
order to assure accountability and control for any inventory transactions, MARS will supply
documentation history to validate any discrcpancies which need to be reconciled. Should adjustments be
required, system entries are only able to be changed via a separate adjustment entry. MARS agrees not
to make any inventory adjustments without Contractor's prior written consent. lf such adjustrnents are
made without prior written notification and Contractor identifies an inventory discrepancy, Contractor
shall have ninety (90) days to reconcile such inventory discrepancy and MARS shall cooperate with
Contmctor in any such rcconciliation. If Contractor can t'reasonably demonstrate that any unaccounted for



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                                                                                             DEF000008
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 215 of 363 PageID #:215




inventory was attributable to any MARS adjustments, Contractor slrall not be responsible for the
associated loss.



12,      ON.SITE INSPECTION

         MARS or any of its agents, enrployees or representatives reserve the right to enter the Warehouse
at auy tirne (witlr 24 hours advance notice to Contractor to the extent feasible) for the purpose of
exanrining and countirrg all or any of the goods stored there and conducting any such tests as are
necessary, in the judgment of MARS, to ensure that tlre Warehouse is in clean and sanitary condition, is
free of any contamination and complies in all respects with any applicablc law, regulation or standard,
and for any other purpose whatsoever, and Contractor agrees to cooperate with MARS in any such on-site
inspection and testing. MARS reserves the right to maintain a secure office within the Warehouse limited
to designated MARS personnel and such personnel shall have the right to enter any erea of the
Warehouse operation at any time during Contractor's normal business hours.



13,      TERMINATION

        A. Immediate Termination. MARS may tenninate this Agreement immediately by notice in
writing if (i) Contractor breaches any of its obligations hereundero and such breach (a) is not in dispute,
(b) is attributable to the willful misconduct or negligence of the Contractor, and (c) results in any
interruption of the continuous and efficient operation of the Warehouse for more than eight (8)
consecutive business hours; or (ii) if Contractor abandons the Warehouse for more than eight (8)
consecutive hours during times which the Warehouse is required to be open and operating as set forth in
Section 4 of this Agreement; or (iii) there is an emergency (defined below).

         B.      Termination After RightjoSrue. Either party has the right to terminate this Agreement if
the other pa(y is in default of any obligation, warranty, claim or representation hereunder, which default
is incapable of cure, or which, being capable of cure, has not been cured within ten (10) business days
after receipt of notice of such default, or such additional cure period as the non-defaulting party may
authorize, provided, however, that if the noticed default shall not be an "emergency" ("emergency" being
deemed to mean that said default, if not attended to irnmediately, might (i) result in injury or damage to
persons or property, or (ii) interfere with the conduct of MARS' business in or upon the premises or the
Warehouse, or (iii) damage MARS' inventory stored in the Warehouse such that the quality of said
inventory would be affected as delermined by MARS according to its own quality standards) and the
defaulting party has, within ten (10) days, promptly comrnenced efforts to cure and is continuously and
diligently pursuing said cure to completion, the defaulting party's failure to complete the cure within ten
(10) days shall not constitute a default hereunder. Tlre aforementioned written notice of default shall state
with particularity the circumstances of the specific default or defaults alleged and the steps necessary to
cure such default. In the event a default is not cured within the defined curc period, or is otherwise
deemed incapable of cure, ttre non-defaulting party has the right to terminate this Agreement by providing
written notice to the defaulting party.

C. Terrnination at Will. MARS may terminate this Agreement, in its sole discretion, without cause
or reason and without being considered in default of any provision of this Agreement, at any time by
giving one hundred and twenty (120) days' written notice thereof. The effective date of said termination
                                                il)
shall be the one hundred and twenty-first ( l2 I calendar day after the date of delivery of the termination
notice. In the event of such termination and within ninety (90) days after the receipt from Contractor of
all supporting documentation subject to Section l3D herein below, MARS shall pay to Contractor any


M&nt Agrnt 2013                                      I
                                                                                                DEF000009
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 216 of 363 PageID #:216



Allowable Operating Expenses in the event that Contractor has paid said expenses on MARS' behalf and
is entitled to rcimbursement under this Agreement subject to Section 48.

          D.          Accounting. Regardless of the reasolr or cause, if any, for termination of this
                  Einral
Agreement, or upon expimtion of this Agreenrent, Contractor shall subrnit to MARS invoices for all
outstanding Allowable Operating Expenses (with all supporting documentation) no later than sixty (60)
calendar days after such termination or expiration, otherwise MARS shall have no liability or obligation
to pay or reimburse such Allowable Operating Expenses. Within ninety (90) days after the receipt from
Contractor of such invoices, and all supporting documentation, MARS shall pay the Allowable Operating
Expenses to which Contractor in entitled under Section 4 and any other mutually agreed upon costs.

         E. Acts of Insglvency. Either party may tenninate tlris Agreement by written notice to the
other, and rnay regard the other party as in default of this Agreemerr! if the other party becomes
insolvent, makes a general assignment for the benefit of creditors, suffers or perrnits the appointment of a
receiver for its business or assets, or becomes subject to any proceeding under any bankruptcy or
insolvency law (provided there is no dismissal or discharge within thirly (30) days), wheflrer domestic or
foreign, or has wound up or liquidated, voluntarily or otherwise. In the event that any of the above events
occur, that party so affected shall immediately notify the other party of the occurence.

          F.     Rights and Obligations of the Parties on Terrnination. Should Mars termirute this
Agreement for any reason provided here in or Contractor terminates this Agreement under aforementioned
Sectionsl34, l3 B or l3E , MARS shall pay to Contractor any unpaid Management Fee due and payable
up to the date of termination, which Fee, in the case of a partial period, shall be pro-rated on a monthty
basis. Upon termination, Conhactor shall peacefully vacate the Warehouse, and forthwith retum to
MARS any records, documents, pape6, nraterials, disks, computer programs, information, data, and any
other property of MARS then in its possession or control which Corrtractor may have received from, or
has access to through, MARS or which Contractor may have acquired or cornpiled for the purposes of
perforrning its obligations under this Agreement. Contractor may retain a copy of any documentation that
is necessary for audit or regulatory cornpliance purposes. . Contractor shall imrnediately return to MARS
any advance payments it shall have received for Management Services which, as a result of the
termination, will not be performed or have been rejected by MARS. Upon vacating the Warehouse,
Contractor slrall leave said premises in as good condition as wlren it firct assumed its rcsponsibilities
hereunder, ordinary wear and tear excepted subject to Section 6.

         The Contractor shall not remove any equipment, fixtures, tools, records, documents, papers,
disks, computer programs, information, data, with the exception of Contractor's business records, or any
other property at or used in connection witlr the operation of the Warehouse or terminate any services
relating to the Warehouse, whether they are the subject matter of any Operating Agreements (as defined
in Section l3G hereunder) or o$erwise, without the prior written consent of MARS.

         Until the termination of this Agreement after any period of notice or time to cure any default, if
any, or the Expiration Date of the initial Term or Extension Term, as the case may be, the Contrac3or shall
provide its full, complete and good faith cooperation to MARS irr the provision of the Management
Services arrd thc tunrover thereof to MARS or its designee, as MARS shall direct. Notwithstanding the
foregoing, in the event that MARS exercises its right of tennination under Section l3C of this Agreemenl
MARS may in its sole discretion request that the Contractor cease providing some or alt of tfte
Management Services at any time or times during the one hundred and twenty ( 120) day period of notice,
whereupon the Contractor shall cease to provide such Management Services on the date so requested by
MARS; provided however Contractor shall be compensated in full as if it were performing such services
through the entire one hundred and twenty (120) day period. Nothing in this provision sentence shal!
prejudice the right of the Contractor to receive the monies which it would have been otherwise entitled to


Mgflt Agmt 2013                                     10
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      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 217 of 363 PageID #:217



 receive under Section l3C nor rclieve the Contractor from its obligations under Sections   l3D, l3F, l3G,
 l3!1, and l3l of this Agreement,

          G.     Operating Agreelnents. In performing its obligations under this Agreement, Contractor
 has separately entered into personal property leases, agreements for the supply of goods, agreements for
 the supply of services and other such agreements with third parties approved in writing by MARS; or has
 assumed such leases and agreements with third parties from Contractor's predecessor (collectively the
"Operating Agreements"). Upon the expiration ortennination of this Agreement, MARS or its designee
shall : (i) request that Contractor termiuate any one or all of the Operating Agreements, that for any suclr
agreement which includes a provision requiring payment of a penalty upon early termination or
terminatiott prior to the defined lease term or fully amortized terrn, MARS shall pay such penalty only if
Contractor notified MARS and obtained its agreernent in writing to the inclusion of such a provision in
the agreemerrt prior to the time the agreernent was executed; or (ii) have any one or atl of the Operating
Agreements assigned to MARS or its designee. Any Operating Agreement wbich by its terms cannot be
terminated early shall be assumed by or assigned to MARS. Upon the effective date of termination or
expiration of this Agreement, MARS shall assume the obligation of Contractor arising under any of the
Operating Agreements which cannot be tennirated. Contractor shall remain fully liabte for all obligations
under the Operating Agreements up until the date of termination or expiration of this agreement
whichever occuls first. If any required approval by MARS hereunder is given verbally and not in writing,
the burden shall be upon Contractor to prove that such approval was given. In addition, MARS shail
rcimburse Contractor in full for all amortized costs for which there is an outstanding balance within
ninety (90) days of terminatiorr of the business relationship.

          H. Operating Assets. Attached to this Agreement as Appendix C is a list of all assets
 including equipment, fixtures, tools, arrd the like, whether owned by Contractor, by MARS or by third
 parties and used in performing Contractor's obligations under this Agreement, and including assets the
 costs for which (including acquisition, maintenance and financing costs) are reimbursed by MARS as an
 Allowable Operating Expense (collectively, the *Operating Assets"). Upon the expiration or termination
 of this Agreernent , the parties shall agree to mutually proceed with one of the following options as
 applicable : (i) purchase (on commercially reasonable terms including the payment on installment) any or
 all of the Operating Assets owned by Contractor at the greater of their then,current fair market vatue
 based on the remaining useful life of the asset, which value shall be calculated using a straight-line
amortization method over the useful life of the asset after deducting any portion of the Contiactor,s
original purchase price that has been paid or reimbursed by MARS or the outstanding balance of
amortized payments to be paid by Mars;or (ii) lease any or all of the Operating Assets frorn tlie Contractor
 for the remainder of the defined lease term from the date of termination or expimtion of this Agreement,
and assume any remaining lease obligations on such terms as shall be reasonably acceptable to
Contractor, and at a rental rate which shall be equal to the Allowable Operating Expense in ihe then-
current Final Operating Budget for the acquisitiou, maintenance and financing costs of such Operating
Assets; or (iii) Contractor may elect to keep the equipment as mutually agreed by the parties. Contractoi
shall not alter, exchange, sell, dispose of, or remove any Operating Assets from the *arehouse without
the prior written consent of MARS provided Contractor is compensated for any costs that would normally
be incuned by Contractor associated with such Operation Assets. Contractor shall provide copies of any
or all agreements related to the Operatirrg Assets promptly upon MARS' request therefore. In the eveit
that MARS or its designee assumes the leases or buys the equipment, Contractor will be indernnified for
any liability for loss, damages or injuries arising from the use of such materials, tools or equipment frorn
and after the date that MARS or its designee assumes the leases or buys the equipment, the foregoing
shall not be interpreted to require MARS to indemnify Contractor in the event tlie bontractor is liable foi
any loss, damages or injury arising from its proven negligence or use prior to the date MARS or its
designee acquires the equipment.



Mgmt Agrnt 2013
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       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 218 of 363 PageID #:218



           I.         Enrployees   of Corrtractor. In the event this Agreement is terminated with or without
cause or in the event that this Agrcement expires at the end of the'ferm, Contractor shall be and remain
liable and responsible for all ernployees employed at or in connection with the Warehouse, whether or not
such employees are retained by Contractor or tenninated from their employment, and all employee costs,
expenses and obligations arising as a consequence of the terminatiorr or expiration        of this Agreemen(
 including      all
                 wages, salaries, severance pay, tennination pay, vacation pay, benefits and other
entitlements which may be incuned or which may arise as a consequence of the termination or expiration
of this Agreement. To the exteot any of the foregoing costs may have been approved and reirnbursecl by
MARS as an Allowable Operating Expense prior to such termination, MARS shall rrot reimburse
Contractor for any of the foregoing costs or expenses if termination is for cause unless such costs and
expenses are for work that has actually been perfonned. Contractor shall indemnifo and hold MARS
harmless from any claim, detnand, cornplaint, action, cause of action, damages, costs, expenses or any
other liability or obligation to its employees in the event of termination or expimtiorr of this Agreement.

          Without detracting fiom or diminishing the obligations, respotrsibilities and liabilities of the
Contractor with respect to its employees under this Agreement, in the event that this Agreement is
terminated with or without cause, or in the event that this Agreement expires at the end of the Term,
MARS or its designee shall have the right, but not the obligation, at any time whetlrer before or after such
termination or expiration to offer to any such employees of the Contractor, as MARS may deern desirable
or necessary in order to secure the continuous and uninterrupted operation of the Warehouse, employment
with MARS or its designee after the date of termination or expiration, and the Contractor hereby consents
thereto. MARS shall provide Contractor with written notice of any employees MARS may desire to hir.e.
In such event, the Contractor shall remain liable and responsible for all employees who are not extended
ofllers of employment by MARS or a designee of MARS. In the case of employees of ttre Contractor who
are extended offers of employment by MARS or its designee, MARS shall notify Contractor of those
ernployees and at MARS' election the Contractor shall be liable for and shall pay all wages, salaries,
vacation pay, benefits and other entitlements (*Employee Obligations") accruing up to the date prior to
the date of their employment by MARS or any of its designee (subject to the Contractor's right to receive
reimbursement thereof from MARS under this Agreement), and MARS or its designee slratl assume the
Ernployee Obligations arising frorn and after the date of such employment.



14.       INDEMNIFIUTION

          A.      By Contractor. Contractor shall indemnifl and lrold harmless MARS, its parent and
corporate affiliates, and its owners, shareholders, officers, directors, employees, agents, successors, and
assigns (lrereinafter, the "lndernnified Party") against claims, losses, damages, expenses, fees (including
without limitatiorr, fines, penalties, court costs, and attorneys' fees) and liabilities (including strict,
statutory and regulatory liability) (collectively, *Claims") regardless of the form of action brought against
any Indemnified Party, arising out of the NECLIGENCE or WILLFUL MISCONDUCT of Conrractor,
other than any Claims losses, damages, expenses or liabilities due to the negligence or willful rnisconduct
of any lndemnified Party, arising from or in connection with, but not limited to, (i) Claims for bodily
injury or death, personal injury, advertising injury or property damage (except for those damages covered
under Section 6 herein) (including, but not limited to, theft) arising from the negtigence of Contract,or;
including any incident with forklifts leased by Mars (ii) Claims for infringement of any intellectual
properly rights (including patents, trade secrets, copyright and trademarks), or for misuse of proprietary
information related to any goods or services sold, provided or used by Contractor; (iii) Clairns for any
violation or thrcatened violation by Contractor of any law, rule or regulation of any governmental agency
or authority (including but not limited to, any environmental law related to contamination by, or thl
release or threat of release of, any hazardous or toxic substance, waste or pollutant into any environmental
medium) but excluding any violation of government regulation when such violation is caused by

Mgnt Ag,nrt 2013                                        12
                                                                                                DEF000012
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 219 of 363 PageID #:219



Contractor's compliance with MARS' North American Warehouse Quality Assurance Manual and/or
compliance with guidance documentation and/or SOPs as provided by MARS ; (iv) Clairns arising out of
Contractor's acts, omissions or failure to perform any obligation with respect to Contractor's employees
or any subcontractors; (v) Clairrrs for Contractor's breach of any warranty, representation, covenant or
other provision of this Agreement; (vi) Claims arising under the Operating Agreements prior to the
termiuatiott or expiration of this Agreement except as otherwise addressed herein; and (vii) Clairns for
any other negligent act or negligent omission of Contractor in connection with its perforrnance of tlris
Agreement except as otherwise addressed herein. All references to "Contractor" in paragraphs (i) througlr
(vii) of this Section shall be deemed to include Contmctor's shareholder's, officers, directors, enrployees,
agents, invitees contractors, subcontractors or any person or entity acting under Contractor's direction or
control. Contractor expressly agrees to waive any immunity or exclusivity of any labor or workers'
compensation or other similar statute. Contractor's obligation to indemnify any Indemnified Party will
survive the expiration or termination of this Agreement by either party fol any reason.

          Each party shall promptly notifu the other party of the existencr of any Clainr, demand or other
action giving rise to a claim for indernnification under this Section. Promptly uporr the request of MARS,
Contractor shall conduct the defense of any action against the Indernnified Party arising under this
Agreement unless indemnification falls under the scope of Section l4 B below, including the employrnent
of counsel reasonably acceptable to MARS and the payment of all expenses of such defense. MARS shall
at all times have the right to participate in such defense using its own counsel and if Contractor fails to
assume the defense as required hereunder, then MARS shall have the absolute right to control the defense
of such Clairns. Unless otherwise expressly so provided, tlris indemnity shall not be limited by any
insurance coverage obtained or required to be obtained by Contractor or any limits of liability or limits on
the type of damages with respect thereto.
          B. By MARS. MARS shall indernnify and hold harmless Contractor, its corporate
affiliates, and its owners shareholders, offrcers, directors, employees, agents successors and assigns
(hereinafter, "Contractor Indernnified Party") fiom and against any and all clairns, losseso damages,
expenses, fees (including, without limitation, all fines, penalties, court costs and attorneys' fees) and
liabilities (including strict statutory, and regulatory liabilities) regardless of the form of action brought
against any such Contractor Indemnified Party, other than arry claims, losses, damages, expenses or
liabilities due to the negligerrce or willful misconduct of any Contractor Indernnified Party, arising from
claims for bodily injury or death, persorral injury or property damage resulting frorn the negligence of
MARS, its agents or employees and/or any violation of govenrment regulation when such violation is
caused by Contractor's compliance with MARS' North American Warehouse Quality Assurance Manual
and/or compliance with guidance documentation and/or SOPs as provided by MARS., This
indemnification shall survive the expiration or termination of this Agreement.


15.      TAXES

         Notwithstanding that certain of Contractor's taxes defined in this Agreement and any Appendix
hereto may be reimbursable by MARS (except that nothing irr this Agreement shall be deemed or
construed 0o obligate MARS to pay, or reimburse Contractor for, taxcs irnposed on Contractor"s net
income), Contractor shall be responsible for the payment of all taxes imposed upon it, in connection with
or as a result of this Agreement, to the appropriate taxing authority. ln the event that Contractor is able to
receive a refund or rebate of any taxes paid by it and reimbursed by MARS, Contractor shall immediately
repay to MARS the amount of such refund or rebak. Contractor acknowledges that, inasmuch as its
relationship to MARS is that of an independent contractor, Contractor is responsible for paying all Social
Security taxes, FICA, payroll taxes or other taxes rendered or assessed by the Government of the United
Sates or any state or local taxing unit on Contractor or Contractor's personnel. It is further understood and
agreed that MARS shall not be responsible for withholding any taxes with respeot to Contractor's


Mgmt Agnt 2013
                                                     13
                                                                                                 DEF00001 3
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 220 of 363 PageID #:220



employees, and shall retain the right to requirc Contractor to present evidence of its compliance with the
terms of this Sectiorr.



16.      CONFIDENTIALAND PROPRIETAS.YINXORMATION: IUBLICITY

         A.      Proprietary Information. Each party acknowledges and agrees that any and all
information emanating from the other's business (MARS' business being deemed to include the business
of Mars, Incorporated, and any of Mars, Incorporated's divisions or subsidiaries), in any form including
any cornpilations of otherwise public information is "Confidentialand Proprietary Infornration," and each
party agrees tlrat it will not, during or after the initial Tenn or any Extension Term of this Agreement,
perrnit the duplication, use or disclosure of any such Confiderrtial and Proprietary Inforrnation to any
person (other than its own employees, agents or representatives who must have such information for the
performance of its or their obligations hereunder), unless such duplication, use or disclosure of such
Confidential and Proprietary Information is specifically authorized in advance by the other party in
writing. Each paffy shall be responsible for any unauthorized duplication, use or disclosure made by any
of its ernployees, servants or agents and shall take reasonable precautions to prevont such duplication, use
or disclosures. For the purposes of this subsection, the term "Confidential and Proprietary Information" is
not meant to include any information which, at the time of disclosure, is generally known by the public
and any competitors of MARS; information disclosed to the other party by third parties having a right to
do so and who have not imposed upon the recipient thereof obligations of confidentiality, or information
which is known !o the other party prior to disclosure. Contractor shall prornptly notify MARS of any
requirements of, or requests from, any governrnental authority or any request in the corrtext of any legal
proceeding to disclose any Confidential and Proprietary Information relating to MARS, and Contractor
shall not disclose such information without first notifying MARS so that MARS may contest such
disclosure and shall cooperate with MARS in resisting such disclosure, to the fullest extent permitted by
law.

         B.     Publicity: Tradgmafks. etc. Contractor shall not use the natne, trademarks or trade names
(whether registered or not) of Mars, lncorporated or of any of its divisions or subsidiaries in publicity
releases or advertising or in any other manner, including customer lists, without the prior written consent
of Mars,lncorporated.


17.      A$SIGNMENT

          Neither party shall assigrr or subcontract the whole or any part of this Agreement without the
other pafty's written consent, except that (i) MARS may assign this Agreement without the consent of the
Contractor to arry corporate affiliate of MARS provided that MARS remains the guarantor of, and is fully
liable for, the perforrnance of all of its obligations under this Agreement, and (ii) Corrtractor may assign
its right to receive payments under this Agreement to such third parties as Contractor may desire without
consent of MARS, provided that Contractor gives written notice (including evidence of such assignrnent)
to MARS thirty (30) days in advance of any payment so assigned. Any subcontract made by Contractor
with the consent of MARS as aforesaid shall incorporate by rcference all terms of this Agreement.


18.      STATAS AS INDEPENDENT CONTRACTOR

       It is agreed and understood by both parties that tlre relationship of Contractor to MARS is one of
an independent contractor, that Contractor shall not represent to anyone in any manner, express or
irnplied, that Contractor is an employee, or that Contmctor's personnel are employees, of MARS, and that


Mgmt Agmt 2013
                                                    14

                                                                                               DEF000014
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 221 of 363 PageID #:221




nothing in this Agreement shall be construed to confer on Contractor any authority, express or implied, to
bind or commit MARS to arry third party in any way whatsoever. As an independent contractor, neither
Contractor nor Contractor's personnel is entitled to the benefits provided by MARS to its employees,
including but not limited to, group and health insurance, deferred eompensation and retirement benefits.
As an independent contractor, Contractor has sole authority with respect to its employment policies,
including, but not limited to, promotions, discipline, rclocation, or tennination, and such policies ar€ not
subject to agreemerlt or consent on the part of MARS. Nothing in this Agreement shall be construed to
suggest that the parties hereto are geneml paftrrers,   joint venturers orjoint employers.


19.      INSARANCE.

         A.      Required Coverage. Conhactor is responsible for obtaining and maintaining in full force
and effect commercial general liability, wotkers' cornpensation, employers' liability, business autornobile
liability, warehouse legal liability and urnbrella liability insurance pursuant to the rninimum limits and
other requirements contained herein or reasonably requested by MARS. Coverage shall be maintained
insuring Contractor and MARS, against liabilities whether or not asserted by or on behalf of Contractor's
employees, invitees, officers, owners, directors, contractors, subcontractors or agents. Contractor shall
cornply with all state and local insurance statutes and regulations. Contractor's commercial general
liability and urnbrella insurance policies shall include contractual liability, with lirnits of not less than the
amounts specified below, and shall include all defense costs, including but not limited to, attorneys' fees,
court costs, and other sirnilar costs and expenses. It is understood and agreed that any insurance limits
shall not be construed as a limitation on Contractor's liability except as specifically addressed in Section
l9 D. The policies shall provide coverage for any liability Conractor (including its employees, agents,
invitees, contractors or subcontractors) rnay have for bodily injury or death, personal and advertising
irtjury, or property damage. MARS, including its divisions, subsidiaries, parent and corporate affiliates,
and its ownels, shareholders, officers, dircctors, employees, and agents shall be included as "additional
insureds" under all insurance policies provided by Contractor (except workers' compensation and
warehouse legal liability and umbrella coverage (which follows form). MARS shall not be deerned to fall
within the definition of "an Insured" for purposes of any damage, loss, bodily irdury or death to employee
exclusions that may exist within Contraetor's policies, and Contractor shall provide an endorsernent to
that effect. All such policies shall be primary to, and not contributory with, any coverage which rnay
otherwise be available to MARS. Each such policy shall contain a "separation of insureds" clause which
shall have the effect of irrsuring each person, firm or corporation insured hereunder in the same manner
and to the same extent as if a separate policy has been issued to each.

        All insurance required hereunder shall be obtained through an insurance company with a
minimum rating of A-VII or better as evaluated by the most current A.M. Best rating guide. If the
insurance company has a rating less than A-VII, Contractor must receive specific written approval ftom
MARS prior to proceeding.

         Not later than ten (10) days prior to the expiration of, or the effective date of any material change
in, any policy or policies hereunder, Contractor shall deliver (or cause the insurance company to deliver)
to MARS written notice if the policy or policies will be cancelled or the coverage materially changed. As
evidence of renewal, Contractor shall, not later than ten ( I 0) days prior to expiration, either (i) deliver (or
cause the insurance company to deliver) to MARS a new certificate of insurance, together with evidence
of payment of the premiums for the renewal period, or (ii) if Contractor is unable, after a good faith effort,
to deliver any such policy or certificate by the specified date, Contractor shall notify MARS in writing of
the reasons why such insurance has not been renewed, shalladvise MARS of the anticipated date of such
renewal and shall deliver to MARS copies of any such policy or certificate, and evidence of payment,
promptly upon their becorning available. Failure to deliver such notices, policies or certificates, as the

Mgnrt ABmr 2013                                         15
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      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 222 of 363 PageID #:222



case may be, or to pay the premiurns on said policies wlrerr they become due, shall be deemed to be a
default by Conh'actor under Section l3 hereof.

         If at any time Contractor fails to obtain insumnce (or provide proof of insurance) in accordance
witlt this Agreement, or otherwise required by MARS, MARS nray, but it not required to, obtain the
coverage specified in this Agreement and charge all associated premiums and costs to Contractor.
Contractor slrall reirnburse MARS the cost thereof within fifteen (15) days of receipt of notice from
MARS or MARS may deduct the cost thereof from the Management Fee.

          Insurangg Specifi cations
          Contractor agrees to maintain the following MINIMUM limits of insurance:
          I.  Workers' Cornpensation and Employers' Liability:
                   Lirnits:
                   a.         Workers'Compensation:                                   Statutory Lirnits
                   b,         Employers'Liability:                                    $1,000,000

        Contractor rnay self-insure for Worker's Compensation in any jurisdiction where it is qualified to
do so. [n Texas, Contractor may non-subscribe for Wotker's Compensation and provide alternate
coverages. Contractor shall provide proof of a commercially reasonable non-subscriber plan if Contractor
chooses Nou-subscription.

          2.   Commercial General Liability: (Commercial General Liability Form ISO 1998 or later,
               including Contractual Liability and Products and Cornpleted Operations, on an occurrence
               form for bodily injury and personal injury or property damage:

                   Lirnits:
                   a.         Bodily Injury & Property Damage                         $ 1,000,000/occurence
                   b.         Personal l{ury & Advertising Injury                     $1,000,000/oocurence
                   c.         ProductdCompleted Operations Aggregate                  $1,000,000
                   d.         Ceneral Aggregate per location:                         $2,000,000

          3.   Automobile Liability: Liability coverage for any auto whether owned, rented, hired,
               borrowed or non-owned by the Contractor:

                   Limits:
                   a.         Combined Single Limit                                   $1,000,000/occuffence
                   b.         Personal Injury Protection (in applicable states)       Statutory

          4.   Umbrella Liability: Liability coverage attaching excess of Commercial General Liability,
               Automobi le Liabi lity, and Employers' Liabi I ity   po   I   icies.

                   Lirnits:
                   a..        Per Claim:                                              $ 10,000,000

        Contractor shall cause any subcontractor to add Contractor and MARS, its divisions, subsidiaries,
parent and corporate affiliates, and its owlrers, shareholders, officerc, dircctors, employees, and agents, as
"additional insureds" and endorsed as such under the Umbrella Liability, Commercial General Liability
and Automobile Liability policies. Contractor shall cause any subcontractors to issue certifrcates of
insurance indicating compliance with the insurance terms and conditions above, and shall be responsible
for ensuring that subcontractors (i) comply with the requirements set fofth above, and (ii) maintain suclr
coverage with respect to their work.


Mgnrl Aglnt 2013                                          16
                                                                                                   DEF000016
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 223 of 363 PageID #:223




         lf an affiliate of Contractor has entered into an Agreement for Lease of Warehouse leasing to
MARS, or an affiliate of MARS, the Warehouse space, the insurance requirements of the Lease with
respect to commercial general liability and autonrobile liability irrsurance may be satisfied by Contractor's
causing the policy or policies it obtains pursuant to this Section l9A to name the landlord under the
aforementioned Lease as a named insured in connection with said insurance.

         B,    Insurance on Building Contents. MARS slrall, at its sole cost and expense, insure and
keep insured any property in, on or about the Warehouse in which MARS has an irrsurable intercst,
including (but not limited to) MARS' inventory, furniture, fixturcs, equipment and other of MARS'
property.

         C.     Product Liabilitv lnsurance. MARS shall maintain product liability insurance and shall
indernnifu and hold Contractor harmless against all liability to third parties for injury resulting frorn
consumption of a product manufactured by MARS, including any of its wholly-owned subsidiaries or
divisions, except to the extent the injury resulted frorn the negligence of contractors or Contractor's
employees agents, contraciors and subcontractors.

          D. Warehouseman's Leeal Liability Insurance. Prior to occupancy of the Warehouse by
 MARS, the Contractor shall obtain Warehouseman's Legal Liability Insurance covering against risk of
 loss of inventory and property belonging to Mars, Incorporated, or any of its wholly-owned subsidiaries
 and divisions, resulting from the negligence of Contractor, which insurance shall be in the amount of $25
 (twenty-five) million. Darnaged inventory and product insured hereunder will be valued at Mars,
 Incorporated's actual replacement cost (defined as the cost of the raw materials and packagirg material at
actual cost, which excludes profit and any applicable taxes) for payment of claims, wlrich claims shall be
 paid without regard to any deductible. The Contractor shall obtain such insurarrce and shall pay the
premiums for such insurance coverage. Annually, MARS shall reirnburse, as an Allowable Operating
 Expense pursuant to Section 5 of this Agreement, premiums for the required coverage, Contractor shall
promptly deliver to MARS the policy or certificate of insurance, as MARS may request, together with
evidence of payment of the premiums. Contractor's failure to deliver said policy or certificate or to pay
the premiums on said policies when due shall be deemed a default by Contractor under Section l3 hereof.
Such policy shall respond as primary coverage to any other insurance which may otherwise be available
to MARS.
Contractor's liability for loss or injury to Goods shall be limited to loss or damage attributable to
Contractor negligence subject to the limits of the warehouse legal liability insurance as identified herein,
$25 million per occurence based on actual replacement cost excluding profit, unless such lirnitation is
increased by written request by MARS with acknowledgement by Contractor. Notwithstanding the above,
in tlre event of Contractor liability MARS agrees to a shrinkageldamage allowance each calendar year
during the tenn of the Agreement of .005% based on total cost of Goods variance divided by total cost of
Coods received on an illnual basis for which, in the case of loss or damage to GOODS or mysterious
disappearance Contractor will not be liable not to exceed one hundred fifty thousand dollars ($ 150,000)
on an annual basis. Liability in excess of the allowance shall be subject to $25 million per occuffence
limitation identified above.

        E. Notice of Loss or Damage to Goods. Contractor agrees to notifr MARS promptly in
writing of any known loss or damage, however caused, to goods stored or handled under the terms of this
Agreement.

        F. Reimbursement of Insurance Premiums. MARS shall rcimburse Contractor for the cost
of the premiums for the coverage required to be obtained by Contractor, at the minimum tirnits required,


Mgmt Agmt 2013
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      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 224 of 363 PageID #:224




under this Section 19, provided said coverage satisfies all of the requirements of this Section. MARS
shall rrot pay for insurance in excess of the minimum limits specified herein.


 20.     MARS'IN$TRACruONS

         Contractor acknowledges that MARS may,          in its sole discretion, assign identified MARS'
employees (whose salaries, fringe benefits and employer tax obligations shall be borne by MARS) to the
Warehouse. Contractot' shall not be responsible for obeying verbal instructions of MAITS' ernployees
which contradict written instructions. Further, Contractor shall ensure that its personnel assigned to the
Warehouse shall attend, at MARS' request and expense, all tmining sessions held by MARS or ie
designee.



21.      DEMURRAGE,lND OTUER CHARGES FOR DELAY

       MARS shall be liable for the payment of any unpaid transpottation charges in connection with the
irr-bourtd shipment of goods to the Warehouse, including undercharges, demurage, detentiorr, or any
other charge incurred in connection with goods shipped, and it shall be tlre responsibility of MARS to
plan the arrival of its shipments to avoid unreasonable bunching or other unloading problems. Contractor
shall be liable for the payment of transportation charges in the event that suclr charges resutt from
Contractor's failure to exercise reasonable care and judgment, including reasonable planning to ensure
that unloading services and facilities are available upon the arrival of MARS' goods provided shipments
are reasonably consistent with MARS shipping projection/forccast. It shall be the responsibility of
Contractor to communicate imrnediately by lelephone to the canier upon the occurrence of any
demurrage in excess of forty dollars ($40.00), and to maintain accurate records and documentation of the
facts relating to such demurage, detention or delays, including any actions taken by Contractor to
alleviate such demurrage, detention or delays in order to assist MARS in processing any objection to
carrier's imposition of such charges. If detention occurs for which Contractor is liabte, payment of such
detentiott shall be rnade by the Contractor to MARS unless otherwise directed by MARS.


22.      FORCE MAJEU&E

         A.      Force Mqieure Defined. Neither Contractor nor MARS shall be liable to the other for any
failure to perform pursuant to the terms and conditions of this Agreement to the extent such performance
was prevented by an event of Force Majeure. *Force Majeure" as used in this Agreement means any
event which is unforeseeable and beyond the reasonable control of the party whose perfonnance is
affected and which, with the exercise of due care, said party could not reasonably have been expected to
avoid, including but not limited to, acts of Cod, explosions or fires, floods, hurricanes, tornadoes,
lightning, earthquakes, drought, epidemics, blight, famine, quaralltine, blockade, acts or inactions of
governmental authorities, insurection or civil strife, rebellion, or sabotage.
        To be excused from performance         pursuant to this provision, Irowever, the party whose
performance is affected must  (i) imrnediately give notice to the other party, including full details of the
event of Force Majeure and its creation of an inability to perform, and (ii) exercise imrnediate and
uninterrupted due diligence to rcmove its inability to perform. The burden of proof to establish the
existence of an event of Force Majeure and any resulting inability to perform on its part shall be on the
party seeking an excuse from performance due to Force Majeure, Upon receipt of the aforementioned
notice, payment shall be suspended with respect to any Management Services not being performed. If the
period of non-performanse exceeds thi(y (30) days frorn the event of Force Majeure, the party whose
ability to perform has not been so affected, may by giving written notice, tenninate ttris Agreement. If an

Mgmt Agmt 2013
                                                    18
                                                                                               DEF000018
     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 225 of 363 PageID #:225




event  of Force Mqjeure asserted by Contractor causes the cessation of operations of the Warchouse,
MARS shall be entitled to undertake all reasonable actions to overcome the effect of the Force Majeure
and to rninimize its impact on MARS' operations.

         B.    Exclusions from Definition of Force Maieure. Notwithstanding               anything     in   this
Agreement to the contrary, "Force Majeure" shall not mean:

         (i)        Unavailability of equipment, repairs or spar€ parts for the Warehouse, except to the
                    extent caused by a qualifuing event of Force Majeure;
         (ii)       Any event to the extent caused by the negligence, willful misconduct or breach of this
                    Agreement by the party claiming Force Majeure;
         (   iii)   Any breakdown or failure of any mechanical or other component of the Warehouse
                    which fully or partially curtails operations to the extent caused by the design or
                    construction of the component or the failure to properly operate and maintain the
                    component, irrespective of whether the failure is attributable to the negligence or fault of
                    the parly asserting Force Majeure;
         (iv)       Failure to perform by any subcontractor, vendor, manufacturer, supplier, provider, or
                    other third person except to the extent the failure is also caused by a qualifying event of
                    Force Majeure as defined in this Agreement. In this respect, the compliance of any
                    person contracting with the Contractor or MARS shall be deemed to be within the control
                    of Contractor or MARS, as applicable;
         (v)        Work stoppages by Contractor's employees.


23.      MISCELI.ANEOAS

         A.         Headings. The section headings contained herein are flor convenience of refercnce only
and shall not control the interpretation of any term or condition hereto.

         B.         Severability. Any invalidity, in whole or in part, of any provision of this Agreement shal!
not affect the validity of any other of its provisions.

         C.       Cumulation of Remediqs. All remedies available to either party for breach of this
Agreement are cumulative and may be exercised concurrently or separately, and the exercise of any one
remedy shall not be deemed an election of such remedy to the exclusion of other remedies.
         D.       Notices. Any notices, consents, waivers, demands, approvals, statements, or other
communications, which this Agreement requircs or penrits either party to give the other shall be given in
writing and shall be mailed by registered or certified mail, return receipt requested, postage prepaid, or
delivered by nationally recognized overnight delivery service to the parties at their respective addresses
below. Either party may change its mailing address at any time by giving notice of such change to the
other party at least ten (10) days prior to the effective date of such change. All notices shall be deemed
given (i) if by hand, on the date of receipted delivery or refusal to accept delivery, or the date delivery is
first attempted but cannot be made due to a change in the address of which no notice was given or (ii) if
by mail, on the date actually delivered, or (iii) if by overnight delivery service, on the next business day
after delivery to a nationally recognized overnight delivery service.

        To      MARS: Affention:            Commercial Manager - Warehouse Services
                                            800 High Street
                                            Hackettstown, NJ 07840
                                            (e08) 798-t000
                                            steven .v. she I don @_efl E m.com


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      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 226 of 363 PageID #:226




                                        With a copy (which shall not constitute notice) to
                                        Regional Distribution Manager
                                        2019 North Oak Park Avenue
                                        Chicago, lL 60707
                                        (773) 892-773s
                                        ro be rt. co f fey@effe m.com


          To MARS' Counsel:             Edgar Pew
                                        Associate General Counsel-North America
                                        800 High Street
                                        Hackettstown, NJ 07840
                                        (908) 97e-5863
                                        Edgar.pew@effem.com



          To Contr:actor:               VP of Operations - MARS Account
                                        Kenco Logistic Services, LLC
                                        2001 Riverside Drive
                                        Chattanooga, TN 37406
                                        (423)290-3749
                                        paul a.h ise@kencoqroup.com



          To KENCO's Counsel:           Corporate Counsel
                                        Kenco
                                        2001 Riverside Drive
                                        Chattanoog4 TN 37406
                                        (423) 643-32ts
                                        an   n.ch ri stopher@kencogroup.com




          E.     Waiver. Any waiver, express or implied, or any breach of any term, covenant or
condition of this Agreement shall not be, or be construed to be, a waiver of any subsequent breach of any
term, covenant or condition hereof on either the part of Contractor or MARS.

       F. Nondiscrimination. Federal Contractors Requirements. To the extent they are
applicable, this document incorporates the following clauses by reference: the Equal
Opportunity clause relating to equal employment opportunity for all persons without regard to
race, solor, religion, sex or national origin, 4l C.F.R. $60-l.a; the Aflirmative Action clause
regarding disabled veterans and veterans of the Vietnam-era, 4l C.F.R. $60-250.5; the
Affrrmative Action clause, regarding obligations to disabled veterans, recently separated
veterans, other protected veterans and armed forces service medal veterans,       4l   C.F.R. $60-300.5,
and the Affirmative Action clause regarding obligations to individuals with disabilities, 4l
C.F.R. $60-741.5. Contractor certifies that it complies with the nondiscrimination and
affirmative action requirements of these clauses, and all applicable laws, regulations,
amendments and orders; requires subcontractors, if any, to do the same; and wanants that all
Products and/or Services provided hereunder are in full compliance with these regulations.

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     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 227 of 363 PageID #:227




Furthermore, to the extent applicable, during the term of this Agreement, Contmctor agtees to
post the notice and abide by the provisions set forth at 29 C.F.R. Part 471 Appendix A and
incorporated herein by reference.

        C.      Substance Abuse. Contractor warrants that, in performing the Management Services that
are the subject of its Agreernent with MARS, it will promulgate a substance abuse policy and program
covering its employees. Upon MARS' request, Contractor will provide MARS with information
concerning its policy and enforcement. In addition, as with all individuals entering the Warehouse,
Contractor will exclude from the site any contract-affiliated persons who are reasonably suspected of
being under the influence of alcohol or other behavior-modifring drugs.

        H.       Choice of [^aw: Forum. This Agreement shall be interpreted, construed and enforced in
accordance with the laws of the state of Delaware without regard to its principles of conflicts of law. Any
dispute, controversy or claim of any nature arising out of or relating to this Agreement shall be
adjudicated in either the Federal District Court or the State Trial Court of Delaware and the parties hereby
consent (and waive any challenge or objection) to the personal jurisdiction and venue of said Court and
state. Seller expressly acknowledges and affirms thaf for the purposes of applying the law of commercial
and contractual transactions, the Uniform Conrmercial Code as adopted by Delaware shall be applicable.

         [.      Financial Statements. Upon MARS' written request, but not morc frequently that once
 a year, Contractor shall promptly furnish MARS with financial statements reflecting Contractor's thett-
 current financial condition prepared in accordance with generally accopted accounting principles and
 certified by a corporate officer of Contractor. Contractor represents and warrants that all financial and
 other statements and information supplied to MARS with respect to Contmctor's business are true,
 soruect and complete in all material respects, and that Contractor has and will rnaintain financial
 resources sufficient to full perform this Agreement. Contractor shall promptly notify MARS of any
 material adverse change in its financial condition, any anticipated change in its corporate structure, and
 any threatened or pending litigation that may adversely irnpact the abiliry of Contractor to perform under
 this Agreement.

        l.       Entire Agreement: Amendrnents. This Agreement together with the Appendices
  and Exhibits specifically referenced herein and anached hereto, as the same may be amended, rnodified
  or supplemented from time to time, ernbodies the entire understanding and agreement between MARS
  and Contractor in regard to the subject matter hereof and entirely replaces and supersedes any and all
  other prior or contemporaneous agreements, contracts, understandings, conditions, or representations,
  oral or written, with reference to such subject matter. Except as otherwise specifically stated herein, no
  amendment or modification slmll be of any force or effect unless: (a) it is reduced to writing and signed
  by both parties; and (b) is expressly referrcd to as being an amendment or modification of this
  Agreement in such writing.

         K.       Non-Solicitation. Exccpt in the case of a termination of this Agreement by MARS
  pursuant to Section l3r{ or l3B, neither party, except by generaladvertisement, shallsolicit or offer
  ernployment to any of the other party's employees who have been directly involved in this Agreement
  with a view to offering them employment either during the term of this Agreement or for a period of
  one ( l) year thereafter without the prior written agreement of the other party.

         L.     Preparation. This Agreement shall not be construed for or against either party by reason
  of or any presumption of preparation by such party, and both parties acknowledge that this Agreement
  has beeu   fully negotiated between them.



Mgnt Agmt 2013                                      21
                                                                                               DEF000021
    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 228 of 363 PageID #:228



          M.     Attornevs' Fees. The prevailing party in any arbitration or other action to enforce any    of
  the terms hereof shall be entitled, in addition to any other relief granted, to all actual out-of-pocket costs
  and expenses incurred by such prevailing party in connection with such action, including without
  limitation, all reasonable legal fees, and a right to such costs and expenses shall be deemed to have
  accrued upon the commencement of such action.

          N.     Counterparts: Facsimile Signatures. This Agreemenunay be executed in multiple
  counterpatts, each of which shall be deemed an original and together shall constitute one and the same
  instrument. Facsimile signatures shall be as valid as the originalsignatures. Signatures delivered by
  facsimile shall be followed by delivery of the original signed document.

          O.     Survival. Any obligation of a party that by its terms or nature arises at, or is intended to
  continue beyond, the expiration or termination of this Agreement or a Services Addendum shall survive
  the termination or expiration of this Agreement or Services Addendum.



          lN WITNESS WHEREOF, the parties have caused this Agreement to be executed         and do each
  hereby warrant and rcpresent that their respective signatory whose signature appears below has been
  and is on the date of this Agreement duly authorized by all necessary and appropriate corporate action
  to execute this Agreement.




 CONTRACTOR:




 Dwieht Crawley
 Typed Name                                            Typed   N4ne            t
 Chief FinancialOfficer                                         (:,t,^" FA.AL nhJ
 Title                                                 =,,
                                                       Title
         ( -tt - /3                                                A?'r,!^,Jors
 Date                                                  =
                                                       Date




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        Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 229 of 363 PageID #:229

                                               APPENDIX A
                                                   To the
                            WAREHOUSE MANAGEMENT AGREEMENT
                                                  between
                                                   MARS
                                                    and



                                    FINAL PPERATIIYS BUDGET

Rateq.nnd Charges: MARS will pay Contmctor for the Management Services in accordance with rhe rates and
charges to be set forth in this Appendix A.
The final Operating Budget may be revised frorn time to time due to changes in drc assumptions underlying the
foregoing calculations, but only with the prior wrifferr approval of Mars, not to be reasonable withheld,




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                                                                                               DEF000023
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 230 of 363 PageID #:230

                          APPENDIX B
                            TO TIIE
               WAREHOUSE MANAGEMENT AGREEMENT
                           BETWEEN
                             MARS
                              and


                         SCOPE OF SERVICES




                                   24
                                                                    DEF000024
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 231 of 363 PageID #:231


                      EXHIBIT I TO APPENDIX B
                              fO THE
               WARtrHOUSE MANAGEMENT AGREEMENT
                             BETWEEN
                               MARS
                                  and




              MARS: NORTH AMERICA OUALITY MANUAL




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                                                                    DEF000025
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 232 of 363 PageID #:232



                                    APPENDIX C
                                      TO THE
                         WAREHOUSE MANAGEMENT AGREEMENT
                                     BET\ryEEN
                                       MARS
                                        and


                                   0PEB"AJTIYG ASSETS LrST

The following are the Operating Assets for the purposes of Section l3H of the Agreement. This Appendix
may be amended, rnodified, expanded or dirninished only with the prior written consent of MARS. Any
computer genorated listing must be prepared in the following format:




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                                                                                         DEF000026
         Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 233 of 363 PageID #:233



                                         APPENDIX D
                                           TO THE
                              WAREHOUSE MANAGEMENT AGREEMENT
                                          BETWEEN
                                            MARS
                                                       and


                                            TRANSITION COSTS

Transition Costs:

Contractor   will incur certain   costs and expenses during the transition period preparirrg      to perform   the
Management Services ('Transition Costs"). MARS will pay Contractor for the Transition Costs irr accordance
with the rates and charges to be set forth in this Appendix D.

Prior to agreement between Mars and Contractor on the total Transition Costs, Contractor agrees to provide
backup for Transition Costs as may be reasouably requested by Mars. At the conclusion of the sixty (60) day
Transition period, Mars and Contractor agrce to review and update the table set forth in Appendix D to reflect
total actual Transition Costs, includirrg approved Transition Costs in excess of or less than the total cost as set
forth in this Appendix D.




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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 234 of 363 PageID #:234



                                APPENDIX E
                           TO THE
              WAREHHOUSE MANAGE,MENT AGREEMENT
                          BETWEEN
                            MARS
                                     8nd




               2013 Vondor Insontive to bc added at a latgr date




                                      28
                                                                    DEF000028
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19
                                     APPENDIX    A       Page 235 of 363 PageID #:235
                                                   To the
                            WAREIIOUSE MANAGEMENT AGREEMENT
                                                  between
                                                  MARS
                                                    and



                                   FINAL OPERATING BT]DGEI

Rates and Charges: MARS will pay Contractor for the Management Services in accordance with the rates and
charges to be set forth in this Appendix A.
The final Operating Budget may be revised from time to time due to changes in the assumptions underlying the
foregoing calculations, but only with the prior written approval of Mars, not to be reasonable withheld.


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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 236 of 363 PageID #:236




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       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 237 of 363 PageID #:237
Continuous Improvement:

   o   Effective in Year 2 of this agreement, Kenco shall actively seek opportunities for continuous
       improvement in its warehouse management practices for application in the Services provided
       hereunder. For each year, periods I - I 3, as part of Kenco's continuous improvement efforts, Kenco
       will achieve either 1) efficiency improvements of 5Vo to the sites budgeted productivity for warehouse
       and contract labor personnel, or 2) savings of $85,000 to the site budget. The parties acknowledge that
       the budget is built on certain volume and order profile expectations and mutually agree to evaluate the
       impact of certain business profile parameters on productivity. The parties agree that these cost savings
       are cumulative and, as such, any cost savings achieved by Kenco in excess of the goal for a given year
       will carry over to the next year and will be applied as a credit to the cost savings goals for the
       following year. In the event that the cost savings goal is not met for a given year, the parties will
       calculate the difference between the savings goal and actual savings, and Kenco will reimburse the
       difference to Mars based upon a mutually agreed upon reconciliation.




                                                                                                DEF000031
          Case: 1:19-cv-02500 Document #:APPENDIX
                                          1 Filed: 04/12/19
                                                    B       Page 238 of 363 PageID #:238
                                           IO THE
                           WAREHOUSE MANAGEMBNT AGREEMENT
                                                   BETWEEN
                                                     MARS
                                                       and


                                           SCOPE OF SERVICES


The scope of services is the receipt, warehousing, yard management, and fulfillment of order for Goods.

The following are specifically out of scope:

o   Inbound and Outbound Transportation
o   Material Handling Equipment leasing
o   Mars WMS (MARC, Red Prairie, or SAP) and IT Infrastructure
o   Facility leases
o   Various small categories (ex - facility and grounds maintenance)

Services:

o   Contractor shall perform only those Services that are set forth herein in accordance with Mars communicated
    standards and guidelines. Contractor shall ensure that its SOP's and performance hereunder are in compliance
    with such standards and guidelines.
.   Mars may, at any time, request changes to the Services through the Change Order process. Each such Change
    Order shall be executed by authorized representatives of both Mars and Contractor and shall be deemed an
    amendment to the applicable scope of work.
o   Mars may invite Contractor to bid on services not included within the scope of work. In the event that Mars elects
    to retain Contractor to perform such additional services, the parties agree that a new scope of work shall be entered
    tr,o by the parties to address such work.
.
Inbound:
A significant percentage of the inventory will be shipped to the Warehouse on quality hold, as specified in the Mars
WMS and not immediately available for customer orders. Inventory will be released by MARS' Quality Assurance
associates either in transit to the Warehouse or after receipt. The Goods shall include Wrigley, and any other
applicable subsidiary of Mars, inventory which will most often arrive in a released status. There will be times when
inventory either needs to be placed on hold status or released from hold status and this will be via a notification to the
Warehouse via request by Phone, Fax, Internet, E-Mail and/or EDI from MARS and upon such notification the
Warehouse will manually update the status in the WMS system. ChicagolBurr Ridge material is not in WMS, it is in
SAP. Wrigley, and other applicable subsidiaries of Mars, outside overflow storage is housed in the Contractor's
WMS.

The Inbound process is:
o   A carrier will be identified by MARS to handle Inbound trucking from manufacturing, import or other MARS
    regional distribution centers.
o   All   Chocolate inbound carrier arrivals are preceded by an ASN notice of shipment including inventory description
    and code date and quantity. Wrigley, other applicable subsidiaries of Mars, Mars Chocolate Co-pack and Co-
    manufacturing inbound arrivals will not have an ASN.
o   The carrier arrives at the Warehouse and is gated, as defined by the applicable SOP, in by the Contractor.
o   The truck is either put directly in a door for immediate unloading or dropped in yard for unloading later in shift.
o   The Contractor will move the trailer from the yard to the door for unloading when loads are "dropped" by carrier.



                                                                                                   DEF000032
.       Case: reviews
    Contractor   1:19-cv-02500     Document
                         Advance Notice        #: 1against
                                         of Receipt Filed: the
                                                            04/12/19    Page 239
                                                               actual inbound      offor
                                                                              receipt 363  PageID
                                                                                         correct item #:239
                                                                                                      I-IPC, item
    quantity, item lot, zone within MARS' WMS and generates the putaway locations when ready to begin unloading.
.   All pallets must be scanned at the door, MARS' WMS then generates a put away location for the forklift operator.
o   Contractor will inspect all inbound trailers for visible damage. If the trailer is visibly damaged or trailer number
    does not match Bill of Lading ("BOL"), Contractor will note on BOL and timely contact Mars providing necessary
    detail to receive instructions for processing the trailer.
o   All inbounds will be inspected for apparent over, short and damage and processed per Mars' guidelines.
o   If any product posses an infestation threat or is hazardous, as defined by applicable law which would include
    poisons, flammables, or explosives, Mars will make best efforts to remove such material from the facility
    immediately, and make every reasonable effort to remove such material within one business day of Contractor's
    notification to Mars of such.
o   The Contractor proceeds to the putaway location and confirms on the RF unit that the pallet is putaway, the RF
    unit instructs the forklift operator to move to the next task.
o   Contractor will pick up inbounds for the on-site co-packer as designated by Mars WMS

Outbound:
o Outbound customer shipments will be a combination of approximately 807o straight pallets of 1 item and207o
    pallets containing multiple items built by Contractor (case-pick).
o   Outbound orders are processed through the Mars WMS for shipment.
o   The Mars WMS directs the forklift operator to specific locations within the Warehouse to build customer orders.
    This may be full pallets from bulk storage or in the example of case pick; the operator will be given specific
    commands to build pallets from multiple   items. Once a pick-pallet is complete it is shrink- wrapped, labeled and
    moved to the staging area for shipment. Straight pallets of I item will be moved directly from a location within
    bulk storage area to staging for outbound shipment. A count back procedure or manual physical audit process
    shall be implemented when picking case pick orders.
o   Contractor will utilize the Transportation Management Execution System, as provided by Mars, for tendering
    shipments to carriers.
o   Contractor is responsible for facilitating on-time carrier performance of pick up of shipments and managing
    3Pl/lVarehouse/Carrier relationship with performance management through Mars Distribution Manager.
o   Contractor is responsible for inspecting trailers for cleanliness, in accordance with Mars Quality Manual, prior to
    loading.
o   Contractor is responsible for loading trucks according to Mars instructions, per a mutually approved SOP.
o   From the staging area or directly from picking, pallets are loaded to the truck, scanned out and the truck ID is
    manually input to the RF gun.
o   The spotter moves the trailer from door to the location within the yard (for drop orders) or moves the trailer
    directly to the gate for pick up if live load.
o   Contractor must place seals on each load prior to leaving the yard.

Additional notes:

        o      Inventory will frequently be received on quality hold status within the Mars WMS. Once inventory is
               released byMARS' QA associates, the Mars WMS will be updated automatically making inventory
               available for shipment to customers.
        o      Contractor shall design the layout in the Mars WMS to maximize efficiencies through zoning and
               reduction of travel time within the space operated by the Contractor.
        o      Contractor shall establish a case pick area considering product dimensions and volume projections as
               provided by Mars to maximize efficiency of the operation.
        o      The WMS will generate replenishment moves from bulk storage into case pick area as needed.
        o      Contractor shall provide a daily operation report to MARS' Regional Distribution Manager as well as ad
               hoc reports as requested in a mutually agreed upon timeframe.
        o      Contractor will move and stage product to the on-site co-packer as determined by Mars WMS.


                                                                                                  DEF000033
        Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 240 of 363 PageID #:240
Inventory Management
. Contractor shall perform cycle counts as requested and in accordance with Mars guidelines.
. The cycle count process for Wrigley items requires a frequency of lx every 60 days, vs MARS' Goods of lx every
    90 days. The Wrigley cycle count process requires blind counts, whereas, the MARS process provides item
    information for the location being counted. Cycle counts for other subsidiaries will be mutually agreed upon by the
    parties.
o   Contractor will maintain a segregated area for damaged product, on hold and awaiting pick-up or disposal.
o   Contractor is responsible for tracking CmP pallet movements to and from the warehouse and will reconcile
    CHEP pallet inventory levels within a mutually agreed upon time frame.
o   Contractor will follow Mars' guidance and direction as it pertains to product holds, nonconforming products,
    recalled products, and expired products.

Warehouse Standards:

.   Records must be kept in compliance with local, state, and Federal legislation.
o   Contractor shall maintain documented procedures that describe how they will meet the standards below:
         o Contractor shall perform tracing hold and release by receiving a request by an authorized Mars
             representative via Phone (live voice, no voicemail messages), Fax, Internet, E - Mail, EDlz4hours/day, 7
             days/week.
         o Contractor shall perform tracing hold and release by receiving a request with any of the following: Batch
             code, serial shipping container code, best-before date, bill of lading, pallet license plate number.
         o The Mars WMS is capable of maintaining multiple hold status independent of volumes.
         o Contractor shall trace Goods within a 4-hour period upon the request of an authorized Mars representative.
         o Contractor shall be able to trace 24 hours a day l7 days a week.
         o For those warehouses that do not operate 2417, there must be a tracing procedure in place (names, contact
             hierarchy, email address, and telephone numbers (cell and/or home) for all incidents outside normal
             opening time.
         o Contractor shall identify full dispatch details, address, date ofdispatch, quantities cases, carrier, and trailer
             number.
o   Contractor is responsible for arranging facility maintenance, pest control and sanitation. Contractor will ensure
    that the facility is serviced by a licensed pest control operator.
o   Contractor is responsible for monitoring facility temperatures with Mars provided equipment to ensure all products
    are stored according to the Mars supplied quality agreement.
o   Contractor will adhere to security requirements as provided by Mars.


Quality:

    o      Contractor will comply with the Mars North American Quality Agreement as set forth in Appendix I to
           Exhibit B. Mars will notify Contractor when any material charges are made to this Appendix.
    o      Contractor will ensure that the facility is registered with the US Food and Drug Administration.
    r      Contractor will maintain training records, sanitation logs and temperature charts for seven (7) years.

Key Performance Indicators, Forecasting, and Reporting
r  Contractor will report KPIs to Mars no later than the 5th business day of each period using the following
   calculations:
Contractor will be held accountable for the following KPI's as outlined below:




                                                        6
                                                                                                   DEF000034
    KPI
          Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19Food
                                               Chocolate     Page 241 of 363 PageID #:241
    Operations
        Rec & Put Away (standard shipments)              < 48 hrs    < 48 hrs

        Rec & Put Away (priority shipments)              < 12 hrs    < l-2 hrs
           Load Ready Time Compliance                      99%           99%
           Over, Short & Damage                           <2.0%      <2.O%
           Warehouse Cuts                                  LO%           10%
           Warehouse Loss & Damage                       <0.w5%     < 0.005%

           Cycle Count Accuracy                           99.7%       99.7%
           Productivity (t-put pallets per man hour)      > 7.95

     Customer Service
           Required Response Time                          <1hr       <Lhr
           Orders Appointed (OTR Planned)                 >95%        >95%
           Orde r/l nvoice Accu racy                       N/A        N/A
           Orders Tendered                                <2hrs      <2hrs
           Truck Weight (lbs)                            > 30,000    > 30,000

           Truck Cube                                     > L,4@     >   1,4ffi
            OTA                                           92.50%      0.925

     Management/Site
            Safety/OSHA     portabl es (TRl R)
                           Re                              < 5.5         < 5.5
            Mars Quality & Food Safety (Q&FS) Audit        >99%       >99%

o   Productivity is measured by Total Throughput Pallets/Hour. The average goal for the entire year is 7.85 pallets
    /hour and we will have a progressive target to this metric to account for a learning curve:
o   P5 Pallet/Hour Target = 857o of avg (6.67)
o   P6 Pallet/Hour Target = 907o of avg (7.06)
o   P7 Pallet/Hour Target = 95Vo of avg (7 .45)
a
o   Contractor will provide reporting on a mutually agreed upon time frame for an agreed upon set of volume, profile,
    and service metrics.
a   Mars and Contractor acknowledge that volumes, inventories, and/or space requirements may fluctuate from month
    to month as a result of demand, seasonality, unexplained, or unanticipated events. Mars also acknowledges that its
    ability to accurately forecast operation volumes could ultimately affect Contractor's information of forecasted
    operation volumes (to be mutually defined), schedule changes, or any other issue that may have an effect on
    Contractor's performing its obligations and pricing under this agreement. Mars will:
         o Deliver an annual forecast at least 3 months prior to the beginning of each calendar year during the term of
              this agreement.
         o Deliver a period forecast on a rolling basis.
Operating Assumptions

Goods may be received via several different sized trailers. Goods are received on CTIEP pallets, wood pallets, and slip
sheets.


Inbound receipts:

          o   Inbound Goods arrive directly from the MARS' production facility; approximately 687a on slip sheets,
              57o on CHEP and2T%o on GMP pallets.
          o   Current outbound order profile is as follows: 80Vo straight pallets and 20Vo of pallets containing multiple
              items.
          o   Live unloads must be unloaded within 2 hours of arrival at the gate, during scheduled hours of operation.


                                                                                                 DEF000035
           Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 242 of 363 PageID #:242
Volume Assumptions:

            -lnbound

  PD        Trudts     Tonnes                  folrrdg         Pallets            Casee

     1 1,190              Itr,784,            25"979"118,8'       39,832.        1,635,508
     2 1.,O97             L3,61La             30.Etr8,68n         37,277         1,919,!-gl
     3 1,228              lts-504             34,1188,.4811       52,130         2,02i$,296
     4 1,473              15,644              34,489,971r         54,509         2,2?3,852
     5 1,635              tr8,&+6             41,548-986          59,971          2,309,570
     6 1,845              n9,5lL7             43,027,813          69,045          2,77?,,889
     7 L,784              19,5d[7             43,0H,3O1           63,885          2,22.8,32[
     8 L,729              20,383              44.937.365          ffi,0o1         2,505,817
     9 1,581              16.178              35"867,85X.         53,540          2,316,301
    10 1.6,04             I!6-547             38,4.S1",854        54,586          2,366,sTt
    11. tr,48.8           1i5,20,c[           33-5IIE"9EB         48,,&[8         2,t72,6fr4
    L2 1,354              Ir3,f27             30,,26&923          44,L89          ?,067,337
i 13 1,459                Ir3,751             30,,31t5,9'0Ii      48,738          2,020,529
,Totals Lg,46l            2LO,24            463,515,{,67        5Sr,751          27,967.,795


              Outbo und
                                                                      Arry.                                  Casepi*
  PD        trdeffi Trudtc Tonn€f                       Prourds                  Pallets        Ca*e*
                                                                      Uner                                    Gtf€i3
       L     2,553     Lllt0          1r3,729          30"26,7"98:9        6.9    41"569       1,8.69,245     258,188
       2     2,256     1,038          L2,9'97          28,F$3,488         8.8      361le       1,677.156      321,825
       3     2,368     1,252          16.,401          38,tr58.318        9.3     47,743       &9'CI,8,594    357"873
       4     2,400     n,268          trs,556          3d$"295,675         7.9    #,677        1,962,530      263,390
       5     2,660     L363           1&454           *&6S4*,727           7.9    s4365        2,2{d,,677     295,362
       6     2,935     1d[29          2X,"W6          47.860-353           7.4     59,?7fl     ?,272,&35      323,818
       7     2,748     1,3f8          2,U,,889        +8.'U53",U22         7.6     62,667      4272,765       294,938
       8     2,899     Ii,580         2L,516          47,435"tr58          7.5     70,367      2,588,912      3E&974
       9     2,7ffi    It 475         20,,1t8,S       ++*495,588           8.3     60,096      2,238,379      31r7"989
                                                                      7
     10      2,932     Ls2n           20,,237         dl'rt"616-196        8.9     60,7(M      2,47&6,31!     3,?6,4+S
     11      2,661.    n.298          tr   6,56,Ii     38,5trL498          8.3     47,994      2,1i$7.514     35CI,,835

     L2      2,848     L3CI5          116,,76,3        36,956,753          7.3     46,843      2,173,763      3r$3,9j[2
     13                L3T]i          It7,882          39"2rS7,005         6.8     52,875      2,LL7,677      3112,881
 Totals 35,$Tl 17,388 212,411 5L2,479,76                                   7.9 6s9,219 27,T12,518            4,L72,6t1


MARS anticipates volume growth of approximately 4 7o - 5 Vo per year.

Facility:

The Warehouse is approximately 571,000 sq ft. The facility is racked with approximately 79,000 pallet positions. The
site is defined as at capacity when volume hits 857o of the racked positions. Contractor operates in approximately
478,000 sq ft.

Min Inventory: 44,000 pallets
Avg Inventory: 58,500 pallets
Max Inventory: 75,500 pallets

                                                                                                                          DEF000036
         Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 243 of 363 PageID #:243

Orders:

Customer orders    will be received throughout the day Monday through Friday. Customer orders are picked, staged, and
shipped on daily basis subject to customer order volume. Inbound product received on slipsheets will need to be
palletized at receipt, prior to put-away, on GMP white wood pallets. Prior to shipping to the Customer, the Contractor,
as directed by the Mars WMS, may need to transfer Goods from GMP white wood pallets to CfmP pallets before
shipping.

Case   fill will be optimized   to include product that arrives on site within l6 hours of planned outbound departure.



General:

Hours of Operation:

          o   Minimum business hours are 7:00 AM to 5:30 PM U.S. CST, Monday through Friday for office personnel.
          o   Warehouse operations are expected to tender orders to Mars designated carriers so to facilitate delivery of
              all customer orders on time to appointment.
          o   Contractor shall support emergency requests or occasional volume spikes beyond normal business hours
              and days of operation
          o   Contractor shall have a 7 day by 24 hour communication plan

Holidays:

               will mirror Mars U.S. Holiday Schedule, which may vary from year to year but generally includes:
Observed holidays
New Years Day, Memorial Day, Independence Day, Labor Day, Thanksgiving Day, the Day after Thanksgiving,
Christmas Eve, Christmas Day, and one floating holiday.




Material Handling Equipment ("MHE") maintenance is the responsibility of the Contractor, however MARS shall
reimburse Contractor for such costs. All MHE must be maintained in accordance with the MHE lease which MARS
shall provide to Contractor. Contractor may select the maintenance provider, however, the selection will be reviewed
by MARS' MHE Services Auditor.



          Contractor WMS (WES) System:

If for any reason the Services Agreement is terminated, CONTRACTOR agrees to provide transition assistance to
MARS as outlined below.
l.       CONTRACTOR agrees to leave the Contractor WMS operating on our servers supporting the Mars's site or
sites until such time as Mars makes a decision on the successor WMS system that will be used in its sites.
CONTRACTOR will provide user help desk support for any installed instances of the Contractor WMS and will assist
Mars in making a smooth transfer and conversion of its data and history to the new software system.

Modifications to the Contractor WMS system will not be made if another 3PL or operator assumes operation of the
warehouse during the interim period. The interim period begins on the date that the Services Agreement ends and
continues for a period not to exceed 9 months. The software will be used "as is" during the interim period.
 Contractor will continue to provide software support to Mars during the interim period for a monthly software
maintenance fee to be negotiated between the parties. Fees will depend on amount of data being stored, number of
sites using the WMS, and other costs related to providing the WMS to Mars. In the event of non-payment of the
monthly maintenance fees by the invoice due date, Contractor may suspend all access to the system.
Any new interfaces between WES and another operator's systems will be estimated and priced per hour at the then
prevailing hourly billing rate for Contractor's IT services. Payment of invoices for interfaces is required in advance of


                                                                                                     DEF000037
       Case:
any work being 1:19-cv-02500
               performed.            Document #: 1 Filed: 04/12/19 Page 244 of 363 PageID #:244
2.      CONTRACTOR will assist with the Mars's I.T. staff to protect Mars data residing on the Contractor WMS
servers. See section 4 for details.

3.       Contractor will assist the Mars's I.T. staff in transferring Mars data to the new WMS servers at such time as
the new system is ready to receive this data. Data will be copied to CD or tape and sent via overnight courier. Fees for
this assistance will either be factored into the monthly software maintenance fee outlined in Section I above, or will be
priced per hour at the then prevailing hourly billing rate for Contractor's I.T. services. Invoices for data conversion
fees will be based upon an estimate prepared by the Contractor IT staff. Payment for data conversion invoices is
required in advance of any work being performed.

4.      Contractor will retain   acopy of Mars's data on the Contractor WMS server until Mars indicates, in writing.
that data has transferred successfully to the new server environment. Upon receipt of this written confirmation,
Contractor will delete all Mars data files from our WMS servers. During the interim period, Contractor is relieved of
all responsibility and obligation to maintain Mars data, and any liability related to retaining Mars's data.

5.      Real-time data backup will remain in place during the interim period. Fees for the use of these data protection
services will be factored into the monthly software maintenance fee outlined in Item I above.

6.      Mars shall continue to pay the cost of data connectivity to the Contractor data center from its wide area
network. In the event of non-payment of the connectivity fees by the invoice due date, Contractor may suspend all
access to the system.

7.    Contractor will retain Mars ship of the WMS source code. In no circumstances will Mars have right to the
WES source code as a result of paying license fees for the use of this software.


Representatior/Warranty   - Contractor represents and warrants (i) that the IT services performed pursuant to this
Agreement will be performed in a professional manner by individuals qualified to perform such work; (ii) that
Contractor has no obligations, legal or otherwise, inconsistent with the terms of this Agreement or with Contractor's
undertaking this relationship with MARS; (iii) that the performance of the IT services called for by this Agreement do
not and will not violate any applicable law, rule or regulation or any proprietary or other right of any third party; and
(iv) that Contractor has not entered into any agreement in conflict with this Agreement.
 NOTWITHSTANDING THE ABOVE, CONTRACTOR MAKES NO WARRANTIES, EXPRESSED OR IMPLIED,
INCLUDING BUT NOT LIMITED TO, TTM IMPLIED WARRANTIES OF MERCHANTABILITY OR FITNESS
FOR A PARTICULAR PURPOSE, ASSOCIATED WITH THE IT SERVICES AND/OR ANY SPECIFIC IT
PROJEC"T.




                                                       10
                                                                                                 DEF000038
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 245 of 363 PageID #:245

                              EXHIBIT 1 TO APPENDIX B
                                      TO THE
                        WAREHOUSE MANAGEMENT AGREEMENT
                                           BETWEEN
                                             MARS
                                               and




                       MARS'NORTH AMERICA OUALITY MANUAL

Contractor will follow the Quality & Food Safety Standards for Transport & Storage of Mars NA Semi-
                            finished Wrapped and Finished Goods Quality Manual
                                         September 2012




                                                11
                                                                                        DEF000039
             Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19
                                           APPENDIX    C       Page 246 of 363 PageID #:246
                                              IO THE
                             WAREHOUSE MANAGEMENT AGREEMENT
                                                                 BETWEEN
                                                                   MARS
                                                                      and


                                                    OPERATING ASSETS LIST

     The following are the Operating Assets for the purposes of Section l3H of the Agreement. This Appendix
     may be amended, modified, expanded or diminished only with the prior written consent of MARS. Any
     computer generated listing must be prepared in the following format:



Contractor Asset Listing:


                 rtemo€scriprion        r.easeflrom
                                                      t"ifi:flT;i""    Leasererms
                                                                                      *"#ffio'
                                                                                                     SEI,275E[vould&eedf o&eE
                                                                                                     paidtrnonthly,E!ntilEtsE
 l   2ol4mttowaEyardE   potter             Ryder      st'mmri?,276.Oo 246nonths srtrmtm              relocated8oEhewtDperation


                                                                                                     ST200vould0leedf obetDaidE
2 TennantfrvlodelEl3ootrlectricEicrubber    KFs       sntm720.00        SoBnonths srfl,I,'''t''fiR   throughBhetsoEnonths.
     2oloflalmar@ttowaEfardE$potter                                                                                               Kenco[Willbuyohis6romB
            ift
     scissorsE                                                                                                                    andtDassEbxpensefhrougho
     GolffCartsq2)                                                                                                                toB,lars.E$eeDepreciable0
S                                                                                     Sm1,690.00                                  tabfor&etails
                                                                                                     Remaining6easeElvillElaveE LeaseBtartedEnEuh/@0128
4 MHEmatteriesqs6)                      wellstrargo sfimm7/,,466.48 60enonths slt'''[trml            tobe@aidBut                endsEuly@o17
                                                                                                     RemalningEeaseEhillftaveEl LeaseEitartedfnEulyE20ll0
 5 MHEBatteriesqs6)                        Raymond Srmm,097.60 60tlnonths Srfimrmml                  to&eFaidbut                endsEulytt50l016


                                                                                                     SBSSoilouldlheedfobeE
 6 CascadeEartonmlamp                       KFS       Srrm?m888.00 24trnonths Snntmml                paidEhroughEheEz4trnonths


                   lmquipment                         TotalAmount
     (3)traptoptromputers                             sftrmflm,929.93 36Enonths sE''tIrflf''tffl lntrheBventEhatilenco'sE
     (5)O,Psgq2)tPrinters              MCA            Srrmmr,570.11 360nonths Srmr               assignmentEb&ndedthfterEl
     (1)E Psdq1)@rinter                                        366nonths Slrml
                                                      Sffi1ffi62.2f                        theEt4Enonths,fheGiteElvillE
     (3)EtebraPrinters                BARCOM                   368lnonths Sr,l''l,f'fltlrt
                                                      5ffii4,773.46                            continueEotDay6oro
     Misc[runiperg6RxE eruicesEGateway@20      srmfiriR,g77.O8 360nonths sr,''Rnttfim equipment&ntilm6anbeBe-
     Misc$uniperEindBupportBquipment Enteredge Srflrm8,989.81 360nonths Sfliiml              locatedf oBnotherGite




                                                                        12
                                                                                                                                       DEF000040
      Case:
Contractor    1:19-cv-02500
           Asset              Document #: 1 Filed: 04/12/19 Page 247 of 363 PageID #:247
                 Amortization Schedule:


A M O RTI ZATI O NESCH   ED U   LEBtil'l o rm a lhm o   rtizati o n

                                  Payment lnterest                     Principal     Balance
      Loan     sltlt3                                          H               E   5L,690.00
          1.   6/1.173            2,469.56          226.14             2,243.42    49,446.58
          2    71u73              2,469.56          216.33             2,253.23    47,193.35
          3    811./13            2,469.56          206.47             2,263.09    44,930.26
          4    s/L|73             2,469.56          796.57             2,272.99    42,657.27
          5    L0l7/73            2,469.56          186.63             2,282.93    40,374.34
          6    L7/1./13           2,469.56          176.64             2,292.92    38,08].42
          7    L211./13           2,469.56          166.61             2,302.95    35,778.47
20L3trotals                      17,286.92        1,375.39            15,911.53

          8    1.11./1.4          2,469.56          156.53             2,313.03    33,465.44
          9    217/74             2,469.56          146.41             2,323.t5    37,742.29
         10    311./1.4           2,469.56          L36.25             2,333.31_   28,808.98
         IL     411./1.4          2,469.56          L26.04             2,343.52    26,465.46
         72    sl7/14             2,469.56          I75.79             2,353.77    24,71,1,.69
         13    6ltl14             2,469.56          105.49             2,364.07    21,747.62
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Manteno Site Support Vendor Contracts:


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        Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 249 of 363 PageID #:249




                                           APPENDIX D
                                             TO THE
                                WAREHOUSE MANAGEMENT AGREEMENT
                                            BETWEEN
                                              MARS
                                                       and


                                             TRANSITION COSTS

Transition Costs:

Contractor   will incur certain costs and expenses during the transition period preparing to perform the
Management Services ("Transition Costs"). MARS will pay Contractor for the Transition Costs in accordance
with the rates and charges to be set forth in this Appendix D.

Prior to agreement between Mars and Contractor on the total Transition Costs, Contractor agrees to provide
backup for Transition Costs as may be reasonably requested by Mars. At the conclusion of the sixty (60) day
Transition period, Mars and Contractor agree to review and update the table set forth in Appendix D to reflect
total actual Transition Costs, including approved Transition Costs in excess of or less than the total cost as set
forth in this Appendix D.

Contractor   will   issue monthly invoices to Mars with appropriate backup and justification for the Transition
Cost invoices.




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    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 250 of 363 PageID #:250

Salary Project Manager
Travel Expenses for PM
  Lean lmplementation
  Quality Assessment


 Testing/screening                                          $                 22,823
 Training (pre-hire employees)                              $                 62,260
 Travel - Corp. Resources                                   $                 12.390
  Subfofal                                                  $                 97.473

 Fire Extinguishers
 Dock hardware
 Office Supplies Startup
 Vacation true-up
 lnitial Physcial lnventory
 Signage
  Subtofal




                                                                                       -

 Kenco's Contribution to the
            Sign On Bonus        $   47   no payment due in startup expense




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    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 251 of 363 PageID #:251



                                        APPENDIX E
                                   TO THE
                      WAREHHOUSE MANAGEMENT AGREEMENT
                                  BETWEEN
                                    MARS
                                             and




                       2013 Vendor Incentive to be added at a later date

Mars. Dlease provide commencement date. timeline. and requirements to include Contractor in the
                             Mars Vendor Incentive Proeram.




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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 252 of 363 PageID #:252




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MasterfrofuusA,.
  A Division of Mars, lncorporated




Supplier:                                         Manteno Distribution Center
                                                  4Ts Management Warehouse
                                                  1125 Sycamore Road
                                                  Manteno, lL 60950
Audit Date:                                       July 11/,12,2006
Buying Arca:                                      Warehousing/Distribution and
                                                  Secondary Co-Packing
Pat
I would like to thank you and your staff at4Ts Management for a job well done in preparing for
the audit. ,Please exiend my gratitude for the hospitali$, hard work and cooperation extended to
me.

Audit Summary
The quality assessment of 4Ts Management warehousing and co-packing operation in Manteno,
lltinoii wai performed on July 11 & 1r,2006. The audit was facilitated by Marcus Ca(er, Copack
Manager anO patrick Leigh, General Manager. The audit objective was to veriff the facility and
qualitf system effectiveness for conformance to MasterfoodsUSA standards for finished goods
warehousing, distribution and co-packing of secondary wrapped product.

The 4Ts Managemenfs Manteno facility remains Approved. Audit observations and
nonconformities are listed below. Please review and provide conective actions with a committed
timeline for implementation. The time line will assist both MasterfoodsUSA and 4Ts
Management, furtnering our commitment of continuous improvement for quality. A follow-up will
be scheduled by the MasterfoodsusA QS representative.

Required Corrective Actions:
1)    Building security to prevent access
2) Upgrade building sanitation and Master Sanitation Schedule
3) Review and revise quality procedures per MFUSA requiremenls'fowr wh'E
4) Enforce trailer seal requirements per MFUSA requirements
5) Upgrade Pest Control Program to include periodic management reviews
6) Upgrade Backflush Procedure to meet traceability requirements


                                                                                      Exhibit 3
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 253 of 363 PageID #:253



Audit Findings - Non-conformance Report
Facility
Question                     Tvoe    Score           Comments
Were all unused doors        M       1               At tinte of audit the locking latch to the door to
closed during the audi0                              Ammonia Roomwas complete broken. The
                                                     door could not be close or locked. Must repair
                                                     door and keep locked (if required by code) when
                                                     not in use.
Are there procedures         M       1               At tirne of audit it was noted that the support
that define the general                              beams on the south wall of the co-pack area
housekeeping rcquired,                               had a very thick layer of cardboard dust. Must
including operational                                clean the support beams and add to the Master
areas, oveheads,                                     Sanitation Schedule with frequency.
conidors, stainraYs and
extemal areas?
Are the outside grounds      S       1               nt time of audit many cut hailer seals were
 kept clean, ftee of                                 noted discarded in the parking lot by the trailer
 discarded equiPment,                                stage areas. Must include to Master Sanitation
 litter, refuse and uncut                            Schedule the cleaning with frequency the trailer
 weeds and grasses?                                  staoe areas
 Are the fuck docks and      S           1           nt trm    auOit the dock pits had debris
 under dock Plates                                   build-up. Must review in Master Sanitation
 cleaned on a regular                                Schedule frequency of cleaning the dock pits.
 basis? And free of
 infestation?
 Are spills, kash or other   S           1           At tirne of audit a large rice spill was noted
  clutter of any $Pe found                           between the racks in the Uncle Bens storage
  in the storage areas or                             atea. Must review intemalGMP walk-through
  alono the walls?                                   to include floor areas in between5ltorage rac!1
  Are ceiling fixtures,       S          1           nt time of audit no accumulation of dirt build-up
  piping, cracks and                                 was noted, but the did notice a cardboard dust
  crevices, ledges and                               build-up in the co-Pack area-
  supports free of
 accumulated dirt
 build-uo?
 Are non-essential            S          1            At time of audit by the battery changing area
 materials and equiPment                              noted racking material and old light fixtures.
 properly stored/removed                              The area is in need of cleaning and order.
 from the oPerations                                  Must properly store non-essential materials and
 area? (ie cleaning                                   equipment.
 suoolies. bad oallets)

 Quality Records
 Question                     Tvoe           Score    Comments
 When is a comPonent             M           1        nt time of audit at 11:00am the component
 verifi cation comPleted?                             verification form had not been started. This
 How often a shifP                                    quality check is performed twice a shift. At the
                                                      beginhing of the shift and 4 hours later. Must
                                                      perform quality checks per MasterfoodsUSA
                                                       reouirements.


 Trailer lnsPection
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 254 of 363 PageID #:254

Question                      Tvpe   Score   Comments
Are all inbound and           M      I       At time of audit trailer seals of staged trailers of
outbound trailers                            both inbound and outbound were audited.
checked to ensure all                        Noted some trailers without seals on the port
trailer doorc are sealed?                    holes.


Pest Control
Question                      Type   Score   Comments
Are your pest control         S      0       No. No evidence of pest control trending of
findings trended to                          findings or activity. No periodic management
identiff problems areas?                     review with documentation of conective actions
                                             available.
ls the facilty pest control   S      1       Pest control program appeared to be effective.
program effective?                           This was confirmed by a review of the detailed
Signs of infestation?                        inspection records. Based on the NAWQM, it is
                                             recommended that the pheromone monitoring
                                             be expanded to include additionalinsects.
                                             Several exterior rodent bait stiations were not
                                             secure. The plastic tab for locking the cover
                                             was broken.




                                             Several exterior rodent bait stations were not
                                             secure. The plastic tab for locking the cover
                                             was broken.

Traceability of Gopacked lbme
Question                      Tvoe   Score   Comments
lf the items were not built   S      1       The following items were audited.
to specifications, was an                    1. Two (2) pallets of M15361-00 - 768 Bags
Exception report                             Total Count full Retail Display Pallet No
attiached to the                             non-conformities found.
documentation?                               2. Two (2) pallets of M1045.440 - Total 192
                                             Count Mixed Display Shipper: No
                                             non-conformities found.
                                             3. Two (2) pallets otM21024 - Snickers Brand
                                             Miniatures 40oz 6/Case: No non-conformities
                                             found.
                                             4. Two (2) pallets of M13413 - Snickers Brand
                                             Mixed Miniatures Variety Bag2loz 12lCase: No
                                             non+onformities found.
                                             5. Two (2) pallets of S31181-00 - Mixed
                                             Combos lnner/Outer Floorstand T2Total count
                                             On one pallet itwas noted that it had two
                                             Gozinto code dates not llsted in the back-flush
                                             records. Further investigation found that two
                                             different co-packing lines were side by side with
                                             the same Gozinto item. Multiple code dates
                                             were oicked. likelv mixed at ooint of use.
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 255 of 363 PageID #:255



Graphical Summary

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  acility Audits                         0%                100o/o
 Facility                            83.33%           93.75o/o
 Code Date & Best Before                  lOOo/o           100o/o
 Safety                                   lOOo/o           100%
 Quali$ Records                           lOOo/o      97.50o/o
 GMP's                                    lOOo/o           100o/o
 Consumer Protection Devices                0o/o                Oo/o

 Nonconforming Product                    1O0o/o           100%
 Trailer lnspection                         Oo/o            9Oo/o

 Preventative Maintenance                 lOOo/o             0%
 RegulatoryMsits                          10Oo/o           100%
 Pest Gontrol                              70o/o           100o/o
 Traceability of CoPacked ltems            90%             100%
 Allergens                                100%               o%
 Warehouse Storage and                    lOOo/o           lOOo/o
  Handling
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 256 of 363 PageID #:256




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Supplien                      Romark RDG (Waco)
                              7900 iiarc Drive &
                              1108 Jewell Drive
                              Waco, TX 76712
Audit Date:                   June 13&14,2006
Buying Arca:                  Externa I Factory - Co-Packi n g/ilarket Qua I ity


Audit Summary
       I woutd like  to thank you Pat, David and all the offter personne! there at Romark for a job
well done in prepadng forthi audit. Please extend my gratitude to your personnelforthe
hospitality, hard urcrk and co-operation during the audit.

       The quality assessment of Romark warehousing and co-packirg operation in Waco,
Texas u13s performed on June 12 & 13, 2006. The Romark facility and the quality systems
provide evidence of conformance for warehousing finished goodsand oopac*ing secondary
inrapped products. Romark facitities are eppgrygd for warehousing and co-packing.

         The otrieciive for this atdit was to vertfy continuous improvements of Romark 's cunent
quality systeml to MasterfoodsUSA requirements for warehousing and ooaacking. lt was
Jppareni during fie MAS audit that Romark continues to &mons&ate ommitment for
coirtinuous improvement to qualig. Please review the required oonective actions below and
provide a time line forfollw-up. The time line should include coneciive aclions with written
procedures to prevent reoocurrene, and due dates for conections. This time line will assist
ilAn UasterfoddsUSA and Romark, furthering commitment of continuous improvement for
quality.


Requircd Conective Actions:

1) Upgrade Pest Gontol Program
        lmplemerrt and Manage Trend Analysis and Risk Assessment
        Review pest contolactivity logging practices
2) Review master sanitration schedule procedures
        lnclude high oeiling are.rs to cleaning scfiedule
 -
3) Review safety procedurcs
        tmplement a prooedurc for responsibililies of visiting conhacting personnel
4) Review tucilitfs Building integrity
        Repair gap in joint of wal! and roof.
 '
5) Reviewwarehousing for allergen and ingredients/raw materials prooedures
        lmplement a program for storage and handling pracilices for allergen or raw materials
6) lncrease frequency of MasterfoodsUSA lnPlant instruc'tion review with personnel
        Adhere to MasterfoodsUSA specifications



See details below qf audit findings.
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 273 of 363 PageID #:273
Action list
Question                       Tvoe   Score       Comments
Peet Control Prpsram
ls there an effective pest     M              1   Upon review of the pest control program it was
conhol program in place?                          noted to have gaps in the system that need to
Frequency of visirb?                              be addressed. (1.e. Rlsk aseessment trend
                                                  analyels, activity locatlon, count of acdvlty
                                                  and pestlclde usage log.) The contacting
                                                  pest control service vbib the tacility weekly or
                                                  uoon reouest-
Has a risk assesment           S              0   No, at time of audit the pest control service has
been canied out by the                            not perform a risk asseqsmenl Requested for
pest control company?                             the contracting pest control vendor to
(pest control device map,                         prcvlde trend analysis for all acfivfi.
insect countino etc.)
ls there a pesticide usage     M              1   Yes, the PCO has a pesticide usage log for
log? Wrt{r quantities of                          applied pesticides. Review of PCO activrty
pest confroldremicals                             report indicates that Max Foroe was applied, but
used?                                             not included on the pesticide usage log. PCO
                                                  must update pseffcide ueage logwhen any
                                                  pestlclde application b performed.
Arc your pestconfiol           s              1   No, at time of audit the pest conbol service had
findings hended to identiff                       not performed a risk assessment or a fend
problems areas?                                   analysis. Requected for PCO to prcvkle
                                                  trend analysh on all activlty. lmpbment
                                                  one ortwo page3ummary of actlvlty by
                                                  monltorlng davlcse. Review of pest control
                                                  activlty reports indicated insect activity in lQht
                                                  traps, pheromone monltoring devkrs and
                                                  rodent activity in glue boards. None of the
                                                  reporb detailed how much orwhere activrty
                                                  actually occuned. Acdvity noted by the PGO
                                                  must ldentlfy monltorlng devlce number.
                                                  tust ldentfi lmecttype and countfound ln
                                                  lichttraoo and olue boards.
ls the facility pest confrol   S              1   During the GMP unalk-through the fmility
program efiective? Signs                          showed no signs of inhstatbn.
of inEstation?                                    Items noted;
                                                  -live ant and ant carcass were noted in building
                                                  A
                                                  -rodent droppings vvere noted in two areas of
                                                  building A by bays A3&11 and 463-46.
                                                  -review of pest control records did indicate
                                                  rodent ac'tivi$, but did not note what monitoring
                                                  device the activity was caught
                                                  -records indicated the usage of pestbide for
                                                  ants, butdkl not note where itwas applied.
                                                  -pest conhol records indicated insec't activity on
                                                  light tnaps, glue boards and pheromone
                                                  monitoring devbes, but did not note on which
                                                  monitoring device the ac'tivity occuned.

                                                  Requected the PGO to add more glue boards
                                                  ln the arca wJrero drcppings werc noted and
                                                  monltor cloeely for o0rer activity. PCO
                                                  muat rccord the monitoring device number
                                                  on the PGO actlvlty ruporb.

Bulldlng Sanltatlon
Are $ere procedures    trat    M              1   Yes,tte form and he master sanitation
define the oeneral                                schedule has a oroedure statement The
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 274 of 363 PageID #:274
housekeeping required,                  master saniEtion schedule has a list for
including operational                   housekeeping of intemal and extema! areas.
areas, overheads,                       -Large spiderwebs were nohd in two areas of
corridors, stairways and                'building A'where the wall and the roof meet.
extemalareas?                           tust add cleanlng of hlgh celllng arcas to
                                        the master sanltiatlon schedule,
                                        -A cigarette butt was noted by the vending
                                        machines inside of building A.
                                        -Six cigarette butts were noted on the roof of
                                        building A. Thls ie a safety concern, must
                                        implement or review the facilfi's safety
                                        procedure wlth al! vbiting orworklng
                                        contractlng perconnel.
Are the outside grounds         S   1   The grounds of the co-pack warehouse had
kept clean, free of                     cans, plastic botfles and roof debrie. Must
discarded equipment, litter,            malntain grounde clean and fipe of debrb,
refuse and uncutweeds                   Note: At time of audit roof repairs were in
and grass?                              prccess from tomado damaoe.
Euilrllng
Are ceilings, floors and        M   1   ln 'buikling A' north wall in section 2by bay
walls well maintained to                436-11, daylight was noted in the oeiling where
prevent product                         wall and ceilingjoin. ilust seal openlng to
contamination and dock                  prctect the flnlshed goods fiom
areas protected from                    procipltation.
inclement weather?
Alletgen Separadon
What materiab considered        S   1   ln the co-pack rrarehouse there are some
allergens are sbred in                  ingredients stored fur the Waco plant
yourfacilffi   (i.e. peanuts,           -PoMer Egg albumen sbred over Starburst
tree nuts, soy)                         frnit chews packaging material.
                                        -Liquid color ingredients were storcd over
                                        Snickens wrapping  material. llust not storc
                                        llquld lngrcdients or powder maGriab over
                                        packaglng material.
                                        -Pallets with drums of Soy oil commingled s,i0t
                                        the comrgated packaging materialin frre
                                        warehouse floor. Allelgen materlab must be
                                        bolated and conflned to one arca.
Tracoablllty Audit
Wea    MANMAN backflush         S   1   The following items were audited.
completed brallilems                    1. Two (2) pallets of M1638$O0 - Mixed Singtes
audited? \Mren rlras it                 Quarter Pallet Display - Total product count
completed?                              (1260) Singles: No non-confomltlee fiound.
                                        2. Two (2) pallets of M16109-00 - Mixed Display
                                        Shipper- Total count 144: ilo non-
                                        conformities found.
                                        3. Two (2) pallets of M1600G00    -,srnneuRsr
                                        TROeTCAL FRUTT CHEWS 16 OZ -   28rA: All ehippers
                                        audited had inconec{ bag orientafron as laidout
                                        in the IN-PLANT instuc'tions. The second
                                        gallet audited had no issues. liuet revlatr lN-
                                        PI-ANT instructlom wlth co-packlng
                                        peponnel.
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 275 of 363 PageID #:275


Rebekah Funk

From:                                  Coffey, Robert
Sent:                                  TuesdaY, January 07,20L4 9:52 AM
To:                                    Moore, Todd; Pacchioli, Michael; Millerick, Michael; Helveston, Andrew; Bush, Zakhary;
                                       Maurer, Melody; Harvey, Shelley;Wasik Toni; Search, Jeremy
Subject:                               Manteno Site Update


Labor shortages continued into 3'd shift due to ice road conditions last night. The site is currently running 8 hours behind
on loading HR times for Tuesday with an additional 5 shipments from Tuesday that did not bring in equipment to load.


                     1.2 hour work days for the next several shifts to quickly bring the site back on track. We continue
Site will be mandating
to communicate with the  carriers on the status of their loads.

Below is a list of trucks still loaded in the yard- waiting to be picked up:


5083213779                    ALDIINC                 SPRINGFIELD OH                ALLIANCE
5083222834                    THE WORNICK             CINCINNATI OH                 ALLIANCE
                   3-Jan-14

                       3:00                           958006M
5083219043                    MCLANE   MIDWEST DANVILLE                  IL         CUSTOMER
                       4:00                           968016M
5083219042                    MCLANE   MIDWEST DANVILLE                  IL         CUSTOMER

                      16:00                           966865M
                                                   MOLINT                           LTI
508321903s                    DOT FOODS INC   (POD STERLINC              IL         TRUCKING

                      18:00                           968854M

5083186770                    VICTORVILLE   DFC.      VICTORVILLE CA                PRIME INC
                      18:00                           969172M
                                                                                    LTI
5083235 I l4                  JeffClaassen            Topeka             KS         IRUCKING
                   4-Jan-14

                       8:00                           970546M
5083169182                    VICTORVILLE DFC.        VICTORVILLE CA                PRIME INC
5083 169182                   VICTORVILLE DFC.        VICTORVILLE CA                PRIME INC


                       6:00                           964525M
5083216872                    PEYTONSNORTH BLUFFTON                      IN         KLLMINC
                   6-Jur-14
                       l:00                           964579M
                              COSTCO WHOLESALE
5083213773                    268                     MORRIS             IL         ALLIANCE
                       l:00                           966734M
508315138I                    MCLANE   MINNESOTA      NORTHFIELD MN                 PRIME INC
                       l:00                           969169M
5083234340                    MCLANE   MINNESOTA      NORTHFIELD MN                 PRIME INC
                       l:00                           969402M
508321904I                    MCLANE   MIDWEST DANVILLE                  IL         CUSTOMER
                       2:00                           969398M
5083164160                    MCLANE   MIDWEST DANVILLE                  IL         CUSTOMER
                                                                 1
                                                                                   Exhibit     4          DEF000303
              Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 276 of 363 PageID #:276

                    3:00                                 969394M

5083164159                  MCLANE     MIDWEST DANVILLE                  IL    CUSTOMER
                    6:00                                 964045M

50832 10343                 PEYTONS    NORTH             BLUFFTON        IN    KLLM INC
                    6:00                                 969232M

5083169154                          ERS   &   OWEN JANESVILLE WI               MIDWEST

                     7:00                                966799M
5083170952                              DC    7OI8       NORTH     PLATTE NE   KLLM INC
                     7:00                                968057M
5083163566                  SUPERVALU         I6MPLS HOPKINS             MN    SHAFFER

                     7:00                                970328M
                                                         il,MLE
s08323seee                  MARS   cHocoLArE                             PA    KLLM INC
                     7:00                                ;r"rHf-
                                                                               J&R
5083166343                  TARA   INTERNATIONAL         HODGKINS        IL    SCHUGEL

                     8:00                                959156M

5083168178                  BELVIKA TRADE          &     EAST            ..    ERB

                     9:00                                968473M
                            ROMARK LOCISTICS
5O832OIO5I               INC                             WACO            TX    SHAFFER
                    10:00                                970377M
5083164165                  MCLANE     OZARK             REPUBLIC        MO    KNIGHT
5083232502                  MCLANE     OZARK             REPUBLIC        MO    KNIGHT
                    12:00                                970596M

5083166344                  TARA   INTERNATIONAL         HODGKINS        IL    KENNEDY

                    16:00                                970406M
                            AMCON DISTRIBUTING
5083151378                  CO                           QUINCY          IL    ALLIANCE
                            AMCON DISTRIBUTING
5083151383                  CO                           QUTNCY          IL    ALLIANCE
                            AMCON DISTRIBUTINC
5083232497               CO                              QUINCY          IL    ALLIANCE
                    18:00                                966738M
5083235119                  CVS   WHSE                   INDIANAPOLIS IN       KLLM INC
                    18:00                                966833M

5083169153                  RITE AID   INC               WATERFORD MI          KLLM INC
5083235103                  RITE AID   INC               WATER.FORD MI         KLLM INC
                    19:00                                970353M
                                                                               J&R
5083166345                  TARA INTERNATIONAL           HODGKINS        IL    SCHUGEL
                   20:00                                 966736M
                                                                               J&R
5083235099                  MCLANE     MINNESOTA         NORTHFIELD MN         SCHUGEL
                   20:00                                 970761M
5083186824                  WESCO   INC                  MUSKEGON MI           KLLM INC
508320683I                  WESCO   INC                  MUSKEGON MI           KLLM INC
5083235116                  KRISPAK INC       C-         GRAND RAPIDS MI       KLLM INC
                   23:00                                 970933M
5083150284                  TARGET STORES          INC   FRIDLEY         MN    LOAD
5083151372                  MCLANE MINNESOTA NORTHFIELD MN                     LOAD
5083219037                  MCLANE MINNESOTA NORTHFIELD MN                     LOAD
5083232503                  MCLANE MINNESOTA NORTHFIELD MN                     LOAD
                 7-lan-14


                                                                                          DEF000304
                Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 277 of 363 PageID #:277

                         l;00                     969716M

508315268I                      MCLANE   MINNESOTA NORTT{FIELD   MN   PRIME INC

                         2:00                     967590M
                             COSTCOWHOLESALE
5083219036                   268                  MORRIS         IL   ALLIAI'ICE



Robert Goffey
Regional Dlstribution Manager - Mldwest
Chicago Plant
2019 Noilh Oak Park Ave,
Ghlcago, lL 60707

It:773-892-7735
E   : robert. coffev@ef fem. coni




                                                                                    DEF000305
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 278 of 363 PageID #:278


Rebekah Funk

Subject                           After Action Review- Meeting Placeholder
Location:                         Chicago Plant - 2019 North Oak Park Ave, Chicago,lL,60707 - .CHl-Conference Rm 7
                                   RESTRICTED


Start                              Fri2/7/20L410:00 AM
End:                               Fri2/7/20L4 3:00 PM
Show Time     As:                 Tentative

Recurrence:                        (none)


Meeting    Status:                 Not yet responded

Organizer:                         Coffey, Robert
Required Attendees:                Helveston, Andrew; Friker, Kevin; Moore, Todd;Gundlach, Daniel;
                                   'Daniel.Day@Kencogroup.com'; Dawson, Daniel; Sheldon, Steven; Tumpane Jr., Bill;
                                   Kelvi n Walsh (kelvi n.walsh@ kencogroup.com); Gordon Steele
                                   (Gordon.Steele@Jacobsonco.com); Paula H ise (paula.hise@kencogroup.com)
Optional   Attendees:              'Dunlap, Andy'; Chardoussin, Jill; Weisel, Gabi; Tanner Jeff; Cobaugh, Christine



Telephone Conf if joining remotely:

Phone: 1-720-362-7958
Passcode: 580-620-5'1#


This meeting is to review identified gaps, project team and determine next steps in the review of the site and security of
the DFC. We will want to discuss the missing 72 pallets of product from the Manteno DFC as well as take some time to
review the gaps identified by Jacobson, Mars and Kenco in doing their Independent Site and Security Audits.

lf there is time remaining at the end of the day I would like to get an update from the team on the progress of the Red
Prairie lnstallation.



      Etl
Manteno Site and
 Secuirty 2_7-...




Kenco questions
outstanding.do.,,



     Eg
  Kenco Dec 31
Loss Prevention     ,,.



                                                                                      Exhibit 4
                                                                                                    DEF000437
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 279 of 363 PageID #:279


      _c
    Jocobson
Manteno Securit...




                                                                                   DEF000438
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 280 of 363 PageID #:280



Rebekah Funk

From:                              Coffey, Robert
Sent:                              Thursday, January 30,20149:47 AM
To:                                Wasik, Toni; Hart, Tari; Moore, Todd; Chick, Matthew; Finch, Michelle; Chick, Matthew;
                                   Goodman, Terry
Cc:                                Walsh, Kelvin
Subject:                           RE: QA Hard Hold[nspect- INBOUND INVOLVED IN ACCIDENT BOL US].000029306




Terry/Matt- looking for some QA guidance on this- looks like we should inspect since it was involved in an accident...

Robert Coffey
Regional Dlstribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Chicago, lL 60707

M:773-892-7735
E   : robert. cotfev@effem. com


From: Wasik, Toni
Sent: Wednesday, January 29, 2014 3:57 PM
To: Haft, Tari; Moore, Todd; Coffey, Robeft; Chick, Matthew; Finch, Michelle
Cc: Walsh, Kelvin
Subject:    RE: QA Hard Hold/Inspect- INBOUND INVOLVED IN ACCIDENTBOL US1000029306


Adding Michelle to the distro, please keep her in the loop, she is looking for assistance. Thanks!



ToniWasik
Transportation Operations Manager
MARS CHOCOLATE NORTH AMERICA
T: 908.81 3.4665 | M: 908-798-1368
E: ton i.wasik@effem.corn

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F rom : Ha ft , Ta ri trcjLtgJA[,[Or!@llengOg ro u p,c!m]

Sent: Wednesday, January 29,2014 4:51 PM
To: Moore, Todd; Coffey, Robeft; Chick, Matthew
Cc: Wasik, Toni; Walsh, Kelvin
Subject: RE: QA Hard Hold/Inspect- INBOUND INVOLVED IN ACCIDENT BOL US1000029306

Todd, lsent an email describing the visualfrom the tail. Do you want us to unload based on this information, We will
not do so until told to at this point. I assume we will need pictures from nose to tail and a Mars associate to witness?

Tfran0you
3{anre a good day
                                                                                       Exhibit   4
                                                                                                      DEF000405
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 281 of 363 PageID #:281


fari 3{art
Inventory Controt
tCenco
 ttz5 Sycanwre Drive
1vlanteno,IL 6ogSo
      yft St5-408-4asz
     fx: 8t5-468-2a68
emai| t.ar i. fra:r! @&etcog r p up,eanr

KENCO
ldmilGl

Fro m : M o o re, Tod d [r:Bjltqjq c!d=!ise re@gffS n u:g-U ]
Sent: Wednesday, January 29,2OL4 3:44 PM
To: Coffey, Robert; Chick, Matthew
Cc: Haft, Tari; Wasi( Toni; Walsh, Kelvin
Subject: RE: QA Hard Hold/Inspect- INBOUND INVOLVED IN ACCIDENT BOL US1000029306

Story makes me want to off load, inspect on QA hard hold, and release a new order with fresh product. Carrier may be
liable. lf we lost controlwithout notice, food safety is a risk.

From: Coffey, Robert
Sent: Wednesday, January 29,20L4 4:22PM
To: Moore, Todd; Chick, Matthew
Cc: Tari Hart - 4Ts (Ialt He[@lenesqroup.cont)
Subject: FW: URGENT ISSUE ON INBOUND INVOLVED IN ACCIDENT BOL US1000029305

Tari called me on this and it's the first l've heard of it- lf we get confirmation from the carrier, is it OK to offload and ship
or will we need to do a deeper QA dive?



Robert Goffey
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Chicago, lL 60707

M:773-892-7735
E   : robert. coffey@effem.com


Fro m : Ha rt, Ta ri [nr a to :Ta ri, XA rt@ Kgnco gtoLlp-Cam]
                        i   I



Sent: Wednesday, January 29,20L4 3:08 PM
To: Finch, Michelle;'john';'jennifer'
Cc: Plastino, Cheriel Walsh, Kelvin; Manzello, Mike; Coffey, Robert
Subject: URGENT ISSUE ON INBOUND INVOLVED IN ACCIDENT BOL US1000029306

Southern Refrigerated brought in BOL US1000029306 on trailer L6951. lt had no seals on it. The driver tells us that the
original trailer lL7073l was in an accident and was totaled. The driver also tells us that an adjuster watched it
transload. However, we do not have any seals on the trailer nor any documentation advising of an accident. We are
being told by the carrier that the shipper is aware of the issue. I spoke to Cherie and she said she knew nothing about

                                                                                                          DEF000406
              Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 282 of 363 PageID #:282

it. Can you please advise if you have any information on this !oad? Did you witness the transloading from one trailer to
the other or do you know where it went to be transloaded? Finally, with no seals on the trailer, I cannot be certain that
it was not tampered with after it was transloaded. Can you please provide any information you may have on this
load? lt is a hot inbound needed for all of our short picks today.



g{ate a goo[ day

fed 9{ilrt
Intrentory Contro[
tCenco
ttz5 Sycmnore Driye
fiLartterw,I.t 6ogSa
     yfa ats-aog-usz
      fx:   Ats-a68-2a68
em-airt tur i. frar   t'   @fte nc   ogrcUp.c.p.rn




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                                                                                                    DEF000407
                    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 283 of 363 PageID #:283


Rebekah Funk

From:                                                   Coffey, Robert
Sent:                                                   Wednesday, January 29,20L4 4:25 PM
To:                                                     Moore, Todd; Chick, Matthew
Subject:                                                FW: Trailer accident PRO# 7227598



More information on the trailer involved in the accident


Robert Coffey
Regiona! Distribution Manager - Midwest
Chicago Plant
20{9 North Oak Park Ave,
Chicago, IL 60707

M:773-892-7735
E   : robert. coffev@effenr. com


From : Wade, J ulie [mailto:J                u   I   ie.Wade@ Kencog roup.com]
Sent: Wednesday, January 29,20L4 2t4L PM
To: Hart, Tari; Manzello, Mike; Walsh, Kelvin
Cc: Coffey, Robeft
Subject: FW: Trailer accident PRO# 7227598

This is everything I have regarding the SRT trailer that was involved in the accident. I have not heard
back from anyone since this email.

Thank you,
Julie Wade
CSR Load Planner  / Claims
1125 Sycamore . Manteno, IL 60950
Office: 815-468-4432 . Main; 815-468-9999
Fax: 815-468-2468


KE NC
rdffn6l
sciitler inny)diately by ratum ertatil. and dqsttoy this conj!rt!$)if,alioi1 and all copies of it, including all dttachnienls.




From: Wade, Julie
Sent: Wednesday, January 29,201412:31 PM
To: 'Argucita Webster'
Cc: Cliff Brown; Joe Bell; Lee Harris; Daryl Young
Subject         RE: Trailer accident PRO# 7227598

My many concern is that this trailer was not resealed after it was transloaded.
                                                                                                                        Exhibit 4
                                                                                                  1
                                                                                                                                    DEF000398
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 284 of 363 PageID #:284

Thank you,

Julie Wade
CSR Load Planner / Claims
1L25 Sycamore . Manteno, IL 60950
Office: 815-468-4432, Main: 815-458-9999
Fax:815-468-2468


KENCO.r:
ldtitr:i@




From : Arg ucita Webster [ma i lto : weba rg@southern ref .com]
Sent: Wednesday, January 29,20L4 L2:2LPM
To: Wade, Julie
Cc: Cliff Brownl Joe Bell; Lee Harrisl Daryl Young; Argucita Webster
Subject: RE: Trailer accident PRO# 7227598

Julie,

I have ordered a police report and will send it to you upon receipt. lt was ordered on January 24,2014. lt generally
takes about two weeks before it is available.

Thanks,
Cita


From: DarylYoung
Sent: Wednesday, January 29t 2014 8:03 AM
To: 'Wade, Julie'
CC: SRT-RISK
Subject: RE: Trailer accident PRO# 7227598

Julie,
l'm going to pass you off to our accident department

Daryl Young
So   uthern Refrigerated Transpo rt
Texas-CSR
888 778 7674 (Phone)
87O2t6 4l-38 (fax)
voudar@southe        rn   ref.com




From : Wade,    Ju   I   ie lma ilto :] u lie.Wade@ Kencoq   rou   p.coml
Sent: Wednesday, January 29,20L4 B:02 AM
To: Daryl Young
Subject: RE: Trailer accident

                                                                                                    DEF000399
              Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 285 of 363 PageID #:285


Can you send me anything you have? My biggest concern right now is that there were no seals on this
trailer.

Thank you,

Julie Wade
CSR Load Planner / Claims
L125 Sycamore . Manteno, IL 60950
Office: 815-468-4432, Main: 815-468-9999
Fax: 81 5-468-2468


KENCO
EImi i@




From: Daryl Young [mailto:youdar@southernref.com]
Sent: Wednesday, January 29,20L4 7:58 AM
To: Wade, Julie
Subject: RE: Trailer accident

Yes ma'am and I   didn't realize that corporate or even the                PA plant   didn't make y'all aware of it

Daryl Young
Southern Refrigerated Transpo rt
Texas-CSR
888778 7574 (Phone)
87O 216 4138 (fax)
youda r(dsout hern ref.com




From : Wade, Julie [ma   i   lto   :   Ju   I   ie.Wade@Kqnceq roup.com]
Sent: Wednesday, January 29,2014 7:46 AM
To: DarylYoung
Subject: Trailer accident

Hi

Do you know anything about US1000029306 being involved in an accident and being reloaded onto
another trailer? Original trailer was 17073 and was off loaded onto trailer 16951, this has arrived in
Manteno however the trailer was not sealed and there was notification about any accident forwarded to
us. Can you help?

Thank you,

Julie Wade
CSR Load Planner     / Claims
                                                                                                                      DEF000400
            Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 286 of 363 PageID #:286

1125 Sycamore . Manteno, IL 60950
Office: 815-468-4432 . Main: 815-468-9999
Fax: 815-468-2468


KENCO
tdlil{.rO




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                                                                                              DEF000401
              Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 287 of 363 PageID #:287


Rebekah Funk

From:                              Coffey, Robert
Sent:                              Wednesday, January 22,20L410:03 AM
To:                                Moore, Todd
Subject:                           FW: Manteno OSHA recordable



This makes two in PDl-- they can have one more on the year, after that, they willfail the 5,5 TRIR.

Rega rds,


Robert Coffey
Regiona! Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Chicago, lL 60707

M=773-892-7735
E : robert.coffev@effem.com



From: Walsh, Kelvin l-mailto:Kelvin.Walsh@                     l
Sent: Wednesday, January 22,20L4 7:31 AM
To: Hise, Paula; Coffey, Robert
Subject: Manteno OSHA recordable

Hi Paula/ Robert,

As mentioned in yesterday's call, Manteno had a 2nd OSHA recordable in P1. While frt pickingthe associate felt a pain in
his lower back and was sent for evaluation. Due to him being prescribed medication, the incident registered as an OSHA
incident.

Again, I apologize for not getting this information to you earlier.




From: Nelson, Jackie
Sent: Friday, January 10,2014 11:01     AM
To: Walsh, Kelvin
Cc: Manzello, Mike; Szplett, Len; Beck, Saul
Subject:-
Kelvin:

ljust spoke   withJhe     stated he has an appointment with Occupational Health Center today at 1.:30pm. He also,
stated that his back hurts to move. Last night at the emergency room the doctor took several x-rays and gave him
prescription for pain. I told Ence      he leaves the Occupational Health clinic he needs to bring in his work status
paperwork to myself or Len.



Jackie Nelson
Safety Lead                                                                      Exhibit 4
                                                                                                      DEF000346
           Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 288 of 363 PageID #:288


Kenco Logistics Services
1125 W Sycamore Rd
Manteno, IL 60950
Email : Jackie. Nelson@ Kencogroup,com
Office: 815-468-9999 ext.380




                                                                               DEF000347
                Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 289 of 363 PageID #:289

                                                                                          Exhibit   4
Rebekah Funk

From:                                  Coffey, Robert
Sent:                                  Tuesday, December 31,, 2013 11:54 AM
To:                                    Moore, Todd; Helveston, Andrew
Subiect:                                                 corneal abrasion OSHA



P1D1- Sorry to be the bearer of more bad news at the Manteno site- unfortunately the associate kept scratching his eye
which led the hospital to administer eye medication and a subsequent OSHA recordable...

Rega rds,


Robert Coffey
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Ghicago, lL 60707

M=773-892-7735
E : robert.coffey@effem.com



F   ro m : Wa lsh, Kelvi n lmailto : Kelvi n.Wa lsh@Kencog roup.com]
Sent: Tuesday, December 31, 2013 10:41 AM
To: Hise. Paula; Coffev. Robeft
Du,JEUL: .r, ,             ... LUr r r=dr our osrur r .rJnA

Hi Robert/ Paula,

                  -
The site occurred an OSHA recordable on Sunday December 29th. While the associate was pulling down pallets a piece of
dust/ wood dropped into his eye. The associate continued to rub his eye to the point of causing an abrasion. After work
the associate took it upon himself to go to the emergency room where he was given two prescriptions. He was out of
work yesterday and returned to work as of this morning.




From: Nelson, Jackie
Sent: Tuesday, December 31, 2013 9:41 AM
To: Walsh, Kelvin
Subject:     n='I...      corneal abrasion

Yes, due to the day away from work Monday and also the            ER issued   him prescription.



lackie Nelson
Safety Lead
Kenco Logistics Services
1125 W Sycamore Rd
Manteno, IL 60950
Emai! : Jackie. Nelson (OKencogroup.com
Office: 815-468-9999 ext.380

                                                                                                        DEF000275
                Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 290 of 363 PageID #:290



 From: Walsh, Kelvin
 Sent: Tuesday, December 31, 2013 B:15            AM
 To: Nelson. Jackie
 subject:   tiatI...              corneal abrasion

 ls this a recordable?




 From: Nelson, Jackie
 Sent: Tuesday, December 31, 2013 8:12 AM
 To: Walsh. Kelvin
 s,ntart:                     ..,rnPAr AnrAqrdn
            I
 Kelvin:


 Iretumed                  to work today with full release from occupational heatth center. I also spoke   withlhis
 morning he stated he's     good. Joe wear glasses but I gave him a pair of safety glasses.

lscheduled       off day   is Tuesday   but since he was off yesterday, he's working today.


 Jackie Nelson
 Safety Lead
 Kenco Logistics Services
 1125 W Sycamore Rd
 Manteno, IL 60950
 Email: Jackie.Nelson@ Kencoeroup.com
 Office: 815-468-9999 ext.380




                                                                                                      DEF000276
                   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 291 of 363 PageID #:291

        llllnolr Department or pubrc   Hearth Food proceesrng
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                                                                                                                           525 West Jefferson Sl. Sprlnglletd. lL 62761
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       City/Star€Zip; Mantono, tL   609S0-0OOO             State lD: 2E370
                                                                                                                      Federal Establishm6nt Number: 3O04331OSl
       County: Kankakee
                                                           Eslabllshmenl Sizo; $0 - $24,999
                                                                                                                  Category CodBs:
       Type of Food pmcassing: Warohouso
                                                           Phono: 81S-468-9999
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      Conect By Date                               Sanitarlan         Lauren Hangen                       Slgnature
      Phone                  81eZilr€E(I)          Reglonal Oflice
      Remarks




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     Owner/Operator

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                                                                                  Printsd: 7/9r20.r/t 3:19 pM
                                                                                                                      Exhibit 4
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       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 292 of 363 PageID #:292




                                        Document Number:       Title:
                                        cP-BP-4.2.1.001        QMS DOCUMENTATION

                                        Original Date:         Revision Date:    Revision #:   Effective Date:          'lol   4

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 Author: Quality Assurance and Regulatory Affairs Director, Best Practices/Date



                                       07116112
 Approval: QG, Best Practices/Date



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 Approval: VP, Best Practices/Date

 14.",,       I 7ilne
 1.0 PURPOSE / SCOPE

 The purpose of this document is to define the documentation requirements and implementation of the
 Quality Management System (OMS).

 This document applies to all divisions, sites, departments, and functions.



 2.0 ROLES AND RESPONSIBILITIES

  Kenco Management Services (KMS)                     -   Quality Assurance, Best Practices       -   responsible for the
  maintenance of this procedure.

  Site Quality Coordinator         -   ensures this procedure is properly implemented at the site.

  Author Grbup Quality Coordinator                -   processes exceptions from sites for documents written by their
  respective group.

  Site Management         -   ensures that this procedure is enforced at the site.

  All Associates     -   are responsible to understand the structure and process of a Quality Management
  System.



 3.0 POLTCY

 All Kenco sites are required to maintain compliance to the Kenco Quality Management System (KOMS)
 and its documentation requirements. All sites must use this procedure as the minimum standard for:

      .   Documenting a Quality Policy
      .   Documenting Quality Objectives
      .   Controlling the addition, changes, and removal of controlled documents within their QMS
      o   Development of quality plans, appendices, and other documents filed in the Quality Manual



                                                                                                                 Exhibit 6
Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 293 of 363 PageID #:293




                                  Document Number:   Title:
                                  cP-BP-4.2.1.001    QMS DOCUMENTATION

                                  Original Date:     Revision Date:   Revision #:   Effective Date:   2ol   4
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       r   Development of documents, including records necessary to ensure the effective planning,
           operation, and control of processes



 4.0 PROCEDURE

 4.1   A Quality Policy must be developed and documented appropriate to the organization, include
       commitments to both meeting requirements and improvement and provide a framework for review
       of the Quality Objectives. The Quality Policy must be communicated and personnel must
       demonstrate understanding and their role in carrying out the policy. The Quality Policy must be
       reviewed for continued suitability.

 4.2   Quality Objectives must support and align with the Quality Policy. Methods to measure this
       support are alignment of performance of everyday work to the objectives. The Quality Objectives
       must be established at the relevant group, site, department, and shift responsibility level.

 4.3   Document Types

     4.3.1    Best Practices (BP), Control Procedures (CP), and Policies (POL) are created and
              maintained by any approved group and distributed to sites through kencoconnection.com.

     4.3.2    Rivermill Procedures (RMP) are created and maintained by any approved group and apply to
              Kenco Rivermill activities.

     4.3.3    Quality Plans (QPs), Standard Operating Procedures (SOP), Work lnstructions (Wl),
              Standard Work (SW), Job Descriptions (JD), and Forms can be written and issued by
              personnel at departments and sites in accordance with department and site policies that
              control this process and/or ISO-BP-4.2.3.001 Controlof Documents.

 4.4   Creating BPs, CPs, QPs, SOPs, Wls, SW, and Forms

     4.4.1    Development of new documents is determined by management, quality, and subject matter
              experts. Once the content is confirmed, a template from kencoconnection/quality is used to
              create the document. Review of the document will include personnel indicated in the Roles
              and Responsibilities section of the document. Participants in the development of forms will
              reference the associated document's Roles and Responsibilities. Flowcharts should be
              created prior to the documentation of a process.

     4.4.2    Final document approval is executed by management and quality with a signature and date.
              The author signs as the subject matter creator but not as approval.

 4.5   Adding and Removing Documents to the Control Procedure Manual or Site Quality Manual




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 294 of 363 PageID #:294




                                  Document Number:   Title:
                                  cP-BP-4.2.1.001    QMS DOCUMENTATION

                                  Original Date:     Revision Date:      Revision #:   Effective Date:   3ot4
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                                       06/07/06           07112112                          08t0'U12




     4.5.1   Documents must be added to manuals on their effective date. New and revised processes
             "Go Live" on the effective date with personnel trained and signed off by the trainer (reference
             CP-QE-6.2.2.001 Job Training and Certification Program). Training is completed after
             documents are approved with appropriate signatures and dates but prior to or on the
             effective date. Update the appropriate master list.

             Note: Process changes may be implemented immediately if a safety or risk hazard
             must be mitigated. The specific failure for the safety or risk hazard must be
             documented in the corrective action document.

     4.5.2   Previous versions of CPs are removed from the manual and destroyed. The originals are
             maintained by Best Practices and filed with the corresponding DCN. A new Appendix F (on
             kencoconnection.com) must be printed and placed in the CP manual.

     4.5.3   Previous versions of a site document are removed and filed with the corresponding DCN.
             Update "Appendix A" (reference ISO-BP-4.2.3.001 Control of Documenfs) in the SQM and
             update any controlled copies.

 4.6   BPs and CPs Releases and Exceptions

     4.6.1   New and revised BPs, CPs, and related forms releases are scheduled on the 1Sth of each
             month by Best Practices on the kencoconnection "New Releases and Revisions page".
             Note: Releases may occur other than the           15th   of each month as "special Releases".

     4.6.2   Review the document with necessary personnel, management, quality and appropriate
             advocate or site subject matter expert.

     4.6.3   Determine if an exception is needed. Exceptions are granted for valid business reasons
             only. Exceptions must be approved by the Author Group that wrote the document. lf the
             Site Manager and Quality Coordinator determine that an exception is needed, submit a CP-
             QE-4.2.1.001-2 Exception Form, stating the business case (justification) and the section of
             the document in question, to the listed email address on the form:
             KQMS. Exceptions@kencoqrou o.com .

     4.6.4   Once the exception is received by the Author Group QC, it is documented on the exception
             form and within 45 business days the exception must be closed out.

     4.6.5   lf the exception is approved, the Author Group QC will scan and fonrvard a signed copy of the
             exception form for the site to file, and the Site QC will indicate the exception on the site's
             "Appendix D".

     4.6.6   lf the site does not receive an exception, the Author Group will inform the site of the reason
             for the rejection.

     4.6.7   Sites must develop a document to meet the requirements for a Best Practice. Best Practices
             are not filed at the site level.



Proprietary lnformation - Kenco
         Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 295 of 363 PageID #:295




                                  Document Number:   Title:
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                                  Original Date:     Revision Date:     Revision #:   Effective Date:   4of4
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 4.7     SOPs, Wls, SW, and Forms Releases

       4.7.1   Departments and sites schedule releases of their documents. Appropriate time for training
               after approval of a document but prior to effective date must be considered as a part of
               document development. Effective documents will be filed in the Site Quality Manual as
               described in ISO-BP-4.2.3.001 Control of Documents.


 5.0 REFERENCES

 I   SO-BP-4.2.3.001 Control of Docu ments
 CP-BP-4.2. 3.00 1 -2 Exception Form
 CP-QE-6.2.2.001 Job Training and Certification Program



 6.0 REVISION TABLE
 Revision #       Revision Date                                        Description

         0           06/07/06         Document created.

         1           07t12t12         Complete revision.




Proprietary lnformation - Kenco
    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 296 of 363 PageID #:296



      Lloyd s Register
      LRQA


LRQA Assurance Statement
Relating     to Mars Incorporated's selected environmental metrics reported in the
Principles in Action Summary for the calendar year 20L3

This Assurance Statement has been prepared for Mars lncorporated (Mars) in accordance with our contract
but is intended for the readers of this Report.

Terms of Engagement
Lloyd's Register Quality Assurance, lnc. (LRQA) was commissioned by Mars to provide independent
assurance on its seven selected environmental metrics reported in the Principles in Action (PiA) Summary
for the calendar year 2013 to a limited level of assurance using LRQA's verification approach.

Our assurance engagement covered Mars' operations worldwide, with the exception of data from Logistics,
Warehouses and Co-Processors, and specifically evaluated the reliability of the selected environmental
metrics:
o   Fossil Energy
o   Renewable Energy
.   Water Use
o   Waste to Landfill
o   Packaging Materials
.   Raw Materials
.   Production Tonnes
Note: This Assurance Statement may be used to support the AA1000AS assurance engagement undertaken by
Corporate Citizenship

LRQA's responsibility is only to Mars. LRQA disclaims any liability or responsibility to others as explained in
the end footnote. Mars' responsibility is for collecting, aggregating, analysing and presenting all the data and
information within the PiA and for maintaining effective internal controls over the systems from which the PiA
is derived. Ultimately, the Report has been approved by, and remains the responsibility of Mars.

LRQA's Opinion
Based on LRQA's approach nothing has come to our attention that would cause us to believe that Mars has
not disclosed reliable performance data, as no errors or omissions were detected within the seven selected
environmental metrics reported in the PiA.
The opinion expressed is formed on the basis of a limited level of assurance and at the materiality of the
professional judgement of the Verifier.

LRQA's Approach
LRQA's assurance engagement was carried out in accordance with our verification approach; which is based
on current best practice and uses the principles of AA1000AS (2008) and processes defined in |SAE3000.
The following tasks though were undertaken as part of the evidence gathering process for this assurance
engagement:
o   Reviewing Mars' data collection and management processes with a central (corporate) resource who is
    located in Cleveland, Tennessee
o   Evaluating Mars' data assumptions, calculation methods and data checking processes
.   Confirming effective implementation of the data collection processes by visiting nine selected sites
    representative of four of Mars' six Global Business Segments:
    - Mars Chocolate
    - Mars Food
    - Mars Petcare
    - Wrigley


                                                                                Exhibit   7
    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 297 of 363 PageID #:297




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      The sites visited were located in Australia, Canada, France, Spain, Thailand, United Kingdom and
      United States.
.     lnterviewing key personnel responsible for data collection, aggregation and data entry
.     lnterviewing the central data manager responsible for overall data collection, aggregation and checking
.     Verifying a sample of the performance data back to its original source to check reliability of data entry
      into Mars reporting processes.

Observations
Further observations and findings, made during the assurance engagement, are:
.    Processes were in place to ensure that sites contributing to these seven selected environmental metrics
     understood Mars corporate reporting obligations
. Mars should continue working on LRQA's previous recommendations to:
     - Strengthen the internal communication processes for the Mars Data Manuals
      - Use direct transfer of environmental data from the source where possible to reduce the risk of
           manual data entry errors
      -    Develop calibration requirements for meters used to measure environmental data

The above is an excerpt from the findings reported back to the management of Mars. They do not affect our
opinion.

LRQA's competence and independence
LRQA ensures the selection of appropriately qualified individuals based on their qualifications, training and
experience. The outcome of all verification and certification assessments is then internally reviewed by
senior management to ensure that the approach applied is rigorous and transparent. LRQA is Mars a
certification body for 2nd Party Assessments Quality and Food Safety, Safety and Environmental, and
Market Units and Mars 3rd Party Assessments for ISO 9001, ISO 14001, FSSC and ISO 22OOO.
The certification assessments are the only work undertaken by LRQA for Mars and as such do not
compromise our independence or impartiality.




    k'%
Signed                                                                              Dated: May 15,2014




Andrea M. Bockrath
LRQA Lead Verifier
On behalf of Lloyd's Register Quality Assurance, lnc.

LRQA Reference: UQA4001 571




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       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 298 of 363 PageID #:298




Bffidfl,Resister
   LRQA's Data Assurance Statement
   Relating       to Mars Incorporated's selected environmental metrics reported                                                 in

   the 2015 Principles in Action Summary
   This Assurance Statement has been prepared for Mars lncorporated (Mars) in accordance with our contract but is
   intended for the readers of this Report.

   Terms of Engagement
   Lloyd's Register Quality Assurance, lnc. (LRQA) was commissioned by Mars to provide independent assurance on
   seven selected environmental metrics reported in its Principles in Action Summary (PiA) for the calendar year
   2015 to a moderate level of assurance using LRQA's verification approach.

   Our assurance engagement covered Mars' operations worldwide and specifically evaluated the following
   requirements:
   .   Evaluating adherence to data reporting requirements in the Mars Data Manuals
   o   Reliability of the environmental metrics selected by Mars:
       - Energy (Fossil Fuels and Electric)
       - Renewable Energy
       - Water Use
       - Waste to Landfill
       - Packaging Materials
       - Raw Materials
       - Production Tonnes

   Our assurance engagement excluded data from Logistics, Warehouses and Co-Processors.

   LRQA's responsibility is only to Mars. LRQA disclaims any liability or responsibility to others as explained in the
   end footnote. Mars' responsibility is for collecting, aggregating, analysing and presenting all the data and
   information within the PiA and for maintaining effective internal controls over the systems from which the PiA is
   derived. Ultimately, the Report has been approved by, and remains the responsibility of Mars.

   LRQA's Opinion
   Based on LRQA's approach nothing has come to our attention that would cause us to believe that Mars has not:
   o  Met the requirements of above
   o  Disclosed reliable performance data related to the seven selected environmental metrics

   The opinion expressed is formed on the basis of a moderate level of assurance and at the materiality of the
   professional judgement of the Verifier.
   Note: The extent of evidence-gathering for a moderate assurance engagement is less than for a high assurance engagement. Moderate
   assurance engagements focus on aggregated data rather than physically checking source data.


   LRQA's Approach
   LRQA's assurance engagement was carried out in accordance with LRQA's verification approach. The following
   tasks were undertaken as part of the evidence gathering process for this assurance engagement:
   . Reviewing Mars' data collection and management processes with a central (corporate) resource who was
       located in Cleveland, Tennessee
   o   Evaluating Mars' data assumptions, calculation methods and data checking processes
   .   Confirming effective implementation          of the data collection processes by visiting ten selected sites
       representative of five of Mars' six Global Business Segments:
       - Mars Chocolate
       - Mars Food
       - Mars Petcare
       -Wrigley
       - Mars Symbioscience
       The sites visited were located in Russia, New Zealand, Argentina and United States.
    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 299 of 363 PageID #:299




B              H"dfl,Resister


o    lnterviewing key personnel responsible for data collection, aggregation and data entry
o    lnterviewing the central data manager responsible for overall data collection, aggregation and checking
.    Verifying a sample of the performance data back to its original source to check reliability of data entry into
     Mars reporting processes.

Observations
Further observations and findings, made during the assurance engagement, are:
.    Processes were in place to ensure that sites contributing to these seven selected environmental metrics
     understood Mars corporate reporting obligations
.    Clear evidence was present aligning site activities with PiA sustainability goals: Sending zero waste to landfill
     was the norm and some sites visited were purchasing or generating sustainable energy supporting the Mars
     2040 goal of zero emissions
o    Mars should continue working on LRQA's previous recommendations to:
     - Strengthen the internal communication processes for data collection, reporting and checking including
       awareness of the Mars Data Manuals and training for data reporters
     - Use direct transfer of environmental data from the source where possible to reduce the risk of manual data
       entry errors. Mars has begun developing and testing electronic data transfer processes
     - Develop calibration requirements for meters used to measure environmental data.
o    Mars should review wastes generation and disposition associated with construction, remodelling and
   projects. These wastes are often managed by contractors and may not be in line with Mars Zero Waste
   to Landfill goal
The above is an excerpt from the findings reported back to the management of Mars. They do not affect our
opinion.

LRQA's Competence and lndependence
LRQA ensures the selection of appropriately qualified individuals based on their qualifications, training and
experience. The outcome of all verification and certification assessments is then internally reviewed by senior
management to ensure that the approach applied is rigorous and transparent.

LRQA is the certification body for Mars' 2nd Party Assessments for:
.  Quality and Food Safety
.  Safety and Environmental
.  Social audits of Mars sites

and Mars' 3'd Party Assessments for:
o   ISO 9001
.   ISO 14001
.   FSSC and ISO 22000
.   WRIAffBCSD GHG Protocol.

These assessments are the only work undertaken by LRQA for Mars and as such do not compromise our
independence or impartiality.

Signed                                                                                                    Dated: May 27,2016
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                     )
Andrea M. Bockrath
LRQA Lead Verifier
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On behalf of Lloyd's Register Quality Assurance, lnc.
1330 Enclave Pkwy, Suite 200
Houston, Texas 88077
LRQA Reference: UQA400'l 571




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                                     Original Date:       Revision Date:    Revision #:   Effective Date:       1of   8

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 Author: Quality Assurance and Regulatory Affairs Director, Best Practices/Date



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 Approval: QC, Best Practices/Date



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 Approval: VP, Best Practices/Date

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 1.0 PURPOSE / SCOPE

 The purpose of this document is to identify actions and responsibilities for ensuring the control of all
 quality documents pertaining to Kenco's Quality Management System (KOMS).

 This document applies to all Kenco functions and operations and encompasses all internal and external
 documents used to manage, perform, or verify work including those included at the top tier level as
 Policies (POLs), Control Procedures (CPs), Best Practices (BPs), ISO Control Procedures (lSOs),
 Rivermill Procedures (RMPs), and at the site level in Quality Plans (QPs), Standard Operating
 Procedures (SOPs, Work lnstructions (Wls), Standard Work (SW), and Forms.



 2.0 ROLES AND RESPONSIBILITIES

 Kenco Management Services (KMS) - Best Practices - has overall responsibility for the document
 control system, including the issuance and maintenance of this procedure. KMS-Best Practices controls
 and maintains all electronic information systems and the distribution, as well as, both hard copy and
 electronic copies of Policies (POL), ISO Control Procedures (lSO), Control Procedures (CP), Best
 Practices (BP), and Rivermill Procedures (RMP). All proposed changes and other suggestions for
 improvement of these procedures can be submitted online via the kencoconnection.com page.

 Site Quality Coordinator    - controls and maintains all electronic information systems and the distribution
 of related information, as well as, both hard copy and electronic copies of the Site Quality Manual, all
 SOPs, Job Descriptions (JD), and allforms ( and formats) used to create quality records.

 Designated Approval Authorities            -   responsible to approve, reapprove and ensure adequacy of
 documents prior to release.

 Site Managers     -   ensure conformance to this procedure at their site.

 At! Associates - are responsible to understand the structure and process of the Control of Documents
 Control Procedure.




Proprietary lnformation - Kenco                                                                Exxhibit     8
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 302 of 363 PageID #:302




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   n pnt lnv
 "
 3.1 The primary objective   of the document control process is to ensure that documents are available to
       achieve the desired results. Document control is a critical factor in achieving standardization and
       measurement to achieve customer satisfaction, process effectiveness and improvement. The
       document control process provides adequate controlfor all documents and media, including hard
       copy, firmware, and soft\,vare control.

 3.2   KMS-Best Practices controls, maintains, and distributes Quality Management system (OMS)
       documentation via kencoconnection for POLs, lSOs, CPs, BPs, and RMPs.

 3.3   POL, lSO, CP, BP, and RMP documents are approved for adequacy prior to release for use by a
       cross-functional panel called the Quality Review Board (ORB). Records of signed approvals are
       maintained by KMS-Best Practices.

 3.4   The sites control, maintain, and distribute all customer-provided and site generated documents
       such as quality plans, related inspection/test procedures, specifications, etc., including all QPs,
       SOPs, Wls, SW, JDs, Forms, or other documents as defined by the customer or site needs.

 3.5   Site documents are approved for adequacy by the Site Manager and Quality Coordinator (QC) prior
       to release, and personnel are trained after approval but before the documents are effective.

 3.6   Approved Author Groups will review top tier documents annually, and the documents are reviewed
       for policy and accuracy, availability and legibility. All document updates and changes are approved
       prior to re-issue.

 3.7   Site leadership will review site documents annually, and the documents are reviewed for process
       accuracy, availability and legibility. All document updates and changes are approved prior to re-
       issue.

 3.8   External documents are identified on Appendix B and their distribution controlled.

 3.9   Records are a special type of document and are controlled in accordance with provisions contained
       in this procedure and ISO-QE-4.2.4.001 Controlof Records.

 3.10 Obsolete documents are processed and maintained as described in Section 4.7 of this procedure.


 4.0 PROCEDURE

 4.1   Documents will be identified with a unique identification number including the date of issue, which
       indicates the revision, appearing on all pages of the document.

 4.2   ldentification of Top Tier Procedures




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 303 of 363 PageID #:303




                                  Document Number:   Title:
                                  tso-BP-4.2.3.001   CONTROL OF DOCUMENTS

                                  Original Date:     Revision Date:   Revision #:   Effective Date:   3of8
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     4.2.1   Documents including POLs, BPs, CPs, lSOs, and RMPs will be identified with a unique
             identification number including a 2-digit code which indicates the approved author group
             which created the document.

     4.2.2   The document number will be numbered as: [Document Type] - [Author Group Code] -
             ilSO Clausel.[Sequential Number]. For example: The third Control Procedure written by
             Human Resources discussing Training (Clause 6.2.2in ISO) would be: CP-HR-6.2.2.003.

             Note: Forms add a dash then a number to the document number which relates to them. The
             training form for the above procedure would be GP-HR-6.2.2.003-1.

     4.2.3   The Document Type would be POL for Policies, ISO for ISO Procedure, CP for Control
             Procedure, BP for Best Practices or RMP for Rivermill Procedure.

     4.2.4   The Author Group Code from the list below will follow the document type:


                       Approved Author Groups                 Code
                 Best Practices                                BP
                 Executive Management                          EM
                 Finance                                       FN
                 Human Resources                               HR
                 lnternal Communications                       IC
                 lnsurance                                     IN
                 I   nformation Technoloqv                      IT
                 Logistics Engineering                         LE
                 Legal                                         LG
                 Operations                                    OP
                 Procurement                                   PO
                 Quality Engineering                           QE
                 Risk Management                               RM
                 Sales/Marketing                               SA
                 Training                                      TR

     4.2.5   The Appropriate ISO Clause will follow the Author Group Code. Consult the "Cracking the
             Case of ISO 9001:2008 for Service" book by Cianfrani and West.

     4.2.6   To find the next Sequential Document Number for a given ISO Clause, the QC must view
             the complete document list for their Author Group.

     4.2.7   ISO Procedures (lSO) - ISO Procedures are procedures developed by KMS-Best Practices
             Department that directly controls the KQMS. These ISO procedures are identified as ISO-
             BP-#. An example can be found in the header of this document.


Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 304 of 363 PageID #:304




                                  Document Number:   Title:
                                  tso-BP-4.2.3.001   CONTROL OF DOCUMENTS

                                  Original Date:     Revision Date:   Revision #:   Effective Date:   4of8
                                       04107106           07116112         1             08101112




     4.2.8   Rivermill Procedures (RMP) - Rivermill Procedures are documents developed by approved
             author groups that only apply to the Rivermill office. These procedures will be identified as
             RM P-(Author Group Code)-##.


     4.2.9   Best Practices (BP) - Best Practices are documented practices that provide guidance to
             sites in the development of SOPs. The sites must address the content of these documents in
             their procedures, however, the BPs themselves are not retained by the sites. All Best
             Practices are identified as BP-(Author Group Code)-fF#.

     4.2.10 Control Procedures (CP) - Control Procedures are directives. These procedures will be
             identified as CP-(Author Group Code)-##.

     4.2.11 Policies (POL)    - Policies are documents developed by approved author groups describing
             general principles and identified as POL-(Author Group Code)-##.

 4.3   Numbering ldentification of Site Documents

     4.3.1   The document number will be numbered as: [Document Type]-[SO Clause].lSequential
             Numberl. For example: The third SOP written discussing Training (Clause 6.2.2. in ISO)
             would be: SOP-6.2.2.003.

             Note: Forms add a dash then a number to the SOP number which relates to them. The
             training form for the above procedure would be SOP-6.2.2.003-1.

     4.3.2   The Document Type would be SOP for Standard Operating Procedure or JD for Job
             Description, Wl for Work lnstruction, SW for Standard Work, etc.

     4.3.3   The appropriate ISO Clause follows the Document Type: Consult the "Cracking the Case of
             ISO 9001:2008 for Service" book by Cianfrani and West.

     4.3.4   To find the next Sequential Document Number for a given ISO Clause. The QC must view
             the complete document list for their site.

     4.3.5   Standard Operating Procedures (SOP)    - SOPs will be identified as SOP f# with the
             number of the SOP corresponding to the associated Site Quality Plan (SQP) clause. For
             example: "SOP-6.2.2.001 indicates the SOP corresponds to Clause 6.2.2 of the site's SQP
             and is procedure 001.

     4,3.6   Job Descriptions (JD)   - JDs will be identified as JD-5.5.1.ft# with the number of the JD
             corresponding to the associated SQP 5.5.1 Clause (Responsibility and Authority). For
             example, "JD-5.5.1 .001" indicate the first JD in the system.




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 305 of 363 PageID #:305




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                                  Original Date:     Revision Date:   Revision #:   Effective Date:   5of8
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     4.3.7   All forms applicable to a document will be identified as [Document Typel-flSO
             Clausel.[Sequential Number]-[Form Number]. Effective Date in the footer at the bottom
             of the form. For example: SOP-7.5.1 .001-2 Effective 04101108. This example is the second
             form attached to SOP-7.5.1.001 and was last revised on 04/01/08. The identification
             number, effective date of issue or revision date will be shown on all pages of documents.

 4.4   Document Approval     -    The first page of each document will identify:

     4.4.1   The Author as the Subject Matter Expert that is responsible for developing the document or
             changes.

     4.4.2   The QC as the reviewer/approver responsible for its periodic review for compliance with
             KQMS requirements, consistency with established policy and objectives, update and
             maintenance.

     4.4.3   The relevant approval authority (i.e. VPs or Directors are assigned approval authority for top
             tier documents, Site Manager is assigned overall responsibility in the QP for managing the
             process and authorizing release of site documents).

 4.5   Master Lists - At a minimum, the following master lists will be established and maintained. These
       lists must contain a date identifying when the list was last updated:

     4.5.1   A master list of Site KQMS Documents (SOPs, JDs, Wls, and SW) is maintained as
             Appendix "A" of the QP.

     4.5.2   A master list of all external documents, customer procedures and manuals are maintained in
             Appendix "B" of the QP.

     4.5.3   A master list of quality plans, specifications, and related inspection/test procedures are
             maintained in Appendix "C" of the QP.

     4.5.4   A master list of exceptions to top tier documents is maintained in Appendix "D" of the QP.
             Exceptions are obtained per instructions in CP-BP-4.2.1.001 QMS Documentation.

     4.5.5   A master list of site distribution of manuals is maintained in Appendix "E" of the QP.

     4.5.6   A master list of Control Procedures is maintained by KMS-Best Practices and the sites print
             this as Appendix "F" of their QP.

     4.5.7   A master list of records is recorded in the lndex of Quality Records. Reference /SO-QE-
             4.2.4.001 Control of Records.

 4.6   Document lssue and Retrieval




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 306 of 363 PageID #:306




                                  Document Number:   Title:
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                                  Original Date:     Revision Date:   Revision #:   Effective Date:   6of8
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     4.6.1   Hard copy master signed originals of all controlled documents will be identified with original
             signature and dates of the relevant approval authority. Controlled copies will be clearly
             identified with a red ink stamp identifying the document as a "CONTROLLED COPY". A
             controlled copy stamp signifies the QC guarantees that the controlled copy is identical to the
             master signed copy.

             Note: Controlled copy stamps may only be applied to documents which the QC is in
             possession of master signed copies (in indelible ink). Verification of accuracy of controlled
             copies cannot be guaranteed without physical comparison to the master site copy.

     4.6.2   Uncontrolled copies may be made, but the recipient of these documents must be advised that
             they are for information only and cannot be guarantee of their accuracy once copied.

     4.6.3   Sites that must maintain compliance of documentation for regulatory agencies, [i.e. Food and
             Drug Administration (FDA)Iwill be provided current controlled copies of lSOs and CP-
             QE/BPs from Best Practices. Best Practices and site's QCs will complete ISO-BP-4.2.3.001-
             3 Controlled Copy Distribution Form as controlled copies are distributed, obsolete, and
             destroyed.

 4.7   Document Changes

     4.7.1   KMS-Best Practices uses a Document Change Notice (DCN) ISO-BP-4.2.3.001-1to request
             and document any changes to the POL, BP, CP, RMP or forms.

     4.7.2   Sites use a DCN to request and document any changes to QPs, SOPs, Wls, SW, JDs, or
             forms.

     4.7.3   The following steps describe how to use DCNs in the internal document change control
             process:

         4.7.3.1 The personnel requesting a document change completes the applicable part of the DCN
                  and fonvards the DCN to the QC.

         4.7.3.2 The QC will review the recommended change to the document and submit to the
                  relevant approval authority with related comments concerning any policy or procedural
                  issues. The QC will keep a log of the DCN to track the progression of the document
                  change process. See DCN Sysfem Control Log (\SO-BP-4.2.3.001-2).

         4.7.3.3 The QC will keep their DCN Log up{o-date in their Quality folder on the Kenco network
                  drive, or if no access is available they will send a copy of the DCN Log to KMS-Best
                  Practices on the first Tuesday of every month.

         4.7.3.4 The relevant approval authority will utilize SMEs to determine if the change is required,
                  effectiveness of the change, safety issues and possible related processes that may be
                  affective by the change. Once the SME has completed the determination and adjusted
                  the content of the document back to the approval authoritv for final review.



Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 307 of 363 PageID #:307



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                                  tso-BP-4.2.3.001   CONTROL OF DOCUMENTS

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        4.7.3.5 lf the relevant approval authority decides to implement the proposed change, they will
                  approve the DCN and return it along with any related comments and recommendations
                  to the QC for preparation of a final "ready for signature" copy of the revised document.

    4.7.4    Upon receiving the approval authority signature, the QC will:

        4.7.4.1 Change the appropriate portion of the document. The revised document must be
                  reissued in its entirety.

        4.7.4.2 Update the Revision Date, Revision #, and Effective Date in the header of the document.

        4.7.4.3 Submit the "ready for signature" copy of the document to the author for signature as the
                  SME of the process.

         4.7.4.4 Submit the "ready for signature" copy of the document to the relevant approval authority
                  for signature. The approval authority will verify the accuracy and legibility of the
                  document before approving. The QC must also approve the document.

         4.7.4.5 Reissue the document in its entirety. The revised documents may be accompanied by a
                  memo summarizing the nature of the change or providing instructions regarding
                  disposition of obsolete documents or pages.

         4.7.4.6 Retrieve the obsolete controlled document(s).

         4.7.4.7 Archive the obsolete master (signed) controlled document and file with the DCN (destroy
                  the obsolete controlled copies).

         4.7.4.8 Update the applicable master list.

         4.7.4.9 Coordinate with the designated trainer to ensure the timely provision of needed training if
                  deemed necessary, (i.e. the change impacts the policy or procedure). Simple
                  grammatical or typographical changes (administrative changes) do not require training.

     4.7.5   lf the relevant approval authority decides not to implement the proposed change, they will
             reject the DCN and contact the originator with an explanation.

                 .   lf the originator chooses to dispute the rejection, they can submit the DCN and any
                     related comments to the QC for mediation. lf the QC rejects the DCN, the rejection
                     will be communicated to the relevant approval authority and originating associate. lf
                     the QC determines that the proposed change (or a modified version of the initial
                     proposed change) merits further review, they will initiate a new DCN and fonvard it to
                     the relevant approval authority with related comments and recommendations.




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 308 of 363 PageID #:308




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                                  Original Date:     Revision Date:     Revision #:   Effective Date:   8of8
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 5.0 REFERENCES

 CP-BP-4.2. 1 .001 QMS Documentation
 ISO-BP-4.2.3.001-1 DCN Change Notice Form
 ISO-BP-4.2. 3.001 -2 DCN System Control Log
 ISO-BP-4.2.3.001 -3 Controlled Copy Distribution List
 ISO-QE-4.2.4.001 Control of Records



 6.0 REVISION TABLE
 Revision #     Revision Date                                          Description

      0            04t07t06           Document created.

      1            07116t12           Complete revision.




Proprietary lnformation - Kenco
   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 309 of 363 PageID #:309
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                   Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 314 of 363 PageID #:314


                                               MARS MANTENO
                                                      APPENDIX A




7.5.3 Identification md Tr




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                     Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 315 of 363 PageID #:315


                                                      MARS MANTENO
                                                             APPENDIX A
                            SOPINDEX                    DOCUMENTTITLE     DOCUMENTNUMBER     EFFECTIVE



1.4   Analvsis of Data
1.5   Improveneqt (Title Oilly)
      I Contmual ImDrovement
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  5.2 CofftrtiYe Actiotr
8.5.3 Preventive Action
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 316 of 363 PageID #:316




                                                                 Top Tier Documents (Appendix F)
                   Forms included on this appendix are not required to be printed in this manual. Forms are printed from u




                                                                         DOCUMENT          DOCUMENT
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 5.5.1      R*poosiffityard


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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 317 of 363 PageID #:317




 5.5.1 Responsibility and




  6.2 Review lnpul (lntemal
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 318 of 363 PageID #:318



  i.2.2 Compotence.                 Per{ormanco Manaqement Proceqs_jglbh$Jl
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  \wareness and Trainino                                                                          Farm
  ),2,2 Competence,                 Performance Manaqement for Exempt
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  i,z.z uomperence.                 Performance Evaluation Forms
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  \wareness and Trainino                                                                          Form               lhilr a ad.l 6
  i.2.2 Competence,                 Performance Evaluation Form - Corporate
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  t,z.z gompet€nce,                 \,lon-Exempl Job Postino Procedure                                             cP-HR-6.2.2,011      6t1t2008
  \waren€ss and Taainino                                                                    Control Procedure
  i.2.2 Compeience,
                                    Non-Exempt Hirino Requisition Form                                            cP-HR-6.2.2.011-1     6t1t2008
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  ,.2,2 uolnpotence,                                                                                                                    6t1t2004
                                    Non-Exempl lnterview Process                                                   cP-HR-6.2.2.O12
  \wareness and Trainino                                                                    Control Procedure
  i.2.2 Competence,                                                                                               cP-HR-6.2.2.012-1
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  i.z.z uomperence,
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  \wareness and Trainino                                                                    Control Procedure
  i.2.2 Competence,
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  \wareness and Trainino                                                                          Form
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                                    lxempt Candidate Evaluation Form                                              cP-HR-6.2.2.01 3-3    4t1t2009
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  Auraraaace       rad   Trr                                                                      Form
  i.z.z uompelence,
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  i.2.2 Competence,
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  \wareness and Trainino                                                                    Control Proc€dur€
  i.2.2 Competence,                                                                                               cP-oE-6.2 2.001-1
  Lurarono<< anl Tra                Job Certiflcation Forms                                                                             3t1t2011
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  ).1.2 uompetence,
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  \wareness and Trainino                                                                    Control Proc€dur€
  i.2.2 Comp€tence,                 >lT Forms                                                                     CP-Rrvl-6.2.2.100-1
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  i.2.2 Competence.
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  i.2.2 Comp€terrc€,                IMV Fl€et Safetv Driver Tralnino and Metrics
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  i.2.2 @mpetonco,                  IMV Driver DOT Druo and Alcohol Polacies and
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  i.2.2 Compoianc€,
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  i.2.2 Compet€nc€,
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  i.3 lnfrastructure                Fixed Ass6l Policv And Pr6.6.lr rro<                    Conkol Procedure        cP-FN-5_3.001
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  i.3 lnfrastructure                Fix€d Asset Forms                                                                                   9t1t2012
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  i.3 lnfrastructure                Jser Access Reouest                                      onlrol Preedure        cP-tT-6.3.OO5
  i 3 lnfraslruclure                (enco Cell Phone Hardware and Plan Policv               Control   Procedure     cP-tT-6_3.006
  i.3 lnfraslructure                (irq-lT    lhct.ll.li^6   f                             Control   Proc€du16     cP-lT-6.3.007       9t'uzmg
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  i.3 lnftastructure                T Securitv Policv                                       Control   Procedure     cP-tT-6 3 0{}9      1
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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 319 of 363 PageID #:319
Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 320 of 363 PageID #:320




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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 321 of 363 PageID #:321




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Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 322 of 363 PageID #:322
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 323 of 363 PageID #:323




                                  Document Number:         Title:                                        Effective Date:
                                  cP-QE-6.2.2.001      Job Traininq & Certification Proqram         08/01/1 0
                                  Procedure Owner: Kenco Management   Services   - Quality Engineering Manager
KENCO                             Created Date: 05/20/07                                                     Paoe 1 ol 12



Approval: QC, Kenco Management Services               -        | Approval: Director, Kenco Management
Quality Engineering                                                 Services   -   Quality Engineering

                                                                    @Je,ltk
    To provide a systematic process to train personnel on site level and Top Tier documents and to
    document that training.




     Site Manager- is responsible for the enforcement of this procedure at a site.

     Quality Goordinator (QC) - is responsible for the maintenance of this procedure and the forms that
     it requires. The Quality Coordinator also coordinates the training program at the site.

     Site HR Administrator (or Designee)         - Responsible         to conduct New Hire Orientation Training for
     new employees.

     Site Management - are responsible for follow up of the training of their direct reports and the final
     completion of training forms.

     Job Trainers - Responsible to train employees according to this procedure. Required to receive
     training on completion of training forms and proper training methods.




 Job Certification System Setup
 3.1   The Kenco Quality Management System requires that training and recordkeeping be
       standardized and that objective evidence of compliance can be shown at each site. This
        procedure sets the standard and states guidelines to maintain a robust training program.
        Employees will be trained on the documents which are relevant to their job. Site
       documents include Job Descriptions (JD), Standard Operating Procedures (SOP), and
       Work lnstructions (Wl). Top Tier Documents include lSO Procedures (lSO) and Control
        Procedures (GP). The site will be organized into the specific job descriptions which are
        performed in the operation. Job Certification Forms will be maintained to ensure that all
        employees are trained in according to set expectations. The following steps outline
       setting up a training program which ensures compliance and Training effectiveness.




Proprietary lnformation - Kenco                                                                                        Exhibit   13
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 324 of 363 PageID #:324




                                  Document Number:         Title:                              Effective Date:
                                  cP-oE-6.2.2.001      Job Trainins & Certification Proqram     08/01/10


 KENCO                            Procedure Owner: Kenco Management Services - Quality Engineering Manager

                                  Created Date: 05/20/07                                           Paoe 2 ot 12




   3.2 Download a Copy of the CP-QE-6.2.2.001-1,2,3 KQMS Job Certification Training Forms.

   3.3 These Job Descriptions are populated into CP-QE-6.2.2.001-1 Job Certification Matrix. The job
       titles will be across the top, with employee names down the left column. These names will be
       arranged in some logical pattern, by shift perhaps. Place the current date in the "Last Updated"
       Square. See Attachment A fot an example completed matrix.

        Note: Job Descriptions may be generic such as "Lift Operator" or "Supervisor", however there
        may be multiple job areas which have different training requirements. At that point you would
        include multiple columns, listing each area. Example: if there are three Supervisory areas (i.e.
        Office Supervisor, lnventory Supervisor, Shipping Receiving Supervisor) you would list each on
        the CP-QE-6.2.2.001 -1 Job Certification Matrix.

   3.4 ln the CP-QE-6.2.2.001-2 Job Certification Form, the QC will populate the Job Descriptions in the
       appropriate column locations, and under the document column and place an "x" in the intersecting
       cell. These Job Descriptions will match the Job Description columns listed on the CP-QE-
       6.2.2.001-1 Job Certification Matrix. These forms will include columns for Job Descriptions which
       cross reference the site level documents (SOPs, Wl) each position trains on. (See instructions tab
       in forms).

   3.5 The QC will populate all other Site Documents (SOPS, Wl) in the rows and place an "x" in each
       intersecting column for the Job Descriptions that train on the document.

   3.6 The QC will place the current date in the "Last Updated" block.

       3.6.1   The QC will keep the master copies of these forms electronically. The content on the
               form will only be changed through ISO-QE-4.2.3.001 Control of Documents.

   3.7 These forms are then sorted to print the form for the Job Description needing to be trained. (See
       instructions in template). See Attachment B for an example.

   3.8 An "Active Training forms" basket will be labeled and placed in an appropriate area (usually
       Supervisor's Office) to retain training forms that are in process.

             3.8.1   The Job Trainers will deposit these forms at the end of each shift, and retrieve them
                     as needed.

             3.8.2   Site Management will review these forms to check the status of their employees in
                     training and ensure that training is being concurrently documented.

 Use of the Job Certification Forms (Site Documents)

   3.9 The CP-QE-6.2.2.001-2 Job Certification Form is used for a Many-to-One training event. (Many
       Items to One person) Examples of this type of event are New Hire Training, Cross Training,
       Retraining (Two year job recertification requirement).




Proprietary lnformation - Kenco
         Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 325 of 363 PageID #:325



                                    Document Number:        Title:                                 Effective Date:
                                    cP-oE-6.2.2.001         Job Trainino & Certification Prooram   08/01/'t0

 KENCO                              Procedure Owner: Kenco Management Services - Quality Engineering Manager


 @                                  Created Date:05120107                                              Paoe 3 of 12



         3.9.1    The QC sorts and prints the appropriate form. The QC will enter the name of the
                  employee on the CP-QE-6.2.2.001-1 Job Certification Matrix, and adjusts the "Last
                  Updated Date" on the Matrix.

         3.9.2    The QC completes the following information in the header: Employee Name, Trainer
                  Name, Training Start Date and check the appropriate Training Event Type.

   3.f   0   New Hire Orientation

         3.10.1 The form   is then given to the Site HR Administrator to conduct New Hire Orientation. The
                  Site HR Administrator will sign as trainer on these items on the orientation portion of the
                  form.
         3.10.2 The employee is passed to their direct Supervisor to introduce them to the Site
                  Management, conduct a facility tour, and introduce them to their Job Trainer.

   3.11      On the Job Training.

         Note: Job Trainers are selected to provide the best training possible and embody the culture
         management wishes to project to new employees. Some criteria for selection of Job Trainers are:

             o   Demonstrates high performance
             .   ls skilled in the new employee's job
             .   ls proud of the organization
             o   ls a peer of the new employee
             o   Has patience and good communication/interpersonal skills
             o   Wants to be a Job Trainer
             .   ls a positive role model (highly regarded and accepted by current employees)
             o   Has been employed more than one year

         3.11.1 The new employee is introduced to their Job Trainer, and the training form          is then given to
                  the Job Trainer to start training the employee.

                   Note: The Job Trainer is responsible to mentor the new employee, helping the employee
                   through the stressful transition into their new position. The Job Trainer is responsible to
                   teach the employee about the culture and social aspects of the site and Kenco, the
                   locations of important areas, as well as introduce them to the other employees to make
                   them feel a welcome part of the team. The Job Trainer will also communicate safety,
                   quality and performance expectations.

         3.11.2 The Job Trainer familiarizes the employee with the documentation such as Job
                  Descriptions (JD) Standard Operating Procedures (SOP) and Work lnstructions (Wl). The
                  Job Trainer will repeatedly instruct the employee on where to locate their documents.

         3.11.3 The Job Trainer picks the initial topic(s) to be trained. Training on each topic will include
                  the following steps:




Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 326 of 363 PageID #:326




                                  Document Number:         Title:                              Effective Date:
                                  cP-QE-6.2.2.001      Job Trainins & Certification Proqram     08/01/10
                                  Procedure Owner: Kenco Management Services - Quality Engineering Manager
KENCO                             Created Date: 05/20/07                                           Page 4 ot 12




               .   The employee is allowed to read the document pertaining to the training.
               .   The Job Trainer demonstrates the procedure to the new employee
               .   The employee performs the procedure hands-on until comfortable with the process,
                   while the Job Trainer coaches
               o   The Document is reviewed again for understanding and reinforcement

               Note: Demonstration does not apply to "read and understand" documents or policies that
                      have no steps that are directly performed by the employee.

       3.11.4 Once the Job Trainer is confident in the new employee's ability to perform the procedure,
               the Job Trainer and employee will sign off on the line for that training topic.

       3.11.5 At the end of each shift, the training form is placed    in the "Active Training Forms" basket.

       3.11.6 The Job Trainer repeats steps 3.11.2-lo 3.11.5 until all training topics listed on the
               training form are complete, providing frequent updates to management on the progress of
               the employee.

               Note: lf at any time the employee is having difficulties unrepresentative of most trainees
                      in the position, or does not demonstrate necessary skills that are prerequisite to the
                      position per the Job Description, be sure to inform the direct supervisor.

       3.11.7 When the Job Trainer has completed the training topics, and feels satisfied that the trainee
               can perform all outlined duties, satisfactorily meeting all safety, quality and productivity
               goals, the Job Trainer will sign off the employee in the "Completion of Training" section of
               the form.

               Note: This releases the employee from the trainer, as well as signifies the trainer's
                      guarantee of a properly trained employee, and should not be signed unless this is
                      the intent of the trainer.


  3.12    Management Follow up - All Site Management is responsible to ensure that employees are
       trained using these forms, and to conduct follow up for the training.

       3.12.1 After the "Training Completion" sign off by the Job Trainer, The appropriate Site
               Management is responsible to place the employee on productive work.

               Note: Management will not coerce    a Job Trainer to sign off an employee if they feel the
                      employee is not currently capable of performing the job satisfactorily. The direct
                      supervisor may sign in the Job Trainer's place, however, full responsibility for any
                      future issues with the employee will reflect on this decision.

       3.12.2 This Site Management must complete a follow-up evaluation of the employee within 60
               days, for the purpose of ensuring appropriate training by the Job Trainer, the employee's
               ability to perform to expectations, and to answer any questions on the part of the
                           . This evaluation will include the followino:

Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 327 of 363 PageID #:327




                                  Document Number:         Title:                                   Effective Date:
                                  cP-oE-6.2.2.001      Job Traininq & Certification Proqram     08/01 /1 0

                                  Procedure Owner: Kenco Management Services - Quality Engineering Manager
KENCO                             Created Date: 05/20/07                                                 Paoe 5 of 12




               e     Quizzing the employee on content of SOPs, and requirements around safety, quality
                     and productivity
               .     Questioning the employee on the adequacy of training they received, and how they
                     feel it could be improved
               .     Random observation of selected processes

      3.12.3       The Site Management and employee will sign and date in the follow-up section.

      3.12.4 This Site Management will make copies, one will              be filed in the employee's file, and the
               original will be forwarded to the Quality Coordinator.


  3.13 Job Certification Matrix Update - The QC will place      a green square in the cell corresponding to
         the job and employee who was trained on that job if this is the employee's normal job. lf they
         are being cross trained, the QC will place a yellow square with the date of training. They will
         also enter the date of training completion.

      3.13.1 The QC will then file the training form          by job description in the Quality Files.

      3.13.2 All employees willhave     a green square on the matrix. Best in class performance requires
               that each job description has at least one yellow square for each shift of operation.

 Updates Training (Site Documents)

  3.14 The CP-QE-6.2.2.001-3 Training Log is used for a One-to-Many training event. (One ltem to
       Many people) Examples of this type of event are new SOPs, changed SOPs, retraining of
         groups or individuals on specific SOPs.


  3.15   Updates Training for new documents
      3.15.1 Upon the issue of a new document, the Job Descriptions requiring training on the new
               procedure will be listed in the "Roles and Responsibilities" section of the SOP.

      3.15.2 The QC will update the CP-QE-6.2.2.001-2 Job Certification Form related        to those jobs.
               The QC will add the SOP to the table, placing an    "x" on the form for each Job Description
               listed in the "Roles and Responsibilities" section of the document. This form will be
               changed per /SO-QE-4.2.3.001 Control of Documents.

      3.15.3 The QC will reference CP-QE-6.2.2.001-1 Job Certification Matrix and list all the
               employees who have a green or yellow square on those jobs.

      3.15.4 These employees will        be trained on the new       procedure. The training will be documented
               on CP-QE-6.2.2.001-3 Training Log listing their name and a signature line. This will
               effectively return the site training program to a compliant state. See Attachment C for
               Example Training Log.




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 328 of 363 PageID #:328



                                  Document Number:        Title:                               Effective Date:
                                  cP-QE-6.2.2.001      Job Traininq & Certification Proqram     08/01/10
                                  Procedure Owner: Kenco Management Services - Quality Engineering Manager
KENCO
@                                 Created Date:05120107                                            Paqe 6 of 12




   3.16   Updates Training for revised documents
       3.16.1 For a document change with impact, all employees trained and cross trained on the old
               revision will be trained on the new revision.

       3.16.2 Completion of training will be documented on CP-QE-6.2.2.001-3 Training Log listing each
              employee's name and a signature line. See Attachment C for Example Training Log.

 New Hire Training (Top Tier Documents ISO - CP)
       3.17 Download Appendix F from Kenconnection.

       3.18 Unhide columns to the right to expose the training recommendations matrix.

       3.19 The Quality Coordinator and General Manager will determine which job titles need to be
            trained on each procedure using this recommendations matrix. The matrix was developed
            from the "Roles and Responsibilities" section of the documents for use as a minimum
            guideline.

       3.20 Hide Job Description columns that are not needed.

       3.21 Click on the job description, Select "X". See Attachment D for example.

       3.22 Prinl the Appendix.

       3.23 Upon hire of a new employee, the Site Advocates and General Manager will train the
            appropriate personnel according to this recommendation matrix, signing off in the appropriate
            areas.

       3.24 This training record will be filed the same way as CP-QE-6.2.2.001-2 Job Certification Forms,
            one copy in the employee file, the other by Job Description by the QC.

 Updates Training (Top Tier Documents ISO - CP)

       3.25 The QC will go to the Quality Page/New Releases page on Kencoconnection.

       3.26 The QC will print a copy of the New Releases Page for the current month.

       3.27 For each New / Updated Document, the QC and General Manager will determine which job
            titles need to be trained on each procedure using the "Roles and Responsibilities" section as
            a minimum guideline.

       3.28 The QC will make copies of the last page (Log) of the procedure and attach to the New
            Releases Page.

       3.29 Site Manager and appropriate advocate or site subject matter expert will read and interpret
            the procedure toqether, and both siqn off as trainee and trainer.


Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 329 of 363 PageID #:329




                                  Document Number:                 Title:                         Effective Date:
                                  cP-oE-6.2.2.001      Job Trainino & Certification Proqram        08/01/1 0
                                  Procedure Owner: Kenco Management                       Engineering Manager
KENCO                             Created Date: 05/20/07
                                                                                 -
                                                                      Services Quality

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       3.30 The QC will reference the matrix and list all the employees who have a green or yellow
            square on those jobs.

       3.31 These employees will be trained on the new procedure and training will be documented on
            the log listing their name and a signature line. See Attachment E for an example completed
            log.




           Attachment A: Example Job Gertification Matrix

       ANYWHERE, USA Warehouse Job Matrix
      I laatrix Last Updated: xx/xxlm
                                      Date oI training Monthffear in cell


                              Job Title




                                                                                            %.9
                                                                                            ^f7J




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 330 of 363 PageID #:330




                                     Document Number:          Title:                                     Effective Date:
                                     cP-QE-6.2.2.001      Job Trainino & Certification Proqram     08/01/1 0
                                     Procedure Owner: Kenco Management Services - Quality Engineering Manager
KENCO                                Created Date:05120107                                                     Paoe 8 of 12



              Attachment B: Example Job Gertification Form

KE NCO




                                                                                                                              JD-5.5.1.003
                                                                                                                              Group HR -
                                                                                                                               Training - Bl
                                                                                                                              Adm lnlstrator




                                            COMPLETION OF TRAINING
The associate has read and understands the above procedures and has successfully completed the necessary on-the-job-
training



                Trainer Signature                   Associate Signature


                                              FOLLOW UP OF TRAINING
                                      *To be conducted 60 days from completion of tralning


The associate has read and understands the above procedures, has successfully completed the necessary on{he-jobtraining,
and has demonstrated the necessary skills to perform the job.



               SupeMsor Signature                   Associate Signature




Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 331 of 363 PageID #:331



                                  Document Number:               Title:                                                      Effective Date:
                                  cP-QE-6.2.2.001      Job Trainino & Certification Proqram     08/01 /{ 0

                                  Procedure Owner: Kenco Management Services - Quality Engineering Manager
KENCO                             Created Date: 05/20/07                                                                           Page 9 of 12



                                                       Attachment                           G


          DATE OF TRAINING CLASS:




                        The employees lisled below have satisfactorily participated in the listed Company training requirements.




Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 332 of 363 PageID #:332




                                  Document Number:         Title:                              Effective Date:
                                  cP-QE-6.2.2.001      Job Traininq & Certification Proqram     08/01/10


 KENCO                            Procedure Owner: Kenco Management Services - Quality Engineering Manager

                                  Created Dale: OS|2O|OT                                           Paoe 10 of 12



                                                 Attachment D
                        Top Tier Documents (Appendix F)




Proprietary lnformation - Kenco
       Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 333 of 363 PageID #:333




                                     Document Number:         Title:                                                            Effective Date:
                                     cP-QE-6.2.2.001          Job Trainino & Certification Prooram                              08/01 /1 0


 KENCO                               Procedure Owner: Kenco Management Services - Quality Engineering Manager

                                     Created Date: 05/20/07                                                                         Paoe 11 ot 12




       Attachment E: Example Top Tier Training Log

                                                   MlW                 Ift
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Proprietary lnformation - Kenco
      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 334 of 363 PageID #:334




                                  Document Number:         Title:                              Effective Date:
                                  cP-QE-6.2.2.001      Job Traininq & Certification Proqram     08/01/1 0
                                  Procedure Owner: Kenco Management Services - Quality Engineering Manager
 KENCO
 @                                Created Date: 05/20/07                                           Pase'12 ot 12


     Please ensure that all associates at your site listed in Roles and
Responsibilities (Section 2.0) sign and date this Iog indicating they have read
           and understand the current content of this procedure.

           PRINT NAME                                         SIGNATURE                          DATE




Trainer:                                    Signature:                                        Date:

Trainer:                                    Signature:                                        Date:

A Training File is to be kept at each site containing copies of all training records for Control Procedures.
These training Iogs are completed and retained for all newly released and revised procedures. All current
employees must be trained prior to the effective date as procedure changes occur. Affected new
employees will sign off on the logs within 60 days of hire. These records are to be filed by procedure, and
are maintained by the Quality Coordinator.
 Note: You may print additional Gopies of this page for additional space to record training.


Proprietary lnformation - Kenco
    Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 335 of 363 PageID #:335




KENCO                                      KQMS Request                                         for Exception




      Group Receipt Date
 thor Group Approval
f lccepted X Rejected
           Approval Required?                               !     ves(Required)         tr    ruo(NotRequired)




           quality Coordinators along with Site Management will evaluate top tier documents and determine need for exceptions
      o Site
        o Exceptions are not necessary for sites outside the scope listed in the document in question
        o Exception descriptions must be specific to section(s) in the document
        o Complete Blue Section and Email this exception form to the following email: KQMS.exceptions@kencogroup.com
      r The Author Group Quality Coordinator for the document in question will log the date the exception was received and the tenative 45
                day close date, process the approval of exceptions (Yellow Section, and Green section, if necessary) on this form and return a
                copy to the Site Quality Coordinator. Original signed forms are maintained by the Author Group
      o lf exception is rejected, the Author Group must inform the Site Quality Coordinator and Site Manager of the reason for rejection, and
              the justification is documented on this form
      . After obtaining exception, the signed copy of this form is filed by the Site quality Coordinator, and the exception is listed on
                 D of the Site Quality Plan
        Proof of Exception (this sitned form) for any exception entry on Appendix D must be provided to Kenco Management
                or representative upon request
                                                                                                                    Exhibit        14


                                                                                                CP -BP   -   4.2.1.001-2   Eff   ective   08   I 01.I t2
          Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 336 of 363 PageID #:336
                                                                                                 Tueday, MayL4,2OL3t0z34:12 AM       ET


Subject: Re: Signing lncentive for Mars Employees
Date:         Thursday, March 7,2OL3 L2:58:.24 PM                          ET

From:         Caines, David
To:           Craig, Judy
CC:            Hise, Paula

No worries. Makes sense and the impact                      to   us is smaller so I'm fine.


David Caines
President

Kenco Logistic Services
2001 Riverside Drive
Chattanooga, TN 37406
tel: +1 (423) 605 8009
david.caines@ kencogrouo.com



onMar7,2oL3,att2:L0PM,,'Craig,Judy.'@>wrote:

      Oh boy, David. I need                    to retract some of this. Can we review this afternoon. The revision should
      be:

      597,000 was added to Mars Operating Budget by Kenco to cover the 90 day waiting period. Of
      that, Mars will pay 5q9,+51 to cover Starbridge for the employees. That leaves 547,5M of the
      SgzK from Mars and Kenco will add the same, 547,5214, to total 595,000 for the signing incentive
      for the employees. The (5 divided by 72 is a rough 51,300.00 per employee or 5433.00 for the 3
      payment.

      Kenco's portion is 547 ,544 and the employees get 5433.00 per month for the months.

      I am so sorry for the confusion...

      <   F   6 8 F 1 F F C-   87   DC-   4F A2- 997 4 - 8927 282   9 53 2 3   [   8]   j p g>


      From: <Caines>, David Caines <david.caines@ Kencogroup.com>
      To:Judycraig<@>
      Cc: Paula Hise <Paula.Hise@Kencogrouo.com >
      Subject: Re:Signing lncentive for Mars Employees

      So 5590 per employee (72                      total employees) paid out at the 30-60 & 90 day marks?

      Assuming this is correct . . . How much of the $127K are we covering & how much is covered by
      MARS?




       David Caines

                                                                                                                    Exhibit   15

                                                                                                                                   Page 1   of3
  Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 337 of 363 PageID #:337


President
Office: 423-643-3426
Mobile: 423-605-8009
Email   : david.caines@kencoorouo.com


Kenco
2001 Riverside Drive
Chattanooga, TN 37406
www.kencoorouD,com



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only for the use of lhe addressee. It is the properly of Kenco. Unaulhorized use, disclosure or copying of this communication,
or any part ofit, is strictly prohibited and may be unlawful. Ifyou have received this communication in errol please notifi
the sender immediately by retura email, and destroy this commurication and all copies of it, including all attachments.
Electronic communicalion may be swceptible to dala corruption, interception and unauthorized umpeing and Kenco
disclaims all liability of any kind for such actions or any consequences that may arise directly or indirectly therefrom.


From: <Craig>, Judy Craig <Judv.Craie@Kencosroup.com>
Date: Wednesday, March 6,2OL3 5:04 PM
To: David Caines <david.caines@kencogrou p.com>
Cc: Paula Hise <Paula.Hise@Kencogroup.com>
Subject: Signing lncentive for Mars Employees

HiDavid,
The transition is going well so          far!   Hope all is well with you!

We'd like show you the final on the signing incentive structure for approval before we show the
final to Mars. This signing incentive was to help employees who transfer from 4T's bridge the gap
of expenses in the Kenco 90 day benefits waiting period. They can use it for whatever they like and
it will be paid in 30 day increments over the first 90 days of employment with Kenco. lt will be for
4T's employees who transition to Kenco, only.

Here is the history. ln our first estimate, the signing incentive we presented to Mars for them to
pay was |ttl,OOO. We put it in their start up fees, but then they came back and asked us to help
them with this as it was making us not competitive with the other bidders. We then talked with
you and Sean and from those conversations we would add the cost of benefits to our operating
budget as if Mars was paying for full benefits from day 1, and Kenco would handle the signing
incentive. This worked for Mars so the operating budget to Mars for the day                          1   -   90 benefits
expense was increased by 597,000. We won the business.

Last week, 4T's announced they would not be able to cover COBRA, so our solution was that Kenco
would offer Starbridge insurance to the employees for the first 90 days to help them bridge
insurance until their Kenco benefits kicked in. The Starbidge cost will be 549,457.00 if all take it.
What we now need to do before we begin the employee interview process is to have Mars see
how much the signing incentive will be for the employees and the calculations.

Starbrige will not be provided to temporary labor at the DC.

Original Estimate $177,O0o; Amount Added to Mars Proforma Operating Expense -                                   SSZ,OOO.OO;
Kenco To Pass to Employees - 580,000.00

Mars Pass Thru in Operating Expenses in Proforma: 597,000.00
Mars to pay for Starbridge from the $97K:        -S4g.+SZ.OO
Balance Kenco      to   Pass   thru to   Mars:          547,sM.N +


                                                                                                                                 Page2ot3
 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 338 of 363 PageID #:338


Kenco To Pass to Employees:j80000@
Totalto be presented to EmployeesSLzT,5M to 72 employees or          SfZZO.OO per person    if hired by
Kenco as a signing incentive.


The employee must pass the background and drug screen. The first payment is after the first 30
days.

The original estimate was about $fggg.OO per person, so this is a little less, but close.

Please let me know if okay or if changes are   needed. I'm in the office tomorrow or you can reach
me by cell tonight.

Thanks so much.




<F58F1FFC-87DC-4FA2-9974-8927282963231L01.jpe>




                                                                                                          P4e   3   of3
           Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 339 of 363 PageID #:339

                                                                                                                                       Pagt   l of1
                                        {                                                 (
    McCurry, Edlth

     From:    Marlln, Ghelsea
    Sent      Tuesday, Mardr 25, 2014 Z:SS AM
    To:       McCuny, Erllth; Lepage, Ctatre
    Gc:       SZpleU, Len; Watsh, Ketvln
    Subject RE: Rodney Canoll
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    thls ls an hourly posltlon, it should be managed by your
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From: MCurry, Elttr
Sents Monday, March 24,2014 5:2g pM
To: l,larlh,Chelsea; lepage, Odre
Cc! SdeB Len; WaHt, KeMn
fun €cE RodneyGnott
Good aftemoon,

Rodney carmll ls a temporary emptoyae here et Kenoo-Mans
l hrehouse poslUgn Xe[An naO ni poS. ---                  Manteno yvho wants to apply forthe Lead
Rodney does not have access to Kdrncooonnedion,
                                                trersfuro, to whom woulcl t send tho stechod
rasums? lln also stachod thejob pcst ng:."-'

Eclith   ilic0uny

1125 Sycanpre Rd
Manteno, tL 60gg0



Faotl-El5-468-24gS

Fnonr: ilanEno€cars@]qEIoroqOrEr=n

Te     McCurry, Rlfttr
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                                                                                                                      Exhibit     16
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         Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 340 of 363 PageID #:340

                                                                                                                       Paplofl
                                         (                                                  (
  McCurry, Edlth

  Frqn:       Marlh., Ghelsea
  Sertt      Tuesday, Marctr 25, 2014 7;5E AM
  To:        McCuny, Edlth; Lepage, Ctalre
  Cc:        S'zple& Len;Walsh, KeMn
  Eubnrct RE: Rodney Canoll
 Edtth - | bellare thls ls an hourly postlng for yol.r
                                                       rft". corporate only handles oremfi postings and slnce
 thls ls an hourly posltlon, it should be managed by your
                                                              stte onty. reioconnecgon is only for exempt
 postingsl so anyone lnterested in thls hourty postingshoutd
                                                                   contaayou ortte hlring managerto apply.
 Thankl

 Chelcca lrlarltn
 Talent Hanagem€nt Coordlnator
 Ax)l Rlw'3lds Drlrre . Chattanooga, TN 32406
 Ofice: 423-643.s455, raxr 423-843-gSZt    --




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Sent ltlonday, Marclr 24,2014 5:29 pM
To: l,larlh,Ordsea; lepagq Clalre
Ccr Szple$ [en; WaHr,         KeMn                              r
SuUccE bdneyGnoll

Good aftemoon.

Rodney canoll ls a temporary emptoyee hem at Kenoo-Mans
          posfrton Kefidn hid ni        --   pU.        Manteno who wants to apply forthe Lead
I!p!or.""
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Edith Mc0uny


1125 Spmore Rd
Mant6no.lL60gS0

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3r2sD0t4
               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 341 of 363 PageID #:341


Rebekah Funk

From:                              Cofley, Robert
Sent:                              Monday, March 03,2014 6:18 PM
To:                                Moore, Todd
Subject:                           RE: High Importance- Manteno WMS Implementation Status




Agreed  - We discussed Nate in particular this morning and Kelvin will be holding him accountable - if he is not getting it
he will not be around to bring the site down - the other two that Russ had mentioned have been following the training
and the story has changed on them. The team will be giving each associate a scorecard and grade on training which is
on schedule.

This is the first I heard of the yard utilization and load ready times and after discussion with Kelvin - He confirmed that
the yard utilization is status quo forthe site and does not see it as a risk- the 200 yard spaces that we have available has
always been fully utilized and will continue to be. The load ready times are related to the CPU customers and l've asked
for a list of the offenders due to CPU issues and will have the team address them now rather than later.

Theareaofconcernhasbeenandcontinuestobetheco-packarea. JohnLellawillbeherethiseveningandwewillbe
working to solve this issue this week. I will follow up with Anthony to ensure that I am consulted on the scorecard
moving forward.

Rega rds,


Robert Coffey
Regional Distribution Manager - Midwest
Chicago Plant
2019 Nor.th Oak Park Ave,
Chicago, lL 60707

M= 773-892-7735
E   : robert. coffev@effem. com

From: Moore, Todd
Sent: Monday, March 03,20L4 3:49 PM
To: Coffey, Robeft
Subject: FW: High Importance- Manteno WMS Implementation Status

PLEASE make sure your hand is on this readiness report prior to sending out. Also, we do not need lSl warning the
business of Kenco's ability "to make load ready times and maintain yard utilization". You need to be more hands on and
require others to bounce concerns off you early and often.

How do you feel?




From: Iuvone, Anthony
Sent: Monday, March 03,20L4 4:45 PM
To: Moore, Todd; Dostal, Russell; Coffey, Robeft; Fischer, Brandi
Subject: RE: Manteno WMS Implementation Status Update

                                                                                             Exhibit   17

                                                                                                       DEF000534
             Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 342 of 363 PageID #:342


Rebekah Funk

From:                              Coffey, Robert
Sent:                              Thursday, September L8, 20L4 12:5L PM
To:                                Mag gio, Jennifer;Moore, Todd
Cc:                                Tumpane Jr., Bill;Clancy, Erin
Subject:                           RE: Manteno Behind Schedule



HiJenn- Mario will be adding you to the daily recovery plan callat 1L:00 central. Melissa (copack liason) has assumed
the role of Operations Manager since Mike has left and has been in constant communication with co-pack as well. Next
week between inbounds, co-pack production, and Halloween outbounds will be our largest to date,

TheWHiscommittedtoadheringtoallcustomerrequirementsandconsidersJacobsontheir#1-customer. Asyoumay
know, the site has re-routed 3,300 pallets in the last 9 days and between 93-99% of what has been built - a significant
achievement! Communication needs to continue and will be reinstituting the weekly touch-point calls.

Mario and I will callyou this afternoon to address any additional concerns you may have.

Rega rds,



Robert Coffey

Mars Ghocolate, Nofth America
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Chicago, lL 60707

 @

M:773-892-7735
E : robert. coffey@effem. com



From: Maggio, Jennifer
Sent: Thursday, September 18, 2014 10:26     AM
To: Moore, Todd; Coffey, Robeft
Cc: Tumpane Jr., Bill; Clancy, Erin
Subject: RE: Manteno Behind Schedule

Todd  -
Thank you for the communication and notice.
I don't see anything mentioned below regarding the Kenco service to Jacobson copack. I know we have had some
challenges in the past, and I know that Keith called out a concern to Kenco this week, but haven't seen any response
from Kenco.
ln addition, lspoke with Keith yesterday and he informed me that the Wednesday meeting between Kenco and
Jacobson was not happening - this has been the case since Mario started. Why was this stopped?
Looking to understand what the potential risk is to the copack service as you are listing several issues below with
corrective actions.
Would like to know we are being proactive with copack service so we don't go down - Manteno is currently running
higher than Kennesaw right now primarily due to Mixed Mini bags (XMAS peak production) and XMAS tins,


                                                             'C[[\JFlilt[1JIlAl                       DEFoo1538
            Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 343 of 363 PageID #:343




 Reason for       termination:           j
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                Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 344 of 363 PageID #:344
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Rebekah Funk

From:                               Coffey, Robert
Sent:                               Wednesday, June 04, 2014 3:17 PM
To:                                 Helveston, Andrew; Tumpane Jr., Bill; Friker, Kevin; Weisel, Gabi; Terrell, Larry;
                                    Charboneau, Meghan; Pacchioli, Michael;Wasik, Toni; Search, Jeremy; Bush, Zakhary;
                                    Maurer, Melody; Bennett, Keith;luvone, Anthony; Lella, John;Waguespack, David; Knies,
                                    Ingrid; Latham, Kimberly; Haywood, St Clair; Martinez, Michael; Maggio, Jennifer
Cc                                  Moore, Todd
Subiect:                            FW: Personnel Change Announcement


lmportance:                         High



Please see below for the Personnel Change Announcement for the Manteno site and forward          to any other contacts that
you feel are appropriate,

Regards,

Robert Coffey

Mars Chocolate, North America
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Ghicago, lL 60707

    @

M=773-892-7735
E   : robert. coffev@effem. com


From          ula [mailto-: Paula. H ise@Kenso group.com]
        : H ise,   Pa
Sent: Wednesday, June 04,20L4 12:36 PM
To: Coffey, Robeft
Cc: Moore, Todd; Jabaley, David
Subject: Personnel Change Announcement

Good afternoon,
Effective immediately, Kelvin Walsh is no longer serving in the role of General Manager at the Manteno site. We are currently
recruiting for a permanent replacement. ln the meantime, David Jabaley will be acting as the interim site General
Manager. Please work directly with David related to any projects or activities that might have otherwise gone to
Kelvin. Additionally, please circulate this announcement to the applicable contacts within the Mars organization. David's
email address is david,iabalev@kencoeroup.com and his cell number is 423-593-6045.

Thanks, and we will keep you informed of our progress in recruiting a permanent replacement for this open position.



Paula Hise
Group VP, Health & Personal Care
2001 Riverside Drive . Chattanooga, TN 37406
Office: 423-643-3248 . Mobile: 423-290-3749



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                Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 347 of 363 PageID #:347


Rebekah Funk

From:                               Coffey, Robert
Sent:                               Monday, March 03,20L4 6:18 PM
To:                                 Moore, Todd
Subiect:                            RE: High Importance- Manteno WMS Implementation Status




Agreed - We discussed Nate in particular this morning and Kelvin will be holding him accountable - if he is not getting it
he will not be around to bring the site down -the othertwo that Russ had mentioned have been following the training
and the story has changed on them. The team will be giving each associate a scorecard and grade on training which is
on schedule.

This is the first I heard of the yard utilization and load ready times and after discussion with Kelvin - He confirmed that
the yard utilization is status quo for the site and does not see it as a risk- the 200 yard spaces that we have available has
always been fully utilized and will continue to be. The load ready times are related to the CPU customers and l've asked
for a list of the offenders due to CPU issues and will have the team address them now rather than later.

Theareaofconcernhasbeenandcontinuestobetheco-packarea. JohnLellawillbeherethiseveningandwewill                           be
working to solve this issue this week. I will follow up with Anthony to ensure that I am consulted on the scorecard
moving forward.

Regards,

Robert Coffey
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Ghicago, lL 60707

M= 773-892-7735
E   : robert. cotf, gy@effem. com

From: Moore, Todd
Sent: Monday, March 03,20L4 3:49 PM
To: Coffey, Robert
Subject: FW: High Impoftance- Manteno       WMS Implementation Status

PLEASE make sure your hand is on this readiness report prior to sending out. Also, we do not need lSl warning the
business of Kenco's ability "to make load ready times and maintain yard utilization". You need to be more hands on and
require others to bounce concerns off you early and often.

How do you feel?




From: Iuvone, Anthony
Sent: Monday, March 03,20L4 4:45 PM
To: Moore, Todd; Dostal, Russell; Coffey, Robeft; Fischer, Brandi
Subject: RE: Manteno WMS Implementation Status Update




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Rebekah Funk

From:                              Coffey, Robert
Sent:                              Thursday, September 78, 2074 l-2:5L PM
To:                                Mag gio, Jennifer;Moore, Todd
Cc:                                Tumpane Jr., Bill;Clancy, Erin
Subject:                           RE: Manteno Behind Schedule



HiJenn- Mario will be adding you to the daily recovery plan call at 11:00 central. Melissa (copack liason) has assumed
the role of Operations Manager since Mike has left and has been in constant communication with co-pack as well. Next
week between inbounds, co-pack production, and Halloween outbounds will be our largest to date.

TheWHiscommittedtoadheringtoallcustomerrequirementsandconsidersJacobsontheir#lcustomer. Asyoumay
know, the site has re-routed 3,300 pallets in the last 9 days and betweeng3-99% of what has been built-a significant
achievement! Communication needs to continue and will be reinstituting the weekly touch-point calls.

Mario and I will call you this afternoon to address any additional concerns you may have.

Rega rds,



Robert Coffey

Mars Chocolate, North America
Regiona! Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Chicago, lL 60707

 @

M:773-892-7735
E : robert.coffey@effem.com



From: Maggio, Jennifer
Sent: Thursday, September 18, 2014 10:25     AM
To: Moore, Todd; Coffey, Robeft
Cc: Tumpane Jr,, Bill; Clancy, Erin
Subject: RE: Manteno Behind Schedule

Todd  -
Thank you for the communication and notice.
I don't see anything mentioned below regarding the Kenco service to Jacobson copack. I know we have had some
challenges in the past, and I knowthat Keith called out a concern to Kenco this week, but haven't seen any response
from Kenco.
ln addition, I spoke with Keith yesterday and he informed me that the Wednesday meeting between Kenco and
Jacobson was not happening -this has been the case since Mario started. Why was this stopped?
Looking to understand what the potential risk is to the copack service as you are listing several issues below with
corrective actions.
Would like to know we are being proactive with copack service so we don't go down - Manteno is currently running
higher than Kennesaw right now primarily due to Mixed Mini bags (XMAS peak production) and XMAS tins.


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We have some critical production these next few weeks that we can't miss.




Thank you,


Jennifer Maggio
Value Stream Manager - Contract Manufacturing
MARS CHOCOLATE NORTH AMERICA
T: 908-850-7865 | M: 908-235-2558
E: lennifer. mag gio@effem. com

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contents to anyone, but notify the sender by return email and delete this email and any attachments from your system.



WS
From: Moore, Todd
Sent: Thursday, September 18, 2014 9:27 AM
To: Helveston, Andrew; Suwalski, Brian; Bennett, Keith; Tumpane Jr., Bill; Bush, Zakhary; Maurer, Melody; Snow,    Lisa;
Fox-C-arney Jones, Alison; MacDonald, Murray; Sheldon, Steven; Gropp, Alan; Pritchard, Chantelle; Myler, Paul; Shaw,
David; Maggio, Jennifer; Romano, Anthony; Trout Matthew; Search, Jeremy; Wittman, Mike
Subject: RE: Manteno Behind Schedule

SCLT Members,


We have yet again run into issues with the Manteno DFC, run by Kenco, falling behind with customer orders and
unloading. We have reinstated the daily connection point, I will be meeting with the Director of the Mars account "
tomorrow at the Kenco corporate office, and we are aligning with Commercial to consider next steps due to repeated
poor performance. The root cause of the latest backlog and short term countermeasures are outlined below. The
estimated date to be current with outbound and inbound volumes is next Monday, September 22. Please feelfree to
contact me directly if you wish more details (a23.618.7835).

Short term recovery plan:
1.  Manteno Site issue:
     o     Not Picking and staging/loading and unloading on time -
              o The inability to load and unload on a consistent basis (7 days a week) is backing up the throughput at the
                   site
2.   lnability to load/unload on-time driven by:
     o Right associate skill set across the whole week - not enough fork truck operators working on weekend shift
     o Past weekend had 9 associates call off who were designated to assist unloading & loading
              o lmpact of at least 9O truck loads
3.   lmmediate activity to close gaps:
     o StaffinglLA% Mon-Sun
              o Site staffing to 100% of equipment usage
     o Continued priority list delivered to shift from CSR's
              o Working to minimize customer service issues
     o lmmediately holding associates accountable to their mandated days
4.   What site owes the business:


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      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 351 of 363 PageID #:351

o   Realistic outlook of capability
      o   Graphical representation of sites capability and ability to manage through issues
              r   Adjust metric of "pick ahead" to "load ready"
o   Morning update call
      o   lnitiated call on Sep 17 for 1100 central 1200 eastern
              r   On the call - Kenco/Manteno Staff, Trace Spier, David Jabaley, Todd Moore, Robert Coffey
              r    lnvites to - Andy Helveston, Todd Johnson




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                 Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 352 of 363 PageID #:352


Rebekah Funk

From:                                 Coffey, Robert
Sent:                                 Wednesday, September 24,20t4 4:28 PM
To:                                   M oo re, Tod d; H elveston, Andrew;Shel d on, Steven;Weisel,   Ga   bi
Subject:                              RE: Manteno HR Manager



It's been identified as a root cause that leadership at the site is lacking and needs to be addressed immediately. The
talent pool in that area is difficult to attract as has been validated by the hard time that we have been having recruiting
with any open roles (management, hourly, etc... ) the addition of the co-pack liaison has paid dividends as we have not
heard of many stir ups from that side of the wall lately and I would like to believe that if we have these individuals
identified by Kenco below that we can address the leadership and accountability at the site which it is severely lacking -
I believe that any provider that would be introduced to this site would have to add similar roles to be successful.

Rega rds,


Robert Coffey

Mars Ghocolate, North America
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Ghicago, lL 60707

    @

M=773-892-7735
E   : robert.coffey@effem. com


From: Moore, Todd
Sent: Wednesday, September 24,2014 2:28 PM
To: Helveston, Andrew; Sheldon, Steven; Weisel, Gabi; Coffey, Robert
Subject: FW: Manteno HR Manager

They are asking for approval to add to the overhead costs. As a reminder, I previously agreed to the manager to work
with co-pack and the floor outside current year budget. HR is a shared resource at ABW and Exel. Romarl< has a
dedicatedHRManagerforbothWacoandHazelton, lagreeanHRManageronsiteisdesperatelyneeded,andamnot
real excited to incur this incremental cost given current cost to Mars Kenco is already having with inefficiencies.

Thoughts?


From :   Ja   baley, David lmallto: David.]abaley@Kencogroup.coml
Sent: Wednesday, September 24,20L4 3:20           PM
To: Moore, Todd
Subject       HR Manager

Todd, below is the Manteno salary survey. Let me know if Mars is okay with moving on this.




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 Office Manager                      $         ez,ara      $         qt,zes      $         ss. zrg
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 Accountina Manauer                  $         sl,gsg      S         sq.   e:q   s         77,789
 HR    Manaser                       S       st.Bsz        S       69,470        S        Bl.rr{B

David Jabaley
Director, Operations
2001 Riverside Drive . Chattanooga, TN 37406
Office: 423-643-3336 . Mobile: 423-593-6045




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Rebekah Funk

From:                             Coffey, Robert
Sent:                             Tuesday, September 23,20L4 3:34 PM
To:                                Moore, Todd
Subject:                           RE: Kenco PIP, Draft
Attachments:                       Kenco 20L4 PIP.docx



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Robert Coffey

Mars Chocolate, North America
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
Ghicago,lL 60707

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M2773-892-7735
E : robert. coffevlOeffem.cgm



From: Moore, Todd
Sent: Tuesday, September 23,20t4 L:22PM
To: Helveston, Andrew; Coffey, Robeft; Sheldon, Steven; Weisel, Gabi
Subject: Kenco PIP, Draft

Andy, Steve, Gabi, Robert-
Your inputs are requested. I tried to stay in the current year with data, and referenced back to the Kenco promise
during the bid and award. The only 2013 data point included was the theft. I would like to align all of us today and
tomorrow, and present to Kenco Thursday. This allows them Friday to circle the wagons and message to Kenco
management team and ownership.

Thanks- Todd




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             Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 355 of 363 PageID #:355


Rebekah Funk

From:                               Coffey, Robert
Sent:                               Thursday, September L8,20L4 2:13 PM
lo:                                 Moore, Todd
Subject:                            Kenco Meeting and Deliverables
Attachments:                        image00L.png; image002.png; image003.png; image004.png; image005.png



For your meeting tomorrow- a few of the points we need to make sure        that Kenco understands:

        Site lacks structure overall - we knew this going into it and thought it had been addressed - to a large extent it
        has. This latest round of shift structure only highlights the need for additional clarity on the structure of the site
        and the glaring weakness that it represents. There's no mystery in that when we have people here working and
        being held accountable we are productive and get caught up- we need to have that mindset and accountability
        throughout the week/end.
        Drive Accountability - I was being told that the associates are getting points when they call in or don't show up;
        however, that was not being done. Kelvin had allowed the associates basically to pick their shifts, come in wheh
        they want and was difficult for the leads to know who was were on what and for how long - that needs to be
        addressed immediately with this shift structure that is going into place.
        WH LEADERSHIP - GM, Shift Leads, Shift Supervisors - Mario may be a leader- but he is brand new and NOT a
        WH leader yet- this was highlighted during Kelvin's tenure and needs to be resolved with Mario's - the how's
        and why's of warehousing are not immediately visible to our new GM- or shift leads/sups. ln my opinion besides
        David, we have a large GAP at the site given the new (and yet to be hired) associates. We need to ramp up
        recruiting and get some seasoned veterans that know how to run a WH at all levels of the organization. What is
        Mario's continuing education look like? Does he have a checklist of what you should or should not be doing -
        this is a huge jump in roles for him and I don't want him to get swallowed up or go down the wrong path... Do
        we have visible leadership at all levels throughout all shifts- or a plan to get there and how much that will cost
        for 2015 budget?
        KOS - visual representation of site status and the continued journey- the busy season has put us behind in           I


        implementation but the foundation is there
        RP optimization- continue to work with Russ and the FE team to optimize the system. We have fallen behind
        and many still believe that the system is cumbersome. lt took HAZ over a year to see it's benefits- we need to
        understand faster.
        Co-Pack Relationship - Mario and Keith started off on the wrong foot- Mario needs to reconcile that relationship
        and continue to proactively work with that group.
        Successful WFM lmplementation - of all the WH's l've spoken to or visited- this is a consensus #1 productivity
        and morale improving tool - it drives accountability and visibility at the site- things that the site is desperately in
        need of. This begs the question of who and how it will be effective- and bullets 1-3. We need site leadership
        and accountability to make this work- I know it's hard to recruit for talent in this market and especially at this
        site- but aren't there any stars in Kenco that may be up for a short term assignment to help guide and lead on
        shiftshere? LikeRedPrairieandKOsthesuccessfulimplementationofthistoolisparamountforthesiteinei.
        2015.

Hope that helps- let me know if you need anything else from me.

Robert Coffey

Mars Chocolate, North America
Regional Distribution Manager - Midwest
Chicago Plant
2019 North Oak Park Ave,
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                      Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 356 of 363 PageID #:356

Chicago, lL 60707

  @

M:773-892-7735
E : robert. coffev@effem. com



From : Spier, Trace [mailto :Trace. Spier@ Kencog roup.com]
Sent: Thursday, September LB,20L4 10:54 AM
To: Helveston, Andrew; Moore, Todd; Coffey, Robeft
Gc: Jabaley, David; Lopez, Mario
Subject: FW: Eby Brown

Mars Team,

As we continue to evolve our plan to close gaps and sustain execution, it is important to not loose sight of the
ultimate priority, our end customer. I asked David to reach out personally to Eby Brown and am glad to see this
touch point was well received as part or our relationship management strategy. Our desire to identify and destroy all
root causes that are leading to performance inhibitors is ongoing, and I will be giving additional support and requirecl
accountability to this matter as part of our go forward counter measures, I also look forward to meeting with Todd
Moore personally tomorrow morning as we partner to correct remaining issues and gaps both short term and long
term.

Kind Regards,


Trace Spier
Group VP, Fast Moving Consumer Goods (FMCG)
2-001 Riverside Dr"ive .            Chattanooga,IN 37406
Off i ce   : 423-643-33 39 .          M   obile : 42-3 -3Og - 57       1.8




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From: <Jabaley>, David Jabaley <David,Jabalev@Kencogroup.com>
Date: Thursday, September 18, 2014 11:43 AM
To: Trace Spier <Trace.Soier@ kencoFrou o.com>
Subject: FW: Eby Brown




David Jabaley
Director, Operations


Phone: 423-643-3336
Mobile: 423-593-6045


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F               n [mallto: Lqe.Ca tgn]@e bv-brown.coml
    ro m : Lee Ca no
Sent: Thursday, September 18, 2014 10:38 AM
To: Jabaley, David
Subject: RE; Eby Brown

David,


Was pulled away for a meeting...l appreciate the note and will follow up with you asap. I do appreciate the fact that you
made it a point to follow up on the delays we have been experiencing.

Lee


From: Jabaley, David frnailto:David.Jabaley@Kencogroup,com]
Sent: Thursday, September 18, 2014 9:31 AM
To: Lee Canon
Subject: FW: Eby Brown

First of all, Eby-Brown has our attention. We've struggled at the site on off. We've made some personnelchanges and
expect the performance will improve dramatically,
I want you and your team to have a direct line to me.


Below are the loads we've had with you the last couple of days, We were several hours late on three of the four. There         is
an understanding at our site that this hampers your ability to provide the service you were hired to provide, We only
have visibility to one load in the future, but all of your loads will prioritized regardless of the site's challenges.

The Kenco Manteno tearn is committed to providing you excellent service and better communication. Please call my cell
or respond to this email if there is anything you would like to discuss or anything you know that would be helpful to me.

Thanks Lee.



David Jabaley
Director, Operations
2001 Riverside Drive . Chattanooga, TN 37406
Office: 423-643-3336 ' Mobile: 423-593-6045




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Kimberly Overbaugh

From:                              Coffey, Robert
Sent:                              Saturday, )uly 12,201412:29 PM
To:                                Moore, Todd; Helveston, Andrew; Pacchioli, Michael; Tumpane Jr., Bill; Maggio, Jennifer;
                                   Chick, Matthew
Cc:                                'David.Jabaley@Kencogroup.com'; Paula Hise (paula.hise@kencogroup.com); Gordon
                                   Steele (Gordon.Steele@Jacobsonco.com);' keith.fron@jacobsonco.com'
                                   (keith.f ro n @jacobsonco.com)
Subject:                           FW: State Healh Dept & FDA & OSHA Visit
Attachments:                       scan.pdf;scan.pdf

!mportance:                        High



Team   -Earlier this week the site had terminated a disgruntled employee for performance related issues - Friday
morning the FDA, OSHA and Health Department paid a visit to the site, The report below is a summary of the
investigation and findings.

Due to the harsh winter and adverse conditions, it is common for an increase in rodent activity - as such, Kenco has
increasedthelevelofOrkinsupervision(andwereonsitethisweekonWednesday). Wehaveseenanincreaseinpests
in the area and have increased the number of traps both inside and outside the building in compliance of Orkin's
recommendation.

The official reports are attached and Bill Schwerin the Facility Maintenance Engineers' unfiltered account of the visit is
below.  No major findings were discovered; however, there is cause for concern around the amount of spilled product
and mouse activity in all areas including the Jacobson area where large amounts of product is exposed. The FDA
inspector said that he will be back on Monday for a follow up. I will also be on site at that time.

Attheendoftheshift,thesitewasontimetohavereadyandstillhoveringaroundg0%full.                     KencoandJacobsonare
committed to operating the facility safely, efficiently while adhering to Mars quality principles.

ln summary, we are not anticipating any major findings from the inspection and will follow up with any additional
questions or concerns.

Regards,

Robert Goffey

Mars Chocolate, North America
Regional Distribution Manager - Midwest
Ghicago Plant
2019 North Oak Park Ave,
Ghicago, !L 60707

 @

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From : Schwerin, William [mailto:William,Schwerin@Kencogroup.com]
Sent: Friday, July 11, 20L47:.04 PM
                                                              ,COI'IFIOEI{IIAI                       DEF001428
           Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 359 of 363 PageID #:359

To: Jabaley, David; Hise, Paula; Coffey, Robet
Cc: Szplett, Len; Manzello, Mike
Subject: State Healh Dept & FDA & OSHA Visit


  Hello,



At roughly 9:00AM the Welcome center called me the state inspector was here, shortly after the FDA inspector was
here.
We had the Welcome center send them though to meet us. (David Jabaley & myself) They asked questions about Kenco
and Mar's
Operation. They said that they were here for a regular inspection and also a complaint.
David answered allof the questions that the FDA asked, the state health had a few more that I took notes that we were
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Month Pest Control records and Sanitation records. I was told to find them then catch up with them. At that time I tet
Keith with Jacobson know that Health & FDA were here for an inspection. He said OK. Dave let me know that he had
given Jacobson notice also.

I caught up  with them just shortly before the toured the warehouse FDA and the State inspection started wellfinding
only minor things such as some boxes that looked as though they were not taped well and a little damage cases here
and there not anything they were noting about except one spill that we had our Janitor take care of
immediately. Roughly about 10:15 OSHA is at the gate. David had me continue with the FDA & State Health. We just
had finished at that point with Room 1 and then continued to Room 2. We walked down aisle A then aisle B found a
found a few droppings in 2BN 32 these were noted, continued on about a third of Room two and found a few more
product spills, I had noted that and let our Janitor know to clean up as well.

We found some more product spills and they stated that this being a large warehouse this looked to be more of a
sanitation issue then a pest issue. The FDA stated that he had done other inspections else where they had real problems
with pest in the boxes. I let them know we have had some sightings here and our pest control company did catch some
mice here, so they would know when they checked our records they knew were doing our job of cleaning and Pest
control.

 After about half of Room 2 we came up to the Jacobson area. They noticed the baggers and a few tables with some
green plastic bins with opened bags with only a few candies in them. I let them know it was their little QA station, that
they check to make sure the product is in conformance. (Good Seals & QA that it is inspected periodically and checked)
They said that makes sense. From there they wanted to see more aisles. We continued down the middle aisle in room
2. There were forklifts down most of the aisles till we came to 2PS, then they wanted to see more that way. We were
walking down the aisle there, the aisle was not full , giving them opportunity to walk under the rack with their flash
lights looking for anything. They found that the Jacobson racks were more dusty and Dirty they stated and asked if we
clean these locations. I let them know that Jacobson cleans their own racks and that we do let them know when our pest
control and myself find areas that need cleaning. Just as we were half way the FDA inspector found a Milky way bar in
the Jacobson area that had been nibbled on and some mouse droppings. That was not good. I called our Orkin Manager
(Riley) immediately. He said he would be there soon. We noted down that area and then continued
farther down finding a little more droppings there. Noted that location as welt. We then came to the end of the aisle and
they asked how much was Jacobson.


I let them know they store mostly the corrugate pallets and along the bagger and aisle opposite that. We then
proceeded to room Three. We found more product spills
And noted them down. They asked if we ever had caught any juvenile mice here. lsaid yes and that Orkin was on site at
that time and took care of the issue


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            Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 360 of 363 PageID #:360

As they did, We then walked in Room 3 found a     few more product spills in aisles 3AN, 3LN and 3FA noted them down,
towards the end of the tour in room 3 by end of the rack aisle is a drain between aisles LN &KN there the FDA found a
couple droppings. During the tour they asked about lizards, Bats and other pest that we may have had here or do have.         I


said last year we did have Bats outside here and one inside that our pest control took care of. But we have not had any
since Kenco has been here, lt sounded a little far fetched, that even they thought was.
 We then went back to David's office for exit interview I asked Len to join us. We had just started when I was called by
Mike that I was needed by OSHA.

  The FDA & State said that was fine. So I left them with Len, The OSHA inspector asked me several questions about the
building. Asked how long it was and how wide it is. I told him 960 X 528' He then asked more questions, about Lock out
tag out. Changing light bulbs, How our Generator power back up works and about
A power issue we had earlier in the year. I answered him about all the questions he had. I asked him the I needed to get
back the other inspectors that were
Waiting for me. He said to stay unless you want fines. I said no Sir and sat down. He asked more about the last power
failure. Ask if the place went black. I said
Not to my knowledge as I came out for that issue. I then stated that our lT guy Dustin was here during that time when
the power went out and Dustin confirmed that we did not loose all of the lights. He then asked him Questions about
that evening and about what he did and how the generator works and our UPS station. Dustin answered his questions
then he said he was good on that. He then asked about records from who changed the light bulbs and pest control
invoices. lgave him recordthatGirard Electric had changed a lightand ballast here recentlyand a copyof Orkin & River
Valley last lnvoice. That he wanted.
He also stated if I did not provide this he would go back to work inspecting the building and possible fines along with. I
gave the man the three documents.
And he was happy and asked Dustin that he needed to be walked down with Management and himself. By this time it
was close to 2:00PM I checked on The state and FDA. Len said they did not ask any questions and left at about t:20 or
so. We then Walked the OSHA inspector out and then he talked with Dustin.
I asked him what he said, just asked if we pressured him at all.


lssues with OSHA are;
1) He is looking at to see if more exits in room 1 are needed. He said the west wall maybe too far with only two exits. He
will let us know.
lf that is so, Room three will need to be done also, This would be an easy fix. Use one rail door and the center door in
room Three, construct exit doorways
From overhead doors. ( He did not look at Room 3 Wall)
2) Confined space he wants a copy of our site SOP that we do not do confined spare or policy we may have that we use.
3) Signage on lnjector pump in room 1 labeling confined space.

He will be mailing that out and from the mailing date he said we have 1-5 days to act. Mike has his info.



lwillbe on Vacation next week. Mike and David should be able to take care of these issues. Orkin knows      lwill   be gone
and will be seeing Mike or David.
I had them install more traps in   allthese locations where these droppings were found.

lf you have questions you could phone me but I may not be available due to traveling out of state.

Regards,



William Schwerin
Facility Maintenance, Quality Engineer
1125 Sycamore St. . Manteno, IL 60950
Office: 815-468-4462 . Mobile: 815-954-8570

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                Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 361 of 363 PageID #:361

Wllllam.Schwerln@Kencoo rouo.com




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               Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 362 of 363 PageID #:362



Rebekah Funk

From:                              Coffey, Robert
Sent:                              Saturday, )uly 72,20L4 L2:29 PM
To:                                Moore, Todd; Helveston, Andrew; Pacchioli, Michael;Tumpane Jr., Bill; Maggio, Jennifer;
                                   Chick, Matthew
Cc:                                'David,Jabaley@Kencogroup.com'; Paula Hise (paula.hise@kencogroup.com);Gordon
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At the end of the shift, the site was on time to have ready and still hovering around 90% full, Kenco and Jacobson are
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Robert Goffey

Mars Chocolate, North America
Regional Distribution Manager - Midwest
Chicago PIant
2019 North Oak Park Ave,
Chicago, lL 60707

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E   : robert.coffey@effem. com


From: Schwerin, William Imailto:William.Schwerin@Kencogroup.com]
Sent: Friday, July 11, 2014 7:04 PM

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                                                       CONTIDENTIAL
             Case: 1:19-cv-02500 Document #: 1 Filed: 04/12/19 Page 363 of 363 PageID #:363

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